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1 AND ONLY LOCKSMITH INC                1 CALL PLUMBING INC                        100 NORTH UNIVERSITY
14442 JEWEL AVE                         7407 REEDY CREEK RD                        2600 ISLAND BLVD APT 705
FLASHING NY 11367                       CHARLOTTE NC 28215                         AVENTURA FL 33160




100 UNIVERSITY LLC                      100 UNIVERSITY LLC                         12 WAY FIREWOOD
C O SERBER AND ASSOCIATES PA            LAW OFFICES OF JONATHAN A. HELLER, P.A.    10536 LISS RD
JOANNA PLESSIS ESQ COUNSEL              JONATHAN A. HELLER, ESQ.                   WILLIS MI 48191
2875 NE 191ST ST STE 801                14 N.E. 1ST AVE. SUITE 1105
AVENTURA FL 33180                       MIAMI FL 33132




1ST CHOICE TESTING BACKFLOW SVC LLC     1ST SOURCE PLUMBING LLC                    1ST SOURCE RESTAURANT SVC INC
4915 243RD ST SW                        111 GOTCHA AVE                             111 GOTCHER AVE
MOUNTLAKE TERRACE WA 98043              LAKE DALLAS TX 75065                       LAKE DALLAS TX 75065




1ST SOURCE SHEET METAL LLC              2199 NO RAINBOW BLVD HOLDINGS LLC          21ST CENTURY FOX AMERICA INC
111 GOTCHER AVE                         CUSHMAN AND WAKEFIELD COMMERCE             1211 AVENUE OF THE AMERICAS
LAKE DALLAS TX 75065                    SDS-12-2659                                NEW YORK NY 10036
                                        PO BOX 86
                                        MINNEAPOLIS MN 55486-2659




24 HR EXPRESS SVC INC                   25001 COUNTRY CLUB LLC                     2728 GANNON RD LLC
26047 JEFFERSON AVE STE D               TOM GOEBEL                                 JUDD KESSLER ESQ
MURRIETA CA 92562                       6855 ROSEROAD CIR                          9191 TOWNE CENTRE DR STE 180
                                        INDEPENDENCE OH 44131                      SAN DIEGO CA 92122




2728 GANNON ROAD LLC                    2728 GANNON ROAD LLC                       307 EAST EDGEWATER AVE LLC
PO BOX L                                WHITE GOSS, PC                             76 LAFAYETTE AVE
RANCHO SANTA FE CA 92067                KEVIN MASON, ESQ.                          BROOKLYN NY 11217
                                        4510 BELLEVIEW AVENUE
                                        SUITE 300
                                        KANSAS CITY MO 64111


307 EAST EDGEWATER AVENUE LLC           3900 CORP DBA SCRANTON REALTY LLC          3D CEILING ART LLC
FRANK MCGINITY                          7 PARK CTR CT                              114 LONGMEADOW DR
1114 STATE ST STE 250                   OWINGS MILLS MD 21117                      ROCHESTER NY 14621
SANTA BARBARA CA 93101




4 FLOORS CARPET CLEANING AND            4-L ENGINNEERING CO INC                    6 POINT BEVERAGES LP
FLOOR RESTORATION LLC                   420 N DOROTHY DR                           421 N PORTLAND
12504 SHELLY PINES DR                   RICHARDSON TX 75081                        OKALHOMA CITY OK 73107
CHARLOTTE NC 28262




6181 COLUMBIA CROSSING LLC              6181 COLUMBIA CROSSING LLC                 7979 MAC LLC
STEVE WIGLER                            STEVE WIGLER                               16 CHERRYMOOR DR
3112 OLD OAK DR                         1200 STEUART ST UNIT 910                   ENGLEWOOD CO 80113
ELLICOTT CITY MD 21042                  BALTIMORE MD 21230




7979 MAC LLC                            8000 EL CERRITO INVESTORS LLC              8000 EL CERRITO INVESTORS LLC
SCOTT AUTREY                            1777 MANOR DR                              PHIL MALOUF
16 CHERRYMOOR DR                        HILLSBOROUGH CA 94010                      1777 MANOR DR
ENGLEWOOD CO 80113                                                                 HILLSBOROUGH CA 94010




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8X8 INC                                  A 1 SEWER AND SEPTIC SRV INC                A ACORN LOCK AND SAFE INC
DEPT 848080                              6370 CARTER AVE                             DBA STEEL OAK SECURITY SOLUTION
LOS ANGELES CA 90084                     MERRIAM KS 66203                            2625 WESTON RD
                                                                                     WESTON FL 33331




A AND A ACTIVE BACKFLOW LLC              A AND A MECHANICAL SVC INC                  A AND E TELEVISION NETWORKS LLC
1411 LEMAY DR STE 403                    7200 DISTRIBUTION DR                        235 EAST 45TH ST
CARROLLTON TX 75007                      LOUISVILLE KY 40258                         NEW YORK NY 10017




A AND G UPHOLSTERY                       A AND J REAL ESTATE LLLP                    A AND J ROOFING CORP
2649 1/2 EARLE AVE                       526 SAN PEDRO COVE                          4337 E 11 AVE
ROSEMEAD CA 91770                        SAN RAFAEL CA 94901                         HIALEAH FL 33013




A NAZZARO ASSOCAITES INC                 A NAZZARO ASSOCIATES INC                    A PLUS COMMERICAL SVC INC
8 SAXON AVE STE C                        JAMES J NAZZARO                             PO BOX 611861
BAY SHORE NY 11706                       8 SAXON AVE STE C                           SAN JOSE CA 95161
                                         BAY SHORE NY 11706




A SAME DAY BACKFLOW TESTING INC          A-1 OAK N HICKORY LLC                       A-B SALES OF SAN DIEGO
668 ALLEGRO CT                           15517 HOWE                                  PO BOX 80758
SIMI VALLEY CA 93065                     OVERLAND PARK KS 66224                      SAN DIEGO CA 92138




A-OK ELECTRIC CO                         A1 INC                                      A1 LOCKSMITH
PO BOX 10943                             295 SOUTH 250 EAST                          2508 HIGHALNDER WAY STE 230
GREENSBORO NC 27404                      BURLEY ID 83318                             CARROLLTON TX 75006




A1 MICROWAVE SVC CORP                    AA UPHOLSTERY                               AAA AUGER PLUMBING SVC INC
DBA MICROVEN ELECTRONICS                 1034 MEADOWBROOK                            450 PINN RD
89 ACCESS RD UNIT 14                     CORPUS CHRISTI TX 78412                     SAN ANTONIO TX 78227
NORWOOD MA 02062




AAA BACKFLOW                             AAA CERAMIC TILE AND REMODELING             AAA LOCK AND KEY
PO BOX 161713                            WAYNE COOK                                  5036 E BROADWAY
FT. WORTH TX 76161                       1202 GLEN ECHO DR                           TUCSON AZ 85711
                                         HOUSTON TX 77088




AAA PLUMBING                             AARON'S TREE SVC                            AB MICROWAVE OVEN SVC INC
PO BOX 37760                             8186 MCDANIEL                               4211 N ORANGE BLOSSOM TRL
RALEIGH NC 27627                         MILLINGTON TN 38053                         STE A-5
                                                                                     ORLANDO FL 32804




ABBEY PARTY RENT                         ABC HOME AND COMMERCIAL SVC                 ABC LOCK AND GLASS
8860 PRODUCTION AVE                      1424 BONITA ST                              5755 PEAK RD
SAN DIEGO CA 92121                       CORPUS CHRISTI TX 78404                     RENO NV 89510




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ABC LOCKSMITH                            ABC PLUMBING HEATING AND AIR CONDITIONING   ABCO FIRE LLC
1414 INDUSTRIAL RD                       PO BOX 2398                                 PO BOX 931933
LAS VEGAS NV 89102                       LODI CA 95241                               CLEVELAND OH 44193




ABCWUA                                   ABERDEEN CONTRACT INTERIORS INC             ABSOLUTE TREE INC
PO BOX 1313                              5933 W 115TH ST                             PO BOX 30327
ALBUQUERQUE NM 87103                     ALSIP IL 60803                              ALEXANDRIA VA 23233




ABSTRACT PLUMBING                        AC ELECTRIC CO                              AC/DC ELECTRIC INC
12711 RIO GRANDE                         PO BOX 81977                                PO BOX 51745
ROSHARON TX 77583                        BAKERSFIELD CA 93380                        PHOENIX AZ 85076




ACADEMY FIRE PROTECTION INC              ACADEMY LOCK AND KEY INC                    ACCELLA POLYURETHANE SYSTEMS LLC
42 BROADWAY                              323 W SPRING ST                             2500 ADIE RD
LYNBROOK NY 11563                        MONROE GA 30655                             MARYLAND HEIGHTS MD 63043




ACE UNLOCKS OF PENSACOLA INC             ACM INDUSTRIES INC                          ACME SIGN CORP
125 AIRPORT BLVD                         4842 HARDWRE NE STE B                       3 LAKELAND PK DR
PENSACOLA FL 32503                       ALBUQUERQUE NM 87109                        PEABODY MA 01960




ACTION COMPACTION EQUIPMENT              ACTION LOCKSMITH                            ACTION LOCKSMITH INC
1042 E FORT UNION BLVD STE 260           10919 S STATE ST                            245 E 3900 S
MIDVALE UT 84047                         SANDY UT 84070                              SALT LAKE CITY UT 84107




ACTION PLUMBING AND HEATING INC          ACTION PLUMBING INC                         ACTION WINDOW CLEANING CO INC
201 SW 12TH ST                           7 E STOW RD                                 PO BOX 320
LOVELAND CO 80537                        MARLTON NJ 08053                            RENSSELAER NY 12144




ADAMS BEVERAGES OF NC LLC                ADMIN ARSENAL INC                           ADMIRAL BEVERAGE CORP - NM
7505 STATES VILLE RD                     PO BOX 1229                                 701 COMANCHE NE
CHARLOTTE NC 28269                       SALT LAKE CITY UT 84110                     ALBUQUERQUE NM 87107




ADMIRAL LINEN AND UNIFORM                ADVANCE BEVERAGE CO INC                     ADVANCE PINTO MAINTENANCE INC
2030 KIPLING                             5200 DISTRICT BLVD                          1301 SW 117TH WAY
HOUSTON TX 77098                         BAKERSFIELD CA 93313                        DAVIE FL 33325




ADVANCE SVC CO INC                       ADVANCED BACKFLOW LLC                       AE IV LLC
RAY SADEGHIAN                            4550 W 90TH AVE                             ABERNATHY AND TIMBERLAKE
1615 EUBANK BLVD NE                      WESTMINISTER CO 80031                       JEREMY YARBROUGH
ALBUQUERQUE NM 87112                                                                 1505 LAKES PKWY STE 190
                                                                                     LAWRENCEVILLE GA 30043




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AECSI CORP                                 AFCO CREDIT CORP                             AFFILIATED SVC
19525 WIED RD STE 510                      PO BOX 360572                                4338 TEJASCO DR
SPRING TX 77388                            PITTSBURGH PA 15250                          SAN ANTONIO TX 78218




AFFORDABLE TREE SVC OF OH LLC              AFTERWORK MAINTENANCE INC                    AHFP
44313 HUGHES RD                            16135 E PRESTWICH DR                         240 GREAT CIR RD
OBERLIN OH 44074                           LOXAHATCHEE FL 33470                         STE 344
                                                                                        NASHVILLE TN 37228




LINDA L AIKIN                              AIMCO EQUIPMENT CO LLC                       AIR CONTROL SVC INC
530 B HARKLE RD                            10001 COLONEL GLENN RD                       PO BOX 70
SANTA FE NM 87505                          LITTLE ROCK AR 72204                         IDLEDALE CO 80453




AIR FORCE REFRIGERATION LLC                AIR PRO MECHANICAL DBA AC DISTRIBUTION INC   AIRAD PROMTIONS INC
132 CEDARWOOD DR                           5638 BEAR LN                                 PO BOX 202066
SLIDELL LA 70461                           CORPUS CHRISTI TX 78405                      ARLINGTON TX 76006




AIRE-MASTER OF MIAMI                       AIRE-MASTER OF PHOENIX                       AIRGAS INC
11301 S DIXIE HWY #565776                  PO BOX 43258                                 PO BOX 602792
MIAMI FL 33256                             PHOENIX AZ 85080                             CHARLOTTE NC 28260




AIRGAS INC DBA AIRGAS USA LLC              AIRGAS INC DBA AIRGAS USA LLC                AIRGAS SOUTHWEST INC
PO BOX 802576                              PO BOX 1152                                  PO BOX 676015
CHICAGO IL 60680                           TULSA OK 74101                               DALLAS TX 75267




AIRTECH MECHANICAL INC                     AIRTEMP INC                                  AIRTEMPS INC.
7813 FORT SMITH RD                         20 THOMAS DR                                 DRUMMOND WOODSUM
PEYTON CO 80831                            WESTBROOK ME 04092                           JEFFREY T. PIAMPIANO
                                                                                        84 MARGINAL WAY
                                                                                        SUITE 600
                                                                                        PORTLAND ME 04101-2480


AJAX TURNER INC                            AJB MECHANICAL LLC                           AKRON UTILITIES BUSINESS OFFIC
1045 VISCO DR                              5120 MAUDLIN ST                              PO BOX 3674
NASHVILLE TN 37210                         HOUSTON TX 77087                             AKRON OH 44309




ALABAMA ABC BEVERAGE                       ALABAMA ABC BEVERAGE WHOLESALE               ALABAMA ABC BEVERAGE WHOLESALE
634 S DECATER                              LIQUOR VENDOR - MANUAL CK                    LIQUOR VENDOR
MONTGOMERY AL 36104                        1873-A GADSDEN HIGHWAY                       1873-A GADSDEN HWY
                                           BIRMINGHAM AL 35235                          BIRMINGHAM AL 35235




ALABAMA ABC BEVERAGE WHOLESALE             ALABAMA ABC BEVERAGE WHOLESALE               ALABAMA ATTORNEY GENERAL
MOBILE COUNTY LICENSE COMMISSIONER         ALABAMA ALCOHOLIC BEVERAGE CONTROL           STEVE MARSHALL
PO DRAWER 161009                           5660 HIGHWAY 90 W                            501 WASHINGTON AVE
MOBILE AL 36616                            THEODORE AL 36582                            MONTGOMERY AL 36130




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ALABAMA CROWN - ALABASTER                ALABAMA DEPT OF                              ALABAMA DEPT OF
421 INDUSTRIAL LN                        ENVIRONMENTAL MANAGEMENT                     CONSERVATION AND NATURAL RESOURSES
BIRMINGHAM AL 35211                      1400 COLISEUM BLVD                           N GUNTER GUY JR COMMISSIONER OF
                                         MONTGOMERY AL 36130-1463                     CONSERVATION
                                                                                      64 N UNION ST
                                                                                      MONTGOMERY AL 36130


ALABAMA DEPT OF LABOR                    ALABAMA DEPT OF LABOR                        ALABAMA DEPT OF REVENUE
649 MONROE ST                            COMMISSIONER                                 PO BOX 327320
MONTGOMERY AL 36131                      649 MONROE ST                                MONTGOMERY AL 36132-7320
                                         MONTGOMERY AL 36131




ALABAMA DEPT OF REVENUE                  ALABAMA DEPT OF REVENUE                      ALABAMA LOCK AND KEY INC
50 NORTH RIPLEY ST                       INDIVIDUAL AND CORPORATE TAX DIVISION        PO BOX 1056
MONTGOMERY AL 36132                      BUSINESS PRIVILEGE TAX SECTION               BIRMINGHAM AL 35201
                                         50 NORTH RIPLEY ST
                                         MONTGOMERY AL 36132-7320




ALABAMA POWER CO                         ALABAMA SECRETARY OF STATE                   ALABAMA STATE TREASURY
PO BOX 242                               SECRETARY OF STATE BUSINESS SVC              UNCLAIMED PROPERTY DIVISION
BIRMINGHAM AL 35292                      PO BOX 5616                                  RSA UNION BUILDING
                                         MONTGOMERY AL 36103-5616                     100 NORTH UNION ST
                                                                                      SUITE 636
                                                                                      MONTGOMERY AL 36104


ALAGASCO                                 ALBANY COUNTY HEALTH DEPT                    ALCO SIGN INC
PO BOX 2224                              175 GREEN ST                                 PO BOX 1243
BIRMINGHAM AL 35246                      ALBANY NY 12202                              GRAND BAY AL 36541




ALCOHOL BEVERAGE LICENSING               ALDERWOOD MALL HOLDING LLC                   ALDERWOOD MALL LLC
COLUMBIA SC 29214-0907                   DBA ALDERWOOD MALL LLC                       GENERAL GROWTH PROPERTIES
                                         SDS-12-3019 PO BOX 86                        LAW/LEASE ADMINISTRATION
                                         MINNEAPOLIS MN 55486                         HOWARD SIGAL VP AND SR ASSOCIATE GC
                                                                                      110 N WACKER DR
                                                                                      CHICAGO IL 60606


ALEXANDRIA CITY COURT                    ALEXSANDR NIKITINE DBA THE TAPMAN            ALFRED UPHOLSTERY AND CO
PO BOX 30                                PO BOX 50244                                 32 DELANO LN
ALEXANDRIA LA 71309                      BELLEVUE WA 98015                            EAST WATERBOR ME 04030




ALISO VIEJO COMMUNITY ASSOCIATION        ALISO VIEJO COMMUNITY ASSOCIATION            ALL ABOUT ESPRESSO LLC
POWERSTONE PROPERTY MGMT                 POWERSTONE PROPERTY MGMT                     12308 KEMMERTON LN
PO BOX 15444                             PO BOX 15446                                 BOWIE MD 20715
SANTA ANA CA 92735                       SANTA ANNA CA 92735-0446




ALL AROUND LAWN CARE INC                 ALL BRITE MAINTENANCE INC                    ALL DADE PLUMBING INC
PO BOX 2680                              155 W 10TH ST                                12225 SW 128TH ST #111
ANN ARBOR MI 48106                       CHULUOTA FL 32766                            MIAMI FL 33186




ALL FACILITIES LIGHTING LLC              ALL MEDIA MARKETING                          ALL PHASE ELECTRIC INC
6650 S DOWNING ST                        13014 N DALE MABRY HWY #193                  73 INDUSTRIAL PK RD
CENTENNIAL CO 80121                      TAMPA FL 33618                               SACO ME 04072




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ALL REPAIR PLUMBING INC                       ALL STAR ELECTRIC INC                      ALL-FLO PLUMBING LLC
PO BOX 3129                                   821 LITTLE FARMS AVE                       2130 - 3 MILE RD NE
BURLESON TX 76097-3129                        METAIRIE LA 70068                          GRAND RAPIDS MI 49505




ALL-STATE BUILDING MAINTENANCE                ALL-TEMP REFRIGERATION SVC                 KENNETH E ALLEN
NORMA FERNANDEZ                               271 HIGHWAY 1085                           1201 MAIN ST DUITE 1980
7771 BOYD AVE                                 MADISONVILLE LA 70447                      COLUMBIA SC 29201
LAS VEGAS NV 89179




ALLIANCE BEVERAGE DBA BREAKTHRU BEVERAGE      ALLIANCE BEVERAGE DISTRIBUTING LLC MI      ALLIED BEVERAGE GROUP NJ
AZ                                            650 36 ST SE                               PO BOX 5090
1115 N 47TH AVE                               WYOMING MI 49548                           MT LAUREL NJ 08054
PHOENIX AZ 85043




ALLIED REFRIGERATION A/C AND REST EQUIP INC   ALLIED SVC GROUP                           ALLIGATOR A AND E
11341 SW 145TH AVE                            319 VANN DR E265                           PO BOX 12225
MIAMI FL 33186                                JACKSON TN 38305                           JACKSON TN 38308




ALLL STAR FIRE PROTECTION                     ALSCO INC (SUPPLY)                         ALTERNATIVE SIGNS AND GRAPHICS LLC
4725 LUMBER NE STE 5                          505 EAST SOUTH TEMPLE                      1301 EDWARDS AVE
ALBUQUERQUE NM 87109                          SALT LAKE CITY UT 84102                    STE A
                                                                                         HARAHAN LA 70123




ALTERNATIVE SVC INC                           ALVAREZ PLUMBING CO INC                    ALWAYS AFFORDABLE BACKFLOW TESTING LLC
24682 MILLER RD                               1623 S 51ST ST                             1769 S KEARNEY ST
LACOMBE LA 70445                              TAMPA FL 33619                             DENVER CO 80224




AM SIGNS AND LED                              AMBASSADOR INSPECTIONS LLC                 AMBRIT LLC DBA GASKET GUY OF LOUISIANA
14031 SCHILLER RD                             POBOX 337                                  2076 3RD ST
HOUSTON TX 77082                              BUNN NC 27508                              MANDEVILLE LA 70471




AMCOR SUNCLIPSE NA INC    DBA                 AMD MAINTENANCE LLC                        AMEREN MISSOURI
KENT H LANDSBERG CO                           13779 SW 116 TERRANCE                      PO BOX 66529
PO BOX 731575                                 MIAMI FL 33186                             ST LOUIS MO 63166
DALLAS TX 75373




AMEREN MISSOURI                               AMERICA'S PLUMBING CO CORP                 AMERICAN BD CO
PO BOX 66301                                  4878 PASADENA AVE UNIT 1                   25 DEBOER DR
ST LOUIS MO 63166                             SACRAMENTO CA 95841                        GLEN ROCK NJ 07452




AMERICAN BD CO - NJ                           AMERICAN BUILDING JANITORIAL INC           AMERICAN EAGLE DISTRIBUTING CO
25 DEBOER DR                                  2675 JUNIPERO AVE                          3800 CLYDESDALE PKWY
GLEN ROCK NJ 07452                            STE 300                                    LOVELAND CO 80538
                                              SIGNAL HILL CA 90755




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AMERICAN ELECTRIC POWER                   AMERICAN ELECTRIC POWER                    AMERICAN ELECTRIC POWER
PO BOX 24002                              PO BOX 24418                               PO BOX 24421
CANTON OH 44701                           CANTON OH 44701                            CANTON OH 44701




AMERICAN ELECTRIC POWER                   AMERICAN FIREWOOD CO                       AMERICAN GLASS LLC
PO BOX 24422                              22 EDWIN PL NW                             6312 SEVEN CORNER CTR #265
CANTON OH 44701                           ATLNATA GA 30318                           FALLS CHURCH VA 22044




AMERICAN HERITAGE LANDSCAPE LP            AMERICAN LEAK DETECTION                    AMERICAN LOCK AND KEY
7013 OWENSMOUTH AVE                       PO BOX 549                                 1923 W UINTAH
CANOGA PARK CA 91303                      KAYSVILLE UT 84037                         COLORADO SPRINGS CO 80904




AMERICAN PLUMBING SVC INC                 AMERICAN PREMIUM BEV DBA RH BARRINGER      AMERICAN PROFESSIONAL SVC INC
PO BOX 3821                               5241 NATIONAL CTR DR                       5711 E EVANS AVE
SAVANNAH GA 31414                         COLFAX NC 27235                            DENVER CO 80222




AMERICAN RESTAURANT                       AMERICAN RESTAURANT ASSOCIATION            AMERICAN SAFETY SPRINKLER - MICHAEL
6942 FM 1960 E #204                       PO BOX 51482                               BRANDANO
HOUSTON TX 77346                          SARASOTA FL 34232                          65R CLINTON STREET
                                                                                     MALDEN MA 02148




AMERICAN SPRINKLER LLC                    AMERICAN WATER AND ENERGY SAVERS           AMERICAN WATERCARE INC
PO BOX 76562                              4431 N DIXIE HWY                           530 SOUTH IH 35
COLORADO SPRINGS CO 80970                 BOCA RATON FL 33431                        ROUNDROCK TX 78681




AMERICAS GATEWAY PARK POA INC             AMREIT INC                                 ANAHEIM DISPOSAL #676
EDWARD W EASTON AND CO                    CRAIG VANCE PROPERTY MANAGER               PO BOX 78829
PO BOX 19312                              8 GREENWAY PLZ STE 1000                    PHOENIX AZ 85062
MIAMI FL 33101                            HOUSTON TX 77046




ANDERSON TREE SVC                         ANDREW'S REFREIGERATION INC                ANDREWS DISTRIBUTING CO INC
PO BOX 956                                5617 E HILLERY DR                          254 JUNIOR BECK DR
POOLESVILLE MD 20837                      SCOTTSDALE AZ 85254                        CORPUS CHRISTI TX 78405




ANDREWS DISTRIBUTING OF N TX DALLAS       ANHEUSER BUSCH SALES OF DENVER             ANHEUSER BUSCH SALES OF OKLAHOMA
2730 IRVING BLVD                          1455 E 62ND AVE                            1700 BEECHWOOD AVE
DALLAS TX 75207                           DENVER CO 80216                            OKLAHOMA CITY OK 73149




ANHEUSER-BUSCH SALES - COLORADO SPRINGS   ANHEUSER-BUSCH SALES - POMONA              ANHEUSER-BUSCH SALES CO - RIVERSIDE
4330 MARK DABLING BVLD                    PO BOX 3000                                1400 MARLBOROUGH AVE
COLORADO SPRINGS CO 80907                 POMONA CA 91769                            RIVERSIDE CA 92507




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ANHEUSER-BUSCH SALES OF LA - SYLMAR       ANHEUSER-BUSCH SALES OF NEW JERSEY          ANHEUSER-BUSCH SALES OF SAN DIEGO
15420 COBALT ST                           101 LINDEN AVE EAST                         PO BOX 80758
SYLMAR CA 91342                           JERSEY CITY NJ 07305                        SAN DIEGO CA 92138




ANHEUSER-BUSCH SALES TULSA                ANHEUSER-BUSCH-KY                           ANIMAL PLANET LP
2929 N FLORENCE                           4400 PRODUCE RD                             PO BOX 79961
TULSA OK 74110                            LOUISVILLE KY 40218                         BALTIMORE MD 21279




ANNAPOLIS MALL LIMITED PRTNR              ANNAPOLIS MALL OWNER LLC                    ANNE ARUNDEL COUNTY
BANK OF AMERICA                           WESTFIELD AMERICA INC SCOTT GROSSMAN        DEPT OF PUBLIC WORKS
LOCKBOX #54730                            SCOTT GROSSMAN EXECUTIVE VICE PRESIDENT     2662 RIVA RD WWD MS 7408
LOS ANGELES CA 90074                      2049 CENTURY PK EAST 42ND FL                ANNAPOLIS MD 21401
                                          LOS ANGELES CA 90067




ANNE ARUNDEL COUNTY                       ANNE ARUNDEL COUNTY                         ANNE ARUNDEL COUNTY
LIQUOR BOARD                              MARYLAND                                    MONTGOMERY COUNTY DLC
2660 RIVA RD STE 360                      HERITAGE COMPLEX BLDG                       201 EDISON PARK DR
ANNAPOLIS MD 21401                        2660 RIVER RD STE 360                       GAITHERSBURG MD 20878
                                          ANNAPOLIS MD 21401




ANNE ARUNDEL COUNTY CHAMBER OF COMMERCE   ANNE ARUNDEL COUNTY HEALTH DEPT             ANNE ARUNDEL COUNTY OFFICE OF FINANCE
INC                                       HOUSING AND FOOD PROTECTION SVC             BILLING AND CUSTOMER SVC
134 HOLIDAY CT STE 316                    3 HARRY S TRUMAN PKWY                       PO BOX 427
ANNAPOLIS MD 21401                        ANNAPOLIS MD 21401                          ANNAPOLIS MD 21404-0427




ANTHONY L TUBBS INC                       ANTHONY'S PLUMBING                          ANYTIME PLUMBING INC
DBA ANTHONYS PLUMBING                     3727 W MAGNOLIA BLVD 419                    4690 W POST RD
18723 VIA PRINCESSA 141                   BURBANK CA 91505                            STE 130
CANYON COUNTRY CA 91387                                                               LAS VEGAS NV 89118




AO SMITH WATER PRODUCTS CO                APP TECHNOLOGIES LLC                        APPLEONE EMPLOYMENT SVC
12024 COLLECTION CTR DR                   50 WASHINGTON ST STE 736                    327 W BROADWAY
CHIGAGO IL 60693                          NORWALK CT 06854                            GLENDALE CA 91204




APPROVED MAINTENANCE LLC                  APS                                         APT PLUMBING CO
3031 W PAWNEE STE 400                     PO BOX 2906                                 2337 RAMADA DR
WICHITA KS 67213                          PHOENIX AZ 85062                            HOUSTON TX 77062




AQUA OH                                   ARAMARK UNIFORM AND CAREER                  ARAMARK UNIFORM AND CAREER (SUPPLY)
PO BOX 1229                               JEFF DANNER                                 22808 NETWORK PL
NEWARK NJ 07101                           2500 DELAWARE AVE                           CHICAGO IL 60673
                                          DES MOINES IA 50317




ARAPAHOE CO SECURITY CENTER INC           ARAPAHOE COUNTY TREASURER                   ARAYA BROS CLEANING SVC
15200 E ILIFF AVE                         5334 S PRINCE ST                            170 KINGS VLG BLDG L
AURORA CO 80014                           LITTLETON CO 80120-1136                     BUDD LAKE NJ 07828




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ARBOR BEVERAGE                            ARG PUBLICATIONS LLC                       ARIZONA ATTORNEY GENERAL
144 JACKSON PLZ                           300 E HIGHLAND MALL BLVD #395              MARK BRNOVICH
ANN ARBOR MI 48103                        AUSTIN TX 78752                            1275 WEST WASHINGTON ST
                                                                                     PHOENIX AZ 85007




ARIZONA COMMERICAL SIGNS INC              ARIZONA CORP COMMISSION                    ARIZONA DEPT OF ENVIRONMENTAL QUALITY
4018 E WINSLOW AVE                        1300 W WASHINGTON ST                       1110 W WASHINGTON ST
PHOENIX AZ 85040                          PHOENIX AZ 85007                           PHOENIX AZ 85007




ARIZONA DEPT OF LIQUOR                    ARIZONA DEPT OF LIQUOR                     ARIZONA DEPT OF LIQUOR
800 W WASHINGTON 5TH FL                   LICENCES AND CONTROL                       CITY OF TUCSON
PHOENIX AZ 85007                          800 W WASHINGTON                           LICENSE SECTION
                                          5TH FL                                     255 W ALAMEDA
                                          PHOENIX AZ 85007                           TUCSON AZ 85701




ARIZONA DEPT OF REVENUE                   ARIZONA DEPT OF REVENUE                    ARIZONA GAME AND FISH DEPT
UNCLAIMED PROPERTY UNIT                   1600 W MONROE                              5000 W CAREFREE HIGHWAY
PO BOX 29026                              PHOENIX AZ 85007                           PHOENIX AZ 85086-5000
PHOENIX AZ 85038-9026




ARIZONA INDUSTRIAL COMMISSION - PHOENIX   ARIZONA INDUSTRIAL COMMISSION - TUCSON     ARIZONA RESTAURANT SUPPLY INC
CHAIRMAN                                  CHAIRMAN                                   6077 N TRAVEL CTR DR
800 WEST WASHINGTON ST                    2675 E BROADWAY BLVD                       TUCSON AZ 85741
PHOENIX AZ 85007                          TUCSON AZ 85716




ARIZONIA DEPT OF LIQUOR                   ARKANSAS ALCOHOLIC BEVERAGE                ARKANSAS ATTORNEY GENERAL
LICENSES AND CONTROL                      PO BOX 1272                                LESLIE RUTLEDGE
800 W WASHINGTON 5TH FL                   LITTLE ROCK AR 72203                       323 CENTER ST
PHOENIX AZ 85007                                                                     SUITE 200
                                                                                     LITTLE ROCK AR 72201-2610




ARKANSAS AUDITOR OF STATE                 ARKANSAS DEPT OF                           ARKANSAS DEPT OF FINANCE AND ADMINISTRATION
UNCLAIMED PROPERTY DIVISION               ENVIRONMENTAL QUALITY                      1509 WEST 7TH ST
1401 WEST CAPITAL AVE                     5301 NORTHSHORE DR                         LITTLE ROCK AR 72201
SUITE 325                                 NORTH LITTLE ROCK AR 72118-5317
LITTLE ROCK AR 72201




ARKANSAS DEPT OF HEALTH                   ARKANSAS DEPT OF LABOR                     ARLINGTON POLICE DEPT ALARM OFFICE
4815 W MARKHAM ST SLOT H29                DIRECTOR                                   PO BOX 1065
LITTLE ROCK AR 72205                      10421 WEST MARKHAM                         ARLINGTON TX 76004
                                          LITTLE ROCK AR 72205




ARLINGTON UTILITIES                       THORNDAL ARMSTRONG                         ARROW KEY SVC INC
PO BOX 90020                              DELK BALKENBUSH AND EISINGER               4322 VANCE JACKSON
ARLINGTON TX 76004                        PO DRAWER 2070                             SAN ANTONIO TX 78230
                                          LAS VEGAS NV 89125-2070




ARS / RESCUE ROOTER LLC                   ARS RESCUE ROOTER                          ARUNDEL CLEANING
1618 DOOLITTLE DR                         517 PYLON DR                               PO BOX 101
SAN LEANDRO CA 94577                      RALEIGH NC 27607                           RIVA MD 21140




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                          Case 17-12224-MFW      Doc 73      Filed 10/20/17   Page 12 of 126
ANNE ARUNDEL                         AS BARBORO                               ASAP DRAIN GUYS DRAIN GUYS AND PLUMBING
FALSE ALARM REDUCTION PROGRAM        4116 BF GOODRICH BLVD                    999 RANCHEROS DR
PO BOX 418669                        MEMPHIS TN 38118                         STE B
BOSTON MA 02241                                                               SAN MARCOS CA 92069




ASAP ELECTRIC INC                    ASSESSMENT APPEALS BOARD                 ASSOCI DISTRIBUTORS-ROANOKE DBA BREAKTHRU
PO BOX 692362                        651 PINE ST RM 106                       BEV
STOCKTON CA 95269                    MARTINEZ CA 94553                        401 WOODLAKE DR
                                                                              CHESAPEAKE VA 23320




ASSOCIATED PLUMBING AND SEWER        ASSOCIATED PRODUCTS SVC INC              ASSOCIATED RESTAURANT SVC INC
3620 N PROSPECT RD                   PO BOX 231                               48 FERRY ST
ANN ARBOR MI 48105                   MECHANICSBURG PA 17055                   SEWARREN NJ 07077




ASSURANCE FIRE PROTECTION LLC        ATHENS DISTRIBUTING - CHATTANOOGA        ATHENS DISTRIBUTING - NASHVILLE
10041 CARNEGIE AVE                   4126 S CREEK RD                          3001 OWEN DR
EL PASO TX 79925                     CHATTANOOGA TN 37406                     NASHVILLE TN 37013




ATHENS DISTRIBUTING CO MEMPHIS       ATLANTA BEVERAGE                         ATMOS ENERGY
905 JAMES ST                         5000 FULTON IND BLVD                     PO BOX 790311
PO BOX 1333                          ATLANTA GA 30336                         ST LOUIS MO 63179
MEMPHIS TN 38101




ATS ELECTRIC CO INC                  ATTORNEY GENERAL'S OFFICE                ATTORNEY GENERAL'S OFFICE
1555 VALWOOD PKWY #100               CONSUMER SVC DIVISION                    CONSUMER PROTECTION SECTION
CARROLLTON TX 75006                  1400 BREMER TOWER                        30 EAST BROAD ST
                                     445 MINNESOTA ST                         17TH FLOOR
                                     ST. PAUL MN 55101                        COLUMBUS OH 43215-3428




ATTORNEY GENERAL'S OFFICE            AUBREY O HENSON DBA MEMPHIS GASKET       AUGUST A BUSCH AND CO
CONSUMER PROTECTION DIVISION         55 SCHAEFFER COVE                        440 RIVERSIDE AVE
PO BOX 22947                         EADS TN 38028                            MEDFORD MA 02155
JACKSON MS 39225-2947




AUGUSTA UTILITIES DEPT               AURORA WATER                             AUSTIN POLICE DEPT ALARM ADMINISTRATION
PO BOX 1457                          PO BOX 719117                            PO BOX 684279
AUGUSTA GA 30903                     DENVER CO 80271                          AUSTIN TX 78768-4279




AUSTIN PUBLIC HEALTH                 AUTOMATIC DOOR DOCTORS INC               AVERUS USA INC (PROFESSION)
PO BOX 142529                        17011 LINCOLN AVE STE 381                1800 NATIONS DR STE 215
AUSTIN TX 78714                      PARKER CO 80134                          GURNEE IL 60031




AVISE PROPERTIES                     AVT INC                                  AYS OF THE CAROLINAS INC
RAJA KHANNA                          2016 E BROAD ST                          PO BOX 2174
80 NASHUA RD STE 24                  SAVANNAH GA 31401                        HENDERSON NC 27536
LONDONDERRY NH 03053




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AZTEC                                      B AND G STAINLESS WORKS INC               B AND J TEPPS INC
3014 PULLMAN AVE                           8538 H TERMINAL RD                        DBA SOUTHGATE LOCK AND SECURITY
LAKELAND FL 33805                          LORTON VA 22079                           21000 SOUTHGATE PK BLVD
                                                                                     MAPLE HEIGHTS OH 44137




B AND L LOCK AND SAFE INC                  BACCHUS IMPORTERS LTD                     BACKFLOW ENGINEERING GROUP
10638 ALMEDA GENOA RD                      1817 PORTAL ST                            PO BOX 2145
HOSUTON TX 77034                           BALTIMORE MD 21224                        LAWRENCEVILLE GA 30046




BACKFLOW TECH                              BACKFLOW TECHNOLOGY LLC                   BAGLEY ICE AND CARBONIC INC
610 GARRISON RD UNIT W                     PO BOX 1575                               225 WEST PARAMOUNT AVE
LAKEWOOD CO 80215                          STERLING VA 20167-8459                    SALT LAKE CITY UT 84115




BAKER COMMODITIES INC                      BAKER COMMODITIES INC                     BALDINOS LOCK AND KEY SVC INC
4020 BANDINI BLVD                          PO BOX 58368                              PO BOX 1417
VERNON CA 90058                            SEATTLE WA 98138                          NEWINGTON VA 22122




BALFURD HEALTHCARE AND LINEN SVC           BALL SANTIN AND MCLERAN PLC               BALTIMORE CO DEPT OF HEALTH
PO BOX 109                                 2999 N 44TH ST                            DIV OF ENVIRON HEALTH SVC
TIPTON PA 16684                            SUITE 500                                 9100 FRANKLIN SQUARE DR STE 230
                                           PHOENIX AZ 85018                          BALTIMORE MD 21237




BALTIMORE COUNTY ALARM REDUCTION SECTION   BALTIMORE COUNTY MARYLAND                 BALTIMORE COUNTY MARYLAND
PO BOX 64139                               PO BOX 64076                              111 W CHESAPEAKE AVE
BALTIMORE MD 21264                         BALTIMORE MD 21264                        ROOM G-14
                                                                                     TOWSON MD 21204




BALTIMORE COUNTY TAX COLLECTOR MD          BANANA BONES MEDIA                        BANK OF AMERICA MERCHANT SRVS
OFFICE OF BUDGET AND FINANCE               5137 S DREW CT                            PO BOX 1256
400 WASHINGTON AVE                         LITTLETON CO 80123                        ENGLEWOOD CO 80150
TOWSON MD 21204-4665




BANK OF AMERICA MERRILL LYNCH              BANK OF AMERICA MERRILL LYNCH             BANK OF COLORADO
VALERIE M SANGER MANAGING DIRECTOR         BANK OF AMERICA, N.A.                     1801 BROADWAY STE 100
700 LOUISIANA ST                           DOCUMENTATION MANAGEMENT(CA4-706-04-07)   DENVER CO 80202
HOUSTON TX 77002                           P.O. BOX 27128
                                           CORCORD CA 94527-9904




BARBER'S LLC                               BARONESS SMALL ESTATES INC                BARRAGAN LANDSCAPING LLC
DALE GARDNER                               5301 PEORIA ST STE A                      6306 ATTICA RD
2517 CREST ST                              DENVER CO 80239                           IMLAY CITY MI 48444
ALEXANDRIA VA 22302




BARRY STURDIVANTDBA STURDIVANT PLUMBING    BATES ROAD UPHOLSTERING                   BATON ROUGE WATER CO
SVC                                        3859 BATES RD                             UTILITY PAYMENT PROCESSING
18430 LAWSON RD                            MEDINA NY 14103                           PO BOX 96025
LITTLE ROCK AR 72210                                                                 BATON ROUGE LA 70896




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BAY AREA BEVERAGE CO                    BAY AREA LANDSCAPERS LLC                  BAYER RETAIL CO LLC
700 NATIONAL CT                         PO BOX 270033                             BRC HOLDING CO LLC
RICHMOND CA 94804                       CORPUS CHRISTI TX 78427                   PO BOX 740455
                                                                                  ATLANTA GA 30374-0455




BAYER RETAIL CO LLC                     BBI METRICS LLC                           BE CLEAN LLC
SAM HEIDE GENERAL COUNSEL               DBA BLACK BOX INTELLIGENCE                2215 TALBOTT AVE
2222 ARLINGTON AVE                      17304 PRESTON RD STE 430                  LOUISVILLE KY 40205
BIRMINGHAM AL 35205                     DALLAS TX 75252




BEALER WHOLESALE INC                    BEARDEN CHILDRENS TRUST                   BEARDEN CHILDRENS TRUST
7505 STATEVILLE RD                      PO BOX 101717                             CC BEARDEN ENTERPRISES
CHARLOTTE NC 28269                      FORT WORTH TX 76185                       CASSIE POORE
                                                                                  PO BOX 101717
                                                                                  FORT WORTH TX 76158




BEAUCHAMP DISTRIBUTING CO               BECKER ELECTRIC CO LTD                    BECKMAN AND MONSON HOLDINGS LLC
PO BOX 4729                             MARTIN BECKER                             DBA AIRE MASTER OF PHOENIX
COMPTON CA 90221                        4830 LAKE CECILE DR                       PO BOX 43258
                                        KISSIMMEE FL 34746                        PHOENIX AZ 85080




BEENE SVC LLC                           BELCO ELECTRIC INC                        BELL LOCK AND SAFE
10007 E 59TH ST                         3118 MARJAN DR                            5620 W YUCCA ST
TULSA OK 74146                          ATLANTA GA 30340                          GLENDALE AZ 85304




BELLA TERRA ASSOCIATES LLC              BELLA TERRA ASSOCIATES LLC                BELLA VISTA LANDSCAPING CORP
60 SOUTH MARKET ST #120                 DJM CAPITAL PARTNERS INC                  1003 STINSFORD RD
SAN JOSE CA 95113                       OLEG F SIVRYUK DIR OF REAL ESTATE         NEWARK DE 19713
                                        ACCOUNTING
                                        7777 EDINGER AVE STE 133
                                        HUNTINGTON BEACH CA 92647


BOBBY BELLRICHARD                       BEMUS LANDSCAPE INC                       BEN ARNOLD DIST DBA BREAKTHRU BEVERAGE SC
2706 LARK DR                            PO BOX 74268                              102 BEVERAGE BLVD
COLORADO SPRINGS CO 80909               SAN CLEMENTE CA 92673                     RIDGEWAY SC 29130




BEN E KEITH CO                          BENDIN SUMRALL AND LADNER LLC             NAKON BENJAMIN
7650 WILL ROGERS BLVD                   1360 PEACHTREE ST STE 800                 DBA TITAN TREE SVC
PO BOX 901001                           ATLANTA GA 30309                          2876 MAPLE CIR
FORT WORTH TX 76101                                                               THOMPSON STATION TN 37179




BENSON V MAC ACQUISITION LLC            BENSON V MAC ACQUISITION LLC              BERRY REFRIGERATION CO
DBA ROMANOS MACARONI GRILL              DBA ROMANOS MACARONI GRILL                2 GARFIELD WAY
MARAN BENSON                            C/O Laura Marie Hunt                      NEWARK DE 19713
1051 CALICO RIDGE DR                    330 E. Warm Springs Rd.
HENDERSON NV 89011                      LAS VEGAS NV 89119




IRENE BERRY                             BEST BRANDS INC                           BEST PLUMBING LLC
GUEST REFUND                            PO BOX 290155                             7802 FARNSWORTH
6048 LAUREL LEAF WAY                    NASHVILLE TN 37229                        HOUSTON TX 77022
COLUMBIA MD 21044




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BEVERAGE DISTIRUBTORS OF IA - HYVEE 1142   BEVERAGE DISTRIBUTORS - OH                   BEVERAGE SOUTH OF AIKEN LLC
3221 SE 14TH ST                            3800 KING AVE                                1531 PARK AVE EXT SE
DES MONIES IA 50320                        CLEVELAND OH 44114                           AIKEN SC 29801




BEXAR COUNTY TAX ASSESSOR-COLLECTOR        BFPE INTERNATIONAL                           BGE
PO BOX 2903                                7512 CONNELLEY DR                            PO BOX 13070
SAN ANTONIO TX 78299-2903                  HANOVER MD 21076                             PHILADELPHIA PA 19101




BGHIGH V MAC PARENT LLC AND                BGHIGH V MAC PARENT LLC AND                  BI-STATE PROPANE
MAC ACQUISITION LLC                        MAC ACQUISITION LLC                          PO BOX 7155
HANAE BGHIGH                               C/O Criaco & Assoc                           PASADENA CA 91109
13115 WHITTINGTON DR APT 8201              ATTN: ADAM CRIACO
HOUSTON TX 77077                           519 N. Sam Houston Pkwy E, Ste 500
                                           HOUSTON TX 77060


BILL DAVIS ELECTRIC INC                    BILL STUBBS AND CO                           BILL STUBBS AND CO
PO BOX 16575                               4216 N PORTLAND AVE STE 100                  RICK RUSSELL
PLANTATION FL 33318                        OKLAHOMA CITY OK 73112                       4216 NORTH PORTLAND AVE STE 101
                                                                                        OKLAHOMA CITY OK 73112




BILL'S UPHOLSTERY                          BILZIN SUMBERG BAENA PRICE AND AXELROD LLP   BIRCH COMMUNICATIONS INC
PO BOX 22                                  1450 BRICKELL AVE STE 2300                   PO BOX 105066
LEDGEWOOD NJ 07852                         MIAMI FL 33131                               ATLANTA GA 30348




BIRMINGHAM BEVERAGE CO                     BIRMINGHAM BUDWEISER DISTRIBUTING            BIRMINGHAM WATER WORKS
PO BOX 19457                               141 INDUSTRIAL DR                            PO BOX 830269
BIRMINGHAM AL 35219                        BIRMINGHAM AL 35211                          BIRMINGHAM AL 35283




BITNER ELECTRIC INC                        BIZZY BEE PLUMBING INC                       BLACK HILLS ENERGY
7921 PAXTON ST                             3112 STONY BROOK DR STE E                    PO BOX 6001
HARRISBURG PA 17111                        RALEIGH NC 27604                             RAPID CITY SD 57709




BLAIR DESIGN AND CONSTRUCTION INC          BLANKS INC                                   BLAUGRUND HAYNES KESSLER MYERS AND
PO BOX 2566                                DBA SANTA CLARITA VALLEY LOCK AND KEY SVC    POSTALAKIS INC
ALTOONA PA 16603                           22938 1 2 LYONS AVE                          300 W WILSON BRIDGE RD
                                           NEWHALL CA 91321                             STE 100
                                                                                        WORTHINGTON OH 43085




BLAZIN REPAIR CO INC                       HINOJOSA BLENDERS                            BLIND EXPRESS INC
PO BOX 370                                 15023 DOGWOOD LN                             1102 ABBEY CT
ROSEVILLE CA 95678                         CHINO HILLS CA 91709                         ALPHARETTA GA 30004




BLK220 LLC                                 BLK220 LLC                                   BLUE FROG PLUMBING AND DRAIN
MARK WITKIEWICZ                            MCWHINNEY                                    PO BOX 254
1404 LARIMER ST STE 300                    CRHISTINA SONG MOLINARO                      THEODORE AL 36590
DENVER CO 80538                            2725 ROCKY MOUNTAIN AVE STE 200
                                           LOVELAND CO 80538




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BLUE SKY LANDSCAPING LLC                 BMI JANITORIAL INC                         BNB SIGN AND LIGHTING MAINTENANCE INC
PO BOX 322                               660 JERUSALEM RD                           PO BOX 1828
OAKTON VA 22124                          SCOTCH PLAINS NJ 07076                     HUNTSVILLE AL 35807




BOAEN MECHANICAL SVC INC                 BOARD OF EQUALIZATION                      BOAS LAGUNA VILLAGE LLC
PO BOX 22054                             SPECIAL TAXES AND FEES                     REGENCY MANAGEMENT
SAVANNAH GA 31403                        PO BOX 942879                              15260 VENTURA BLVD STE 1705
                                         SACRAMENTO CA 94279                        SHERMAN OAKS CA 91403




BOAS LAGUNA VILLAGE LLC                  BOB EVANS FIREWOOD LLC                     BOBBY MACIAS ELECTRIC INC
REGENCY MANAGEMENT                       N2919 COUNTY N                             332 W ANDRIX ST
JEANNE LICARI                            MONROE WI 53566                            MONTEREY PARK CA 91754
15260 VENTURA BLVD STE 1705
SHERMAN OAKS CA 91403




BOBS PLUMBING CO INC                     BOILER INSPECTION DIVISION                 KIMBERLY BOITANO
4055 WW 89TH AVE                         10421 W MARKHAM                            GUEST REFUND
MIAMI FL 33165                           LITTLE ROCK AR 72205                       1045 S MILLER WAY
                                                                                    LAKEWOOD CO 80226




BONANZA BEVERAGE CO                      BOND DISTRUBUTING CO                       BOROUGH OF RAMSEY ABC DIV
6333 S ENSWORTH ST                       1220 BERNARD DR                            33 N CENTRAL AVE
LAS VEGAS NV 89119                       BALITMORE MD 21223                         RAMSEY NJ 07446




BOW STREET MARKET INC                    BOX INC                                    BOZARTH LOCK AND SAFE
79 BOW ST                                DEPT 34666                                 PO BOX 2569
FREEPORT ME 04032                        PO BOX 39000                               BAKERSFIELD CA 93303
                                         SAN FRANCISCO CA 94139




BRAILLE WORKS INT INC                    BRAND COMMERCIAL SERIVCES INC              BRANDIE J REAGAN DBA THE CLEAN TEAM OF
841 DARBY LAKE ST                        414 E CHURCH ST                            1111 LINDEN AVE
SEFFNER FL 33584                         LEWISVILLE TX 75057                        DAYTON OH 45410




BRANDYWINE DEVELOPMENT GROUP LLC         BRANDYWINE DEVELOPMENT GROUP LLC           BRE RC LAS PALMAS MP TX LP
105 FAULK RD                             JEFFREY M. WEINER, ESQ.                    LOCKBOX SVC #206479
WILMINGTON DE 19803                      1332 KING STREET                           2975 REGENT BLVD
                                         WILMINGTON DE 19801                        IRVING TX 75063




BRE RC LAS PALMAS MP TX LP               BRE RETAIL RESIDUAL OWNER 1 LLC            BRE RETAIL RESIDUAL OWNER 1 LLC
LINDA MADWAY                             OFFICE OF GENERAL COUNSEL PROPERTY         LEGAL COUNSEL
307 FELLOWSHIP RD STE 116                CHRISTOPHER BISHOP ASSOC GENERAL COUNSEL   40 SKOKIE BLVD STE 600
MOUNT LAUREL NJ 08054                    420 LEXINGTON AVE 7TH FL                   NORTHBROOK IL 60062
                                         NEW YORK NY 10170




BREAKTHRU BEVERAGE CO                    BREAKTHRU BEVERAGE ILLINOIS LLC            BREAKTHRU BEVERAGE MINNESOTA BEER LLC
PO BOX 17647 TA                          PO BOX 809180                              475 PRIOR AVE N
DENVER CO 80217                          CHICAGO IL 60680                           ST PAUL MN 55104




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BREAKTHRU BEVERAGE MINNESOTA WINE AND   BREAKTHRU BEVERAGE NEVADA LLC               BREAKTHRU BEVERAGE NEVADA RENO LLC
SPIRITS LLC                             FILE 50335                                  FILE 742645
489 N PRIOR AVE                         LOS ANGELES CA 90074                        LOS ANGELES CA 90074
ST PAUL MN 55104




BREAKTHRU BEVERAGE OF DE                BRENNICK BROTHERS INC                       BRIARWOOD LLC
PO BOX 22592                            PO BOX 279                                  A/C 375 6552760
BALTIMORE MD 21203                      RIVERVIEW FL 33568                          PO BOX 404570
                                                                                    ATLANTA GA 30384




BRIARWOOD LLC                           BRIGHT FUTURE ELECTRIC LLC                  BRIGHTVIEW LANDSCAPE SVC
SIMON PROPERTY GROUP                    630 KISSIMMEE AVE                           3630 SOLUTIONS CTR
IDA HENDRIX PROPERTY MANAGER            OCOEE FL 34761                              CHICAGO IL 60677-3006
225 W WASHINGTON ST
INDIANAPOLIS IN 46204




BRINK'S INC                             BRINKER ARKANSAS INC                        BRINKER FLORIDA INC
PO BOX 101031                           GENERAL COUNSEL                             PROPERTY ACCOUNTING
ATLANTA GA 30392-1031                   DENISE MOORE VP PROPERTY MNGMT              PO BOX 910232
                                        6820 LBJ FWY                                DALLAS TX 75591
                                        DALLAS TX 75240




BRINKER INTERNATIONAL INC               BRINKER LOUISIANA INC                       BRINKER MICHIGAN INC
PO BOX 910232                           GENERAL COUNSEL 001009085                   GENERAL COUNSEL
DALLAS TX 75391                         DENISE MOORE VP PROPERTY MNGMT              DENISE MOORE VP PROPERTY MNGMT
                                        6820 LBJ FWY                                6820 LBJ FWY
                                        DALLAS TX 75240                             DALLAS TX 75240




BRINKER NEW JERSEY INC                  BRINKER NORTH CAROLINA INC                  BRINKER TEXAS INC
GENERAL COUNSEL                         GENERAL COUNSEL                             GENERAL COUNSEL
DENISE MOORE VP PROPERTY MNGMT          DENISE MOORE VP PROPERTY MNGMT              DENISE MOORE VP PROPERTY MNGMT
6820 LBJ FWY                            6820 LBJ FWY                                6820 LBJ FWY
DALLAS TX 75240                         DALLAS TX 75240                             DALLAS TX 75240




BRISTER STEPHENS INC                    BRISTOL BREWING CO                          BRIXMOR GA SPRINGDALE
PO BOX 8985                             1604 S CASCADE AVE                          MOBILE LMITED PARTNERSHIP
MANDEVILLE LA 70470                     COLORADO SPRINGS CO 80905                   BRIXMOR PROPERTY GROUP
                                                                                    BOB ATCHISON PROPERTY MANAGER
                                                                                    420 LEXINGTON AVE 7TH FL
                                                                                    NEW YORK NY 10170


BRIXMOR OP PARTNERSHIP LP               BRIXMOR OPER PTNSHIP LP                     BRIXMOR WOLFCREEK OUTPARCEL OWNER
PO BOX 645349                           DBA BRIXMOR GA SPRINGDALE/MOBILE            BRIXMOR PROPERTY GROUP
CINCINNATI OH 45264                     PO BOX 645341                               ROBERT DELIZZIO/PROPERTY COLLECTOR
                                        CINCINNATI OH 45264                         PO BOX 645349
                                                                                    CINCINNATTI OH 45264-5349




BRIXTON SHERWOOD LLC                    BRIXTON SHERWOOD LLC                        BROADSPIRE SVC INC
DBA SHERWOOD MALL                       CRAIG PETTITT                               PO BOX 404325
PO BOX 507416                           120 S SIERRA AVE STE 200                    ATLANTA GA 30384
SAN DIEGO CA 92150-7146                 SOLANA BEACH CA 92014




BROKEN STUFF LLC                        BROMLEY PARTS AND SVC INC                   BROOKS LOCK AND KEY INC
6306 258TH AVE NE                       PO BOX 539                                  411 6TH ST SE
REDMOND WA 98053                        LITTLE ROCK AR 72203                        DECATUR AL 35601




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BROTHERS PRODUCE INC                      BROWARD COUNTY TAX COLLECTOR              BROWN DISTRIBUTING CO INC FL
PO BOX 1207                               GOVERNMENTAL CENTER ANNEX                 1300 ALLENDALE RD
FRIENDSWOOD TX 77549                      115 S ANDREWS AVE RM A100                 WEST PALM BEACH FL 33405
                                          FORT LAUDERDALE FL 33301




BROWN DISTRIBUTING CO INC TX              HEATHER BROWN                             BRUCE VICKERS CFC
8711 JOHNNY MORRIS RD                     223 WESTERN PROMENADE                     PO BOX 422105
AUSTIN TX 78724                           UNIT 1                                    KISSIMMEE FL 34742
                                          PORTLAND ME 04102




BRUPRINT BREWING CO LLC                   BUCK DISTRIBUTING                         BUCKS COUNTY DEPT OF HEALTH
321 WESCOTT RIDGE DR                      PO BOX 1490                               1282 ALMSHOUSE RD
HOLLY SPRINGS NC 27540                    UPPER MARLBORO MD 20774                   DOYLESTOWN PA 18901




BUD OF COLUMBIA                           BUD OF GREENVILLE                         BUDGET PLUMBING AND ROOTER LLC
825 BLUFF RD                              2101 HWY 86                               390 WEST MAIN
COLUMBIA SC 29202                         PO BOX 187                                AMERICAN FORK UT 84003
                                          PIEDMONT SC 29673




BUDGET SEWER AND DRAIN CLEANING SRV INC   BUDWEISER BUSCH DISTRIBUTING CO           BUFFALO EXPERT SVC TECHN INC
872 ALBANY SHAKER RD                      1050 N BELTLINE HWY                       3003 GENESEE ST
LATHAM NY 12110                           MOBILE AL 36617                           BUFFALO NY 14225




BUILDING RESTORATION SYSTEMS LLC          BULBMAN INC                               BUREAU OF UNEMPLOYMENT COMPENSATION
240 LOCK RD                               PO BOX 12280                              47D STATE HOUSE STATION
DEERFIELD BEACH FL 33442                  RENO NV 89510                             AUGUSTA ME 43330




BURKE DISTRIBUTING CORP                   BURKERS UPHOLSTERY CO INC                 BURLINGTON BOARD OF HEALTH
89 TEED DR                                15202 KUYKENDAHL RD                       61 CENTER ST
RANDOLPH MA 02368                         HOUSTON TX 77090                          BURLINGTON MA 01803




BURNETT SPECIALISTS                       LLOYD L BURNS                             BUYERS EDGE INC
PO BOX 973940                             349 MESILLA VIEW DR                       351 N FRONTAGE RD
DALLAS TX 75397                           CHAPARRAL NM 88081                        STE A210
                                                                                    NEW LONDON CT 06320




BWC STATE INSURANCE FUND                  C AND B GLASS AND MIRROR INC              C AND R ROOFING DBA ROGER PINEDA
PO BOX 89492                              1322 MICHIGAN AVE                         3416 AVIENDA SIERRA
CLEVELAND OH 44101-6492                   SAINT CLOUD FL 34769                      ESCONDIDO CA 92029




C T CORP SYSTEM                           CA FRANCHISE TAX BOARD                    CA SECRETARY OF STATE
111 8TH AVE                               PO BOX 942857                             STATEMENT OF INFO UNIT
13TH FLOOR                                SACRAMENTO CA 94257                       PO BOX 944230
NEW YORK NY 10011                                                                   SACRAMENTO CA 94244




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CADILLAC COFFEE CO                        CAGWIN AND DORWARD                        CALDERONE INC
1801 MICHAEL ST                           PO BOX 1600                               7322 S RAINBOW BLVD 105
MADISON HEIGHTS MI 48071                  NOVATO CA 94948                           LAS VEGAS NV 89139




CALIFORNIA - FRANCHISE TAX BOARD          CALIFORNIA AIR RESOURCES BOARD            CALIFORNIA ATTORNEY GENERAL
BANKRUPTCY BE MS A345                     1001 'I' ST                               XAVIER BACERRA
PO BOX 2952                               PO BOX 2815                               1300 I ST
SACRAMENTO CA 95812-2952                  SACRAMENTO CA 95814                       SUITE 1740
                                                                                    SACRAMENTO CA 95814




CALIFORNIA DEPT OF                        CALIFORNIA DEPT OF CONSERVATION           CALIFORNIA DEPT OF INDUSTRIAL RELATIONS
TOXIC SUBSTANCES CONTROL                  801 K ST                                  SAN FRANCISCO
1001 1 ST                                 MS 24-01                                  DIRECTOR
11TH FLOOR                                SACRAMENTO CA 95814                       455 GOLDEN GATE AVE 10TH FL
SACRAMENTO CA 95814                                                                 SAN FRANCISCO CA 94102




CALIFORNIA DEPT OF INDUSTRIAL RELATIONS   CALIFORNIA DEPT OF INDUSTRIAL RELATIONS   CALIFORNIA DEPT OF INDUSTRIAL RELATIONS
LOS ANGELES                               OAKLAND                                   REDDING
DIRECTOR                                  DIRECTOR                                  DIRECTOR
320 W FOURTH ST                           1515 CLAY ST                              250 HEMSTEAD DR
LOS ANGELES CA 90013                      ROOM 401                                  2ND FL SUITE A
                                          OAKLAND CA 94612                          REDDING CA 96002


CALIFORNIA DEPT OF INDUSTRIAL RELATIONS   CALIFORNIA DEPT OF INDUSTRIAL RELATIONS   CALIFORNIA DEPT OF INDUSTRIAL RELATIONS
SANTA ANA                                 BAKERSFIELD                               SACRAMENTO
DIRECTOR                                  DIRECTOR                                  DIRECTOR
605 WEST SANTA ANA BLVD BLDG 28           7718 MEANY AVE                            2031 HOWE AVE
ROOM 625                                  BAKERSFIELD CA 93308                      SUITE 100
SANTA ANA CA 92701                                                                  SACRAMENTO CA 95825


CALIFORNIA DEPT OF INDUSTRIAL RELATIONS   CALIFORNIA DEPT OF INDUSTRIAL RELATIONS   CALIFORNIA DEPT OF INDUSTRIAL RELATIONS
SANTA BARBARA                             EL CENTRO                                 SALINAS
DIRECTOR                                  DIRECTOR                                  DIRECTOR
411 E CANON PERDIDO                       1550 W MAIN ST                            1870 N MAIN ST
ROOM 3                                    EL CENTRO CA 92243                        SUITE 150
SANTA BARBARA CA 93101                                                              SALINAS CA 93906


CALIFORNIA DEPT OF INDUSTRIAL RELATIONS   CALIFORNIA DEPT OF INDUSTRIAL RELATIONS   CALIFORNIA DEPT OF INDUSTRIAL RELATIONS
SANTA ROSA                                FRESNO                                    SAN BERNARDINO
DIRECTOR                                  DIRECTOR                                  DIRECTOR
50 'D' ST                                 770 E SHAW AVE                            464 W FOURTH ST
SUITE 360                                 SUITE 222                                 ROOM 348
SANTA ROSA CA 95404                       FRESNO CA 93710                           SAN BERNADINO CA 92401


CALIFORNIA DEPT OF INDUSTRIAL RELATIONS   CALIFORNIA DEPT OF INDUSTRIAL RELATIONS   CALIFORNIA DEPT OF INDUSTRIAL RELATIONS
LONG BEACH                                SAN DIEGO                                 STOCKTON
DIRECTOR                                  DIRECTOR                                  DIRECTOR
300 OCEANGATE                             7575 METROPOLITAN DR                      31 E CHANNEL ST
SUITE 302                                 ROOM 210                                  ROOM 317
LONG BEACH CA 90802                       SAN DIEGO CA 92108                        STOCKTON CA 95202


CALIFORNIA DEPT OF INDUSTRIAL RELATIONS   CALIFORNIA DEPT OF INDUSTRIAL RELATIONS   CALIFORNIA DEPT OF WATER RESOURCES
VAN NUYS                                  SAN JOSE                                  PO BOX 942836
DIRECTOR                                  DIRECTOR                                  SACRAMENTO CA 94236
6150 VAN NUYS BLVD                        100 PARSEO DE SAN ANTONIO
ROOM 206                                  ROOM 120
VAN NUYS CA 91401                         SAN JOSE CA 95113


CALIFORNIA ENVIRONMENTAL PROTECTION       CALIFORNIA INTEGRATED WASTE               CALIFORNIA MAINTENANCE SVC INC
AGENCY                                    MANAGEMENT BOARD                          DANIEL BUENABAD
1001 'I' ST                               1001 I ST                                 12919 HALLDALE AVE
PO BOX 2815                               PO BOX 2815                               GARDENA CA 90249
SACRAMENTO CA 95812-2815                  SACRAMENTO CA 95812-2815




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CALIFORNIA STATE BOARD OF EQUALIZATION      CALIFORNIA STATE CONTROLLER'S OFFICE      CALIFORNIA WATER SVC
(SBOE)                                      UNCLAIMED PROPERTY DIVISION               PO BOX 51967
SPECIAL OPERATIONS BANKRUPTCY TEAM          10600 WHITE ROCK RD                       LOS ANGELES CA 90051
MIC 74 PO BOX 942879                        SUITE 141
SACRAMENTO CA 94279-0074                    RANCHO CORDOVA CA 95670




CALIFORNIA WATER SVC CO                     MARY CALLAN                               CALPINE ENERGY SOLUTIONS
PO BOX 940001                               1218 DULWICH LN                           24220 NETWORK PL
SAN JOSE CA 95194                           BEL AIR MD 21014                          CHICAGO IL 60673




DESMOND CAMBELL                             CAPE FEAR PUBLIC UTILITY AUTH             CAPE FEAR PUBLIC UTILITY AUTH
1203 E GLADWICK                             PAYMENT CENTER                            PO BOX 580325
CARSON CA 90746                             235 GOVERNMENT CTR DR                     CHARLOTTE NC 28258
                                            WILMINGTON NC 28403




CAPITAL DISTRIBUTING LLC                    CAPITAL DISTRICT MECHANICAL               CAPITAL GLASS INC
421 N PORTLAND                              1000 WEDGEWOOD HEIGHTS                    2951 N DEER RUN RD
OKLAHOMA CITY OK 73107                      SCHENECTADY NY 12306                      CARSON CITY NV 89701




CAPITAL INVESTIGATIONS INC                  CAPITOL WRIGHT DISTRIBUTING LLC           CAPTIAL INVESTIGATIONS INC
PO BOX 500818                               10300 METROPOLITAN                        PO BOX 500818
ATLANTA GA 31150                            PO BOX 9190                               ATLANTA GA 31150
                                            AUSTIN TX 78766




CARDINAL PLANNING AND DESIGN INC            CARDLYTICS INC                            ELSA CARENBAUER
9009 PRESTON HWY                            75 REMITTANCE DR DEPT 3247                2073 N DOWNING ST
LOUISVILLE KY 40219                         CHICAGO IL 60675                          DENVER CO 80205




CARIOTO PRODUCE INC                         CARLSBAD VILLAGE LOCK AND KEY DBA CRAIG   CARLSON DIST CO INC
80 COHOES AVEUNE                            PAHL                                      1864 S 3730 W
GREEN ISLAND NY 12183                       3138 ROOSVELT ST STE E                    SALT LAKE CITY UT 84104
                                            CARLSBAD CA 92008




CARLY ANDERSON - ESCHEATMENT                CARMEL UTILITIES                          CAROLINA COOKWOOD LLC
1200 AVENIDA CESAR CHAVEZ SE 1422           PO BOX 109                                767 SUMMERWOOD DR
ALBUQUERQUE NM 87106                        CARMEL IN 46082                           ROCK HILL SC 29732




CAROLINA MECHANICAL SVC                     CAROLINA PREMIUM BEVERAGE                 CAROLINE PARTNERS LTD
DBA PREFERRED CHOICE HEATING AND AIR        151 ODELL SCHOOL RD                       4265 SAN FELIPE STE 550
PO BOX 4091                                 CONCORD NC 28027                          HOUSTON TX 77027
GREENVILLE SC 29608




CARROLLWOOD AREA BUSINESS ASSOCIATION INC   CARTER DISTRIBUTING CO                    CASAS ADOBES BAPTIST CHURCH
13014 NORTH DALE MABRY HWY #338             1307 BROAD ST                             PICOR COMM REAL EST SRV
TAMPA FL 33618                              CHATTANOOGA TN 37401                      1100 N WILMOT STE 200
                                                                                      TUCSON AZ 85712




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CASAS ADOBES BAPTIST CHURCH              CASCADE CHARTER TOWNSHIP                  CASS PLUMBING INC
CUSHMAN AND WAKEFIELD/PICOR              KENNETH B PEIRCE TREASURER                PO BOX 272876
DANA ELCESS PROPERTY MANAGER             2865 THORNHILLS AVE SE                    TAMPA FL 33688
1100 N WILMOT STE 200                    GRAND RAPIDS MI 49546
TUCSON AZ 85712




CASTLE AND COOKE CORONA CROSSING INC     CASTLE AND COOKE CORONA INC               CASTLE AND COOKE DEVELOPMENT
LEASE ADMIN                              LAURA WHITAKER                            KAY WILSON
PO BOX 843738                            DARLENE CARPENTER                         PROPERTY MANAGER
LOS ANGELES CA 90084                     10000 STOCKDALE HWY STE 300               2470 TUSCANY ST STE 104
                                         BAKERSFIELD CA 93311                      CORONA CA 92881




CASUAL DINING ALTAMONTE SPRINGS LLC      CASUAL DINING ALTAMONTE SPRINGS LLC       CASUAL DINING ALTAMONTE SPRINGS LLC
R NASANO                                 VAL NASANO/RICHARD NASANO                 KILLGORE, PEARLMAN, STAMP, DENIUS &
26 KNIGHTS CT                            MANAGER                                   SQUIRES, P.A. GREY SQUIRES-BINFORD, ESQ.
UPPER SADDLE RIVER NJ 07458              26 KNIGHTS CT                             2 SOUTH ORANGE AVENUE, 5TH FLOOR
                                         UPPER SADDLE RIVER NJ 07458               P.O. BOX 1913
                                                                                   ORLANDO FL 32802-1913


CASUAL DINING COOL SPRINGS LLC           CASUAL DINING COOL SPRINGS LLC            CASUAL DINING COOL SPRINGS LLC
RICHARD NASANO                           VAL NASANO/RICHARD NASANO                 LEFKOVITZ & LEFKOVITZ
26 KINGHTS CT                            MANAGER                                   STEVE LEFKOVITZ, ESQ.
UPPER SADDLE RIVER NJ 07458              26 KNIGHTS CT                             618 CHURCH STREET
                                         UPPER SADDLE RIVER NJ 07458               SUITE 410
                                                                                   NASHVILLE TN 37219


CAVALIER DISTRIBUTIING INC               CBL - FRIENDLY CENTER LLC                 CBL AND ASSOCIATES MANAGEMENT INC
4650 LAKE FOREST DR STE 580              CBL AND ASSOCIATES PROPERTIES             CBL AND ASSOCIATES PROPERTIES
BLUE ASH OH 45242                        JEFF CURRY CHIEF LEGAL OFFICER            JEFF CURRY CHIEF LEGAL OFFICER
                                         2030 HAMILTON PL BLVD CBL CTR STE 500     2030 HAMILTON PL BLVD CBL CTR STE 500
                                         CHATTANOOGA TN 37421                      CHATTANOOGA TN 37421




CBL-TRS JOINT VENTURE LLC                CBLFRIENDLY CENTER LLC                    CBS - CUSTOM BUSINESS SOLUTIONS INC
PO BOX 74480                             BLANCO TACKABERY & MATAMOROS, P.A.        12 MORGAN
CLEVELAND OH 44194                       ELLIOT A. FUS, ESQ.                       IRVINE CA 92618
                                         POST OFFICE DRAWER 25008
                                         WINSTON-SALEM NC 27114-5008




CBS RADIO KMLE-FM                        CDW DIRECT LLC                            CE HOLT REFRIGERATION INC
345 HUDSON ST 10TH FL                    PO BOX 75723                              3316 GIBBON RD
NEW YORK NY 10014                        CHICAGO IL 60675                          CHARLOTTE NC 28269




CEDAR HILL POLICE DEPART ALARM UNIT      CEILING PRO ETC INC                       CELING PRO ETC INC
285 UPTOWN BLVD BLDG 200                 30924 SUNEAGLE DR $211                    PO BOX 784
CEDAR HILL TX 75104                      MT DORA FL 32757                          SORRENTO FL 32776




ROBINS CELLARS                           CENTENNIAL LAKES GRILL LLC                CENTENNIAL LAKES GRILL LLC UNITED
9878 MAYLAND DR                          UNITED PROPERTIES INVESTMENT LLC          PROPERTIES
RICHMOND VA 23233                        EVA STEVENS EXE VP ASSET MNGMT            SDS 12 2659 PO BOX 86
                                         3600 AMERICAN BLVD WEST STE 750           MINNEAPOLIS MN 55486
                                         BLOOMINGTON MN 55431




CENTERPOINT ENERGY                       CENTERPOINT ENERGY                        CENTERPOINT ENERGY
PO BOX 4583                              PO BOX 4671                               PO BOX 4981
HOUSTON TX 77210                         HOUSTON TX 77210                          HOUSTON TX 77210




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CENTERPOINT ENERGY SVC                  CENTERPOINT ENERGY SVCS RETAIL            CENTERPOINT ENERGY SVCS RETAIL
PO BOX 301149                           PO BOX 873112                             PO BOX 5603
DALLAS TX 75303                         KANSAS CITY MO 64187                      DENVER CO 80217




CENTRAL DISTRIBUTORS INC AR             CENTRAL DISTRIBUTORS INC ME               CENTRAL DISTRIBUTORS OF BEER
1423 E 26TH ST                          15 FOSS RD                                28100 GORSUCH AVE
LITTLE ROCK AR 72206                    LEWISTON ME 04241                         ROMULUS MI 48174




CENTRAL MAINE POWER                     CENTRAL REALTY CORP                       CENTRAL REALTY HOLDINGS LLC
PO BOX 847810                           TODD HARDAWAY VP LEASING AND PROP MNGT    PO BOX 1805
BOSTON MA 02284                         PO BOX 1805 400 EAST STONE AVE            GREENVILLE SC 29602
                                        GREENVILLE SC 29602




CENTRAL STATES SVC INC                  CENTRAL WHOLESALE LIQUOR                  CENTURYLINK 303 278 4146 498B
PO BOX 1476                             605 N TULSA                               PO BOX 91155
LAKE OZARK MO 65049                     OKLAHOMA CITY OK 73107                    SEATTLE WA 98111




CENTURYLINK 416777009                   CENTURYLINK 719 576 9979 481B             CERRITOS GARP LLC
PO BOX 4300                             PO BOX 91155                              FELECIA SERRA DIRECTOR OF PROPERTY
CAROL STREAM IL 60197-4300              SEATTLE WA 98111                          977 LOMAS SANTA FE DR STE A
                                                                                  SOLANA BEACH CA 92075




CFP FIRE PROTECTION INC                 CFS COMPLETE FACILITY SOLUT INC           CH LANDSCAPE SVC LLC
153 TECHNOLOGY DR #200                  2230 N RIDGE RD                           PO BOX 19461
IRVINE CA 92618                         WICHITA KS 67205                          SUGAR LAND TX 77496




CH/MG RAMSEY OWNER LLC                  CHADHA ET AL V MAC ACQUISITION LLC        CHADHA ET AL V MAC ACQUISITION LLC
C O FEDERMAN STEIFMAN LLP               SAHIBA CHADHA SUBASH CHADHA               C/O RASNER & RASNER
ARIANA GOLUB SR TRANSACTION MGR         MAMTA CHADHA, MANISH CHADHA               ATTN: ELAN N. STONE
220 EAST 42ND ST 29TH FL                7390 E KITE DR                            18881 VON KARMAN AVE, STE 920
NEW YORK NY 10017                       ANAHEIM HILLS CA 92808                    IRVINE CA 92612




CHAMPAGNE BEVERAGE CO                   CHAMPION ENERGY SVC LLC                   CHAMPION INDUSTRIAL CONTRACTORS INC
620 TYLER ST                            #774723                                   1420 COLDWELL AVE
COVINGTON LA 70433                      4723 SOLUTIONS CTR                        MODESTO CA 95350
                                        ACCTS STARTNG WITH 53 60 OR 79
                                        CHICAGO IL 60677




CHAMPION MANAGERMENT GROUP LLC          CHANSON LLC                               CHANSON LLC
15455 DALLAS PKWY #1350                 JORDON PERLMUTTER AND CO                  C O JORDON PERLMUTTER AND CO
ADDISON TX 75001                        PO BOX 480070                             KENYA JENKINS DIR PROP MANAGEMENT
                                        DENVER CO 80248                           1601 BLAKE ST STE 600
                                                                                  DENVER CO 80202




CHARLIE SCIARA AND SON PRODUCE CO INC   CHARLOTTE FIRE DEPT                       CHARTER 8245 10 042 0182400
4700 BURBANK RD                         PO BOX 31032                              PO BOX 60229
MEMPHIS TN 38118                        CHARLOTTE NC 28231                        LOS ANGELES CA 90060-0229




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CHARTER 8246 10 001 8079165               CHARTER 8351 10 002 4182038                 CHARTER 8381 36 005 0722396
PO BOX 790261                             PO BOX 742614                               PO BOX 742614
ST. LOUIS MO 63179                        CINCINNATI OH 45274                         CINCINNATI OH 45274




CHARTER 8783 30 001 1988375               CHARTER TOWNSHIP OF SHELBY                  CHARTER TOWNSHIP OF SHELBY
PO BOX 742615                             MICHAEL FLYNN TREASURER                     SHELBY TOWNSHIP TAX COLLECTIONS
CINCINNATI OH 45274                       52700 VAN DYKE                              DEPT 77598
                                          SHELBY TOWNSHIP MI 48316                    52700 VAN DYKE SHELBY TOWNSHIP MI 48316
                                                                                      DETROIT MI 48277-0598




CHASE ELECTRIC CO LLC DBA BRUCE CAMPBEL   CHATHAM COUNTY HEALTH DEPT                  CHATHAM COUNTY TAX COMMISSIONER
PO BOX 10111                              PO BOX 14257                                CHATHAM CO TAX COMM PYMT LOCKBOX
ALBANY NY 12201                           SAVANNAH GA 31416                           PO BOX 117037
                                                                                      ATLANTA GA 30368-7037




CHATTANOOGA GAS                           CHEF DUDS INC                               CHEF'S TOYS
PO BOX 59004                              300 SHAWNEE NORTH DR STE 300                PO BOX 8445
KNOXVILLE TN 37950                        SUWANEE GA 30024                            FOUNTAIN VALLEY CA 92728




CHEFWEAR INC                              CHEROKEE CEILING AND WALL DBA JOHN LUDLAM   CHESBAY DISTRIBUTING LLC
8410 W SANDIDGE RD                        1046 FAIRWAY FARM RD                        3928 COOK BLVD
OLIVE BRANCH MS 38654                     NEW ELLENTON SC 29809                       CHESAPEAKE VA 23323




CHESTERFIELD MALL LLC                     CHESTERFIELD MALL LLC                       CHICAGO METROPOLITAN FIRE PREVENTION CO INC
CBL AND ASSOCIATES MANAGEMENT INC         CBL AND ASSOCIATES MANAGEMENT INC           820 N ADDISON AVE
GENERAL MANAGER                           DIRECTOR OF MALL MANAGEMENT                 ELMHURST IL 60126
291 CHESTERFIELD MALL                     JEFF CURRY CHIEF LEGAL OFFICER
CHESTERFIELD MO 63017                     2030 HAMILTON PL BLVD CBL CTR STE 500
                                          CHATTANOOGA TN 37421


CHICKFILA INC                             CHIEF END LLC DBA ANC EQUIPMENT SVC         CHRISTENSEN AND PLOUFF LAND SURVEYING
REAL PROPERTY ASSET MANAGEMENT            2690 COBB PKWY                              27821 FREMONT CT #6
DAN LUDLAM SR MANAGER RE COUNSEL          STE A-5 #365                                VALENCIA CA 91355
5200 BUFFINGTON RD                        SMYRNA GA 30080
ATLANTA GA 30349




CHRISTIAN BROTHERS PLUMBING INC           CHRISTOPHER LAWRENCE LUNSFORD               CINCINNATI BELL 513-107-9886 736
24819 VAN DYKE                            PO BOX 1274                                 PO BOX 748003
CENTER LINE MI 48015                      DAPHNE AL 36526                             CINCINNATI OH 45274




CINTAS                                    CINTAS CORP                                 CINTAS CORP
PO BOX 631025                             PO BOX 625737                               2425 N NEVADA ST
CINCINNATI OH 45263-1025                  CINCINNATI OH 45262                         CHANDLER AZ 85225




CINTAS CORP                               CINTAS CORP #2                              CINTAS CORP 630910
PO BOX 630803                             4601 CREEKSTONE DR                          PO BOX 630910
CINCINNATI OH 45263                       STE 200                                     LOCATION 212
                                          DURHAM NC 27703                             CINCINNATI OH 45263-0910




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CINTAS FIRE 636525                      CIRCLE CITY PRODUCE INC                    CISCO SYSTEMS CAPITAL CORP
PO BOX 636525                           4733 MASSACHUSETTS AVE                     PROPERTY TAX ALLIANCE INC
CINCINNATI OH 45263-6525                INDIANAPOLIS IN 46218                      PO BOX 311746
                                                                                   NEW BRAUNFELS TX 78131-1746




CISCO SYSTEMS CAPITAL CORP              CISCO SYSTEMS CAPITAL CORP                 CITIZENS ENERGY GROUP
PO BOX 742927                           170 W TASMAN DR                            PO BOX 7056
LOS ANGELES CA 90074                    MS SJ133                                   INDIANAPOLIS IN 46207
                                        SAN JOSE CA 95134




CITIZENS WATER                          CITY BEVERAGES - ORLANDO                   CITY CLERK - TREASURER
PAYMENT PROCESSING CENTER               10928 FLORIDA CROWN DR                     PO BOX 040003
PO BOX 1990                             ORLANDO FL 32824                           HUNTSVILLE AL 35804
INDIANAPOLIS IN 46206




CITY FIRE EQUIPMENT CO INC              CITY FIRE INC                              CITY MAP PROJECT DBA TARGET COMM
733 RIDGEDALE AVE STE 203               5708 SW 25TH ST                            7766 EWING BLVD STE 200
EAST HANOVER NJ 07936                   WEST PARK FL 33023                         FLORENCE KY 41042




CITY OF ALBUQUERQUE                     CITY OF ALBUQUERQUE FIRE DEPT              CITY OF ALDERWOOD WA
PO BOX 25700                            PO BOX 25625                               LIQUOR LICENSE
ALBUQUERQUE NM 87102                    ALBUQUERQUE NM 87125                       3600 E HARTSON AVE
                                                                                   SPOKANE WA 99202




CITY OF ALDERWOOD WA                    CITY OF ALDERWOOD WA                       CITY OF ALDERWOOD WA
STATE OF WASHINGTON                     VIRGINIA DEPART OF ALCOHOLIC BEVERAGE      WASHINGTON STATE LIQUOR AND CANNABIS
BUSINESS LICENSING SVC                  CONTORL                                    BOARD
PO BOX 9034                             PO BOX 27491                               3000 PACIFIC AVE SE
OLYMPIA WA 98507-9034                   RICHMOND VA 23261                          OLYMPIA WA 98504




CITY OF ALPHARETTA                      CITY OF ALPHARETTA                         CITY OF ALPHARETTA
ALCOHOL BEVERAGE TAX                    PO BOX 349                                 FINANCE DEPT TAX
PO BOX 349                              ALPHARETTA GA 30009                        PO BOX 117022
ALPHARETTA GA 30009                                                                ATLANTA GA 30368-7022




CITY OF ALTAMONTE SPRINGS               CITY OF ALTAMONTE SPRINGS                  CITY OF ANAHEIM
225 NEWBURYPORT AVE                     UTILITY DEPT                               ANAHEIM FIRE DEPT
ALTAMONTE SPRINGS FL 32701              225 NEWBURYPORT AVE                        201 S ANAHEIM BLVD STE 300
                                        ALTAMONTE SPR FL 32701                     ANAHEIM CA 92805




CITY OF ANAHEIM                         CITY OF ANAHEIM                            CITY OF ANN ARBOR
BUINESS LICENSE DIVISION                201 S ANAHEIM BLVD                         301 E HURON
PO BOX 61042                            PO BOX 3069                                ANN ARBOR MI 48104
ANAHEIM CA 92803                        ANAHEIM CA 92803




CITY OF ANN ARBOR TREASURER             CITY OF ANN ARBOR TREASURER                CITY OF ANN ARBOR WATER UTIL
DEPT 77602                              PO BOX 77000                               CITY OF ANN ARBOR TREASURER
PO BOX 77000                            DETROIT MI 48277                           DEPT# 77610
DETROIT MI 48277-0602                                                              PO BOX 77000
                                                                                   DETROIT MI 48277




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CITY OF ARLINGTON                       CITY OF ARLINGTON                           CITY OF ARLINGTON
POLICE ALARM OFFICE                     MAIL STOP 07-0100                           101 W ABRAM ST
PO BOX 1065                             PO BOX 90231                                MAIL STOP 01-0241
ARLINGTON TX 76004                      ARLINGTON TX 76004                          ARLINGTON TX 76010




CITY OF ARLINGTON                       CITY OF ARLINGTON                           CITY OF ARLINGTON
LIQUOR LICENSE                          ARLINGTON REGIONAL OFFICE                   TEXAS ALCOHOLIC BEVERAGE COMMISSION
CITY HALL                               LICENSING AND ENFORCEMENT                   5806 MESA DR
101 Q. ABRAM ST                         2225 RANDOL MILL RD                         AUSTIN TX 78731
2ND FL                                  STE 200
ARLINGTON TX 76010                      ARLINGTON TX 76011


CITY OF AUBURN HILLS                    CITY OF AUBURN HILLS                        CITY OF AURORA
1827 N SQUIRREL RD                      TREASURERS OFFICE                           TAX AND LICENSING
AUBURN HILLS MI 48326                   1827 N SQUIRREL RD                          15151 E ALAMEDA PKWY 1100
                                        AUBURN HILLS MI 48326                       AURORA CO 80012




CITY OF AURORA                          CITY OF AUSTIN                              CITY OF AUSTIN
TAX AND LICENSING DIVISION              POLICE DEPT ALARM UNIT                      PO BOX 2267
PO BOX 33001                            PO BOX 684279                               AUSTIN TX 78783
AURORA CO 80041                         AUSTIN TX 78768




CITY OF BAKERSFIELD                     CITY OF BAKERSFIELD                         CITY OF BIRMINGHAM
PO BOX 2057                             BAKERSFIELD FARB                            PO BOX 830638
BAKERSFIELD CA 93303                    PO BOX 749899                               BIRMINGHAM AL 35283
                                        LOS ANGELES CA 90074




CITY OF BOCA RATON                      CITY OF BOCA RATON                          CITY OF BUFORD
201 W PALMETTO PK RD                    UTILITIES PROCESSING CTR                    2300 BUFORD HWY
BOCA RATON FL 33432                     PO BOX 31042                                BUFORD GA 30518
                                        TAMPA FL 33631




CITY OF BUFORD                          CITY OF BUFORD                              CITY OF CEDAR HILL
ALCOHOL LICENSE                         GEORGIA                                     285 UPTOWN BLVD BLDG 1
2300 BUFORD HWY                         1800 CENTURY BLVD NE                        CEDAR HILL TX 75104
BUFORD GA 30518                         ATLANTA GA 30345




CITY OF CEDAR HILL                      CITY OF CERRITOS BUSINESS LIC DVI           CITY OF CERRITOS WATER BILLING
PO BOX 205232                           PO BOX 3130                                 PO BOX 51761
DALLAS TX 75320                         CERRITOS CA 90703                           LOS ANGELES CA 90051




CITY OF CHARLOTTE                       CITY OF CHATTANOOGA                         CITY OF CHULA VISTA
BILLING CENTER                          WASTE RESOURCES DIVISION                    ALARMS PAYMENT PROCESSING
PO BOX 1316                             PO BOX 591                                  PO BOX 142588
CHARLOTTE NC 28201                      CHATTANOOGA TN 37401                        IRVING TX 75014




CITY OF CLEARWATER                      CITY OF CLEVELAND DIV OF WATER              CITY OF COLORADO SPRINGS
CUSTOMER SVC                            PO BOX 94540                                PO BOX 1575MC 110
PO BOX 30020                            CLEVELAND OH 44101                          COLORADO SPRINGS CO 80901
TAMPA FL 33630




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CITY OF COLUMBIA                      CITY OF COLUMBIA MISSOURI                   CITY OF CORONA
PO BOX 7997                           UTILITIES DEPT                              400 S VICENTIA AVE
COLUMBIA SC 29202                     PO BOX 1676                                 CORONA CA 92878
                                      COLUMBIA MO 65205




CITY OF CORONA                        CITY OF CORPUS CHRISTI                      CITY OF CORPUS CHRISTI
DEPT OF WATER AND POWER               FIRE PERMITS CENTRAL CASHIER                2406 LEOPARD ST
PO BOX 6040                           PO BOX 9257                                 CORPUS CHRISTI TX 78408
ARTESIA CA 90702                      CORPUS CHRISTI TX 78469




CITY OF CORPUS CHRISTI                CITY OF CORPUS CHRISTI ALARM PROGRAM        CITY OF CORPUS CHRISTI FIRE PERMITS
PO BOX 659722                         PO BOX 141869                               PO BOX 9257
SAN ANTONIO TX 78265                  IRVING TX 75014-1869                        CORPUS CHRISTI TX 78469




CITY OF DALLAS                        CITY OF DALLAS                              CITY OF DALLAS
DEPT OF CODE COMPLIANCE               CITY HALL                                   SPECIAL COLLECTIONS DIVISION
CONSUMER HEALTH DIVISION              2D SOUTH                                    PO BOX 139076
DALLAS TX 75238                       DALLAS TX 75277                             DALLAS TX 75313




CITY OF DALLAS                        CITY OF DORAL                               CITY OF DORAL FALSE ALARM UNIT
PO BOX 139076                         PO BOX 864662                               6100 NW 99TH AVE
DALLAS TX 75313                       ORLANDO FL 32886-2662                       DORAL FL 33178




CITY OF EDINA                         CITY OF EDINA UTILITY BILLING               CITY OF EL CERRITO
4801 W 50TH ST                        4801 W 50TH ST                              FINANCE DEPT
EDINA MN 55424                        EDINA MN 55424                              10890 SAN PABLO AVE
                                                                                  EL CERRITO CA 94539




CITY OF EL PASO                       CITY OF ELK GROVE                           CITY OF ELK GROVE
811 TEXAS AVE                         8401 LAGUNA PALMS WAY                       ALARM UNIT
EL PASO TX 79901                      ELK GROVE CA 95758                          8400 LAGUNA PALMS WAY
                                                                                  ELK GROVE CA 95758




CITY OF ELK GROVE                     CITY OF ENGLEWOOD                           CITY OF ESCONDIDO
PAYMENT PROCESSING                    1000 ENGLEWOOD PKWY                         A/R
PO BOX 45803                          ENGLEWOOD CO 80110                          201 N BROADWAY
SAN FRANCISCO CA 94145                                                            ESCONDIDO CA 92025




CITY OF ESCONDIDO                     CITY OF ESCONDIDO                           CITY OF FOLSOM
ALARM DEPT                            UTILITY BILLING                             ALARM ADMINISTRATION PROGRAM
PO BOX 1783                           PO BOX 460009                               PO BOX 398101
ESCONDIDO CA 92033                    ESCONDIDO CA 92046                          SAN FRANCISCO CA 94139-8101




CITY OF FOLSOM                        CITY OF FORT COLLINS                        CITY OF FORT COLLINS
PO BOX 7463                           PO BOX 580                                  CITY CLERK'S OFFICE
SAN FRANCISCO CA 94120                FT COLLINS CO 80522                         PO BOX 580
                                                                                  FORT COLLINS CO 80522




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CITY OF FORT WORTH                     CITY OF FORT WORTH FIRE DEPT              CITY OF FORT WORTH TEXAS
818 MISSOURI AVE RM 154                PO BOX 17026                              1000 THROCKMORTON ST
FORT WORTH TX 76104                    FORT WORTH TX 76102                       FT WORTH TX 76102




CITY OF FORT WORTH WATER DEPT          CITY OF FRANKLIN                          CITY OF FRANKLIN CUSTOMER SERV
PO BOX 961003                          PO BOX 705                                FRANKLIN WATER AND WASTEWTR DEPT
FORT WORTH TX 76161                    FRANKLIN TN 37065                         PO BOX 306097
                                                                                 NASHVILLE TN 37230




CITY OF FRANKLIN CUSTOMER SVC          CITY OF FRESNO                            CITY OF FRESNO
FRANKLIN STORMWATER DEPT               PO BOX 45017                              UTILITIES BILLING AND COLLECTION
PO BOX 306097                          FRESNO CA 93718                           PO BOX 2069
NASHVILLE TN 37230                                                               FRESNO CA 93718




CITY OF FRISCO                         CITY OF FRISCO                            CITY OF FRISCO HEALTH FOOD AND SAFETY
OFFICE OF CITY SECRETARY               PO BOX 2730                               6101 FRISCO SQ BLVD 3RD FL
6101 FRISCO SQUARE BLVD                FRISCO TX 75034                           FRISCO TX 75034
FRISCO TX 75034




CITY OF GERMANTOWN                     CITY OF GOODYEAR                          CITY OF GRAND RAPIDS
PO BOX 38809                           BUSINESS REGISTRATION                     GRAND RAPIDS CITY TREASURER
GERMANTOWN TN 38183                    190 N LITCHFIELD RD                       RM 220 CITY HALL WATER SEWER
                                       GOODYEAR AZ 85338                         300 MONROE AVE NW
                                                                                 GRAND RAPIDS MI 49503




CITY OF GRAPEVINE WATER DEPT           CITY OF GREENSBORO                        CITY OF GREENSBORO
PO BOX 2503                            PO BOX 26120                              PO BOX 1170
GRAPEVINE TX 76099                     GREENSBORO NC 27402                       GREENSBORO NC 27402




CITY OF GREENVILLE ALARM BILLING       CITY OF GREENWOOD VILLAGE                 CITY OF GREENWOOD VILLAGE
4 MCGEE ST                             6060 S QUEBEC ST                          PO BOX 910841
GREENVILLE SC 29601-2256               GREENWOOD VILLAGE CO 80111-4591           DENVER CO 80274




CITY OF HENDERSON                      CITY OF HOUSTON                           CITY OF HOUSTON
PO BOX 95050                           PERMIT AND ENFORCEMENT                    SIGN ADMINISTRATION
HENDERSON NV 89009                     PO BOX 1561                               PO BOX 2688
                                       HOUSTON TX 77251                          HOUSTON TX 77252




CITY OF HOUSTON                        CITY OF HOUSTON                           CITY OF HOUSTON ARA ALARM
SOLID WASTE MANAGEMENT DEPT            PO BOX 1560                               PO BOX 203887
PO BOX 1562                            HOUSTON TX 77251                          HOUSTON TX 77216
HOUSTON TX 77251




CITY OF HOUSTON DBA                    CITY OF HOUSTON FIRE DEPT                 CITY OF HOUSTON FIRE SECTION
DEPT OF HEALTH AND HUMAN SVC           PO BOX 3625                               1002 WASHINGTON AVE
PO BOX 300008                          HOUSTON TX 77253                          HOUSTON TX 77022
HOUSTON TX 77230




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CITY OF HOUSTON SOLID WASTE MANAGEMENT   CITY OF HUNTINGTON BEACH                     CITY OF HUNTINGTON BEACH
PO BOX 1562                              CITY TREATURER                               2000 MAIN ST
HOUSTON TX 77251                         PO BOX 711                                   HUNTINGTON BEACH CA 92648
                                         HUNTINGTON BEACH CA 92648




CITY OF HUNTINGTON BEACH                 CITY OF HUNTSVILLE                           CITY OF IRVINE
FINANCE DEPT                             LICENSE RENEWAL                              FINANCE DEPT
PO BOX 711                               PO BOX 308                                   PO BOX 19575
HUNTINGTON BH CA 92648                   HUNTSVILLE AL 35804                          IRVINE CA 92623




CITY OF JACKSON                          CITY OF JEFFERSONTOWN                        CITY OF JEFFERSONTOWN
CITY SVC                                 PO BOX 991457                                10416 WATERSON TRL
DEPT # 03-079                            LOUISVILLE KY 40269-1457                     JEFFERSONTOWN KY 40299
PO BOX 1595
JACKSON MS 39215




CITY OF JEFFERSONTOWN                    CITY OF LAKE MARY                            CITY OF LAKELAND
PO BOX 991458                            UTILITY BILLING                              CITY HALL FINANCE DEPT
JEFFERSONTOWN KY 40269                   PO BOX 950715                                CUSTOMER BILLING
                                         LAKE MARY FL 32795                           228 S MASSACHUSETTS AVE
                                                                                      LAKELAND FL 33801




CITY OF LAKEWOOD REVENUE DIVISION        CITY OF LANCASTER PA                         CITY OF LAS VEGAS
REVEUE DIVISION                          PO BOX 1020                                  TREASURERS OFFICE
480 S ALLISON PKWY                       LANCASTER PA 17608                           495 S MAIN ST
LAKEWOOD CO 80226                                                                     LAS VEGAS NV 89101




CITY OF LAS VEGAS                        CITY OF LAS VEGAS BUSINESS LICENSE RENEWAL   CITY OF LAS VEGAS BUSINESS LICENSING
DEPT OF FINANCE AND BUSINESS SVC         PO BOX 748018                                333 N RANCHO DR 6TH FL
PO BOX 748027                            LOS ANGELES CA 90074                         LAS VEGAS NV 89106
LOS ANGELES CA 90074




CITY OF LAS VEGAS SEWER SVCS             CITY OF LEWISVILLE                           CITY OF LEWISVILLE
DEPT OF FINANCE                          PO BOX 299002                                PO BOX 731962
PO BOX 748022                            LEWISVILLE TX 75029                          DALLAS TX 75373
LOS ANGELES CA 90074




CITY OF LITTLE ROCK                      CITY OF LITTLE ROCK                          CITY OF LITTLE ROCK
DEPT OF PLANNING AND DEVELOPMENT         TREASURY MANAGEMENT DIVISION                 TREASURY MANAGEMENT DIVISION
723 WEST MARKHAM ST                      500 W MARKHAM RM 100                         100 CITY HALL 500 W MARKHAM
LITTLE ROCK AR 72201-1334                LITTLE ROCK AR 72201                         LITTLE ROCK AR 72201




CITY OF LITTLETON                        CITY OF LIVONIA                              CITY OF LIVONIA WATER AND SEWER
PO BOX 1258                              33000 CIVIC CTR DR                           PO BOX 674191
ENGLEWOOD CO 80150                       LIVONIA MI 48154-3060                        DETROIT MI 48267




CITY OF LOS ANGELES                      CITY OF LOS ANGELES                          CITY OF LOS ANGELES
FALSE ALARMS                             DEPT OF PUBLIC WORKS                         OFFICE OF FINANCE
PO BOX 30879                             PO BOX 30749                                 PO BOX 513996
LOS ANGELES CA 90030                     LOS ANGELES CA 90030                         LOS ANGELES CA 90051-3996




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CITY OF LYNNWOOD                       CITY OF LYNNWOOD                          CITY OF MANDEVILLE
19100 44TH AVE W                       PO BOX 24164                              3101 E CAUSEWAY APP
PO BOX 5008                            SEATTLE WA 98124                          MANDEVILLE LA 70448
LYNNWOOD WA 98046




CITY OF MEMPHIS - PERMITS OFFICE       CITY OF MILPITAS                          CITY OF MILPITAS
2714 UNION AVE EXT 1ST FL              FINANCE DEPT                              PO BOX 7006
MEMPHIS TN 38112                       455 E CALAVERAS BLVD                      SAN FRANCISCO CA 94120
                                       MILPITAS CA 95035




CITY OF MINNETONKA                     CITY OF MOBILE REVENUE DEPT               CITY OF MONTCLAIR
14600 MINNETONKA BLVD                  PO BOX 11407                              FINANCE DEPT
MINNETONKA MN 55345                    DEPT 1530                                 PO BOX 2308
                                       BIRMINGHAM AL 35246                       MONTCLAIR CA 91763




CITY OF MURFREESBORO                   CITY OF MURRAY                            CITY OF OCEANSIDE
PO BOX 1139                            4646 S 500 W                              PWD PROPERTY MGMT JCOOK
MURFREESBORO TN 37133                  MURRAY UT 84107                           300 N COAST HWY
                                                                                 OCEANSIDE CA 92054




CITY OF OCEANSIDE                      CITY OF OKLAHOMA CITY                     CITY OF OKLAHOMA CITY
PO BOX 513106                          LICENSE DEPT                              PO BOX 26570
LOS ANGELES CA 90051                   420 W MAIN 8TH FL                         OKLAHOMA CITY OK 73126
                                       OKLAHOMA CITY OK 73102




CITY OF OVERLAND PARK                  CITY OF PEMBROKE PINES                    CITY OF PENSACOLA
COMMUNITY SVC                          13975 PEMBROKE RD                         PO BOX 12910
8500 ANTIOCH RD                        PEMBROKE PINE FL 33027                    PENSACOLA FL 32521
OVERLAND PARK KS 66212




CITY OF PENSACOLA FLORIDA              CITY OF PHOENIX                           CITY OF PHOENIX
LOCAL BUSINESS TAX                     PO BOX 29117                              PO BOX 29115
PO BOX 12910                           PHOENIX AZ 85038                          PHOENIX AZ 85038
PENSACOLA FL 32521




CITY OF PHOENIX                        CITY OF PHOENIX                           CITY OF PHOENIX POLICE DEPT
PO BOX 29100                           PO BOX 78663                              PO BOX 29117
PHOENIX AZ 85038                       PHOENIX AZ 85062                          PHOENIX AZ 85038




CITY OF PLANO                          CITY OF PLANO                             CITY OF PLANO ENVIRONMENTAL HEALTH
ACCOUNTING DEPT                        PO BOX 861990                             1520 K AVE #210
PO BOX 860358                          PLANO TX 75086                            PLANO TX 75074
PLANO TX 75086




CITY OF PLANTATION                     CITY OF PLANTATION                        CITY OF PORTLAND
400 NW 73TD AVE                        UTILITIES DEPT                            LIQUOR LICENSE
PLANTATION FL 33317                    PO BOX 31132                              CITY TREASURY DIVISION
                                       TAMPA FL 33631                            RM 102
                                                                                 PORTLAND ME 04101




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CITY OF PORTLAND                          CITY OF PROVO LICENSING DIV                CITY OF RALEIGH
MAINE BUREAU OF ALCOHOL BEVERAGES         PO BOX 1849                                FIRE INSPECTION DIVISION
AND LOTTERY OPERATIONS                    PROVO UT 84603                             PO BOX 30213
8 STATE HOUSE STATION                                                                RALEIGH NC 27622
AUGUSTA ME 4333




CITY OF RALEIGH                           CITY OF RALIEGH-FALSE ALARM ORDINANCE      CITY OF REDLANDS
PO BOX 71081                              PROGRAM                                    FINANCE - REVENUE DIVISION
CHARLOTTE NC 28272                        PO BOX 30609                               35 CAJON ST STE 15B
                                          RALIEGH NC 27622                           REDLANDS CA 92373




CITY OF REDLANDS                          CITY OF RENO                               CITY OF ROSEVILLE
PO BOX 6903                               PO BOX 1900                                8839 N CEDAR AVE #212
REDLANDS CA 92375                         RENO NV 89505                              FRESNO CA 93720-1832




CITY OF ROSEVILLE                         CITY OF ROUND ROCK                         CITY OF ROUND ROCK
PO BOX 45807                              221 E MAIN                                 UTILITY BILLING DEPT
SAN FRANCISCO CA 94145                    ROUND ROCK TX 78664                        221 E MAIN ST
                                                                                     ROUND ROCK TX 78664




CITY OF SAN ANTONIO                       CITY OF SAN ANTONIO                        CITY OF SAVANNAH
FINANCIAL SVCS DIV REV                    SAN ANTONIO POLICE DEPT                    1400 E PRESIDENT ST
PO BOX 60                                 ALARMS INVESTIGATION OFFICE                SAVANNAH GA 31404
SAN ANTONIO TX 78291                      SAN ANTONIO TX 78207




CITY OF SAVANNAH                          CITY OF SAVANNAH REVENUE DEPT              CITY OF SCOTTSDALE
UTILITY SVC DIVISION                      PO BOX 1228                                PO BOX 52799
PO BOX 1968                               SAVANNAH GA 31402                          PHOENIX AZ 85072-2799
SAVANNAH GA 31402




CITY OF SCOTTSDALE                        CITY OF SCOTTSDALE                         CITY OF SCOTTSDALE
7447 E INDIAN SCHOOL RD #110              PO BOX 1949                                PO BO 52799
SCOTTSDALE AZ 85251                       SCOTTSDALE AZ 85252                        PHOENIX AZ 85072




CITY OF SEAL BEACH                        CITY OF SEAL BEACH                         CITY OF SELMA
211 8TH ST CITY HALL                      UTILITY BILLING                            9375 CORPORATE DR
SEAL BEACH CA 90740                       211 EIGHTH ST                              SELMA TX 78154
                                          SEAL BEACH CA 90740




CITY OF SHREVEPORT                        CITY OF SIMI VALLEY                        CITY OF SIMI VALLEY
DEPT OF WATER AND SEWERAGE                2929 TAPO CANYON RD                        PO BOX 1680
PO BOX 30065                              SIMI VALLEY CA 93063                       SIMI VALLEY CA 93062
SHREVEPORT LA 71153




CITY OF SOUTH PORTLAND                    CITY OF SOUTH PORTLAND                     CITY OF SPRINGDALE
PO BOX 6700                               CITY CLERKS OFFICE                         11700 SPRINGFIELD PIKE
LEWISTON ME 04243                         PO BOX 9422                                SPRINGDALE OH 45246
                                          SOUTH PORTLAND ME 04116




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CITY OF ST PETERS                       CITY OF ST PETERSBURG                      CITY OF ST PETERSBURG
UTILITY BILLING                         PO BOX 2842                                PO BOX 33034
PO BOX 9                                ST PETERSBURG FL 33731                     ST PETERSBURG FL 33733
ST PETERS MO 63376




CITY OF STOCKTON                        CITY OF STOCKTON                           CITY OF STOCKTON
BUSINESS LICENSE DIVISION               PO BOX 2107                                PO BOX 2590
PO BOX 1570                             STOCKTON CA 95201                          OMAHA NE 68103
STOCKTON CA 95201




CITY OF TALLAHASSEE                     CITY OF TAMPA UTILITIES                    CITY OF TEMECULA
435 N MACOMB ST RELAY BOX               PO BOX 30191                               41000 MAIN ST
TALLAHASSEE FL 32301                    TAMPA FL 33630                             TEMECULA CA 92589




CITY OF TORRANCE UTILITIES              CITY OF TUCSON                             CITY OF TUCSON
PO BOX 51159                            LICENSE SECTION                            PO BOX 27320
LOS ANGELES CA 90051                    255 W ALAMEDA                              TUCSON AZ 85726
                                        TUCSON AZ 85701




CITY OF TUCSON                          CITY OF VENTURA                            CITY OF VENTURA BUSINESS TAX OFFICE
PO BOX 28804                            501 POLI ST STE 107                        TREASURY DIVISION
TUCSON AZ 85726                         VENTURA CA 93001                           PO BOX 99
                                                                                   VENTURA CA 93002




CITY OF VIRGINIA BEACH                  CITY OF VIRGINIA BEACH                     CITY OF WELLINGTON
MUNICIPAL CENTER BLDG 1                 CITY TREASURER                             12300 W FOREST HILL BLVD
2401 COURTHOUSE DR                      MUNICIPAL CENTER BLDG 1                    WELLINGTON FL 33414
VIRGINIA BEACH VA 23456                 2401 COURTHOUSE DR
                                        VIRGINIA BEAC VA 23456




CITY OF WESTMINSTER                     CITY OF WESTMINSTER                        CITY OF WHEATON
4800 W 92ND AVE                         PO BOX 17040                               303 W WESLEY ST
WESTMINSTER CO 80031                    DENVER CO 80217                            PO BOX 727
                                                                                   WHEATON IL 60189




CITY OF WHEATON                         CITY OF WILMINGTON                         CITY OF WINSTON SALEM
PO BOX 4226                             DIVISION OF REVENUE                        REVENUE DIVISION
CAROL STREAM IL 60197                   PO BOX 15526                               PO BOX 580055
                                        WILMINGTON DE 19850                        CHARLOTTE NC 28258




CITY OF WINTER GARDEN                   CITY-COUNTY TAX COLLECTOR                  CLARK COUNTY ASSESSOR
300 W PLANT ST                          BUSINESS TAX COLLECTIONS                   500 S GRAND CENTRAL PKWY 2ND FL
WINTER GARDEN FL 34787                  PO BOX 32728                               PO BOX 551401
                                        CHARLOTTE NC 28232                         LAS VEGAS NV 89155-1401




CLARK COUNTY BUSINESS LICENSE           CLARK COUNTY BUSINESS LICENSE              CLARK COUNTY TREASURER
LIQUOR AND GAMING                       NEVADA ALCOHOLIC BEVERAGE CONTROL          PO BOX 551220
500 S GRAND CENTRAL PKWY                PO BOX 27557                               LAS VEGAS NV 89155
3RD FLOOR PO BOX 551810                 LAS VEGAS NV 89126-1557
LAS VEGAS NV 89155-1810




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CLARKE KENT PLUMBING INC                 CLASSIC CITY BEVERAGE                       CLASSIC DISTRIBUTING AND BEVERAGE GROUP INC
1408 W BEN WHITE BLVD                    530 CALHOUN DR                              PO BOX 60397
AUSTIN TX 78704                          ATHENS GA 30601                             LOS ANGELES CA 90060




CLASSICO DISTRIBUTOR                     CLEAN CEILING PLUS INC                      CLEARY PLUMBING INC
2209 W FIRST ST STE 111                  PO BOX 853056                               925 S MILITARY TRL D-11
TEMPE AZ 85281                           MESQUITE TX 75185                           WEST PALM BEACH FL 33415




CLECO POWER LLC                          CLEVELAND COCA COLA BOTTLING                CLIFFORDS UPHOLSTERY INC
PO BOX 660228                            PO BOX 536321                               4450 EDISON AVE
DALLAS TX 75266                          PITTSBURGH PA 15253                         COLORADO SPRINGS CO 80915




CLIMA COOL A/C AND HEATING               CLIMATE CONTROL OF PENSACOLA INC            CLINTON LAW FIRM
PO BOX 76168                             3849 HOPKINS ST                             100 OCEANGATE 14TH FL
SAN ANTONIO TX 78245                     PENSCOLA FL 32505                           LONG BEACH CA 90802




CMR EXCHANGEPOINT LLC                    CNN HEADLINE NEWS                           COAST TO COAST COMPUTER PRODUCTS INC
25 NORTH BRENTWOOD BLVD                  ONE CNN CENTER 14 SW                        4277 VALLEY FAIR ST
ST. LOUIS MO 63105                       ATLANTA GA 30303-2762                       SIMI VALLEY CA 93063




COASTAL SUNBELT PRODUCE LLC              COASTLINE ELECTRIC CO INC                   COBB COUNTY BUSINESS LICENSE
PO BOX 62860                             DEPT 627 PO BOX 4346                        LIQUOR LICENSE
BALTIMORE MD 21264-2860                  HOUSTON TX 77210                            PO BOX 649
                                                                                     MARIETTA GA 30061




COBB COUNTY BUSINESS LICENSE             COBB COUNTY BUSINESS LICENSE                COBB COUNTY TAX COMMISSIONER
1150 POWDER SPRINTS ST STE 400           GEORGIA LIQUOR LICENSE                      PO BOX 100127
STE 400                                  1800 CENTURY BLVD NE                        MARIETTA GA 30061-7027
MARIETTA GA 30064                        ATLANTA GA 30345




COBB EMC                                 COBB ENVIRONMENTAL HEALTH                   COBLE CO
PO BOX 369                               1738 COUNTY SERVICES PKWY                   1701 S BROADWAY AVE
MARIETTA GA 30061                        MARIETTA GA 30008                           BOISE ID 83706




COCA-COLA CO (R AND M ONLY)              COCOZELLA LLC                               COCOZELLA LLC
PO BOX 102703                            1201 E HILLSBORO BLVD                       GATOR NATION INVESTMENTS LLC
ATLANTA GA 30368                         DEERFIELD BEACH FL 33441                    ALEXANDER ROSEMURGY II
                                                                                     1201 E HILLSBORO BLVD
                                                                                     DEERFIELD BEACH FL 33441




COGENT COMM MACACQU00001                 COLD AIR RESOURCES LLC                      COLD TECH REFRIGERATION INC
PO BOX 791087                            302 W MAIN ST                               PO BOX 33686
BALTIMORE MD 21279                       ROYSE CITY TX 75189                         LAS VEGAS NV 89133




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COLD TEMP REFRIGERATION INC             COLE CH MG FLANDERS NJ LLC                  COLE MG OB MT LAUREL NJ LLC
PO BOX 608476                           LEGAL DEPT                                  AMERICAN REALTY CAPITAL PROPERTIES
ORLANDO FL 32860                        KATHY ROWLAND                               LEGAL DEPT
                                        2325 E CAMELBACK RD STE 1100                REGIONAL MANAGER TONIA JONES
                                        PHOENIX AZ 85016                            2325 E CAMELBACK RD STE 1100
                                                                                    PHOENIX AZ 85016


COLE MG OB W WINDSOR NJ LLC             COLE REIT III OPER PRNRSHIP LP              COLE REIT III OPERATING
AMERICAN REALTY CAPITAL PROPERTIES      2325 E CAMELBACK RD 1100                    DEPT 6136
LEGAL DEPT                              PHOENIX AZ 85016                            CAROL STREAM IL 60122
TONIA JONES REGIONAL MANAGER
2325 E CAMELBACK RD STE 1100
PHOENIX AZ 85016


COLLIN COUNTY TAX ASSESSOR COLLECTOR    COLORADO ATTORNEY GENERAL                   COLORADO ATTORNEY GENERAL
TAX ASSESSOR COLLECTOR COLLIN COUNTY    CYNTHIA COFFMAN                             CONSUMER PROTECTION SECTION
PO BOX 8046                             RALPH L CARR COLORADO JUDICIAL CENTER       COLORAD DEPT OF LAW
MCKINNEY TX 75070-8046                  1300 BROADWAY 10TH FL                       RALPH L CARR JUDICIAL BUILDING
                                        DENVER CO 80203                             1300 BROADWAY 7TH FL
                                                                                    DENVER CO 80203


COLORADO DEPRTMENT OF REVENUE           COLORADO DEPT OF PERSONNEL AND              COLORADO DEPT OF PUBLIC HEALTH
1375 SHERMAN ST                         ADMINISTRATION                              AND ENVIRONMENT
DENVER CO 80261                         UNCLAIMED PROPERTY DIVISION                 4300 CHERRY CREEK DR SOUTH
                                        1580 LOGAN ST                               DENVER CO 80246-1530
                                        DENVER CO 80203




COLORADO DEPT OF REVENUE                COLORADO RESTAURANT ASSOCIATION HI-PAC      COLORADO SPRINGS POLICE DEPT
1881 PIERCE ST #108                     430 E 7TH AVE                               ALARM UNIT
LAKEWOOD CO 80214                       DENVER CO 80203                             705 S NEVADA AVE
                                                                                    COLORADO SPRINGS CO 80903




COLORADO SPRINGS UTILITIES              COLORODO DEPT OF LABOR AND EMPLOYMENT       COLUMBIA DIST KENT WA
PO BOX 340                              EXECUTIVE DIRECTOR                          MS 280
COLORADO SPRI CO 80901                  633 17TH ST                                 PO BOX 5037
                                        SUITE 201                                   PORTLAND OR 97208
                                        DENVER CO 80202-3660




COLUMBIA GAS OF OHIO                    COLUMBIA GAS OF VIRGINIA                    COLUMBIA STATION OUTPARCEL LLC
PO BOX 742510                           PO BOX 742529                               SIGMA NATIONAL INC
CINCINNATI OH 45274                     CINCINNATI OH 45274                         1213 MALL DR
                                                                                    RICHMOND VA 23235




COLUMBUS CITY TREASURER                 COLUMBUS CITY TREASURER                     COLUMBUS DINING DST
ENVIRONMENTAL HEALTH RM N103            SEWER AND WATER SVCS                        2901 BUTTERFIELD RD
240 PARSONS AVE                         PO BOX 182882                               OAKBROOK IL 60523
COLUMBUS OH 43215                       COLUMBUS OH 43218




COLUMBUS DINING DST                     COLUMBUS DISTRIBUTING CO                    COLUMBUS INCOME TAX DIVISION
HAHN, LOWESER & PARKS LLP               4949 FREEWAY DR E                           PO BOX 182437
MICHAEL R. REED, ESQ.                   COLUMBUS OH 43229                           COLUMBUS OH 43218-2437
65 EAST STATE STREET, STE 1400
COLUMBUS OH 43215




COLWILL ENGINEERING DESIGN BUILD INC    COM-TECH MECHANICAL SOLUTIONS               COMCAST 01641 667726-01-6
4750 EAST ADAMO DR                      519 N SMITH AVE STE 106                     PO BOX 105184
TAMPA FL 33605                          CORONA CA 92880                             ATLANTA GA 30348




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COMCAST 05627 684590 01 0                COMCAST 05628 415984-01-8                    COMCAST 09525 243377 01 7
PO BOX 3005                              PO BOX 105184                                PO BOX 3005
SOUTHEASTERN PA 19398                    ATLANTA GA 30348                             SOUTHEASTERN PA 19398




COMCAST 09544 271735-01-3                COMCAST 8155 50 030 077 8367                 COMCAST 8155 60 041 0753621
PO BOX 105257                            PO BOX 34744                                 PO BOX 34744
ATLANTA GA 30348                         SEATTLE WA 98124-1744                        SEATTLE WA 98124




COMCAST 8155 60 045 1408937              COMCAST 8220 11 110 5101465                  COMCAST 8220 13 303 5264841
PO BOX 34744                             PO BOX 530099                                PO BOX 530098
SEATTLE WA 98124-1744                    ATLANTA GA 30353                             ATLANTA GA 30353




COMCAST 8299 40 004 0393428              COMCAST 8396 60 001 2044170                  COMCAST 8495 44 021 1029916
PO BOX 3006                              PO BOX 530098                                PO BOX 34744
SOUTHEASTERN PA 19398                    ATLANTA GA 30353                             SEATTLE WA 98124




COMCAST 8495 60 048 0732843              COMCAST 8497 10 162 1111607                  COMCAST 8497 20 248 6413938
PO BOX 530098                            PO BOX 34744                                 PO BOX 34744
ATLANTA GA 30358                         SEATTLE WA 98124-1744                        SEATTLE WA 98124




COMCAST 8497 30 326 3743727              COMCAST 8497 40 424 1041349                  COMCAST 8497 60 600 3852834
PO BOX 34744                             PO BOX 34744                                 PO BOX 34744
SEATTLE WA 98124-1744                    SEATTLE WA 98124                             SEATTLE WA 98124




COMCAST 8499 10 171 0469708              COMCAST 8499 20 007 1106022                  COMCAST 8771 10 122 0648030
PO BOX 3001                              PO BOX 3001                                  PO BOX 3001
SOUTHEASTERN PA 19398                    SOUTHEASTERN PA 19398                        SOUTHEASTERN PA 19398




COMCAST 8771 20 047 0670015              COMCAST 8777 70 216 5501078                  COMCAST 8777 70 312 0096709
PO BOX 3001                              PO BOX 660618                                PO BOX 660618
SOUTHEASTERN PA 19398-3001               DALLAS TX 75266                              DALLAS TX 75266




COMCAST 8777 70 317 5199150              COMCAST 8777 70 319 3526533                  COMCAST 8993 11 059 0043849
PO BOX 660618                            PO BOX 660618                                PO BOX 3001
DALLAS TX 75266                          DALLAS TX 75266                              SOUTHEASTERN PA 19398




COMCAST BUSINESS SVC SOLUTIONS           COMED                                        COMFORT SYSTEMS USA
PROVIDER PROGRAM                         PO BOX 6111                                  20 THOMAS DR
3033 S PARKER RD STE 1200                CAROL STREAM IL 60197                        WESTBROOK ME 04092
AURORA CO 80014




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COMFORT SYSTEMS USA INTERMOUNTAIN       COMMERCIAL APPLIANCE SVC INC               COMMERCIAL KITCHEN OF SOUTH FL INC
2035 S MILLERTONE DR STE A              281 LATHROP WAY #100                       DBA PROFESSIONAL TECHNOLOGIES
SALT LAKE CITY UT 84104                 SACRAMENTO CA 95815                        PO BOX 901283
                                                                                   HOMESTEAD FL 33090




COMMERCIAL MICROWAVE SVC LLC            COMMERCIAL PRODUCTS                        COMMERCIAL RESTORATION SVC
7882 KINGSEY DR                         28310 ROADSIDE DR #136                     PO BOX 577
DENHAM SPRINGS LA 70706                 CORNELL CA 91301                           SANDROD NC 27331




COMMERCIAL SEATING SPEC INC             COMMERCIAL VINYL SVC DBA                   COMMERICAL APPLIANCE SERIVCES INC
481 LAURELWOOD RD                       COMMERCIAL RESTORATION                     8416 LAUREL FAIR CIR #114
SANTA CLARA CA 95054                    PO BOX 577                                 TAMPA FL 33610
                                        SANFORD NC 27331




COMMONWEALTH OF MASSACHUSETTS DEPT OF   COMMONWEALTH OF VA                         COMMONWEALTH OF VA
REVENUE                                 DEPT OF ABC                                VIRGINIA DEPT OF ALCOHOLIC BEVERAGE
PO BOX 7010                             STERLING VA 20166                          CONTROL
BOSTON MA 02204                                                                    2901 HERMITAGE RD
                                                                                   RICHMOND VA 23281




COMMONWEALTH OF VIRGINIA                COMMONWEALTH OF VIRGINIA                   COMMONWEALTH OF VIRGINIA DEPT OF ABC
13 S THIRTEENTH ST                      DEPT OF LABOR                              LIQUOR CHECK
RICHMOND VA 23219                       600 E MAIN ST 207                          STERLING VA 20166
                                        RICHMOND VA 23219




COMMONWEALTH WINE AND SPIRITS           COMPASS GLASS CO                           COMPETITION ELECTRIC
2300 STANLEY GAULT PKWY                 3973 TENNYSON ST                           PO BOX 1274
LOUISVILLE KY 40223                     DENVER CO 80212                            FORNEY TX 75126




COMPLETE ANALYSIS LABORATORIES          COMPTROLLER OF MARYLAND                    COMPTROLLER OF MARYLAND REVENUE
810 NORTH 2ND AVE                       REVENUE ADMINISTRATIONS DIV                REVENUE ADMINISTRATION CENTER
HIGHLAND PARK NJ 08904                  PO BOX 2999                                80 CALVERT ST
                                        ANNAPOLIS MD 21404                         ANNAPOLIS MD 21404




COMPTROLLER OF PUBLIC ACCOUNTS          COMSAL - TAXPSAVER PLAN                    CONCORD SQUARE ASSOCIATES LLC
PO BOX 149348                           PO BOX 609002                              CAPANO MANAGEMENT CO
AUSTIN TX 78714-9348                    DALLAS TX 75360                            KAREN M FINI DIR COMMERCIAL PROP
                                                                                   105 FOULK RD
                                                                                   WILMINGTON DE 19803




CONSOLIDATED CASEWORK LLC               CONSOLIDATED MUTUAL WATER CO               CONSOLIDATED UTILITY DISTRICT
708 MARKS RD UNIT 306                   PO BOX 150068                              OF RUTHERFORD COUNTY
VALLEY CITY OH 44280                    12700 W 27TH AVE                           PO BOX 249
                                        LAKEWOOD CO 80215                          MURFREESBORO TN 37133




CONSTANTINE WINES INC                   CONSTELLATION                              CONSTELLATION
9001 MENDENHALL CT                      PO BOX 5472                                21425 NETWORK PL
COLUMBIA MD 21045                       CAROL STREAM IL 60197                      CHICAGO IL 60673




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CONSTELLATION                           CONSTELLATION NEWENERGY                  CONSTELLATION NEWENERGY
PO BOX 105223                           111 MARKET PL                            GAS DIV MIDCONTINENT INC
ATLANTA GA 30348                        11TH FLOOR                               PO BOX 878049
                                        BALTIMORE MD 21202                       KANSAS CITY MO 64187




CONSTELLATION NEWENERGY GAS DV          CONSTELLATION NEWENERGY GAS DV           CONSTELLATION NEWENERGY GAS DV
PO BOX 5471                             PO BOX 5473                              BANK OF AMERICA LOCKBOX SVCS
CAROL STREAM IL 60197                   CAROL STREAM IL 60197                    15246 COLLECTIONS CTR DR
                                                                                 CHICAGO IL 60693




CONSTELLATION NEWENERGY INC             CONSTELLATION NEWENERGY INC              CONSTITUTION STATE SVC LLC
PO BOX 4640                             14217 COLLECTIONS CTR DR                 BANK OF AMERICA
CAROL STREAM IL 60197                   CHICAGO IL 60693                         7529 COLLECTIONS CTR DR
                                                                                 CHICAGO IL 60693




CONSTRUCTION SOLUTIONS INC              CONSUMER PROTECTION DIVISION             CONTINENTAL TREE AND LAWN
222 W STONE RD                          PO BOX 1508                              12401 ROBERTS RD
VILLA PARK IL 60181                     407 GALISTEO                             EDMOND OK 73013
                                        SANTA FE NM 87504-1508




CONTRA COSTA COUNTY TAX COLLECTOR       CONTRA COSTA HEALTH SVC                  CONTRACT FURNITURE CO
PO BOX 7002                             50 DOUGLAS DR STE 320C                   2325 PALOS VERDES DR W STE 307
SAN FRANCISCO CA 94120-7002             MARTINEZ CA 94553                        PALOS VERDES ESTATES CA 90274




CONVENTION DESIGNS LLC                  COOK COUNTY TREASURER                    COOKING EQUIPMENT SPECIALIST
1391 SPEER BLVD STE 830                 PO BOX 805438                            3040 E MEADOWS
DENVER CO 80204                         CHICAGO IL 60680-4116                    MESQUITE TX 75150




COOL SEAL GASKETS CENTRAL FL LLC        COORDINATED SYSTEMS AND SUPPLIES INC     COORS DISTRIBUTING CO
PO BOX 160985                           PO BOX 58                                5400 PECOS ST
ALTAMONTE SPRINGS FL 32716              WICHITA KS 67201                         DENVER CO 80221




CORONA POLICE DEPT                      CORP SVC CO                              CORPORATE REALTY INC
730 PUBLIC SAFETY WAY                   2711 CENTERVILLE RD                      JUSTIN M KORNRUMPF ASSISTANT PROPERTY
CORONA CA 92880                         WILMINGTON DE 19808                      MANAGER
                                                                                 201 ST CHARLES AVE STE 4411
                                                                                 NEW ORLEANSE LA 70170




CORPUS CHRISTI SAFE AND LOCK CO         CORTES SNOW REMOVAL LLC                  COSCO FIRE PROTECTION INC
3535 S STAPLES                          5457 E 118TH PL                          1075 W LAMBERT RD BLDG D
CORPUS CHRISTI TX 78411                 THORNTON CO 80233                        BREA CA 92821-2944




COSCO FIRE PROTECTION INC               COSCO FIRE PROTECTION INC                COSCO FIRE PROTECTION INC
3620 W RENO AVE STE K                   7455 LONGARD RD                          4320 ANTHONY CT 8
LAS VEGAS NV 89118                      LIVERMORE CA 94551                       ROCKLIN CA 95677




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COSERV                                    COTHRONS SAFE AND LOCK INC                COUNTRY MEADOWS LAWN AND GARDEN INC
PO BOX 650785                             8120 EXCHANGE DR                          23 WILSON ST
DALLAS TX 75265                           STE 100                                   BEACON NY 12508
                                          AUSTIN TX 78754




COUNTY OF FAIRFAX                         COUNTY OF FAIRFAX                         COUNTY OF FAIRFAX
DEPT OF TAX ADMINISTRATION (DTA)          DEPT OF TAX ADMINISTRATION                FIRE PREVENTION DIVIDION
PO BOX 10203                              12000 GOVERNMENT CTR PKWY STE 261         10700 PAGE AVE
FAIRFAX VA 22035                          FAIRFAX VA 22035                          FAIRFAX VA 22030




COUNTY OF GREENVILLE                      COUNTY OF KERN                            COUNTY OF LOS ANGELES
301 UNIVERSITY RIDGE STE 600              ENVIRONMENTAL HEALTH SVC DEPT             PO BOX 54978
GREENVILLE SC 29601                       2700 M ST STE 300                         LOS ANGELES CA 90054
                                          BAKERSFIELD CA 93301




COUNTY OF LOUDOUN                         COUNTY OF LOUDOUN                         COUNTY OF LOUDOUN TREASURER
PO BOX 3232                               FIRE MARSHALS OFFICE                      PO BOX 1000
LEESBURG VA 20177                         23675 BELMONT RIDGE RD STE 150            LEESBURG VA 20177
                                          ASHBURN VA 20148




COUNTY OF ORANGE                          COUNTY OF ORANGE                          COUNTY OF RIVERSIDE
PO BOX 4005                               1241 E DYER RD STE 120                    CLERK OF THE BOARD
SANTA ANA CA 92702                        SANTA ANA CA 92705                        PO BOX 1628
                                                                                    RIVERSIDE CA 92502




COUNTY OF RIVERSIDE                       COUNTY OF SACRAMENTO EMD                  COUNTY OF SAN BERNADINO
PO BOX 7909                               10590 ARMSTRONG AVE STE C                 DEPT OF PUBLIC HEALTH
RIVERSIDE CA 92513-7909                   MATHER CA 95655                           385 N ARROWHEAD AVE 1ST FL
                                                                                    SAN BERNARDINO CA 92415




COUNTY OF SAN DIEGO                       COUNTY OF SANTA CLARA                     COX CASTLE AND NICHOLSON LLP
DEPT OF ENVIRONMENTAL HEALTH              DEPT OF ENVIRONMENTAL HEALTH              GARY GLICK ESQ
PO BOX 129261                             1555 BERGER DR STE 300                    2049 CENTURY PK EAST STE 2800
SAN DIEGO CA 92112                        SAN JOSE CA 95112                         LOS ANGELES CA 90067




COZZINI BROS INC (SUPPLY)                 CP RANKIN INC                             CP VENTURE FIVE
350 HOWARD AVE                            4377 COUNTY LINE RD STE 2B                PO BOX 277901
DES PLAINES IL 60018                      CHALFONT PA 18914                         ATLANTA GA 30384




CP VENTURE FIVE AWC LLC                   CPS ENERGY                                CPY - CHAS P YOUNG CO
LENNAR COMMERCIAL SVC LLC                 PO BOX 2678                               7810 SOLUTIONS CTR
LEASE ADMINISTRATOR                       SAN ANTONIO TX 78289                      CHICAGO IL 60677-7008
VICKIE BOCK REGIONAL GM
7000 CENTRAL PKWY NE STE 700
ATLANTA GA 30328


CRAFTMASTERS RESTORATION AND UPHOLSTERY   CRAFTSMAN ELECTRIC INC                    CRAVENER AND SONS LANDSCAPING
4881 BAINBRIDGE CT                        3855 ALTA AVE                             1026 PROSPECT AVE
LILBURN GA 30047                          CINCINNATI OH 45236                       LANGHORNE PA 19047




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CREAM WINE CO                            CRESCENT CROWN DISTRIBUTING - AZ         CRESCENT CROWN DISTRIBUTING - LA
1035 W LAKE ST 3RD FL EAST               402 S 54TH PL                            310 BACK ST
CHICAGO IL 60607                         PHOENIX AZ 85034                         THIBODAUX LA 70301




CRESCO INTERNATIONAL LLC                 CREST BEVERAGE LLC                       CRISTALLO AND LASALVIA LLC
320 DECKER DR #100 STE #100              8870 LIQUID CT                           AND ASHLEY MATIS
IRVING TX 75062                          SAN DIEGO CA 92121                       614 W SUPERIOR AVE #820
                                                                                  CLEVELAND OH 44113




CRISTALLO AND LASALVIA LLC               CROWN DISTRIBUTING LLC ARLINGTON         CRR INC
AND SANDRA SCHMIT                        17117 59TH AVE NE                        PO BOX 203
614 W SUPERIOR AVE 820                   ARLINGTON WA 98223                       KENT WA 98035
CLEVELAND OH 44113




CRUZ AUTO UPHOLSTERY INC                 CSJC LLC                                 CSM WEST RIDGE INC CSM CORP
6100 W 65TH ST                           4906 PEBBLE BEACH PL                     VP PROPERTY MANAGEMENT
LITTLE ROCK AR 72209                     HOUSTON TX 77494                         500 WASHINGTON AVE S STE 3000
                                                                                  MINNEAPOLIS MN 55415




CSP - CLARK ASSOCIATES                   CULINARY ECO SVC                         CULLIGAN - ZANE FILIPPONE CO INC
121 KANE ST                              PO BOX 2563                              PO BOX 874
BALTIMORE MD 21224                       ADDISON TX 75001                         SPARTA NJ 07871




CULLIGAN INC                             CULLIGAN OF ANN ARBOR/DETROIT            CULLIGAN OF CLEVELAND
NW 5120 PO BOX 1450                      PO BOX 2932                              4722 SPRING RD
MINNEAPOLIS MN 55485                     WICHITA KS 67201-2932                    BROOKLYN HTS OH 44131




CULLIGAN OF GREATER VIRGINIA             CULLIGAN OF HOUSTON                      CULLIGAN OF HOUSTON
3645 VICTORY BLVD                        5450 GUHN RD                             3201 PREMIER DR STE 300
PORTSMOUTH VA 23701                      HOUSTON TX 77040                         IRVING TX 75063




CULLIGAN ROCHESTER                       CULLIGAN TROY NY                         CULLIGAN WATER CONDITIOINING
1475 N CLINTON AVE                       131 LITTLE BRITAIN RD                    5410 S 28TH ST
ROCHESTER NY 14621                       NEWBURGH NY 12550                        PHOENIX AZ 85040




CULLIGAN WATER CONDITIONING              CUMBERLAND WATER CONDITIONING            CUSTOM LOCK AND KEY
2004 PITTWAY DR                          12 WATERFORD DR                          PO BOX 1754
NASHVILLE TN 37207                       MECHANICSBURG PA 17050                   TUSTIN CA 92781




CUSTOM SIGN CREATIONS LLC                CUSTOM TILE DESIGN                       CUSTOM UPHOLSTERY SVC
1703 DUNGAN LN                           6120 NORTHERN LIGHTS WAY                 3506 COLBY AVE
AUSTIN TX 78754                          ROCKLIN CA 95765                         EVERETT WA 98201




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CUT-RITE LAWN MANAGEMENT               CUYAHOGA COUNTY BOARD OF HEALTH            CUYAHOGA COUNTY TREASURER
PO BOX 592941                          5550 VENTURE DR                            PO BOX 94404
SAN ANTONIO TX 78259                   PARMA OH 44130                             CLEVELAND OH 44101-4404




CUYAHOGA COUNTY TREASURER              CWC DIVERSIFIED INC                        CWS OVIEDO DEVELOPMENT LLC
PO BOX 94547                           27878 SHADY OAK RD                         12302 MARBLEHEAD DR
CLEVELAND OH 44101                     CLOVIS CA 93619                            TAMPA FL 33626




CWSOVIEDO DEVELOPMENT LLC              CYOPTIONS LLC DBA CYOPSIS                  CYPRESS REALTHY HOLDING COMPANY II LLC
CWS DEVELOPMENT LLC                    600 GRANT ST                               JOE JARRATT
CARL W SAHLSTEN MANAGING MEMBER        STE 208                                    CO-MANAGER
12302 MARBLEHEAD DR                    DENVER CO 80203                            700 COLONIAL RD STE 100
TAMPA FL 33626                                                                    MEMPHIS TN 38117




CYPRESS REALTY HOLDINGS CO II LLC      CYPRESS-FAIRBANKS ISD TAX                  D AND D MAINTENANCE LLC
700 COLONIAL RD STE 100                ASSESSOR-COLLECTOR                         4087 FOSKETT RD
MEMPHIS TN 38117                       10494 JONES RD STE 106                     MEDINA OH 44256
                                       HOUSTON TX 77065




D CANALE BEVERAGES INC                 DAVE DACUS                                 DAGNER SCHLUTER MITZNER WERBER LLC
45 E H CRUMP BLVD                      1101 GREEN ST                              5105 DTC PKWY STE 250
MEMPHIS TN 38106                       FT COLLINS CO 80524                        GREENWOOD VILLAGE CO 80111




DAHILL                                 DAHILL OFFICE TECHNOLOGY CORPORTATION      DAI SOURCE
PO BOX 205354                          PO BOX 911608                              5605 N MACARTHUR BLVD STE 1000
DALLAS TX 75320-5354                   DENVER CO 80291-1608                       IRVING TX 75038




DALLAS COUNTY TAX OFFICE               SANDRA DALTON                              DAN KREMERS MD ATKINSON CO INC
PO BOX 139066                          CLERK OF CIRCUIT COURT                     DAN KREMERS
DALLAS TX 75313-9066                   100 W PATRICK ST                           1401 19TH ST STE 400
                                       FREDERICK MD 21701                         BAKERSFIELD CA 93301




DANIEL BERG GUEST REFUND               DANIEL DE CARLO DBA BUTTONS                DANIEL L JACOB AND CO YPSILANTI
11510 47TH AVE N                       3837 E 40TH ST                             4900 CARPENTER RD
MINNEAPOLIS MN 55442                   TUCSON AZ 85713                            YPSILANTI MI 48197




DARLING INTERNATIONAL INC              DARYL FLOOD VERSA RELOCATION INC           DATABANK HOLDINGS LTD
PO BOX 552210                          450 AIRLINE DR #100                        PO BOX 732200
DETROIT MI 48255                       COPPELL TX 75019                           DALLAS TX 75373-2200




DATE LABEL CORP                        DAVE'S SIGNS DBA CB AND G SIGN SOLUTIONS   DAVID LENOIR - SHELBY COUNTY TRUSTEE
PO BOX 684                             4773 ORTEGA ST UNIT C                      PO BOX 2751
INDIANAPOLIS IN 46206                  VENTURA CA 93003                           MEMPHIS TN 38101-2751




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DAVID MARDEN DBA DAVE MARDEN'S TREE         DAVID Y MARTIN JR LLC DBA WINES UNLIMITED   DAVIDS AND COHEN
TRIMMING                                    4221 BIENVILLE ST                           40 WASHINGTON ST
1625 CLARE DR                               NEW ORLEANS LA 70119                        STE 20
CORPUS CHRISTI TX 78412                                                                 WELLESLEY MA 02481




DAVIDS LANDSCAPES AND MAINTENANCE           STEVEN V DAVIS                              DAYSTAR FACILITIES AND EQUIP REPAIR INC
202 DELIGHT MEADOWS RD                      12100 AVILLA WEST RD                        3801 WEST WESTCOTT DR
REISTERSTOWN MD 21136                       ALEXANDER AR 72002                          GLENDALE AZ 85308




DB FIVE GRILL LP                            DB FIVE GRILL LP                            DB FIVE GRILL LP CARDINAL CAPTIAL PARTNERS
CARDINAL CAPITAL PARTNERS                   CHERRY, PETERSEN, LANDRY, ALBERT LLP        8214 WESTHEIMER 9TH FL
GIL BESING                                  KENNETH C. MEIXELSPERGER, ESQ.              DALLAS TX 75225
8214 WESTCHESTER DR 9TH FL                  8350 NORTH CENTRAL EXPRESSWAY
DALLAS TX 75225                             SUITE 1500
                                            DALLAS TX 75206


DBE INC DBA BLACKBURN ELECTRIC              DBI BEVERAGE SACRAMENTO                     DBI BEVERAGE SAN JOAQUIN
7511 PEBBLE BLDG 24                         3500 CARLIN DR                              4547 FRONTIER WAY
FORT WORTH TX 76118                         WEST SACRAMENTO CA 95691                    STOCKTON CA 95215




DBI BEVERAGE SAN JOSE                       DDR CORP DBA DDR WINTER GARDEN              DDR WINTER GARDEN LLC
630 QUINN AVE                               DEPT 367045-21146-51876                     1 EXECUTIVE VP LEASING 2 GENERAL COUNSEL
SAN JOSE CA 95112                           PO BOX 37691                                RICHARD FORREST OPERATIONS MANAGER
                                            BALTIMORE MD 21297                          3300 ENTERPRISE PKWY
                                                                                        BEACHWOOD OH 44122




DDRA COMMUNITY CENTERS EITHER LP            DEBORAH A CLAPPER DBA GNEURAL LLC           DECRESCENTE DISTRIBUTING CO
DEVELOPERS DIVERSIFIED REALTY CORPORATION   210 MANHATTAN DR                            PO BOX 231
BRYAN STONE ASSOCIATE ATTORNEY              BOULDER CO 80303                            MECHANICVILLE NY 12118
3300 ENTERPRISE PKWY
BEACHWOOD OH 44122




DEFINITIVE DESIGN SOLUTIONS LLC             DEJULIIS ELECTRIC                           STEVE DELANEY
105 MAGNOLIA PK TRL                         11 LOMOND CT                                8500 KEYSTONE CROSSING STE 170
SANFORD FL 32773                            ROSEDALE MD 21237                           INDIANAPOLIS IN 46240




DELAWARE ATTORNEY GENERAL                   DELAWARE DEPART OF LABOR                    DELAWARE DEPT OF LABOR
MATTHEW DENN                                EMPLOYMENT TRAINING FUND TAX                DIVISION OF UNEMPLOYMENT INSURANCE
CARVEL STATE OFFICE BLDG                    PO BOX 9953                                 PO BOX 41785
820 N FRENCH ST                             WILMINGTON DE 19809                         PHILADELPHIA PA 19101
WILMINGTON DE 19801




DELAWARE DEPT OF NATURAL RESOURCES AND      DELAWARE SECRETARY OF LABOR                 DELAWARE SECRETARY OF STATE
ENVIRONMENTAL CONTROL                       SECRETARY                                   STATE OF DELAWARE
89 KINGS HIGHWAY                            4425 N MARKET ST 4TH FL                     DIVISION OF CORPORATIONS
DOVER DE 19901                              WILMINGTON DE 19802                         PO BOX 5509
                                                                                        BINGHAMTON NY 13902-5509




DELAWARE STATE ESCHEATOR                    DELCOLLO ELECTRIC INC                       SAM DELGADE
UNCLAIMED PROPERTY DIVISION                 226 BROOKSIDE DR                            4165 BERGAMONT CT
PO BOX 8931                                 WILMINGTON DE 19804                         KISSIMMEE FL 34746
WILMINGTON DE 19899




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DELMARVA POWER                         DELTA BRANDS INC DBA DELTA SIERRA BEVERAGE   DEMAND COOLING LLC
PO BOX 13609                           3700 FINCH RD                                2540 GLENDA LN STE 112
PHILADELPHIA PA 19101                  MODESTO CA 95357                             DALLAS TX 75229




DEMCA SECURITY TECHS LLC               ROSANA AND NYLE DEMEESTER                    DENNIS WRIGHT PLUMBING LLC
375 ROCKBRIDGE RD NW                   DBA THE MASTERS GARDENING SVC                PO BOX 791
STE 172 BOX 351                        2715 TRENTINO AVE                            SOUTHAVEN MS 38671
LILBURN GA 30047                       BAKERSFIELD CA 93313




DENNY'S HANDYMAN                       DENSCO DRAIN CLEANING AND PLUMBING SVC       DENTON COUNTY TAX ASSESSOR COLLECTOR
12061 SW 208 TER                       104 BLOUGH RD                                PO BOX 90223
MIAMI FL 33177                         FAIRLESS HILLS PA 19030                      DENTON TX 76202-5223




DENVER CUTLERY INC                     DENVER WATER                                 DENVER WEST MILLS LP
PO BOX 21797                           PO BOX 173343                                C O SIMON PROPERTY GROUP INC
DENVER CO 80221                        DENVER CO 80217                              MIKE FREESE ASST GENERAL COUNSEL
                                                                                    225 WEST WASHINGTON ST
                                                                                    INDIANAPOLIS IN 46204




DENVER WEST MILLS LP                   DENVER WEST VILLAGE LP                       DEPART OF ALCOHOLIC BEVERAGE CONTROL
SIMON PROPERTY GROUP                   24081 NETWORK PL                             BEVERAGE CONTROL
MELISSA A BREEDEN COUNSEL              CHICAGO IL 60673                             3927 LENNANE DR STE 100
225 W WASHINGTON ST                                                                 SACRAMENTO CA 95834
INDIANAPOLIS IN 46204




DEPT OF ALCOHOLIC BEV CONTROL          DEPT OF FINANCE                              DEPT OF LABOR
3927 LENNANE DR STE 100                COLLECTIONS OFFICE                           POBOX 628
SACRAMENTO CA 95834                    PO BOX 196300                                DENVER CO 80201
                                       NASHVILLE TN 37219




DEPT OF LABOR AND INDUSTRIES           DEPT OF LABOR EMPLOYMENT                     DEPT OF THE SECRETARY OF STATE
BOILER PRESSURE VESSEL SECTION         633 17TH ST STE 500                          DIVISION OF CORPORATIONS UCC AND
PO BOX 44410                           DENVER CO 80202                              COMMISSIONS
OLYMPIA WA 98504                                                                    101 STATE HOUSE STATION
                                                                                    AUGUSTA ME 04333-0101




DESERT SAGE LANDSCAPE MAINTENANCEINC   DESIGN WITHIN REACH INC                      DET DISTRIBUTING
PO BOX 5543                            711 CANAL ST #301                            301 GREAT CIR RD
GOODYEAR AZ 85338                      STAMFORD CT 06902                            NASHVILLE TN 37228




DEVELPERS DIVERSIFIED REALTY           DEWINNE ELECTRIC INC                         DIANA OSBERG REPORTING SVC INC
DEPT 362478-20155-1213                 3693 HIGHPOINT                               2777 N STEMMONS FRWY STE 1025
PO BOX 951049                          SAN ANTONIO TX 78217                         DALLAS TX 75207
CLEVELAND OH 44193




DIANE NELSON CFC PINELLAS COUNTY       DIBS SAFE AND LOCK SVC                       DIEUWUILSAIT FLORVIL MR D FLORVILL
TAX COLLECTOR                          342 W 6TH ST                                 20004 SW 118TH CT
PO BOX 31149                           SAN BERNARDINO CA 92401                      MIAMI FL 33177
TAMPA FL 33631




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DIGITAL ACCESS SECURITY INTEGRATED     DIGITAL FUNCTION                           DIMITRI WINE AND SPIRITS INC
1 TIBET AVE                            16107 KENSINGTON DR 450                    1735 W 3RD ST
SAVANNAH GA 31406                      SUGAR LAND TX 77479                        DAVENPORT IA 52802




DINICOLA SELIGSON AND UPTON LLP        DINOVA INC V MAC ACQUISITION LLC           DINOVA INC V MAC ACQUISITION LLC
6 BEACON ST STE 700                    DINOVA INC                                 C/O MORRIS MANNING & MARTIN LLP
BOSTON MA 02108                        6455 EAST JOHNS CROSSING STE 220           ATTN: LISA WOLGAST
                                       JOHN CREEK GA 30097                        1600 ATLANTA FINANCIAL CENTER
                                                                                  3343 PEACHTREE RD, NE
                                                                                  ATLANTA GA 30326


DINOVA LLC                             DIPPLE PLUMBING INC                        DIRECT ENERGY BUSINESS
NANCY LAWSON VP                        211 N PLEASANTBURG DR                      PO BOX 32179
11950 JONES BRIDGE RD STE 115117       GREENVILLE SC 29607                        NEW YORK NY 10087
JOHNS CREEK GA 30005




DIRECTV 008743641                      DISCOVERLINK INC                           DISCOVERLINK INC
PO BOX 105249                          1525 KAUTZ RD STE 700                      ATTN: PRESIDENT
ATLANTA GA 30348-5249                  WEST CHICAGO IL 60185                      27 W 250 SAINT CHARLES ROAD
                                                                                  SUITE 1
                                                                                  WEST CHICAGO IL 60185




DISCOVERY COMMUNICATIONS HOLDING       DISTRICT DEPT OF THE ENVIRONMENT           DIVISION OF ALCOHOLIC BEVERAGES AND
DBA DISCOVERY LIFE                     1200 FIRST ST NE                           TOBACCO
ONE DISCOVERY PL                       WASHINGTON DC 20002                        2601 BLAIR STONE RD
SILVER SPRING MD 20910                                                            TALLAHASSEE FL 32399




DIVISION OF ALCOHOLIC BEVERAGES AND    DIVISION OF CONSUMER AFFAIRS               DIVISION OF CONSUMER PROTECTION
TOBACCO                                DEPT OF LAW AND PUBLIC SAFETY              DEPT OF COMMERCE
THE FLORIDA LIQUOR LICENSE EXCHANGE    PO BOX 45027                               160 EAST 300
16350 BRUCE B                          NEWARK NJ 07101                            PO BOX 146704
DOWNS BLVD #46671                                                                 SALT LAKE CITY UT 84114-6704
TAMPA FL 33647


DIVISION OF CORPORATIONS - FLORIDA     DIVISION OF HOTELS AND RESTAURANT          DM DISTRIBUTING CO INC
PO BOX 6327                            DEPT OF BUSINESS AND PROF REG              7976 LONG HILL RD
TALLAHASSEE FL 32314                   PO BOX 6300                                PASADENA MD 21122
                                       TALLAHASSEE FL 32314




DMX INC                                DNREC BOILER SAFETY PROGRAM                DOLL DISTRIBUTING LLC DES MOINES
PO BOX 602777                          391 LUKENS DR                              1901 DEWOLF ST
CHARLOTTE NC 28260-2777                NEW CASTLE DE 19720                        DES MOINES IA 50316




DOMCO PLUMBING INC                     DOMINION EAST OHIO                         DOMINION ENERGY
PO BOX 1398                            PO BOX 26785                               PO BOX 45841
FOLSOM CA 95630                        RICHMOND VA 23261                          SALT LAKE CIT UT 84139




DOMINION ENERGY OHIO                   DOMINION VIRGINIA POWER                    DON AND BEN'S LIQUOR / GABRIEL'S WHOLESALE
PO BOX 26785                           PO BOX 26666                               10903 INDUSTRY DR
RICHMOND VA 23261                      RICHMOND VA 23261                          SAN ANTONIO TX 78217




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DON HOUFF PLUMBING CO                   DON KENT TRESURER                            DONAGHY SALES LLC
11802 KANIS RD                          4080 LEMON ST (1ST FLOOR)                    2363 S CEDAR AVE
LITTLE ROCK AR 72211                    PO BOX 12005                                 FRESNO CA 93725
                                        RIVERSIDE CA 92502-2205




DONAHUE SCHRIBER REALTY GROUP LP        DOOR CONTROL SVC INC                         DOOR SPECIALIST
KAREN J FINKE                           DEPT 251 PO BOX 220                          PO BOX 507
PROPERTY MANAGER                        BETTENDORF IA 52722                          FT WORTH TX 76101
8020 EAST SANTA ANA CANYON RD
ANAHEIM CA 92808




DOPS INC                                DOSSS                                        DOUBLE EAGLE DISTRIBUTION INC FL
116 PATES DR                            PO BOX 1259                                  50 LOCK RD
FORT WASHINGTON MD 20744                AKRON OH 44309                               DEERFIELD BEACH FL 33442




DOUG BELDEN HILLSBOROUGH                DOWE ENTERPRISES LLC                         LARRY M DOWNS SR
COUNTY TAX COLLECTOR                    DBA DOWE MICROWAVE SVC                       5840 MULDOON RD
PO BOX 30012                            800 SWITZER LN                               PENSACOLA FL 32526
TAMPA FL 33630                          CEDAR HILL TX 75104




DPL ENERGY RESOURCES                    DPL ENERGY RESOURCES                         DPLER
PO BOX 9001023                          PO BOX 25215                                 REMITTANCE PROCESSING
LOUISVILLE KY 40290                     LEHIGH VALLEY PA 18002                       1065 WOODMAN DR
                                                                                     DAYTON OH 45432




DR VINYL DENVER COMMERCIAL              DR VINYL OF MIDDLE TN LLC                    DR VINYL OF OKLAHOMA CITY
10715 KIMBALL ST                        453 MYATT DR                                 1913 LANKESTAR PL
PARKET CO 80134                         MADISON TN 37115                             YUKON OK 73099




DRAFT BEER SVC OF ATLANTA               DREAMSCAPE                                   DSI DATASOURCE INC
PO BOX 848                              DBA CYNTHIA DUNLAP DUTRA                     DEPT 730023
FAYETTEVILLE GA 30214                   5030 PEACH AVE                               PO BOX 660919
                                        MANTECA CA 95337                             DALLAS TX 75266-0919




DTE ENERGY                              DTE INC                                      DU PAGE COUNTY COLLECTOR
PO BOX 740786                           110 BAIRD PKWY                               PO BOX 4203
CINCINNATI OH 45274                     MANSFIELD OH 44903                           CAROL STREAM IL 60197-4203




DUCHARME MCMILLEN AND ASSOCIATES INC    DUCK DELIVERY OF WASHINGTON INC              DUCKHORN WINE CO
PO BOX 914                              1509 45TH ST E                               PO BOX 8401
MIDDLETOWN OH 45044-0914                SUMNER WA 98390                              PASADENA CA 07513




DUFFYS OF WATERFORD LAKES INC           DUKE ENERGY                                  DUKE ENERGY
MARK ROULEAU                            PO BOX 1004                                  PO BOX 70516
CFO                                     CHARLOTTE NC 28201                           CHARLOTTE NC 28272
1926 10TH AVE NORTH STE 300
LAKE WORTH FL 33461




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DUKE ENERGY                             DUKE ENERGY PROGRESS                        DULLES TOWN CENTER MALL LLC
PO BOX 1326                             PO BOX 1003                                 2000 TOWER OAKS BLVD 8TH FL
CHARLOTTE NC 28201                      CHARLOTTE NC 28201                          ROCKVILLE MD 20852




DULLES TOWN CENTER MALL LLC             DUNBAR ARMORED INC                          DUNINGER CORP DBA ACTIVE ENGINEERING
LERNER CORP                             PO BOX 64115                                6605 200TH ST SW
EMILY GAGLIARDI SR LEASING MANAGER      BALTIMORE MD 21264                          LYNNWOOD WA 98036
21100 DULLES TOWN CIR STE 234
DULLES VA 20166




DUPAGE COUNTY HEALTH DEPT               DUPAGE COUNTY PUBLIC WORKS                  DURKIN AND HOOD LLP
ENV HEALTH DIVISION                     PO BOX 4751                                 8840 WILSHIRE BLVD STE 207
111 N COUNTY FARM RD                    CAROL STREAM IL 60197                       BEVERLY HILLS CA 90211
WHEATON IL 60187




MICHAEL DUROSS                          WILLIAM DWYER                               DYKEMA GOSSETT PLLC
636 E 37TH ST APT A                     1262 CORNWELL RD                            400 RENAISSANCE CTR
SAVANNAH GA 31401                       BRIDGEWATER NJ 08807                        DETROIT MI 48226




DYKES RESAURANT SUPPLY INC              ARLENE DYM                                  DYNASTY UPHOLSTERY
PO BOX 5100                             GUEST REFUND                                41 B FRANKLIN ST
HUNTSVILLE AL 35814                     3008 LYNDHURST H                            STONEHAM MA 02180
                                        DEERFIELD BEACH FL 33442




E AND L ELECTRIC INC                    EAGLE BRANDS INC                            EAGLE DISTRIBUTING - MEMPHIS
877 CAMINO SIN PASADA                   3201 NW 72ND AVE                            310 RADFORD PL
CORRALES NM 87048                       MIAMI FL 33122                              KNOXVILLE TN 37917




EAGLE ELECTRIC INC                      EAGLE PLUMBING SVC LLC                      EAGLE PROPERTY MANAGEMENT AND CONSULTING
7000 S COMMERCE PK DR                   1245 N MCQUEEN RD                           LLC
MIDVALE UT 84047                        GILBERT AZ 85233                            PO BOX 425
                                                                                    SHARON CENTER OH 44274




EAGLE ROCK - NORCROSS                   EAST COAST FOOD EQUIPMENT INC               EAST COAST REFRIGERATION AIR
6205 BEST FRIEND RD STE A               570 INDUSTRIAL DR                           CONDITIONING AND HEATING INC
NORCROSS GA 30083                       LEWISBERRY PA 17339                         PO BOX 121
                                                                                    MATAWAN NJ 07747




EASTERN EQUIPMENT SVC                   EASTWOOD LOCKSMITH SERIVCE INC              EB MAVERICK OUTDOOR SVC
1930 HEALY DR                           9400 CARNEGIE AVE STE A                     ERIC BOTHWELL
WINSTON SALEM NC 27103                  EL PASO TX 79925                            436 RENOLD DR
                                                                                    ROCHESTER MI 48307




EBMUD                                   ECHMAN AND MITCHELL CONSTRUCTION LLC        ECO SVC OF ARKANSAS INC
PAYMENT CENTER                          3032 SOUTH 1030 WEST                        13220 PLEASANT FOREST DR
PO BOX 1000                             SALT LAKE CITY UT 84119                     LITTLE ROCK AR 72212
OAKLAND CA 94649




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ECOLAB EQUIPMENT CARE (PROFESSION)       ECOLAB FOOD SAFETY SPECIALTIES INC        ECOLAB INC (PROFESSION)
GCS SERVICE INC                          24198 NETWORK PL                          PO BOX 70343
24673 NETWORK PL                         CHICAGO IL 60673-1271                     CHICAGO IL 60673
CHICAGO IL 60673




ECOLAB INC DBA ECOSURE                   ECOLAB PEST ELIMINATION (PROFESSION)      EDDIE'S TREE SVC LLC
1601 W DIELHL RD                         26252 NETWORK PL                          1640 EVERGREEN RD
NAPERVILLE IL 60563                      CHICAGO IL 60673-1262                     COLUMBUS OH 43207




EDENS LIMITED PARTNERSHIP                EDISON NJ ENVIRONMENTAL CENTER            ANDREW EDMONDS
1155 LAKE WOODLANDS DR LLC               2890 WOODBRIDGE AVE                       MACARONI GRILL
PO BOX 536856                            EDISON NJ 08837-3679                      5133 S PADRE ISLAND DR
ATLANTA GA 30353                                                                   CORPUS CHRISTI TX 78411




EDWARD DON AND CO (SUPPLY)               EDWARD DON AND COMPANY                    EDWARD ZITO DBA GOLD COAST GASKET
2562 PAYSPHERE CIR                       9801 ADAM DON PKWY                        820 SW 66TH AVE
CHICAGO IL 60674                         WOODRIDGE IL 60517                        PLANTATION FL 33317




EFAX CORPORATE                           EFIRE SOUTHERN INC                        EHD - SAN JOAQUIN COUNTY
J2 CLOUD SVC INC                         PO BOX 7615                               1868 E HAZELTON AVE
PO BOX 51873                             GULFPORT MS 39506                         STOCKTON CA 95205
LOS ANGELES CA 90051




ET AL EKRYSS V IGNITE RESTAURANT GROUP   ET AL EKRYSS V IGNITE RESTAURANT GROUP    ET AL EKRYSS V IGNITE RESTAURANT GROUP
JHARED EKRYSS                            C/O THOMAS & SULLIVAN LLP                 CONNIE JUERGEN
1 CLINTWOOD DR APT D                     J. NELSON THOMAS, MICHAEL J.LINGLE        4501 TAMA LN
ROCHESTER NY 14620                       JARED K. COOK                             ST. LOUIS MO 63128
                                         693 East Avenue
                                         ROCHESTER NY 14607


ET AL EKRYSS V IGNITE RESTAURANT GROUP   ET AL EKRYSS V IGNITE RESTAURANT GROUP    ET AL EKRYSS V IGNITE RESTAURANT GROUP
STEPHAN SEIGAL                           DARELL EVANS                              GEORGIA LUKE
16204 E ALAMEDA PLC #301                 15109 NW 7TH CT                           3630 RANCHERO DR APT 206
PO BOX 441314                            PEMBROKE PINES FL 33028                   ANN ARBOR MI 48108
AURORA CO 80044




ET AL EKRYSS V IGNITE RESTAURANT GROUP   ET AL EKRYSS V IGNITE RESTAURANT GROUP    ET AL EKRYSS V IGNITE RESTAURANT GROUP
DEBORAH DOLAN-FOX                        RE: AMANDA MURPHY                         AIDA PLANCICH
207 JACKSON ST                           C/O THOMAS & SULLIVAN LLP                 5902 OAKLAND PARK DR
LANCASTER PA 17603                       J NELSON THOMAS MICHAEL J LINGLE J COOK   BURKE VA 22015
                                         693 EAST AVENUE
                                         ROCHESTER NY 14607


ET AL EKRYSS V IGNITE RESTAURANT GROUP   ET AL EKRYSS V IGNITE RESTAURANT GROUP    ET AL EKRYSS V IGNITE RESTAURANT GROUP
LATOYA HOYLES                            RE: ADAM CALABRESE                        RE: MARANDA HAPPEL
133 S MAIN                               C/O THOMAS & SULLIVAN LLP                 C/O THOMAS & SULLIVAN LLP
ALBANY NY 12208                          J NELSON THOMAS MICHAEL JLINGLE J COOK    J NELSON THOMAS MICHAEL JLINGLE J COOK
                                         693 EAST AVENUE                           693 EAST AVENUE
                                         ROCHESTER NY 14607                        ROCHESTER NY 14607


EKS AND H LLLP                           EL PASO COUNTY PUBLIC HEALTH              EL PASO COUNTY TREASURER
8181 EAST TUFTS AVE STE 600              1675 W GDN OF THE GODS RD STE 2044        PO BOX 2018
DENVER CO 80237                          COLORADO SPRINGS CO 80907                 COLORADO SPRINGS CO 80901




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EL PASO ELECTRIC                              EL PASO TAX ASSESSOR-COLLECTOR               EL PASO WATER UTILITIES
PO BOX 650801                                 PO BOX 660271                                PUBLIC SVC BOARD
DALLAS TX 75265                               DALLAS TX 75266-0271                         PO BOX 511
                                                                                           EL PASO TX 79961




ELEMENT FLEET MANAGEMENT                      ELGIN BEVERAGE CO                            ELITE LANDSCAPING
940 RIDGEBROOK RD                             1685 FLEETWOOD DR                            55 MORRISION RD
SPARKS MD 21152                               ELGIN IL 60123                               WINDHAM NH 03079




ELITTE SEPTIC TANK AND GREASE TRAP SRVS INC   ELIZABETHTOWN GAS                            ELMIRA DISTRIBUTING CO
1035 BRADLEY DR                               PO BOX 11811                                 PO BOX 86
SPRINGFIELD TN 37172                          NEWARK NJ 07101                              ELMIRA NY 14902




EMERALD CITY LANDSCAPING                      EMERALD COAST CUTLERY INC                    EMERALD COAST UTILITIES AUTH
2493 CHELTENHAM CT                            PO BOX 751                                   PO BOX 18870
VIRGINIA BEACH VA 23454                       LOXLEY AL 36551                              PENSACOLA FL 32523




EMERGENCY ICE                                 EMERGENCY PLUMBING SVC                       EMKAY INC
8700 DIPLOMACY ROW                            CRESTMARK BANK                               PO BOX 13520
DALLAS TX 75247                               DRAWER #2176 PO BOX 5935                     NEWARK NJ 07188
                                              TROY MI 48007-5935




EMPIRE COOLER SVC INC                         EMPIRE DIST OF TN                            EMPIRE DIST OF TN - DELTA WHOLESALE
940 W CHICAGO AVE                             HORIZON WINE AND SPIRITS TN                  PO BOX 40787
CHICAGO IL 60642                              3851 INDUSTRIAL PKWY                         MEMPHIS TN 38174
                                              NASHVILLE TX 37218




EMPIRE DISTRIBUTORS INC ATLANTA               EMPIRE DISTRIBUTORS INC CHARLOTTE RALEIGHT   EMPIRE LOCK AND KEY CORP
3755 ATLANTA INDUSTRIAL PKWY                  5417 WYOMING DR                              1461 HAMNER AVE
ATLANTA GA 30331                              CHARLOTTE NC 28273                           NORCO CA 92860




EMPIRE MERCHANTS NORTH LLC                    EMPIRE MERCHANTS NORTH LLC                   EMPIRE NATURAL GAS CORP
PO BOX 10                                     PO BOX 10                                    173 AIRPORT RD
WEST COXSACKIE NY 12051                       COXSACKIE NY 12051-0010                      GREENE NY 13778




EMPIRE ROOFING INC                            EMPLOYMENT SCREENING SVC INC                 ENCORE TRIM INC
16311 CENTRAL COMMERCE DR                     DEPT K PO BOX 830520                         5126 EBONY DR
PFLUGERVILLE TX 78660                         BIRMINGHAM AL 35283                          SAN ANTONIO TX 78228




ENHANCED LANDSCAPE MANAGEMENT INC             ENRIQUE COSTA                                ENTERGY
28447 WITHERSPOON PKWY                        DBA COSTA GROUP PRESSURE CLEANING            PO BOX 8104
VALENCIA CA 91355                             PO BOX 661280                                BATON ROUGE LA 70891
                                              MIAMI SPRINGS FL 33266




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ENTERGY                                  ENTERGY ARKANSAS INC                       ENTERGY GULF STATES LA INC
PO BOX 8103                              PO BOX 8101                                PO BOX 8103
BATON ROUGE LA 70891                     BATON ROUGE LA 70891                       BATON ROUGE LA 70891




ENTERGY MISSISSIPPI INC                  ENTRUST SVC INC                            ENVIRO TECH 1 LLC
PO BOX 8105                              DBA ROTO ROOTER                            3315 E RUSSELL RD STE A 4245
BATON ROUGE LA 70891                     PO BOX 35228                               LAS VEGAS NV 89120
                                         GREENSBORO NC 27425




ENVIRO-CARE UTILITY SVC LLC              ENVIRO-MASTER OF ORANGE COUNTY             ENVIRONMENTAL EARTHSCAPES INC
DBA WILLIAM PULVER JR                    PO BOX 12350                               DBA THE GROUNDSKEEPER
21 VOLUSIA DR                            CHARLOTTE NC 28220                         PO BOX 43820
DEBARY FL 32713-3217                                                                TUCSON AZ 85733




ENVIRONMENTAL HEALTH DIV FOOD PROGRAM    ENVIRONMENTAL HEALTH DIVISION              ENVIRONMENTAL PROTECTION AGENCY
3020 RUCKER AVE STE 104                  800 S VICTORIA AVE                         ARIEL RIOS BUILDING
EVERETT WA 98201                         VENTURA CA 93009                           1200 PENNSYLVANIA AVE NW
                                                                                    WASHINGTON DC 20460




ENVIRONMENTAL PROTECTION AGENCY          ENVIRONMENTAL PROTECTION AGENCY            ENVIRONMENTAL PROTECTION AGENCY
5 POST OFFICE SQUARE                     290 BROADWAY                               1650 ARCH ST
SUITE 1100                               NEW YORK NY 10007-1866                     PHILADELPHIA PA 19103-2029
BOSTON MA 02109-7341




ENVIRONMENTAL PROTECTION AGENCY          ENVIRONMENTAL PROTECTION AGENCY            ENVIRONMENTAL PROTECTION AGENCY
ATLANTA FEDERAL CENTER                   77 WEST JACKSON BLVD                       FOUNTAIN PLACE 12TH FLOOR
61 FORSYTH ST SW                         CHICAGO IL 60604-3507                      1445 ROSS AVE STE 1200
ATLANTA GA 30303-3104                                                               DALLAS TX 75202-2733




ENVIRONMENTAL PROTECTION AGENCY          ENVIRONMENTAL PROTECTION AGENCY            ENVIRONMENTAL PROTECTION AGENCY
11201 RENNER BLVD                        1595 WYNKOOP ST                            75 HAWTHORNE ST
LENEXA KS 66219                          DENVER CO 80202-1129                       SAN FRANCISCO CA 94105




ENVIRONMENTAL PROTECTION AGENCY          ENVIRONMENTAL SYSTEMS SVC LLC              EON OFFICE
1200 SIXTH AVE                           PO BOX 7609                                60 TEJON ST
SUITE 900                                ALBUQUERQUE NM 87194                       DENVER CO 80223
SEATTLE WA 98101




EPB                                      EPIC SVC LLC                               EQUATOR LANDSCAPING SVC
REMITTANCE PROCESSING                    PO BOX 1015                                PO BOX 820716
PO BOX 182254                            KAYSVILLE UT 84037                         PEMBROKE PINES FL 33082
CHATTANOOGA TN 37422




ALLISON ERDELJAC                         ERIC S NG AND LE A PHAM                    ERICKSON REFRIGERATIONS LLC
9410 SWEENEY BROOK LN                    2277 WIND RIVER LN                         ONE 37TH STREET NW #A
ROSENBERG TX 77469                       ROLAND HEIGHTS CA 91748                    AUBURN WA 98001




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ERIKA BUESING MARKETING SOLUTIONS       ERNEST HIGGINS                               ESBER BEVERAGE
629 OXFORD CT                           DBA ERNIE'S METAL FABRICATION                2217 BOLIVAR RD SW
LEWISVILLE TX 75056                     7833 DEPOT LN                                CANTON OH 44706
                                        TAMPA FL 33619




ESCAMBIA COUNTY TAX COLLECTOR           ESPRESSOTIME LLC                             ESSENTIAL OFFICE SOLUTIONS INC
PO BOX 1312                             9039 VANTAGE PT DR                           PO BOX 3754
PENSACOLA FL 32591                      DALLAS TX 75243                              HOUSTON TX 77253




ETS PLUMBING                            EUCLID BEVERAGE LTD NORTH AURORA             EUROPEAN IMPORTS LTD
PO BOX 608                              200 OVERLAND DR                              2475 N ELSTON AVE
CLOVIS CA 93613                         N AURORA IL 60542                            CHICAGO IL 60647




EVCO HEATING AND AIR CONDITIONING INC   EVENT TRAVEL MANAGEMENT R AND A TRAVEL INC   EVERSOFT INC
8863 GREENBACK LN 330                   4500 CHERRY CREEK DR S STE 900               PO BOX 92769
ORANGEVALE CA 95662                     GLENDALE CO 80246                            LONG BEACH CA 90809




EVERSOURCE                              EVITE INC                                    EWH ESCONDIDO ASSOCIATES LP
PO BOX 660369                           600 WILSHIRE BLVD STE 400                    C O WESTFIELD CORP INC
DALLAS TX 75266                         LOS ANGELES CA 90017                         DAMIEN OSIP GENERAL MANAGER
                                                                                     11601 WILSHIRE BLVD 12TH FL
                                                                                     LOS ANGELES CA 90025




EWH ESCONDIDO ASSOCIATES LP             EXAMWORKS INC                                EXPERT REPAIR LLC
WESTFIELD SHOPPINGTOWN LLC              4 BECKER FARMS RD                            PO BOX 382
PO BOX 55697                            ROSELAND NJ 07068                            CHOCTAW OK 73020
LOS ANGELES CA 90074




EXTREME ELECTRICAL SVC INC              EXTREME REACH INC                            EXTREME SIGNS AND LIGHTING LLC
6013 GARDENDALE DR #43                  PO BOX 733077                                1800 OLD SYCAMORE AVE
HOUSTON TX 77092                        DALLAS TX 75373-3077                         HUNTSVILLE TX 77340




FACILITY PRO TECH                       FACILITY RESPONSE GROUP                      FACILITY SOLUTIONS GROUP INC ACH (SUPPLY)
4065 LB MCLEOD RD                       2100 GREENWOOD DR STE 200                    PO BOX 896508
STE G-1                                 SOUTHLAKE TX 76092                           CHARLOTTE NC 28289
ORLANDO FL 32811




FACT AND FICTION LLC                    FAHRENHEIT CO                                FAIR LAKES PROMENADE RETAIL LLC
2000 CENTRAL AVE STE 100                8809 GLENVILLE RD                            RAPPAPORT MANAGEMENT CO
BOULDER CO 80301                        SILVER SPRING MD 20901                       KIM MCEVERS PROPERTY MANAGER
                                                                                     8405 GREENSBORO DR 8TH FL
                                                                                     MCLEAN VA 22102




FAIR LAKES PROMENADE RTL LLC            FAIRFAX COUNTY HEALTH DEPT                   FAIRFAX COUNTY POLICE DEPT
LASALLE INVESTMENT MNGT                 10777 MAIN ST STE 111                        FALSE ALARM RED UNIT
PO BOX 417212                           FAIRFAX VA 22030                             4100 CHAIN BRIDGE RD
BOSTON MA 02241                                                                      FAIRFAX VA 22030




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FAIRFAX WATER                           FAISONLOGAN NORTH LLC                       FALSE ALARM REDUCTION UNIT
PO BOX 71076                            KEN MCCOY AND BILL BARNETT                  4100 CHAIN BRIDGE RD
CHARLOTTE NC 28272                      BILL BARNETT                                FAIRFAX VA 22030
                                        121 W TRADE ST 27TH FL
                                        CHARLOTTE NC 28202




ROSEVILLE FARP                          FAUST DISTRIBUTING CO                       FEDERAL HEATH SIGN CO
PO BOX 749879                           10040 EAST FWY                              DEPT 41283 PO BOX 650823
LOS ANGELES CA 90074                    PO BOX 24728                                DALLAS TX 75265
                                        HOUSTON TX 77029




FEDERAL HEATH SIGN CO                   FEDEX                                       FEDEX
DEPT # 41283                            PO BOX 660481                               PO BOX 94515
DEPT 41283 PO BOX 650823                DALLAS TX 75266                             PALATINE IL 60094-4515
DALLAS TX 75265




FEDEX                                   FEDEX                                       FEDEX 4533-0808-1
PO BOX 7221                             PO BOX 371461                               PO BOX 371461
PASADENA CA 91109-7321                  PITTSBURG PA 15250-7461                     PITTSBURGH PA 15250-7461




FEDWAY ASSOCIATES INC FINTECH           FERRO'S AND SONS LANDSCAPING                FIASCO FINE WINE INC
PO BOX 519                              DBA FREDI FERRO                             5 BRISBEE CT
KEARNY NJ 70320                         PO BOX 464                                  SANTA FE NM 01923
                                        WEST CHICAGO IL 60186




FINLEY DISTRIBUTING CO LLC              FIRE KING COMMERCIAL SVC                    FIRE PREVENTION SVC INC
2104 S EUCLID                           2789 SOLUTION CTR                           10520 SE 200TH ST
TUCSON AZ 85713                         CHICAGO IL 60677-2007                       KENT WA 98031




FIRE WATER SPRINKLER PROTECTION LLC     FIREHOUSE BLOCK LLC                         FIREPLACE DISTRIBUTORS OF NEVADA INC
308 N HWY 377                           MCWHINNEY REAL ESTATE SVC INC               DBA D AND D OVERHEAD DOOR
ROANOKE TX 76262                        2725 ROCKY MOUNTAIN AVE STE 200             8521 WHITE FIR ST STE C6
                                        LOVELAND CO 80538                           RENO NV 89523




FIRESAFE CORP                           FIRST CLASS PLUMBING LLC                    FIRST ENERGY SOLUTIONS
3E BREED AVE                            17032 SILVER CHARM PL                       PO BOX 3624
WOBURN MA 01801                         LEESBURG VA 20176                           AKRON OH 44309




FIRST MICHIGAN MAC ASSOCIATES LLC       FIRST MICHIGAN MAC ASSOCIATES LLC           FISH WINDOW
80 NASHUA ROADS STE 24                  RAJA KHANNA                                 16757 SQUYRES RD #106
LONDONDERRY NH 03053                    80 NASHUA RD STE 24                         SPRING TX 77379
                                        LONDONDERRY NH 03053




FISH WINDOW CLEANING                    FISH WINDOW CLEANING                        FISH WINDOW CLEANING
1308 COMMON ST STE 205 304              4075 LINGLESTOWN RD #377                    PO BOX 571
NEW BRAUNFELS TX 78130                  HARRISBURG PA 17112                         RANDALLSTOWN MD 21133




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FISHBOWL INC                               FISHER IRRIGATION SYSTEMS LLC                FISHER59 - DENTON DBA CLYDE D FISHER INC
PO BOX 740513                              PO BOX 761                                   2421 IH 35 W NORTH
ATLANTA GA 30374-0513                      WARRINGTON PA 18976                          DENTON TX 76207




FITZGERALD PETERSEN COMMUNICATIONS INC     MATTHEW FIVEASH                              FIX RIGHT LLC
7033 E BUCKNELL PL                         4723 W BAY AVE                               10 LA POBLANA RD NW
DENVER CO 80224                            TAMPA FL 33616                               ALBUQUERQUE NM 87107




FL DBPR                                    FLAHERTY AND OHARA PC                        FLAHIVE OGDEN AND LATSON PC
1940 N MONROE ST                           610 SMITHFIELD ST STE 300                    PO BOX 201329
TALLAHASSEE FL 32399                       PITTSBURGH PA 15222                          AUSTIN TX 78720




FLAME FURNACE CO                           FLEMING ELECTRIC INC                         FLORIDA AGENCY FOR WORKFORCE INNOVATION
2200 E ELEVEN MILE RD                      PO BOX 856                                   DIRECTOR
WARREN MI 48091                            BRYANT AR 72089                              THE CALDWELL BUILDING
                                                                                        107 EAST MADISON ST STE 100
                                                                                        TALLAHASSEE FL 32399




FLORIDA ATTORNEY GENERAL                   FLORIDA CITY GAS                             FLORIDA DEPT OF ENVIRONMENTAL PROTECTION
PAM BONDI                                  PO BOX 11812                                 3900 COMMONWEALTH BLVD
THE CAPITOL                                NEWARK NJ 07101                              MS 49
PL-01                                                                                   TALLAHASSEE FL 32399
TALLAHASSEE FL 32399-1050




FLORIDA DEPT OF FINANCIAL SVC              FLORIDA DEPT OF REVENUE                      FLORIDA DISTRIBUTION CO LLC
REVENUE PROCESSING SECTION-BOILERS         5050 W TENNESSEE ST                          10219 GENERAL DR
PO BOX 6100                                TALLAHASSEE FL 32399                         ORLANDO FL 32824
TALLAHASSEE FL 32314-6100




FLORIDA FENCE RENTAL INC                   FLORIDA PUBLIC UTILITIES                     FLORIDA STATE
8491 NW 64TH ST                            PO BOX 2137                                  UNCLAIMED PROPERTY DIVISION
MIAMI FL 33166                             SALISBURY MD 21802                           200 EAST GAINES ST
                                                                                        TALLAHASSEE FL 32399




FLUSHING QUAIL LLC                         FLUSHING QUAIL LLC                           FLYNN REMODELING AND CONSTRUCTION INC
LEE JAMISON                                MR LEE JAMIESON                              17 NOB VIEW CIR
PO BOX 82515                               DAN KREMERS PROPERTY MANAGER                 LITTLE ROCK AR 72205
BAKERSFIELD CA 93380                       3101 STATE RD
                                           BAKERSFIELD CA 93308




FMF SVC INC                                FOLSOM BROADSTONE INC                        FOLSOM LOCK AND KEY CORP
DBA CENTURY SVC                            PY3521 PO BOX 6149                           75 NATOMA ST
1415 WHITLOCK LN STE 101                   HICKSVILLE NY 11802                          FOLSOM CA 95630
CARROLLTON TX 75006




FONTANELLA BENEVENTO GALLUCCIO AND SMITH   FOOD BY PAIGE                                FOOD EQUIPMENT SVC INC
246 UNION BLVD                             4332 AMHERST AVE                             3316A OLD CAPITAL TRIAL ROAD
TOTWA NJ 07512                             DALLAS TX 75225                              WILMINGTON DE 19808




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FOOD NETWROK                                 FOOD X CHANGECOM LLC                        FOODSERVICE CONCEPTS INC
PO BOX 602018                                360 W ILLINOIS STE 605                      680 HOLLOW RD STE 1
CHARLOTTE NC 28260                           CHICAGO IL 60610                            PHOENIXVILLE PA 19460




FORESTWOOD FARM INC                          FORREST SEWER PUMP SVC INC                  FORT COLLINS UTILITIES
PO BOX 310728                                553 S BIRDNECK RD                           PO BOX 1580
BIRMINGHAM AL 35231                          STE 218                                     FT COLLINS CO 80522
                                             VIRGINIA BEACH VA 23451




FORTRESS SAFE AND LOCK                       FOUNDERS EDUCATION LEGACY INC               FRANCHISE TAX BOARD WITHHOLDING SVC
336 NORTHLAND BLVD                           4025 N RANCH DR                             AND COMPLIANCE
CINCINNATI OH 45246                          LAS VEGAS NV 89130                          PO BOX 942857
                                                                                         SACRAMENTO CA 94257-0531




FRANCISCO R UNANUE MARIA ELENA ORTEGA        FRANKLIN COUNTY TREASURER                   FRANKLIN MACHINE PRODUCTS INC
WOLLBERG AND JOSE A ORTEGA JR AS             373 S HIGH ST 17TH FL                       PO BOX 781570
COTRUSTEES OF THE P AND L TRUST DTD SEP 22   COLUMBUS OH 43215                           PHILADELPHIA PA 19178
19
JOSE ORTEGA
2000 NW 92ND AVE
MIAMI FL 33172

FRANKLIN POLICE DEPT                         FREDERICK COUNTY                            FREDERICK COUNTY
900 COLUMBIA AVE                             LIQUOR BOARD                                MONTGOMERY COUNTY DLC
FRANKLIN TN 37065-0421                       12 E CHURCH ST                              201 EDISON PARK DR
                                             WINCHESTER HALL                             GAITHERSBURG MD 20878
                                             FREDERICK MD 21701




FREDERICK COUNTY CHAMBER OF COMMERCE         FREDERICK COUNTY HEALTH DEPT                FREDERICK P WINNER LTD
8420-B GAS HOUSE PIKE                        ENVIRONMENTAL HEALTH SVC                    DBA CHEASPEAKE BEVERAGE
FREDERICK MD 21701                           FOOD CONTROL OFFICE                         MITCHELL BEVERAGE CO OF MD LLC
                                             350 MONTEVUE LN                             7001 QUAD AVE
                                             FREDERICK MD 21702                          BALTIMORE MD 21237




FREDERICK WESTVIEW PROPERTIES                FREDERICK WESTVIEW PROPERTIES LLC           FREDERICK WILDMAN AND SONS LTD
PO BOX 4835                                  ANTHONY E GIULIO                            307 EAST 53RD ST
TIMONIUM MD 21094                            CONNOR DEVLIN/PROPERTY MGR                  NEW YORK NY 10022
                                             9640 DEERECO RD
                                             TIMONIUM MD 21093




FREDRIKSON AND BRYON PA                      FREEDOM FIRE PROTECTION OF CENTRAL FL INC   FRESHPOINT ATLANTA
ATTORNEY'S AND ADVISORS                      601 CENTRAL PK DR                           1200 OAKLEY INDUSTRIAL BLVD STE B
PO BOX 1484                                  SANFORD FL 32771                            FAIRBURN GA 30213
MINNEAPOLIS MN 55480




FRESHPOINT CENTRAL CALIFORNIA                FRESHPOINT CENTRAL FL                       FRESHPOINT CHARLOTTE CORP
5900 N GOLDEN STATE BLVD                     8801 EXCHANGE DR                            1200 OAKLEY INDUSTRIAL BLVD STE B
TURLOCK CA 95382                             ORLANDO FL 32809                            FAIRBURN GA 30213




FRESHPOINT DALLAS INC                        FRESHPOINT DENVER INC                       FRESHPOINT NASHVILLE
4721 SIMONTON RD                             PO BOX 815219                               740 MASSMAN DR
DALLAS TX 75244                              DALLAS TX 75381                             NASHVILLE TN 37210




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FRESHPOINT OF LAS VEGAS                 FRESHPOINT OF SO CA                          FRESHPOINT OKLAHOMA CITY LLC
155 N ORANGE AVE                        155 N ORANGE AVE                             3100 N I35 SERVICE RD
CITY OF INDUSTRY CA 91744               CITY OF INDUSTRY CA 91744                    OKLAHOMA CITY OK 73111




FRESHPOINT RALEIGH                      FRESHPOINT SOUTH FLORIDA INC                 FRESHPOINT W COAST FL
1200 OAKLEY INDUSTRIAL BLVD STE B       2300 NW 19TH ST                              5445 BONACKER DR
FAIRBURN GA 30213                       POMPANO BEACH FL 33069                       TAMPA FL 33610




FRESNO COUNTY TAX COLLECTOR             FRESNO COUNTY TREASURER                      FRIGI-TEMP TEMPERATURE SOLUTIONS
2281 TULARE STHALL OF RECORDS RM 105    PO BOX 11800                                 PO BOX 1153
PO BOX 1192                             FRESNO CA 93775                              YOUNGSVILLE NC 27596
FRESNO CA 93715-1192




FRONT LINE SALES INC                    FRONTIER 352-158-1344-112015-5               FRONTIER 916 691 4036 1201158
PO BOX 670                              PO BOX 20550                                 PO BOX 20550
LA VERNE CA 91750                       ROCHESTER NY 14602                           ROCHESTER NY 14602




FRONTLINE INC                           FRONTLINE SVC AND INSTALLATION               FT WORTH WATER DEPT
3300 DANVILLE BLVD #101                 29980 TECHNOLOGY DR UNIT 9                   PRETREATMENT SVC
ALAMO CA 94507                          MURRIETA CA 92563                            920 FOURNIER ST
                                                                                     FORT WORTH TX 76102




FULTON COUNTY DEPT OF FINANCE           FULTON COUNTY FINANCE DEPT                   FULTON COUNTY PUBLIC WORKS
141 PRYOR ST SW STE 7001                WATER AND SEWER BILLING AND COLLEC           11575 MAXWELL RD
ATLANTA GA 30303                        PO BOX 105300                                ALPHARETTA GA 30009
                                        ATLANTA GA 30348




FULTON COUNTY TAX COMMISSIONER          G AND G COMMERCIAL SYSTEMS INC               G AND I VIII CBL TRIANGLE LLC
ARTHUR E FERDINAND                      10 BEDFORD PK UNIT 5                         PO BOX 959727
PO BOX 105052                           BRIDGEWATER MA 02324                         ST. LOUIS MO 63195
ATLANTA GA 30348-5052




G AND R MECHANICAL INC                  GAINESVILLE REGIONAL UTILITIES               GALLO WINE SALE
3220 BERGEY RD                          PO BOX 147051                                PO BOX 36446
HATFIELD PA 19440                       GAINESVILLE FL 32614                         NEWARK NJ 07188-6446




GALLO WINE SALES OF NJ INC              GAME SHOW NETWORK LLC                        NILAY GANDHI
PO BOX 36446                            GSN LLC                                      GUEST REFUND
NEWARK NJ 07188-6446                    2150 COLORADO AVE                            219 BIRCHWOOD DR
                                        SANTA MONICA CA 90404                        WEST CHESTER PA 19380




ADRIAN GARCIA                           GARDA CL SOUTHWEST INC                       GARDERE WYNNE SEWELL LLP
1120 NORFOLK ST                         LOCKBOX 233209                               2021 MCKINNEY AVE
AURORA CO 80011                         3209 MOMENTUM PL                             STE 1600
                                        CHICAGO IL 60689                             DALLAS TX 75201




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GARDNER HOLDITCH DBA MARQUEE RENTS     GARFIELD SIGNS AND GRAPHICS LLC               EDWARD GARIBALDI
4616 W HOWARD                          203 FORD ST                                   DBA GO GO PLUMBING AND ROOTER
AUSTIN TX 78728                        GREER SC 29650                                12230 ALLARD ST
                                                                                     NORWALK CA 90650




GARRETTS REMODELING AND                GAS SOUTH                                     GASKET GUY
GENERAL CONTRACTING LLC                PO BOX 530552                                 3680 W RENO AVE
1108 PROSPERITY AVE                    ATLANTA GA 30353                              LAS VEGAS NV 89118
KISSIMMEE FL 34744




GASKET GUY INC                         GASKET GUY OF ATLANTA                         GASKET GUY OF NASHVILLE LLC
4712 ADMIRALTY WAY 735                 PO BOX 20802                                  PO BOX 683005
MARINA DEL REY CA 90292                ATLANTA GA 30320                              FRANKLIN TN 37068




GASKET PRO LLC                         GASKETEERS INC                                GASKETGUY OF DFW
PO BOX 1092                            PO BOX 98035                                  5432 WILLOW WOOD LN
CRESTWOOD KY 40014                     ATLANTA GA 30359                              DALLAS TX 75252




GASKETS ROCK INTERNATIONAL INC         GASKETS ROCK OF OHIO/KENTUCKY                 GASTON HEATING AND AIR CONDITIONING
409 PARKWAY VIEW DR                    1574 KING AVE                                 PO BOX 1120
PITTSBURGH PA 15205                    KINGS MILLS OH 45034                          COLUMBUS NC 28782




GATEWAY DC PROPERTIES INC              GATTI PLUMBING INC                            GAUGLER LOCK CO
TA ASSOCIATES REALTY                   441 A ELGROVE RD                              PO BOX 415
JOANNA C MURRAY ASSET MANAGER          ROCHESTER NY 14606                            WADSWORTH OH 44282
28 STATE ST 10TH FL
BOSTON MA 02109




JEFF H GAY                             GDF SUEZ ENERGY RESOURCES NA                  GELCO CORP DBA GE FLEET SVC
DBA ALL SEASONS WINDOW CLEANING        PO BOX 9001025                                PO BOX 100363
PO BOX 40073                           LOUISVILLE KY 40290                           ATLANTA GA 30384
BAKERSFIELD CA 93384




GEMILANG SOLUTIONS LLC                 GENE PIRA INC                                 GENERAL DISTRIBUTING CO UT
2683 WILLOW GLEN CIR                   17501 CHASE ST                                PO BOX 221210
KISSIMMEE FL 34744                     NORTHRIDGE CA 91325                           5350 W AMELIA EARHARDT DR
                                                                                     SALT LAKE CITY UT 84116




GENERAL PARTS                          GENERAL PARTS GROUP                           GENERAL WHOLESALE - AUGUSTA
MI10 PO BOX 9201                       ENCORE ONE LLC                                813 FIFTH ST
MINNEAPOLIS MN 55480-9201              MI10 PO BOX 9201                              AUGUSTA GA 30901
                                       MINNEAPOLIS MN 55480




GENERAL WHOLESALE - MARIETTA           GENESIS HEATING AND COOLING DBA AT YOUR SVC   GEORGE'S HANDYMAN SVC
1595 MARIETTA BLVD NW                  280 PINE RIDGE EXT                            37515 308TH PL NE
ATLANTA GA 30318                       RINGGOLD GA 30736                             ARLINGTON WA 98223




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GEORGIA ATTORNEY GENERAL                  GEORGIA CROWN DIST CO - MCDONOUGH         GEORGIA DEPT OF LABOR
CHRIS CARR                                100 GEORGIA CROWN DR                      COMMISSIONER
40 CAPITAL SQUARE SW                      MCDONOUGH GA 30253                        SUSSEX PLACE ROOM 600
ATLANTA GA 30334-1300                                                               148 ANDREW YOUNG INTERNATIONAL BLVD NE
                                                                                    ATLANTA GA 30303




GEORGIA DEPT OF NATURAL RESOURSES         GEORGIA DEPT OF NATURAL RESOURSES         GEORGIA DEPT OF REVENUE
ENVIRONMENTAL PROTECTION DIVISION         COMMISIONER'S OFFICE                      UNCLAIMED PROPERTY PROGRAM
2 MARTIN LUTHER KING JR DR SE             2 MARTIN LUTHER KING JR DR SE             4245 INTERNATIONAL PK
SUITE 1152 EAST TOWER                     SUITE 1252 EAST TOWER                     SUITE A
ATLANTA GA 30334                          ATLANTA GA 30334                          HAPEVILLE GA 30354




GEORGIA DEPT OF REVENUE NE                GEORGIA GASKET LLC                        GEORGIA POWER
1800 CENTURY CTR BLVD                     135 STANLEY CT                            96 ANNEX
ATLANTA GA 30345                          STE 112                                   ATLANTA GA 30396
                                          LAWRENCEVILLE GA 30046




GEORGIA POWER CO                          GERRITY ATLANT RTL PTNRS INC              GET FRESH PRODUCE
PO BOX 922117                             DBA CERRITOS GARP LLC                     1441 BREWSTER CREEK BLVD
NORCROSS GA 30010                         PO BOX 848850                             BARLETT IL 60103
                                          LOS ANGELES CA 90084




GETGO INC A SUBSIDIARY OF LOGMEIN INC     GGP HOLDING II INC                        GGP HOMART II LLC
PO BOX 83308                              NORTHRIDGE FASHION CENTER                 DBA GGP OTAY RANCH LP
WOBURN MA 18130                           SDS 12 1664 PO BOX 86                     PO BOX 6352
                                          MINNEAPOLIS MN 55486                      CAROL STREAM IL 60197




GGP NORTHRIDGE FASHION CENTER LP          GGPOTAY RANCH LP                          GLACIER REFRIGERATION AND AIR INC
GENERAL GROWTH PROPERTIES INC             GENERAL GROWTH PROPERTIES                 1200 VALLEY VIEW
THOMAS K HORNACEK ASSOC GENERAL COUNSEL   LAW/LEASE ADMINISTRATION                  SELMA CA 93662
110 NORTH WACKER DR                       HOWARD SIGAL VP AND SR ASSOCIATE GC
CHICAGO IL 60606                          110 NORTH WACKER DR
                                          CHICAGO IL 60606


GLADES CORPORATE CENTER PROPERTY          GLANZ ELECTRIC CONTRACTING INC            GLASS DOCTOR OF PHOENIX
OWNERS ASSOCIATION INC                    1713 E LINCOLN AVE STE A1                 943 S 48TH ST STE 102
2295 NW CORPORATE BLVD STE 131            FORT COLLINS CO 80524                     TEMPE AZ 85281
BOCA RATON FL 33431




GLENN MILLER SAFE AND LOCK INC            GLI DISTRIBUTING                          GLOBAL ELECTIC INC
5692 EAST LAKE RD                         803 S MEDINA ST                           1129 SILVER BEACH RD
CONESUS NY 14435                          PO BOX 830728                             LAKE PARK FL 33403
                                          SAN ANTONIO TX 78207




GLOBAL SIGN AND AWNING                    GM ELECTRICAL SVC INC                     GOLD COAST BEVERAGE LLC
1182 KAPP DR                              PO BOX 26234                              10055 NW 12TH ST
CLEARWATER FL 33765                       GREENVILLE SC 29616                       DORAL FL 33172




GOLDEN BEAR LOCK AND SAFE INC             GOLDEN EAGLE OF ARKANSAS                  GOLDRING GULF DISTRIBUTING
7445 DARON CT                             1900 E 15TH ST                            710 ANCHOR ST
PLAIN CITY OH 43064                       LITTLE ROCK AR 72202                      FT WALTON FL 32549




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GOODBEE PLUMBING INC                   GOODWILL IND OF ORANGE COUNTY                 LIZ GOODWIN
12251 ARC RD                           410 N FAIRVIEW ST                             3818 SUN VLY DR
COVINGTON LA 70435                     SANTA ANA CA 92703                            HOUSTON TX 77025




GOODY GOODY LIQUOR INC                 GORDON AND REES LLP                           GOTCHA COVERED UPHOLSTERY
10370 OLYMPIC DR                       1111 BROADWAY STE 1700                        4780 WEST ANN RD STE 5-349
DALLAS TX 75220                        OAKLAND CA 94607                              N. LAS VEGAS NV 89031




GP ELECTRIC LLC                        GRAMPIAN STRIPING INC                         GRAMPIAN STRIPING INC
30866 KENWOOD CT                       PO BOX 154                                    KALLAS & HENK PC
LIVONIA MI 48152                       OXFORD MI 48371                               JOHN F. FLEMING
                                                                                     43902 WOODWARD AVE
                                                                                     SUTE 200
                                                                                     BLOOMFIELD HILLS MI 48302


GRAND CANYON STATE LOGO SIGNS          GRAND RAPIDS CHAIR CO                         GRAND RAPIDS CHAIR CO
PO BOX 29034                           1250 84TH ST SW                               1250 84TH STTREET SW
PHOENIX AZ 85038-9034                  BYRON CENTER MI 49315                         BYRON CENTER MI 49315




GRANDE COMM 8683 40 697 0000531        GRANITE TELECOMMUNICATIONS                    GRANT WATER AND SANITATION DIST
500 TITTLE RD STE 400                  PO BOX 983119                                 % SIMONSON AND ASSOCIATES INC
LEWISVILLE TX 75056                    BOSTON MA 02298-3119                          2922 EVERGREEN PKWY
                                                                                     SUITE 320
                                                                                     EVERGREEN CO 80439




GRANT WATER AND SANITATION DIST        GRAPEVINE DISTRIBUTORS - NC                   GRASS IS ALWAYS GREENER LLC
PO BOX 1239                            4375 REPUBLIC CT                              9551 FOUNTAINBLEAU #405
EVERGREEN CO 80437                     CONCORD NC 28027                              MIAMI FL 33172




GRAYLING CORP                          GREAT BAY DISTRIBUTORS INC                    GREAT HILLS RETAIL INC
JOHN C FIRTH PRESIDENT                 2310 STARKEY RD                               16976 COLLECTIONS CTR DR
DIANA M SHIVELY PROPERTY MANAGER       LARGO FL 34641                                CHICAGO IL 60693
4220 EDISON LAKES PKWY
MISHAWAKA IN 46545




GREAT IOWA TREASURE HUNT               GREAT LAKES WINE AND SPIRITS - GENERAL WINE   GREATER BRANDON CHAMBER OF COMMERCE
UNCLAIMED PROPERTY DIVISION            DBA J LEWIS COOPER CO                         330 PAUL'S DR
LUCAS STATE OFFICE BLDG                3101 S GULLEY RD STE 1                        BRANDON FL 33511
1ST FLOOR                              DEARBORN MI 48124
DES MOINES IA 50319




GREATER CHARLOTTE REFRIGERATION INC    GREATER CINCINNATI WATER WORKS                GREATER CINCINNATI WATER WORKS
6120-J BROOKSHIRE BLVD                 PO BOX 5487                                   PO BOX 742505
CHARLOTTE NC 28216                     CAROL STREAM IL 60197                         CINCINNATI OH 45274




GREEN AND CLEAN LANDSCAPING INC        GREEN CANE PROPERTY                           GREEN CANE PROPERTY LLC
503 ROSEBRIAR CT                       JOSEPH B MAROGIL                              PO BOX 6673
GREENSBORO NC 27407                    JERRY MAROGIL MANAGER                         GRAND RAPIDS MI 49516
                                       2151 ROBINSON RD
                                       GRAND RAPIDS MI 49506




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GREEN ENERGY MASTERS                   GREENCARE LANDSCAPE MANAGEMENT              GREENCO BEVERAGE
PO BOX 30019                           125 PLEASANT HILL RD                        297 COMMERCE RD
DULUTH GA 30096                        SCARBOROUGH ME 04074                        GREENVILLE SC 29611




GREENLEAF COMPACTION INC               GREENLEAF WHSLE FLORIST INC                 GREENSBORO ABC
DEPT #2008                             4100 WILL ROGERS PKWY STE 900               LIQUOR CHECK
PO BOX 29661                           OKLAHOMA CITY OK 73108                      115 N CEDAR ST
PHOENIX AZ 85038-9661                                                              GREENSBORO NC 27401




GREENSBORO ABC                         GREENSCAPE INC                              GREENSCAPE LANDSCAPING LLC
NORTH CAROLINA ALCOHOLIC BEVERAGE      PO BOX 18                                   4 PARIS CIR
CONTROL COMMISSION                     ELLENDALE TN 38029                          WEST ORANGE NJ 07052
400 E TRYON RD
RALEIGH NC 27610




GREENSCAPE SOLUTIONS INC               GREENSCAPERS LLC                            GREENSCAPES LANDSCAPE SVC INC
7051 27TH ST                           DAVID ROBERT SMITH                          PO BOX 9553
RIVERSIDE CA 92509                     1753 E BROADWAY #407                        TAMPA FL 33674
                                       TEMPE AZ 85282-1600




GREENSCENE LAWN AND LANDSCAPE          GREENTREE LANDSCAPING INC                   GREENVILLE COUNTY TAX COLLECTOR
3201 CUSTER DR                         PO BOX 352                                  DEPT 390
HOLIDAY FL 34690                       PHOENIX MD 21131                            PO BOX 100221
                                                                                   COLUMBUS SC 29202-3221




GREENVILLE WATER                       GREENWOOD RETAIL PLAZA                      GRESH ASSOCIATES INC
PO BOX 687                             7343 S ALTON WAY STE 100                    PO BOX 1417
GREENVILLE SC 29602                    CENTENNIAL CO 80112                         FAIRPORT NY 14450




GRETZ BEVERAGE MONTCO INC              GRILLONI LLC                                GRILLONI LLC
LIQUOR CK                              222 GRAND AVE                               MICHAEL SCHMIDT
2801 E TOWNSHIP LN RD                  ENGLEWOOD NJ 07631                          222 GRAND AVE
HATFIELD PA 19440                                                                  ENGLEWOOD NJ 07631




COHEN GROSSMAN                         GROUND PURSUITS LLC                         GTT COMMUNICATIONS INC
ATTORNEYS AT LAW                       652 WEBB CIR                                PO BOX 842630
350 NORTH LAKE DESTINY RD STE 300      DRAPER UT 84020                             DALLAS TX 75284-2630
MAITLAND FL 32751




GUADALUPE TAX OFFICE                   GUILFORD COUNTY TAX DEPT                    GULF COAST GASKET GUY DBA BARROW INC
307 W CT                               PO BOX 71072                                8722 RAND AVE STE A
SEGUIN TX 78155                        CHARLOTTE NC 28272-1072                     DAPHNE AL 36526




GULF COAST OF ALABAMA LLC              GULF COAST PRODUCE DIST INC                 GULF COAST PROPERTY MANAGEMENT
410 EAST SECTION AVE                   PO BOX 203                                  1101 N 9TH AVE
FOLEY AL 36536                         BILOXI MS 39533-0203                        PENSACOLA FL 32501




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GULF DISTRIBUTING                           GULF ELECTRIC CO                             GULF POWER CO
3378 MOFFETT RD                             12522 N US HWY 301 STE 12                    ONE ENERGY PLACE
MOBILE AL 36607                             THONOTOSASSA FL 33592                        PENSACOLA FL 32520




GUNDLACH PLUMBING AND SHEET METAL LTD INC   GUS LANDSCAPING INC                          CARLOS H GUTIERREZ
4415 FOSTER AVE                             7280 NORTHWAY DR                             DBA H AND L SEWER SVC
BAKERSFIELD CA 93308                        HANOVER PARK IL 60133                        1009 CHURCHILL DR
                                                                                         BOLINGBROOK IL 60440




GWINNET CO LICENSE AND RENEWAL              GWINNETT CO DEPT WTR RESOURCES               GWINNETT COUNTY ENVIRONMENTAL HEALTH
PO BOX 1045                                 GWINNETT CO WATER RESOURCES                  455 GRAYSON HWY STE 600
LAWRENCEVILLE GA 30046                      PO BOX 530575                                LAWRENCEVILLE GA 30046
                                            ATLANTA GA 30353




GWINNETT COUNTY POLICE DEPT                 GWINNETT COUNTY TAX COMMISSIONER             GWINNETT COUNYY
PO BOX 602                                  PO BOX 372                                   ALCOHOLIC BEVERAGE
LAWRENCEVILLE GA 30046                      LAWRENCEVILLE GA 30046                       PO BOX 1045
                                                                                         LAWRENCEVILLE GA 30046




H AND H LANDSCAPING LLC                     H AND R SVC INC                              H AND S WINDOW CLEANING
24272 ELM RD                                7509 CANYON CLOVER DR                        PO BOX 3654
NORTH OLMSTED OH 44070                      BAKERSFIELD CA 93313                         ALPHARETTA GA 30023




H AND Y NORTHERN CALIFORNIA LLC             H AND Y NORTHERN CALIFORNIA LLC              H PLUMBING INC
253 E HARRIS AVE                            BHG REAL ESTATE MASON MCDUFFIE               26609 HIGH ST
SOUTH SAN FRANCISCO CA 94080                ANNA LI                                      DAMASCUS MD 20872
                                            2 ADRIAN CT #38
                                            BURLINGAME CA 94010




H20 SOLUTIONS BY DESIGN INC                 HACIENDA LANDSCAPE SVC                       HAGAR RESTAURANT SVC INC
PO BOX 155665                               ARMANDO MURILLO RUIZ                         6200 NW 2ND ST
FORT WORTH TX 76155                         PO BOX 2648                                  OKLAHOMA CITY OK 73127-6520
                                            FULLERTON CA 92837




HAMILTON COUNTY TREASURER                   HAMPSHIRE FIRE PROTECTION CO LLC             HAND FAMILY TN LLC
PO BOX 740857                               8 NORTH WENTWORTH AVE                        200 SHEARER ST
CINCINNATI OH 45274-0857                    LONDONDERRY NH 03053                         SODDY-DAISY TN 37379




HANDLEYS ENTERPRISES CO INC                 HANDY CO                                     HANDY HANKS REPAIR SVC
804 W HWY 130                               PO BOX 652                                   HENRY SEIB
NEWCASTLE OK 73065                          SOLANA BEACH CA 92075                        852 S GOSHEN AVE
                                                                                         FRESNO CA 93720




HANGAR 24 CRAFT DISTRIBUTION LLC            HARALAMBOS BEVERAGE CO                       HARBOR DIST - CA
1939 W PK AVE                               2300 PELLISSIER PL                           DBA GATE CITY/ALLIED/UNIQUE CRAFT
REDLANDS CA 92373                           CITY OF INDUSTRY CA 90601                    DBA GATE CITY BEVERAGE DISTR
                                                                                         PO BOX 842685
                                                                                         LOS ANGELES CA 90084




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BRIAN HARDEN                             HARDING AND CARBONE INC                     HARGA RESTAURANT EQ SVC INC
DBA AMERICAN PLUMBING PROFESSIONALS OF   3903 BELLAIRE BLVD                          DBS HAGAR RESTRAURANT SVC LLC
SWAL                                     HOUSTON TX 77025                            6200 NW 2ND ST
2200 US HWY 98                                                                       OKLAHOMA CITY OK 73127
DAPHNE AL 36526




HARKAN PROPERTIES LLC                    HARPER MEDIA INC                            HARPOON DISTRIBUTING INC
J HARTLEY KANTOR                         1223 RIDGEGREEN LOOP N                      306 NORTHERN AVE
2122 FIFE ST                             LAKELAND FL 33809                           BOSTON MA 02210
TACOMA WA 98406




HARRIS COUNTY TAX ASSESSOR-COLLECTOR     HARRIS WHOLESALE INC                        HARRISON LANDSCAPE AND DESIGN LLC
TAX ASSESSOR COLLECTOR AND VOTER         420 CIVIC VLVD                              2745 N DALLAS PKWY #455
REGISTRAR                                RALIEGH NC 27610                            PLANO TX 75093
PO BOX 4622
HOUSTON TX 77210-4622




HARRY C LOBALZO AND SONS INC             HARSCH INVESTMENT PROPERTIES                HARVEY NASH INC
DBA HOBART SALES AND SVC                 HIP STEPHANIE LLC                           PO BOX 845415
61 N CLEVELAND MASSILLON RD              POWER CENTER UNIT 31 PO BOX 4500            BOSTON MA 02284
AKRON OH 44333                           PORTLAND OR 97208




HAWKINS COMMERCIAL APPLIANCE             HAWKINS ELECTRIC SVC INC                    HAYNES AND BOONE ATTY AND COUNSELORS AT
3000 S WYANDOT                           8667 CHERRY LN                              LAW
ENGLEWOOD CO 80110                       LAUREL MD 20707                             PO BOX 841399
                                                                                     DALLAS TX 75284




HCS GENERAL CONTRACTORS                  HEALTH MATS CO                              HEIDELBERG DIST CINCINNATI
2223 BASSETT AVE                         100 PENNELL ST                              1518 DALTON AVE
EL PASO TX 79901                         CHESTER PA 19013                            CINCINNATI OH 45214




HEIDELBERG DIST CLEVELAND                HEIDELBERG DIST COLUMBUS                    HEIDELBERG DIST N KENTUCKY
9101 E PLEASANT VLY RD                   3801 PARKWEST DR                            101 W 13TH ST
INDEPENDENCE OH 44131                    COLUMBUS OH 43228                           COVINGTON KY 41011




HEIGHTS KEY LOCK AND SAFE INC            HEISKELL CONSTRUCTION INC                   HELMSMAN MANAGEMENT SVC LLC
PO BOX 80202                             105 W PK ROW DR                             PO BOX 85307
ALBUQUERQUE NM 87110                     ARLINGTON TX 76010                          SAN DIEGO CA 92186-5307




HENNEPIN COUNTY TREASURER                HENNING MEDIATION AND ARBITRATION SRV       HENRY A FOX SALES CO
A-600 GOVERNMENT CENTER                  3350 RIVERWOOD PKWY SE STE 75               4494 36TH ST SE
MINNEAPOLIS MN 55487-0060                ATLANTA GA 30339                            GRAND RAPIDS MI 49512




HENRY WINE GROUP OF CA                   HENSLEY AND CO - PHOENIX                    HENSLEY AND CO II
FINTECH VENDOR                           4201 N 45TH AVE                             PO BOX 27506
4301 INDUSTRIAL WAY                      PHOENIX AZ 85031                            TUCSON AZ 85726
BENICIA CA 94510




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HERC RENTALS INC                         HERTIAGE LANDSCAPE                         HGTV DBA SCIPPS NETWORK LLC
PO BOX 650280                            141 PEACHTREE ST                           PO BOX 602028
DALLAS TX 75265                          GILBERT SC 29054                           CHARLOTTE NC 28260




RICHARD E HIGGINBOTTOM SR                HIGH COUNTRY BEVERAGE CORP                 HIGH GRADE BEVERAGE
DBA PURE AIR                             4200 RONALD REAGAN BLVD                    PO BOX 7092
PO BOX 381544                            JOHNSTOWN CO 80534                         NORTH BRUNSWICK NJ 08902
GERMANTOWN TN 38183




HIGH TECH VINYL REPAIR                   HIGHLAND SIGNS AND LIGHTING LLC            HIGHPOINT RESTAURANT EQUIP INC
PO BOX 1943                              3348 TRICKUM RD STE B101                   7243 S SOURDOUGH DR
EULESS TX 76039                          WOODSTOCK GA 30188                         MORRISON CO 80465




HILITE ELECTRIC INC                      HILLSBOROUGH CO BOARD OF COUNTY            HILLSBOROUGH CO PUBL UTIL DEPT
7960 CHAPEL HILL RD                      COMMISSIONERS                              PO BOX 342456
CARY NC 27513                            CODE ENFORCEMENT DEPT                      TAMPA FL 33694
                                         3629 QUEEN PALM DR
                                         TAMPA FL 33619




HILLSBOROUGH COUNTY                      HILLSBOROUGH COUNTY BOARD OF               HINES GLOBAL REIT 2615 MED CENTER PARKWAY
3629 QUEEN PALM DR                       COUNTY COMMISSIONERS                       LLC
TAMPA FL 33619                           PO BOX 310398                              DHA ASSET MANAGEMENT LLC
                                         TAMPA FL 33680                             PROPERTY MANAGER
                                                                                    LAUREN ROWLAND GENERAL MANAGER
                                                                                    1901 FREDERICA ST
                                                                                    OWENSBORO KY 42301

HINES GLOBAL REIT INC                    HIP STEPHANIE LLC                          HITECH MECHANICAL CONTRACTORS INC
GLOBAL REIT 2615 MED CNT                 HARSCH INVESTMENT PROPERTIES               2580 AUBURN FOLSOM RD
PO BOX 742644                            SHARON MATLOCK RETAIL LEASE MANAGER        NEWCASTLE CA 95658
ATLANTA GA 30374                         1121 SW SALMON ST
                                         PORTLAND OR 97205




HMS HOST USA INC                         HOBAICA SVC INC                            HOBART SVC
7217 COLLECTION CTR DR                   10636 N CAVE CREEK RD                      ITW FOOD EQUIP GROUP LLC
CHICAGO IL 60693                         PHOENIX AZ 85020                           PO BOX 2517
                                                                                    CAROL STREAM IL 60132-2517




HOBART SVC                               HOFFMAN BEVERAGE                           HOFFMAN SOUTHWEST CORP
ITW FOOD EQUIPMENT GROUP LLC             5464 GREENWICH RD                          7301 MADISON ST
PO BOX 2517                              VIRGINIA BEACH VA 23462                    PARAMOUNT CA 90723
CAROL STREAM IL 60132




HOFFMAN SOUTHWEST DBA ROTO ROOTER        HOHENSTEINS INC                            HOLDERS AIR CONDITIONING AND HEATING INC
ROTO ROOTER PLUMBING                     2330 VENTURA DR                            1140 BLACK GOLD RD
1183 N KRAMER PL                         WOODBURY MN 55125                          BAKERSFIELD CA 93308
ANAHEIM CA 92806




HOLLY V MAC ACQUISITION LLC              HOLLY V MAC ACQUISITION LLC                HOLT PLUMBING CO LLC
AMBRE HOLLY                              C/O JONES & RACZKOWSKI PC                  2608 MURFREESBORO RD STE 100
5616 E BARWIZK DR                        ATTN: MACK T. JONES                        NASHVILLE TN 37217
CAVE CREEK AZ 85331                      2141 EAST CAMELBACK RD
                                         SUITE 100
                                         PHOENIX AZ 85016




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HOMERUN ENTERPRISES DBA BUCKEYE NEON   HOPE BUILDERS INC                            HORAN DRAFT SVC
2213 COVINGTON RD                      7611 G RICKENBACKER DR                       2003 OAK TREE LN
AKRON OH 44313                         GAITHERSBURG MD 20879                        SCHENECTADY NY 12303




HORIZON BEVERAGE CO                    HORIZON BEVERAGE CO INC                      HORIZON ELECTRIC SIGNS LLC
ANHEUSERBUSCH LLC                      PO BOX 1165                                  831 LOS ARBOLES AVE NW
DBA HORIZON BEVERAGE CO                NORTON MA 02081                              ALBUQUERQUE NM 87107
PO BOX 23403
OAKLAND CA 94623




HOSPITALITY RESOURCE SUPPLY INC        HOT SHOTS                                    HOTSCHEDULESCOM INC
499 N SR 434 #1005                     13089 PEYTON DR C-220                        PO BOX 848472
ALTAMONTE SPRINGS FL 32714             CHINO HILLS CA 91709                         DALLAS TX 75284




HOUSE DOCTOR                           HOUSE LIFESTYLES CORP/FISH WINDOW CLEANING   HOUSE OF LA ROSE INC
469 STRICKLAND CT                      1308 COMMON ST STE 205 304                   6745 SOUTHPOINTE PKWY
LAWRENCEVILLE GA 30046                 NEW BRAUNFELS TX 78130                       BRECKSVILLE OH 44141




HOUSTON ARMOUR INC                     HOUSTON DISTRIBUTING CO                      HOV SVC INC
PO BOX 473                             PO BOX 691368                                PO BOX 142589
MADISON GA 30650                       HOUSTON TX 77269                             DRAWER #9092
                                                                                    IRVING TX 75014-2589




HOWARD COUNTY                          HOWARD COUNTY DIRECTOR OF FINANCE            HOWLETT LOCK AND DOOR INC
DIRECTOR OF FINANCE                    COLLECTOR'S OFFICE                           1933 SWARTHOUT RD
PO BOX 37213                           PO BOX 3370                                  PINCKNEY MI 48169
BALTIMORE MD 21297                     ELLICOTT CITY MD 21041-3370




HRSD                                   HRT CONSULTING GROUP LLC                     HUB TELEVISION NETWORK
PO BOX 71092                           2176 TALL GRASS CIR                          DBA DISCOVERY FAMILY CHANNEL
CHARLOTTE NC 28272                     MOUNT PLEASANT SC 29466                      ONE DISCOVERY PL
                                                                                    SILVER SPRING MD 20910




HUBERT DISTRIBUTORS                    HUMITECH OF TEXAS                            HUNTSVILLE REFRIGERATION SVC DBA HRS
1200 AUBURN RD                         PO BOX 2037                                  PO BOX 36397
PONTIAC MI 48342                       BAY CITY TX 77404                            BRIMINGHAM AL 35236




HURD REAL ESTATE                       DENNIS HURLEY                                HY-TECH ROOFING SVCS INC
RICHARD HURD                           1002 PARKVIEW AVE                            LESTER HAYDEL JR
2000 FULLER RD                         DALLAS TX 75223                              10371 AIRLINE HWY
WEST DES MOINES IA 50265                                                            ST. ROSE LA 70087




HYATT LEGAL PLANS INC                  IAC SVC LLC - MARYLAND                       OSCAR IBARRA
DEPT 781523 PO BOX 78000               14801 BUILD AMERICA DR                       2500 WENDELL BLVD
DETROIT MI 48278                       WOODBRIDGE VA 22191                          WENDELL NC 27591




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ICEE CO                                   IDAHO DEPT OF LABOR CASHIER                  IDEAL PLUMBING HTG AIR ELECTRIC
1205 S DUPONT AVE                         317 W MAINT ST                               5161 WARING RD
ONTARIO CA 91761                          BOISE ID 83735                               SAN DIEGO CA 92120




IDEAL UPHOLSTERY DBA SALVADOR FLORES      IH CAFFEY DIST CO INC GREENSBORO             ILLINOIS ATTORNEY GENERAL
1800 EAST THOMPSON BLVD                   8749 US HWY 421 W                            LISA MADIGAN
VENTURA CA 93001                          GREENSBORO NC 27409                          JAMES R THOMPSON CENTER
                                                                                       100 W RANDOLPH ST
                                                                                       CHICAGO IL 60601




ILLINOIS ATTORNEY GENERAL                 ILLINOIS DEPT OF LABOR                       ILLINOIS DEPT OF REVENUE
CONSUMER PROTECTION DIVISION              DIRECTOR                                     PO BOX 19053
100 WEST RANDOLPH ST                      160 N LASALLE ST                             SPRINGFIELD IL 62794
CHICAGO IL 60601                          13TH FL SUITEC-1300
                                          CHICAGO IL 60601




ILLINOIS DEPT OF REVENUE                  ILLINOIS ENVIRONMENTAL PROTECTION AGENCY     ILLINOIS POWER MARKETING
JAMES R THOMPSON CENTER CONCOURSE LEVEL   1021 NORTH GRAND AVE EAST                    DBA HOMEFIELD ENERGY
100 WEST RANDOLPH ST                      PO BOX 19276                                 23532 NETWORK PL
CHICAGO IL 60601-3274                     SPRINGFIELD IL 62794-9276                    CHICAGO IL 60673




ILLINOIS SECRETARY OF STATE               ILLINOIS ST BRD OF INVEST                    ILLINOIS STATE TREASURER'S OFFICE
501 S SECOND ST RM 351                    2222 ARLINGTON AVE S                         UNCLAIMED PROPERTY DIVISION
SPRINGFIELD IL 62756                      BIRMINGHAM AL 35205                          PO BOX 19495
                                                                                       SPRINGFIELD IL 62794-9495




ILLY CAFFE NORTH AMERICA INC              IMAGE LAWN INC                               IMAGETAG INC
PO BOX 29917                              7380 SPOUT SPRINGS RD STE 210 BOX 232        DEPT 3146
NEW YORK NY 10087                         FLOWERY BRANCH GA 30542                      PO BOX 123146
                                                                                       DALLAS TX 75312-3146




IMPACT TELECOM                            IMPERIAL BEVERAGE CO ELITE BRANDS            IMPERIAL FIRE AND CASUALTY INSURANCE CO
PO BOX 981038                             3825 EMERAL DR                               PO BOX 912063
BOSTON MA 02298                           KALAMAZOO MI 49001                           DENVER CO 80291-2063




INCONTACT                                 INDAY OF SARASOTA INC                        INDEED INC
PAYMENT CENTER #5450                      1920 ADAMS LN                                MAIL CODE 5160 PO BOX 660367
PO BOX 410468                             SARASOTA FL 34236                            DALLAS TX 75266
SALT LAKE CITY UT 84141




INDEPENDENT PLUMBING OF FL INC            INDIANA ATTORNEY GENERAL                     INDIANA DEPT OF ENVIRONMENTAL MGMT
15921 N FLORIDA AVE                       CURTIS T HILL JR                             OFFICE OF AIR QUALITY (COMPLIANCE)
LUTZ FL 33549                             INDIANA GOVERNMENT CENTER SOUTH              100 N SENATE AVEVNUE
                                          302 WEST WASHINGTON ST 5TH FL                MAIL CODE 50-01
                                          INDIANAPOLIS IN 46204-2770                   INDIANAPOLIS IN 46204-2251




INDIANA DEPT OF LABOR                     INDIANA DEPT OF NATURAL RESOURCES            INDIANA DEPT OF REVENUE
COMMISSIONER                              402 WEST WASHINGTON ST                       BANKRUPTCY SECTION - MS 108
402 WEST WASHINGTON ST                    INDIANAPOLIS IN 46204                        100 NORTH SENATE AVE RM N240
ROOM W195                                                                              INDIANAPOLIS IN 46204
INDIANAPOLIS IN 46204




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INDIANA UNCLAIMED PROPERTY              INDIANAPOLIS POWER AND LIGHT CO              INDOOR COMFORT INC
302 W WASHINGTON ST                     PO BOX 110                                   3820 S CENTRAL AVE
INDIANAPOLIS IN 46204                   INDIANAPOLIS IN 46206                        PHOEMIX AZ 85040




INDOOR COMFORT SVC INC                  INDUSTRIAL ELECTRIC COMM PARTS AND SRV INC   INDUSTRIAL MAINTENANCE EQUIP SRV INC
3441 TRILOGY DR                         PO BOX 3929                                  8780 19TH ST #335
LAS VEGAS NV 89108                      HUNTINGTON BEACH CA 92605                    ALTA LOMA CA 91701




INDUSTRIAL MAINTENANCE SVC INC          INDUSTRY WEST                                INFINITE ENERGY INC
2187 HAUSER RD                          1538-2 HENDRICKS AVE                         PAYMENT CENTER
PINNACLE NC 27043                       JACKSONVILLE FL 32207                        PAYMENT CENTER
                                                                                     PO BOX 791263
                                                                                     BALTIMORE MD 21279




INKBOX LLC                              INLAND CONTINENTAL PROPERTY MANAGEMENT       INLAND PRIVATE CAPITAL CORP
4822 N SAM HOUSTON PKWY W STE 200       CO                                           DBA COLUMBUS DINING DST
HOUSTON TX 77086                        JUDY OSWALD                                  62570 COLLECTIONS CTR DR
                                        JUDY OSWALD PROPERTY MANAGER                 CHICAGO IL 60693
                                        2901 BUTTERFIELD RD
                                        OAK BROOK IL 60523


INTEGRA TELECOM 153189                  INTEGRATED LANDSCAPE MGMT LLC                INTEGRITY SECUTY SVC
PO BOX 2966                             1150 E GILBERT DR                            PO BOX 10816
MILWAUKEE WI 53201                      TEMPE AZ 85281                               TAMPA FL 33679




INTEGRYS ENERGY SVC INC                 INTELLIGENT COMMUNICATION SOLUTIONS          INTELLIGENT ENERGY
PO BOX 19046                            930 WOODCOCK RD STE 202                      PO BOX 791263
GREEN BAY WI 54307                      ORLANDO FL 32803                             BALTIMORE MD 21279




INTELLIGENT ENERGY                      INTERCONN RESOURCES INC                      INTERCONN RESOURCES LLC
PAYMENT CENTER                          PO BOX 54158                                 PO BOX 1337
PO BOX 105247                           NEW ORLEANS LA 70154                         HOUSTON TX 77251
ATLANTA GA 30348




INTERFACE COMMUNICATIONS CO             INTERFACE EAP INC                            INTERMETRO INDUSTRIES CORP
5400 MT MEEKER RD STE A                 PO BOX 671411                                651 NORTH WASHINGTON ST
BOULDER CO 80301                        DALLAS TX 75267                              WILKES-BARRE PA 18705




INTERMOUNTAIN ELECTRIC INC              INTERNAL REVENUE SVC                         INTERNAL REVENUE SVC
5050 OSAGE ST STE 500                   PO BOX 12192                                 1111 CONSTITUTION AVE NW
DENVER CO 80221                         COVINGTON KT 41012-0192                      WASHINGTON DC 20224




INTERNATIONAL BEERS                     INTERNATIONAL CELLARS LLC                    INTERNATIONAL COVERS INC
6833 E READING                          8472-B TYCO ROAD                             PO BOX 935
TULSA OK 74115                          VIENNA VA 22182                              UNION KY 41091




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INTERNATIONAL WINE AND SPIRITS - LA     INTERNATIONAL WINES INC                    INTL BUSINESS MACHINE CORP
4927 BLOOMFIELD ST                      288 SNOW DR                                DBA IBM CORP
JEFFERSON LA 70121                      BIRMINGHAM AL 35209                        PO BOX 676673
                                                                                   DALLAS TX 75267




IOWA ATTORNEY GENERAL                   IOWA BEVERAGE SYSTEMS INC                  IOWA DEPT OF NATURAL RESOURCES
TOM MILLER                              2115 NE 58TH AVE                           502 E 9TH ST
HOOVER STATE OFFICER BLDG               DES MOINES IA 50313                        4TH FLOOR
1305 E WALNUT 2ND FL                                                               DES MOINES IA 50319-0034
DES MOINES IA 50319




IOWA DEPT OF REVENUE HOOVER BUILDING    IOWA WORKFORCE DEVELOPMENT                 IRISH CARBONIC CO
PO BOX 10471                            DIRECTOR                                   PO BOX 409
DES MOINES IA 50306-3457                1000 EAST GRAND AVE                        BUFFALO NY 14212
                                        DES MOINES IA 50319




IRON MOUNTAIN INC                       IRS (INTERNAL REVENUE SERVICE)             IRVINE RANCH WATER DISTRICT
PO BOX 27128                            10TH ST AND PENNSYLVANIA AVE NW            PO BOX 51403
NEW YORK NY 10087-7128                  WASHINGTON DC 20530                        LOS ANGELES CA 90051




ISBI SUSQUEHANNA LLC                    ISI COMMERICAL REFRIGERATION LLC           IVT WALNUT CREEK WESTMINISTER LLC
METRO COMMERCIAL MANAGEMENT SVC INC     PO BOX 654020                              PO BOX 677813
PROPERTY MANAGEMENT ELAINE MANEVAL      DALLAS TX 75265-4020                       DALLAS TX 75267
307 FELLOWSHIP RD STE 300
MOUNT LAUREL NJ 08054




J AND B KITCHEN REPAIR                  J AND D WAGNER DRAFT SVC                   J AND J PRINTING INC
10 SQUIRREL RD                          861 S FRANKLIN ST                          16701 W 116TH ST
DOYLSTOWN PA 18901                      PALMYRA PA 17078                           LENEXA KS 66219




J AND M AIR INC                         J HARTLEY KANTOR DBA HARKAN PROPERTIES     J KRU LAND SVC
189 S BRIDGE ST                         2122 N FIFE ST                             2323 CLEARLAKE CITY BL #180134
SOMERVILLE NJ 08876                     TACOMA WA 98406                            HOUSTON TX 77062




J NAZZARO PARTNERSHIP LP                J NAZZARO PARTNERSHIP LP                   JACK OPATRNY DBA
MR JAMES J NAZZARO                      JAMES J NAZZARO                            JACK OPATRNY PHOTOGRAPHY
8 SAXON AVE STE C                       8 SAXON AVE STE C                          PO BOX 22407
BAY SHORE NY 11706                      BAY SHORE NY 11706                         HOUSTON TX 77027




JACKS LANDSCAPE MGMT                    JACKSON COMFORT SYSTEMS INC                JACKSON LEWIS PC
PO BOX 617                              40 CHAMISA RD STE A                        PO BOX 416019
RIDGETOP TN 37152                       COVINGTON GA 30016                         BOSTON MA 02241




JACOB MUNRO - ESCHEATMENT               MEGHAN JAGISCH                             SIRINTIP A JAKEMAN
705 FOLIAGE CT                          4175 GREEN CT                              3928 ELMIRA ST
MADISONVILLE LA 70447                   DENVER CO 80211                            WEST COLUMBIA SC 29170




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JANET HOLLEY TAX COLLECTOR                  JANI KING OF PHILADELPHIA INC             ALEXIS NICOLE JANSSEN
PO BOX 1312                                 PO BOX 417114                             29243 GRANDFATHERS LN
PENSACOLA FL 32596                          BOSTON MA 02241                           VALLEY CENTER CA 92082




JARBOE SALES CO - FINTECH                   JC BEERTECH LTD                           JC SIGNS CHARLOTTE LLC
6833 E READING PL                           4125 LORAIN AVE                           1008 EAST BLVD
TULSA OK 74115                              CLEVELAND OH 44113                        CHARLOTTE NC 28203




JCC CALIFORNIA PROPERTIES LLC               JCP AND L                                 JD HIGGINS CO INC
FESTIVAL MANAGEMENT CORP                    PO BOX 3687                               PO BOX 5948
LEGAL DEPT                                  AKRON OH 44309                            ARLINGTON TX 76005
DIANA WHITT SR REAL ESTATE MNGR
9841 AIRPORT BLVD STE 700
LOS ANGELES CA 90045


JDS UPHOLSTERY                              JEFF EDWARDS CONSTRUCTION                 JEFFERESON COUNTY LIQUOR LICENSING OFFICE
212 FESSLERS LN                             620 MORNING VIEW WAY                      100 JEFFERESON CITY PKWY STE 2530
NASHVILLE TN 37210                          MURPHY TX 75094                           GOLDEN CO 80419-2530




JEFFERESON COUNTY LIQUOR LICENSING OFFICE   JEFFERSON CO BIRMINGHAM WATER             JEFFERSON CO DEPT OF REVENUE
CO DEPT OF REVENUE                          SEWER AND WATER UTILITY BILL              PO BOX 830710
LIQUOR AND TOBACCO ENFORCEMENT              PO BOX 830269                             BIRMINGHAM AL 35283
1881 PIERCE ST RM 108                       BIRMINGHAM AL 35283
LAKEWOOD CO 80214




JEFFERSON COUNTY DEPT OF REVENUE            JEFFERSON COUNTY GREASE CONTROL PROGRAM   JEFFERSON COUNTY HEALTH DEPT
PO BOX 12025                                1290 OAK GROVE RD                         PO BOX 2648
BIRMINGHAM AL 35202                         BIRMINGHAM AL 35209                       BIRMINGHAM AL 35202




JEFFERSON COUNTY SHERIFF'S OFFICE           JEFFERSON COUNTY TREASURER                JEREMY HALL - ESCHEATMENT
PO BOX 34570                                JEFFERSON COUNTY PUBLIC HEALTH            5590 SPRING VLY RD #G103
LOUISVILLE KY 40232-4570                    ENVIRONMENTAL HEALTH SVC                  DALLAS TX 75254
                                            645 PARFET ST
                                            LAKEWOOD CO 80215




JET SVC INC                                 JEZIERSKI AND PARR LLC                    JF FICK INC
DBA JET PLUMBING AND DRAIN SVC              5720 W 120TH AVE #2                       PO BOX 7567
1553 HYMER AVE                              BROOMFIELD CO 80020                       FREDERICKSBURG VA 22404
RENO NV 89431




JF MAZANY LLC                               JIFFY PLUMBING AND HEATING INC            JIM CAREY DISTRIBUTING CO
DBA STRATEGIC RESTAURANT SOLUTIONS          4623 BALTIMORE AVE                        726 W 26TH AVE
3302 MALLARD RUN CT                         HYATTSVILLE MD 20781                      COVINGTON LA 70434
KATY TX 77494




JIM'S SIGN SVC DBA JAMES MULLENDORE         JIMSON INC                                JJ TAYLOR - MINNESOTA
9911 MT TABOR RD                            DBA ALL BRANDS SALES AND SVC              701 INDUSTRIAL BLVD NE
MYERSVILLE MD 21773                         5001 AMBASSADOR ROW                       MINNEAPOLIS MN 55413
                                            CORPUS CHRISTI TX 78416




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JJ TAYLOR DISTRIBUTING - TAMPA         JMC CONSTRUCTION                                JMEG LP
5102 S 16TH AVE                        PO BOX 97                                       13995 DIPOLMAT DR #400
TAMPA FL 33619                         MATHIS TX 78368                                 FARMERS BRANCH TX 75234




JMS ELECTRIC INC                       JNC MANAGEMENT CO LLC                           JOB STORE STAFFING DBA THE JOB STORE INC
871 E STATE PKWY                       2 TOWER PL                                      7100 E HAMPDEN AVE STE A
SCHAUMBURG IL 60173                    ALBANY NY 12203                                 DENVER CO 80224




JOE HAND PROMOTIONS INC                JOHN A POTTER ESQ                               JOHN KELLER TRUSTEE
407 E PENNSYLVANIA BLVD                TWOHEY MAGGINI PLC                              KELLER FAMILY TRUST
FEASTERVILLE PA 19053                  161 OTTAWA AVENUE SUITE 212                     14435C BIG BASIN WAY PMB 291
                                       GRAND RAPIDS MI 49503                           SARATOGA CA 95070




JOHN P PYONTECH ELECTRIC               JOHN TERHAAR DBA BETTER BEER                    JOHN'S SEWER AND PIPE CLEANING INC
10310 LONG BARN CT                     5618 BUFFALO RD                                 4 BREED AVE
LOUISVILLE KY 40291                    CHURCHVILLE NY 14428                            WOBURN MA 01801




JOHNS PLUMBING INC                     JOHNSON BROTHERS ST PAUL                        JOHNSON BROTHERS - DES MOINES
5851 SERVICE RD                        1999 SHEPARD RD                                 2515 DEAN AVE
BIRMINGHAM AL 35235                    ST PAUL MN 55116                                DES MOINES IA 50317




JOHNSON BROTHERS - NEVADA              JOHNSON BROTHERS - TAMPA                        JOHNSON COUNTY TREASURER
4701 MITCHELL ST                       4520 S CHURCH AVE                               PO BOX 2902
N LAS VEGAS NV 89081                   TAMPA FL 33611                                  SHAWNEE MISSION KS 66201-1302




JOHNSON COUNTY WASTEWATER              JOHNSON LANDSCAPES                              JOHNSTON AND JOHNSTON LAND SURVEYING SVC
PO BOX 219948                          653 S MELROSE ST                                INC
KANSAS CITY MO 64121                   PLACENTIA CA 92870                              7081 TAFT ST #160
                                                                                       HOLLYWOOD FL 33024




JONES GLASS CO INC                     JONES LANG LASALLE AMERCAS INC                  JONES SIGN CO INC
PO BOX 1679                            PRESIDENT AND CEO RETAIL                        1711 SCHEURING RD
BENTON AR 72018                        JEFF BARBER                                     DE PERE WI 54115
                                       3344 PEACHTREE RD STE 1110
                                       ATLANTA GA 30326




JORGE AGUILERA LANDSCAPE GARDENER      JOSE A AND LUCILA G ORTEGA AS COTRUSTEES        JOSEPH A AND HELEN R KEIM
PO BOX 245205                          OF                                              911 DEERPATH CT
SACRAMENTO CA 95824                    THE LUCILA G ORTEGA 1995 TRUST DTD SEP 1 1995   WHEATON IL 60187
                                       MARIA WOLLBERG
                                       4970 SW 80TH ST
                                       MIAMI FL 33143


JOSEPH A KEIM AND HELEN R KEIM         JOSEPH DEGEORGE CEILINGS                        JOSHUA TREE ENTERPRISES LLC
911 DEERPATH CT                        2150 CULVER RD                                  BRANHAM YARD OUTFITTERS
WHEATON IL 60187                       ROCHESTER NY 14509                              1206 EBENEZER CHURCH RD
                                                                                       MEMPHIS TN 47143




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JOSHUASYSTEMS INC                        JP HARRIS ASSOCIATES LLV                    JRB SVC LLC
PO BOX 10715                             LOCAL SVC TAX DEPT                          8535 HIGHFIELD PKWY STE 100
SILVER SPRING MD 20914                   PO BOX 226                                  ENGLEWOOD CO 80112
                                         MECHANICSBURG PA 17005




JT SMALLWOOD TAX COLLECTOR               JTECH AN HME CO                             JTECH COMMUNICATIONS INC
ROOM 160 COURTHOUSE                      1400 NORTHBROOK PKWY STE 320                PO BOX 405722
716 RICHARD ARRINGTON JR BLVD N          SUWANEE GA 30024                            ATLANTA GA 30384
BIRMINGHAM AL 35203




JUDSON ISD TAX OFFICE                    JW LOCK CO                                  K AND D FACTORY SVC INC
JUDSON ISD TAX ASSESSOR-COLLECTOR        520 N SECOND AVE                            1833 41 N CAMERON ST
TAX OFFICE                               COVINA CA 91723                             HARRISBURG PA 17103
8012 SHIN OAK DRIVE
LIVE OAK TX 78233-2413




K-9 FINANCIAL LLC                        D JAMES KADYK PA                            SHABBIR A KAHAN
701 NORTH GREEN VLY PKWY #200            3806 GUNN HWY STE 101                       SAN JOAQUIN COUNTY TAX COLLECTOR
HENDERSON NV 89074                       TAMPA FL 33618                              PO BOX 2169
                                                                                     STOCKTON CA 95201-2169




GLENN KALAVERAS                          KANA ELECTRICAL LLC                         KANE RUSSELL COLEMAN AND LOGAN PC
22235 FORESTHILL RD #81                  717 LINGCO DR STE 212                       1601 ELM ST STE 3700
FORESTHILL CA 95631                      RICHARDSON TX 75081                         DALLAS TX 75201




KANSAS ATTORNEY GENERAL                  KANSAS DEPT OF                              KANSAS DEPT OF HUMAN RESOURCES
DEREK SCHMIDT                            HEALTH AND ENVIRONMENT                      SECRETARY
120 SW 10TH AVE                          JENNIFER NICHOLS                            109 SW 9TH ST
2ND FLOOR                                2501 MARKET PL                              4TH FLOOR
TOPEKA KS 66612-1597                     SUITE D                                     TOPEKA KS 66612
                                         SALINA KS 67401


KANSAS DEPT OF REVENUE                   KANSAS GAS SVC                              KANSAS STATE TREASURER
915 SW HARRISON ST                       PO BOX 219046                               UNCLAIMED PROPERTY DIVISION
TOPEKA KS 66625                          KANSAS CITY MO 64121                        900 SW JACKSON
                                                                                     SUITE 201
                                                                                     TOPEKA KS 66612-1235




KAPLAN AND SCONZO PA                     KAREN PARIS - WILLIAMSON COUNTY TRUSTEE     KARL STRAUSS BREWING CO
3399 PGA BLVD STE 180                    PO BOX 648                                  5985 SANTA FE ST
PALM BEACH GARDENS FL 33410              FRANKLIN TN 37065                           SAN DIEGO CA 92109




KARPF KARPF AND VIRANT PC                KATCEF BROTHERS - FINTECH                   KATSIROUBAS BROS
3331 STREET RD                           2404 A & EAGLE BLVD                         40 NEWMARKET SQUARE
TWO GREENWOOD SQUARE STE 128             ANNAPOLIS MD 21401                          BOSTON MA 02118
BENSALEM PA 19020




KATY SMITH DBA KATYS KLASSIC             KAYLA COMMERCIAL CLEANING LLC               KB SVC
PO BOX 341721                            11310 CICERO DR                             4227 KISER WOODS DR
MEMPHIS TN 38184                         ALPHARETA GA 30022                          CONCORD NC 28025




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KCP AND L                                   KD SVC GROUP LLC                              KDS SVC
PO BOX 219330                               3820 REVERE ST STES C&D                       16815 LIME SHADE
KANSAS CITY MO 64121                        DENVER CO 80239                               SUGAR LAND TX 77498




KEATHLEY SVC CO INC                         KELLER FAMILY TRUST                           KEN AMMERMAN DBA RESTAURANT
196 MAJESTIC CIR                            JOHN KELLER TRUSTEE                           MAINTENANCE CO
MAUMELLE AR 72113                           JOHN KELLER                                   PO BOX 1948
                                            14435-C BIG BASIN WAY #291                    EDGEWOOD NM 87015
                                            SARATOGA CA 95070




KEN'S LOCKSMITHERY                          KENDALLGATE CENTER ASSOC LTD                  KENDALLGATE CENTER ASSOCIATES LTD
17415 BEACH BLVD                            2665 S BAYESHORE DR #1200                     BERKOWITZ DEVELOPMENT GROUP
HUNTINGTON BEACH CA 92647                   COCONUT GROVE FL 33133                        DAVID MARKOWITZ PROPERTY MANAGER
                                                                                          2665 S BAYSHORE DR STE 1200
                                                                                          COCONUT GROVE FL 33133




KENT COUNTY HEALTH DEPT                     KENT COUNTY TREASURER                         KENTUCKIANA PROD AND SVCS INC
700 FULLER AVE NE                           PO BOX Y                                      DBA CULLIGAN WATER SYSTEMS
GRAND RAPIDS MI 49503                       GRAND RAPIDS MI 49501                         490 N CLARK BLVD
                                                                                          CLARSVILLE IN 47129




KENTUCKY ATTORNEY GENERAL                   KENTUCKY DEPT FOR NATURAL RESOURCES           KENTUCKY DEPT OF REVENUE
ANDY BESHEAR                                LINDA POTTER                                  501 HIGH ST
700 CAPITOL AVE                             300 SOWER BLVD                                FRANKFORT KY 40601-2103
CAPITAL BUILDING SUITE 118                  FRANKFORT KY 40601-4311
FRANKFORT KY 40601




KENTUCKY ENVIRONMENTAL QUALITY COMMISSION   KENTUCKY FOR ENVIRONMENTAL PROTECTION         KENTUCKY LABOR CABINET
58 WILKINSON BLVD                           300 FAIR OAKS LN                              SECRETARY
FRANKFORT KY 40601                          FRANKFORT KY 40601                            1047 US HWY 127 SOUTH STE 4
                                                                                          FRANKFORT KY 40601




KENTUCKY STATE TREASURER                    KENTUCKY STATE TREASURER                      KENTUCKY STATE TREASURER
KENTUCKY DEPT OF REVENUE                    DEPT OF ALCOHOLIC BEV CONTROL                 UNCLAIMED PROPERTY DIVISION
FRANKFORT KY 40620-0021                     1003 TWLIGHT TRL                              1050 US HIGHWAY 127 SOUTH
                                            FRANKFORT KY 40601                            SUITE 100
                                                                                          FRANKFORT KY 40601




KERN COUNTY                                 KETER ENVIRONMENTAL SVCS INC                  KEVIN J DONOVAN DBA PACIFIC BACKFLOW
PAYMENT CENTER                              PO BOX 417468                                 TESTING
PO BOX 541004                               BOSTON MA 02241                               16105 PAYTON
LOS ANGELES CA 90054-1004                                                                 IRVINE CA 92620




KEVINS ELECTRIC INC                         KEY LLC                                       KGGK VENTURE LLC
73 INDUSTRIAL PK RD                         PO BOX 37288                                  EYAL HALEVY
SACO ME 04072                               CHARLOTTE NC 28237                            SOLE MANAGER
                                                                                          8676 HAWKWOOD BAY DR
                                                                                          BOYNTON BEACH FL 33473




HOMAI KHANNA                                KICON INC                                     KIEFFER ELECTRIC INC
80 NASHUA RD                                403 KAY AVE                                   PO BOX 570
LONDONDERRY NH 03053                        ADDISON IL 60101                              BRANCHVILLE NJ 07826




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KIM HASTIE REVENUE COMMISSIONER           KIMBALL AND THOMPSON PRODUCE CO INC      KIMBROUGH FIRE EXTINGUISHER CO INC
MOBILE COUNTY REVENUE COMMISSIONER        305 S LINCOLN ST                         PO BOX 13296
PO DRAWER 1169                            LOWELL AR 72745                          ARLINGTON TX 76094
MOBILE AL 36633




KIMCO CARROLLWOOD 664 INC                 KIMCO REALTY CORP                        KIMCO REFREIGERATION INC
KIMCO REALTY CORP                         3333 NEW HYDE PK RD STE 100              PO BOX 310
VICKI ANTHONY                             PO BOX 5020                              NEW HYDE PARK NY 11040
3333 NEW HYDE PK RD STE 100               NEW HYDE PARK NY 11042
NEW HYDE PARK NY 11042




KING AND SPALDING LLP                     KINGSTOWNE TOWN CENTER LP                KINGSTOWNE TOWN CENTER LP
PO BOX 116133                             COMAR MANAGEMENT INC                     C O COMAR MANAGEMENT INC
ATLANTA GA 30368                          2900 LINDEN LN STE 300                   JOHN HALLE PRESIDENT
                                          SILVER SPRING MD 20910                   2900 LINDEN LN STE 300
                                                                                   SILVER SPRING MD 20910




KISS ELECTRICAL CONTRACTORS INC           KISSIMMEE UTILITY AUTHORITY              KITE WEST 86TH STREET LLC
6 LOMBARDY PL                             PO BOX 850001                            3289 PAYSHERE CIR
MAPLEWOOD NJ 07040                        ORLANDO FL 32885                         CHICAGO IL 60674




KLEENSTAR INC                             KMLE-FM - CBS RADIO                      KOHLER DISTRIBUTING CO
14192 BERWICK                             PO BOX 730824                            150 WAGARAW RD
LIVONIA MI 48154                          DALLAS TX 75373-0824                     HAWTHORNE NJ 07507




DAVID K KOLPER                            KRIER SIGNS AND LIGHTING SVC             KRISTEN SCALISE FISCAL OFFICER
DBA THE PLUMBER MAN LLC                   WILLIAM KRIER                            175 S MAIN ST STE 320
45 UTZ DR                                 24931 MADISON ST                         AKRON OH 44308
HANOVER PA 17331                          ASTATVIA FL 34705




KRYSTAL KLEEN INC                         KUB                                      KUBICKI DRAPER PA
PO BOX 908                                PO BOX 59017                             25 WEST FLAGER ST PH
WARREN MI 48090                           KNOXVILLE TN 37950                       MIAMI FL 33130




KUMAR INSIGHTS CO LLC                     L AND F DISTRIBUTORS - CORPUS            L AND F DISTRIBUTORS - EL PASO
18690 SW 24TH ST                          601 19TH ST N                            6949 MARKET
MIRAMAR FL 33029                          CORPUS CHRISTI TX 78504                  EL PASO TX 79915




L AND J PLUMBING AND ROOTER INC           LA COUNTY DEPT OF PUBLIC WORKS           LA GRASSO BROS INC
28364 S WESTERN AVE #312                  PO BOX 1460                              PO BOX 2638
RANCHO PALOS VERDES CA 90275              ALHAMBRA CA 91802                        DETRIOT MI 48202




LABOR COMMISSION                          LACLEDE GAS CO                           LACORTE AND SONS LLC
SAFETY DIVISION                           DRAWER 2                                 144 N BEVERWYCK RD STE 112
PO BOX 146620                             ST LOUIS MO 63171                        LAKE HIAWATHA NJ 07034
SALT LAKE CITY UT 84114-6620




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KWAMI LADZEKPO                             WILLIAM A LAIRD III                        LAKE APOPKA NATURAL GAS DIST
15035 WESTPARK DR APT 413                  PO BOX 1414                                PO BOX 850001
HOUSTON TX 77082                           ESCONDIDO CA 92033-1414                    ORLANDO FL 32885




LAKE BEVERAGE CORP                         LAKE VIEW INDUSTRIES DBA SERVPRO OF        LAKELAND ELECTRIC
900 JOHN ST                                VENTURA                                    PO BOX 32006
WEST HENRIETTA NY 14586                    2646 PALMA DR STE 298                      LAKELAND FL 33802
                                           VENTURA CA 93003




LAKOTA PLUMBING INC                        LAMB PLUMBING INC                          LAMONICA'S EQUIPMENT SVC CO
3901 W 88TH AVE                            PO BOX 789                                 6211 SOUTH 380 WEST
WESTMINISTER CO 80031                      WINDERMERE FL 34786                        MURRAY UT 84107




LANCEKASHIAN AND CO                        LANDCARE                                   LANDERS CONSULTING INC
RACHELLE DUNNE                             PO BOX 677220                              1914 N MEMORIAL WAY
PROPERTY MANAGER                           DALLAS TX 75267-7220                       HOUSTON TX 77007
265 E RIVER PK CIR STE 150
FRESNO CA 93720




LANDMARK ELECTRIC INC                      LANDMARK LAWN AND GARDEN SUPPLY INC        LANDSCAPE BY PALMER INC
50 COMMERCE DR                             12701 PROSPECT RD                          4554 47TH AVE N
ROCHESTER NY 14692                         STRONGSVILLE OH 44149                      ST. PETERSBURG FL 33714




LANDSCAPE DESIGN CONCEPTS INC              LANDSCAPE WORKSHOP INC                     LANDTAMERS LANSCAPING
PO BOX 8775                                550 MONTGOMERY HWY STE 200                 PO BOX 18095
WOODCLIFF LAKE NJ 07677                    VESTAVIA HILLS AL 35216                    TUCSON AZ 85731




LANE CONTRACTORS LLC                       LANIER FORD SHAVER AND PAYNE PC            LANOTTE REFRIGERATION INC
64 SALISBURY RD                            2101 WEST CLINTON AVE                      1835 S VAN NESS AVE
WAYNE NJ 07470                             STE 102                                    FRESNO CA 93721
                                           HUNTSVILLE AL 35805




LAPAN FAMILY EXEMPT TRUST                  LARIMER COUNTY DEPT OF HEALTH AND          LARIMER COUNTY TREASURER
DAVID LAPAN TRUST                          ENVIRONMENT                                PO BOX 2336
6363 CHRISTIE AVE #2925                    1525 BLUE SPRUCE DR                        FORT COLLINS CO 80522
EMERYVILLE CA 94608                        FORT COLLINS CO 80524




LARRY MOFFATT DBA HANDS-ON LANDSCAPE SVC   LARS HOME SVC                              LAS COLINAS CO
PO BOX 872                                 49 ALGONQUIN RD                            600 S JEFFERSON STE M
MANGO FL 33550                             CLIFTON PARK NY 12065                      PLACENTIA CA 92870




LAS PALMAS DUNHILL LP                      LATHROP AND GAGE                           LATIN TILE DBA FILTAFRY OF TAMPA BAY
PO BOX 202987                              2345 GRAND BLVD                            PO BOX 263183
DALLAS TX 75320                            KANSAS CITY MO 64108                       TAMPS FL 33685




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LATINOSI LLC DBA 1-800-GOT-JUNK?        LAUREL GRAPHICS AND FABRICATION             LAURENS RESTORATION INC
14080 NACOGDOCHES RD #579               22417 76TH AVE SOUTH                        1870 ELMDALE AVE
SAN ANTONIO TX 78247                    KENT WA 98032                               GLENVIEW IL 60026




LAW OFFICE OF ROGER W FRAZIER           LAW OFFICES OF DAYTON MAGALLANES            LAW OFFICES OF ROSEMARIE ARNOLD AND
145 SOUTH SIXTH AVE                     10540 WILSHIRE BLVD STE 417                 TATYANA AGROSKIN THOMAS WESTER
TUCSON AZ 85701                         LOS ANGELES CA 90024                        MCDERMOTT AND MCGEE LLP
                                                                                    1386 PALISADE AVE
                                                                                    FORT LEE NJ 07024




LAWN RANGER                             LAWNPRO                                     LAWTON COMMERCIAL SVC LP
11717 TONY TEJEDA                       5716 COUNTY RD 9                            1444 N CENTRAL EXPWY
EL PASO TX 79936                        EDISON OH 43320                             MCKINNEY TX 75070




LAZZARI FUEL CO LLC                     LDF SALES AND DISTRIBUTING INC              LE GRAND ELECTRONICS
PO BOX 34051                            10718 E MARSHALL ST                         6187 NW 167TH ST H-27
SAN FRANCISCO CA 94134                  TULSA OK 74116                              MIAMI FL 33015




LEANHART PLUMBING INC                   LEE COUNTY UTILITIES                        LEEREEDY DBA LRXD
PO BOX 58127                            PO BOX 30738                                1480 HUMBOLDT ST
LOUISBILLE KY 40268                     TAMPA FL 33630                              DENVER CO 80218




LEGACY                                  LEGACY AIR                                  LEGACY AIR INC
WELLS PLANO LLC                         6525 BUTTON QUAIL ST                        3529 E WOOD ST
BILL HALE                               NORTH LAS VEGAS NV 89084                    PHOENIX AZ 85040
40 FRANCIS RD
HENDERSONVILLE NC 28792




LENNOX INDUSTRIES INC                   MOLLY LYNCH LEONARD                         LEVENTHAL PLLC
PO BOX 910549                           1636 N CLEVELAND AVE                        527 MARQUETTE AVE SOUTH
DALLAS TX 75391                         CHICAGO IL 60614                            STE 2100
                                                                                    MINNEAPOLIS MN 55402




LEWIS BEAR CO THE                       LEWIS ROCA ROTHGERBER CHRISTIE LLP          LEWKOWITZ LAW OFFICE PLC
PO BOX 1227                             201 E WASHINGTON ST                         2600 N CENTRAL AVE #1775
DEFUNIAK SPRINGS FL 32435               SUITE 1200                                  PHOENIX AZ 85004
                                        PHOENIX AZ 85004




LEXINGTON COUNTY TREASURER'S OFFICE     LEYVAS STUCCO                               LGE
PO BOX 3000                             DBA AURELIO LEYVA                           A PPL CO
LEXINGTON SC 29071-3000                 788 S STUBBS AVE                            PO BOX 9001960
                                        PROVO UT 84601                              LOUISVILLE KY 40290




LGE PRIME PLUMBING                      LIBERTY FRUIT CO INC                        LIBERTY LOCK AND KEY LLC
750 OTAY LAKES RD 236                   1247 ARGENTINE BLVD                         5130 S FORT APACHE RD #215-264
CHULA VISTA CA 91910                    KANSAS CITY KS 66605                        LAS VEGAS NV 89148




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LIBERTY LOCKSMITHS AND SECURITY           LIBERTY LOCKSMITHS AND SECURITY PRODUCTS   LIBERTY MUTUAL GROUP INC
DBA LIBERTY LOCKSMITH                     INC                                        PO BOX 85307
541 N PK AVE                              541 N PK AVE                               SAN DIEGO CA 92186-5307
APOPKA FL 32712                           APOPKA FL 32712




LIBERTY POWER                             LIBERTY POWER HOLDINGS                     LIBERTY UTILITIES
14154 COLLECTION CTR DR                   25901 NETWORK PL                           LITCHFIELD PARK SVC CO
CHICAGO IL 60693                          CHICAGO IL 60673                           PO BOX 52691
                                                                                     DEPT 8600
                                                                                     PHOENIX AZ 85072




LIFETIME - DISCOVERY COMMUNICATIONS LLC   LIG ELECTRIC INC                           LIG ELECTRIC INC
ONE DISCOVERY PL                          222 JESSICA DR                             C/O CHRISTOPHER BUCHCAR
SILVER SPRINGS MD 20910-3354              WOOD DALE IL 60191                         5864 N. MILWAUKEE AVE
                                                                                     CHICAGO IL 60646




LIGHT BULB DEPOT LLC                      LIKENU CARPET CLEANING                     LILLIE MAE CAIN TRUST
431 SOUTH BLVD                            28505 LORNA AVE                            FIRST TENNESSEE BANK NA A TENNESSEE
CHARLOTTE NC 28209                        WARREN MI 48092                            BANKING
                                                                                     CORP, INTERIM TRUSTEE FIRST NATIONAL BANK NA
                                                                                     TRUST DEPT ROBERT KILLEFER SENIOR VP
                                                                                     PO BOX 1991
                                                                                     KNOXVILLE TN 37901

LILY NALTY GUEST REFUND                   LINCOLN ELECTRIC SYSTEM                    LINDY O PETERSEN DBA LINDY PETERSEN
1008 SUNSET PT RD                         PO BOX 80869                               CLEANING
IRMO SC 29063                             LINCOLN NE 68501                           7 BRITTANY LN
                                                                                     FAIRFEILD OH 45014




LIONS CLEANING SVC                        LIPMAN BROTHERS 01                         LIPMAN BROTHERS 02
1135 LORETTA ST                           411 GREAT CIR RD                           PO BOX 280300
LOUISVILLE KY 40213                       PO BOX 280300                              407 GREAT CIR RD
                                          NASHVILLE TN 37228                         NASHVILLE TN 37228




LIQUID ENVIRONMENTAL SOLUTIONS            LIQUID LOGISTICS                           LIQUID TOWN INC FINTECH
PO BOX 733372                             1928 BOBBYWOODS LN                         4141 S ALAMEDA
DALLAS TX 75373                           MANCHACA TX 78652                          CORPUS CHRISIT TX 78411




LIQUORLICENSECOM                          LIQUORLICENSECOM                           LITCHFIELD PARK SVC CO
2222 DAMON ST                             CA DEPT OF ALCOHOLIC BEVERAGE CONTROL      PO BOX 52691
LOS ANGELES CA 90021                      3927 LENNANE DR                            PHOENIX AZ 85072
                                          STE 100
                                          SACRAMENTO CA 95834




LITTLER MENDELSON PC                      LIVE OAK BREWING CO                        LMH INC PROFESSIONAL LANSCAPE SVC
PO BOX 45547                              1615 CROZIER LN                            1146 N GILBERT ST
SAN FRANICISCO CA 94145                   DEL VALLE TX 78617                         ANAHEIM CA 92801




LOCK DOCTOR LLC                           LOCK SOUTH INC                             LODGING SOURCE LLC
12008 DONOHUE AVE                         1845 OLD PEACHTREE RD                      PO BOX 744
LOUISVILLE KY 40299                       LAWRENCEVILLE GA 30043                     MT. PLEASANT SC 29465




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LOGANS LOCKSMITH                          LONG BEVERAGE INC                          LONG RANGE SYSTEMS LLC
1324 EAGLE AVE                            10500 WORLD TRADE BLVD                     PO BOX 67111
VIRGINIA BEACH VA 23453                   RALEIGH NC 27617                           DALLAS TX 75267




LONGS UPHOLSTERY INC                      LOOMIS ARMORED INC                         LOS ANGELES CO TAX COLLECTOR
1009 UNION CTR DR                         PO BOX 120001 DEPT 0757                    PO BOX 54978
ALPHARETTA GA 30004                       DALLAS TX 75312                            LOS ANGELES CA 90054




LOS ANGELES COUNTY TAX COLLECTOR          LOS ANGELES COUNTY TAX COLLECTOR           LOS ANGELES DEPT OF WTR AND PWR
PO BOX 54027                              PO BOX 54018                               PO BOX 30808
LOS ANGELES CA 90054-0027                 LOS ANGELES CA 90054-0018                  LOS ANGELES CA 90030




LOUDON LOCKSMITH SERIVCE INC              LOUDOUN COUNTY COMMISSIONER OF REVENUE     LOUDOUN COUNTY HEALTH DEPT
595 NEW LOUDON RD STE 125                 PO BOX 8000                                1 HARRISON ST SE
LATHAM NY 12110                           LEESBURG VA 20177                          LEESBURG VA 20177




LOUDOUN WATER                             LOUIS GLUNZ WINE                           LOUISIANA ATTORNEY GENERAL
PO BOX 4000                               630 MARGATE DR                             JEFF LANDRY
ASHBURN VA 20146                          LINCOLNSHIRE IL 60069                      PO BOX 94095
                                                                                     BATON ROUGE LA 70804-4095




LOUISIANA DEPT OF ENVIRONMENTAL QUALITY   LOUISIANA DEPT OF LABOR                    LOUISIANA DEPT OF REVENUE
LEGAL AFFAIRS DIVISION                    SECRETARY                                  PO BOX 201
GALVEZ BUILDING                           PO BOX 94094                               617 NORTH 3RD ST
602 NORTH FIFTH ST                        BATON ROUGE LA 70804                       BATON ROUGE LA 70821
BATON ROUGE LA 70802




LOUISIANA DEPT OF REVENUE AND TAXATION    LOUISIANA FRESH PRODUCE LLC                LOUISVILLE CITY FC LLC
UNCLAIMED PROPERTY DIVISION               1001 S DUPRE ST                            127 S 6TH ST
PO BOX 91010                              METAIRIE LA 70125                          LOUISVILLE KY 40202
BATON ROUGE LA 70821-9010




LOUISVILLE METRO HEALTH DEPT              LOUISVILLE METRO REVENUE COMMISSION        LOUISVILLE METRO REVENUE COMMISSION
PO BOX 34277                              PO BOX 35410                               PO BOX 37740
LOUISVILLE KY 40232                       LOUISVILLE KY 40232-5410                   LOUISVILLE KY 40233




LOUISVILLE WATER CO                       DANIEL H LOWE                              LOWS CUSTOM STAINLESS INC
PO BOX 32460                              4717 CENTRAL                               5543 MORNING CANYON WAY
LOUISVILLE KY 40232                       KANSAS CITY MO 64112                       ALTA LOMA CA 91737




LOZENS TREE SVC INC                       LUCERNEX INC                               JIMMIE JR LUCERO
36788 BIRWOOD ST                          AN ACCRUENT CO                             10235 ECHO CIR
CLINTON TOWNSHIP MI 48035                 DEPT 3636                                  FIRESTONE CO 80504
                                          DALLAS TX 75312-3636




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LUIS ALVAREZ DBA ALVAREZ UPHOLSTERY      LUKSO V MAC ACQUISITION LLC               LUKSO V MAC ACQUISITION LLC
30 MANNING ST                            BYRON MICHAEL LUKSO                       C/O LAW OFFICES OF ROGER W. FRAZIER
EDISON NJ 08817                          13653 N BALANCING ROCK DR                 ATTN: ROGER W. FRAZIER
                                         ORO VALLEY AZ 85755-570                   2 EAST CONGRESS ST. SUITE 406
                                                                                   TUCZON AZ 85701-1701




LUNSFORD ELECTRIC                        LYLES SANITATION SVC                      M AND M DISTRIBUTING
PO BOX 1274                              PO BOX 17433                              531 W 600 N
DAPHINE AL 36526                         LITTLE ROCK AR 72222                      SALT LAKE CITY UT 84116




M THRAILKILL AND ASSOCIATES              MACARONI RR I-35 PARTNERSHIP              MACARONI RR I35 PARTNERSHIP LTD
202 ROUNDTREE RD                         PO BOX 42262                              HOWARD CHAPMAN
LIVERMORE CO 80536                       HOUSTON TX 77242                          10461 WESTPARK DR
                                                                                   HOUSTON TX 77042




MACGRAPE LP                              MACH A/C HEATING AND REFRIGERATION        DEAN MACKEY
GREGORY S FINLEY                         DBA PRECISION CLIMATE CONTROLL LLC        3329 EAST BAYAND AVE #1504
635 CAMPBELL TECHNOLOGY PKWY             27 NIMITZ RD                              DENVER CO 80209
CAMPBELL CA 95008                        WAYNE NJ 07407




MACOMB COUNTY HEALTH DEPT                MACOMB COUNTY TREASURER                   MAD HATTER MUSIC LLC
43525 ELIZABETH RD                       COUNTY BUILDING                           109 WEST WILSON BLVD
MT CLEMENS MI 48043                      ONE SOUTH MAIN                            HAGERSTOWN MD 21740
                                         MT. CLEMENS MI 48043




MADISON COUNTY LICENSE DEPT              MADISON COUNTY SALES AND USE TAX          MADISON COUNTY TAX COLLECTOR
100 NORTHSIDE SQUARE RM 108              100 N SIDE SQUARE                         100 NORTHSIDE SQ
HUNTSVILLE AL 35801                      HUNTSVILLE AL 35801                       HUNTSVILLE AL 35801-4820




MADISON PLUMBING SVC INC                 MADISON SQUARE ASSOCIATES LTD             KATHERINE C MAESTAS
1060 BALCH RD                            CBL AND ASSOCIATES MANAGEMENT INC         12911 ROSLYN ST
MADISON AL 35758                         JEFF CHIEF LEGAL OFFICER                  THORNTON CO 80602
                                         2030 HAMILTON PL BLVD CBL CTR STE 500
                                         CHATTANOOGA TN 37421




KATHY MAESTAS                            MAIN STREAM ELECTRIC                      MAINE ATTORNEY GENERAL
12911 ROSLYN ST                          2795 E BIDWELL ST                         JANET T MILLS
THORNTON CO 80602                        STE 100-315                               6 STATE HOUSE STATION
                                         FOLSOM CA 95630                           AUGUSTA ME 04333




MAINE DEPT OF ENVIRONMENTAL PROTECTION   MAINE DEPT OF LABOR                       MAINE REVENUE SVC
17 STATE HOUSE STATION                   COMMISSIONER                              24 STATE HOUSE STATION
AUGUSTA ME 04333-0017                    54 STATE HOUSE STATION                    AUGUSTA ME 04333
                                         AUGUSTA ME 04332




MAINE SECRETARY OF STATE                 MAINE SECRETARY OF STATE                  MAINTENANCE SPECIALITST
DIVISION OF CORPORATIONS UCC AND         DIVISION OF CORPORATIONS UCC AND          HOWARD LIPSTREU
COMMISSIONS                              COMMISSIONS                               PO BOX 271391
AUGUSTA ME 04333-0101                    101 STATE HOUSE STATION                   CORPUS CHRISTI TX 78427
                                         AUGUSTA ME 04333-0101




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MALACHY PARTS AND SVC                  MALL AT BRIARWOOD LLC                       MALL OF GEORGIA LLC SIMON PROPERTY GROUP
RICHARD FARRELL INC                    PO BOX 404570                               JOHN MILAM
PO BOX 4117                            ATLANTA GA 30384-4570                       MARY STULTZ PROPERTY MANAGER
BAYONNE NJ 07002-1150                                                              225 WEST WASHINGTON ST
                                                                                   INDIANAPOLIS IN 46204




MALLICK PLUMBING AND HEATING INC       MALLORY VALLEY UTIL DISTRICT                MAMAKOS ENTERPRISES LLC
8010 CESSNA AVE                        PO BOX 306056                               108 BRECKENRIDGE
GAITHERSBURG MD 20879                  NASHVILLE TN 37230                          WAYNE NJ 07470




THOMAS MAMAKOS                         MANUFACTURER OF RESTAURANT BOOTHS AND       MANZO FOOD SALES INC
108 BRECKENRIDGE                       TABLES                                      13290 NW 25TH ST
WAYNE NJ 07470                         3129 TAMARACK WAY                           MIAMI FL 33182
                                       MIRA LOMA CA 91752




MAR-CO GAS SVC INC                     MARICOPA COUNTY ENVIRONMENTAL               MARICOPA COUNTY TREASURER
PO BOX 8191                            1001 N CENTRAL AVE STE 100                  PO BOX 52133
JUPITER FL 33468                       PHOENIX AZ 85004                            PHOENIX AZ 85072




MARINER BEVERAGES                      MARIO BROTHERS PAINTING                     MARK GENTRY DBA GENTRY SEATING
166 RIVERSIDE INDUSTRIAL PKWY          19200 MATENY HILL RD                        1467 SCOTT CIR
PORTLAND ME 04103                      GERMANTOWN MD 20874                         LAYTON VT 84041




MARK KITCHEN EQUIPMENT SVC INC         MARKET FORCE INFORMATION INC                MARY ANN MARKOWITZ
212 MONTEREY PASS RD                   DEPT 0320                                   DBA INDUSTRIAL SUPPLIERS
MONTEREY PARK CA 91754                 PO BOX 120320                               30410 PENROD DR
                                       DALLAS TX 75312-0320                        AGOURA HILLS CA 91301




MARKSTEIN BEVERAGE CO                  MARKSTEIN BEVERAGE CO                       MARKSTEIN BEVERAGE CO OF SACRAMENTO
PO BOX 6902                            505 S PACIFIC ST                            SACRAMENTO
SAN MARCOS CA 92079                    SAN MARCOS CA 92069                         60 MAIN ST
                                                                                   SACRAMENTO CA 95838




MAROGIL FAMILY LLC                     MARRA FORNI/EURO RESTAURANT SOLUTIONS       MARSH AND MCLENNAN AGENCY LLC
5525 28TH ST SE                        10310 SOUTHARD DR                           62886 COLLECTION CTR DR
GRAND RAPIDS MI 49512                  BELTSVILLE MD 20705                         CHICAGO IL 60693




MARSHALLS LOCKSMITH SVC INC            MARTIGNETTI COMPANIES                       MARTIN FROST AND HILL PC
4205 POOLE RD                          500 JOHN HANCOCK RD                         3345 BEE CAVE RD
RALEIGH NC 27610                       TAUNTON MA 02780                            STE 05
                                                                                   AUSTIN TX 78746




MARTIN FROST AND HILL PC               MARTIN PLUMBING HEATING DRAINCLEANING LLC   MARTINS PAINTING
3345 BEE CAVE RD                       15 ROSEMONT CT                              741 PALMER DR
STE 105                                PARAMUS NJ 07652                            HERNDON VA 20170
AUSTIN TX 78746




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MARVIN F POER AND CO                  MARVINS CONSTRUCTION AND LANDSCAPING INC   MARYLAND ATTORNEY GENERAL
PO BOX 674300                         4605 WINDING BROOKE LN                     BRIAN FROSH
DALLAS TX 75267-4300                  LOTHIAN MD 20711                           200 ST PAUL PL
                                                                                 BALTIMORE MD 21202-2022




MARYLAND DEPT OF LABOR                MARYLAND DEPT OF NATURAL RESOURCES         MARYLAND DEPT OF THE ENVIRONMENT
LICENSING AND REGULATION              580 TAYLOR AVE                             1800 WASHINTON BLVD
SECRETARY                             TAWES STATE OFFICE BUILDING                BALTIMORE MD 21230
500 N CALVERT ST STE 401              ANNAPOLIS MD 21401
BALTIMORE MD 21202




MARYLAND STATE DEPT OF ASSESSMENTS    MARYLAND TREASUERE'S OFFICE                MAS ELECTRICAL SVC INC
AND TAXATION CHARTER DIVISION         UNCLAIMED PROPERTY DIVISION                31164 EIGHT MILE RD
301 W PRESTON ST 8TH FL               GOLDSTEIN TREASURY BUILDING                FARMINGTON HILLS MI 48336
BALTIMORE MD 21201-2395               80 CALVERT ST
                                      ANNAPOLIS MD 21401




MASON'S LANDSCAPING                   MASSACHUSETTS ATTORNEY GENERAL             MASSACHUSETTS ATTORNEY GENERAL
PO BOX 1134                           MAURA HEALY                                CONSUMER PROTECTION DIVISION
BEL AIR MD 21014                      ONE ASHBURTON PLACE                        MCCORMACK BUILDING
                                      BOSTON MA 02108-1698                       ONE ASHBURTON PLACE
                                                                                 BOSTON MA 02108




MASSACHUSETTS DEPT OF ENVIRONMENT     MASSACHUSETTS DEPT OF LABOR AND            MASSACHUSETTS RESTAURANT EQUIP SRV INC
PROTECTION                            WORK FORCE DEVELOPMENT                     PO BOX 114
ONE WINTER STREET                     DIRECTOR                                   SOMERVILLE MA 02143
BOSTON MA 02108                       1 ASHBURTON PL RM 2112
                                      BOSTON MA 02108




MASSACHUSETTS STATE TREASURER         MASTER PLUMBLING AND SEWER INC             MATAX CONSULTING
UNCLAIMED PROPERTY DIVISION           650 VAQUEROS AVE STE I                     1370 VALLEY VISTA DR
ONE ASHBURTON PLACE                   SUNNYVALE CA 94085                         SUITE 235
12TH FLOOR                                                                       DIAMOND BAR CA 91765
BOSTON MA 02108-1608




MATHESON TRI GAS INC DBA MATHESON     MATHIEU ELECTRIC CO INC                    MATRIX MECHANICAL INC
PO BOX 347297                         1222 LAREDO ST                             220 W 2950 S
PITTSBURGH PA 15251                   CORPUS CHRISTI TX 78401                    SALT LAKE CITY UT 84115




MAVERICK BACKFLOW                     MAVERICK WINE CO LLC                       MAX GREEN LAWN AND LANSCAPE SVC INC
2257 S FERN AVE UNIT C                1101 N ELLIS ST                            PO BOX 720592
ONTARIO CA 91762                      BENSENVILLE IL 60106                       OKLAHOMA CITY OK 73172




MAXWELL MECHANICAL SVC                MCARTHUR AND ASSOCIATES LLC                MCBRIDE PLUMBING
7432 CIENEGA NW                       966 PATUXENT RD                            5944 S 350 W
ALBUQUERQUE NM 87120                  ODENTON MD 21113                           MURRAY UT 84107




MCCOMAS SALES CO INC                  THOMAS MCCORKLE                            MCCORMICK AND PRIORE
PO BOX 25223                          24250 MOUNTAIN BEND                        4 PENN CTR STE 800
ALBUQUERQUE NM 87125                  SAN ANTONIO TX 78258                       1600 JOHN F KENNEDY BLVD
                                                                                 PHILADELPHIA PA 19103




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MCCORMICK AND WAGNER LLC                MCDERMOTT AND MCGEE LLP                   MD POWER WASH
10660 WEST 143RD ST                     75 MAIN ST STE 305                        918 HOPKINS CORNER
STE E                                   MILLBURN NJ 70410                         GLEN BURNIE MD 21060
ORLAND PARK IL 60462




MDL WINE AND SPIRITS                    MEAT SLICER MOBILE SVC                    MECHANICAL SVC INC
8850 W 95TH ST                          560 E EDISON ST                           400 PRESUMPSCOT ST
OVERLAND PARK KS 66212                  MANTECA CA 95336                          PORTLAND ME 04103




MECKLENBURG COUNTY ABC BOARD            MECKLENBURG COUNTY TAX COLLECTOR          MEDFORD WELLINGTON SVC CO INC
FINTECH VENDOR                          PO BOX 71063                              9 EXECUTIVE PK DR STE 100
3401 DAVID COX RD                       CHARLOTTE NC 28272-1063                   NORTH BILLERICA MA 01862
CHARLOTTE NC 28269




MEDINA'S RESTRAURANT CLEANING SVC       MANUEL VALDEZ MEDINA                      MEIJER INC
DBA MANUEL MEDINA                       2034 CANNON DR APT 8                      2929 WALKER NW
2034 CANYON DR NO 8                     OCEANSIDE CA 92054                        GRAND RAPIDS MI 49544
OCEANSIDE CA 92054




MELETIO LIGHTING AND ELEC SUPPLY        MEMPHIS AND SHELBY COUNTY                 MEMPHIS LIGHT GAS AND WATER DIV
DBA DOLAN NORTHWEST LLC                 6465 MULLINS STATION                      PO BOX 388
1919 NW 19TH AVE                        MEMPHIS TN 38134                          MEMPHIS TN 38145
PORTLAND OR 97209




MEMPHIS MAINTENANCE GROUP LLC           MENDOZA V MAC ACQUISITION LLC             MENDOZA V MAC ACQUISITION LLC
PO BOX 789                              MANUEL MENDOZA                            C/O LAW OFFICES OF MARK B. PLUMMER PC
COLLIERVILLE TN 38017                   14751 ADAMS ST APT B                      ATTN: MARK B. PLUMMER
                                        MIDWAY CITY CA 92655                      18552 ORIENTE DR
                                                                                  YORBA LINDA CA 92886




MENLO BUILDING MAINTENANCE              MERCHANTS OFFICE FURNITURE                MESA AZ
247 SECOND ST                           2261 BROADWAY                             PO BOX 1878
FORDS NJ 08879                          DENVER CO 80205                           MESA AZ 85211




MESA ENERGY SYSTEMS INC                 METCO LANDSCAPE INC                       METLIFE
DBA EMCOR SERVICES MESA                 2200 RIFLE ST                             KATHERINE RUSH HEATH
2 CROMWELL                              AURORA CO 80011                           CROSSMAN AND CO
IRVINE CA 92618                                                                   3333 S ORANGEAVE SUITE 201
                                                                                  ORLANDO FL 32806




METRO ALARMS OFFICE                     METRO FIRE EQUIPMENT INC                  METRO SIGN INC DBA METRO DETROIT SIGNS
PO BOX 178                              63 S HAMILTON PL                          YESCO
MEMPHIS TN 38101                        GILBERT AZ 85233                          23544 HOOVER RD
                                                                                  WARREN MI 48089




METRO WATER DISTRICT                    METROPLEX OKLAHOMA LLC                    METROPOLITAN LIFE INSURANCE CO
PO BOX 36870                            DBA METROPLEX ELECTRIC                    PO BOX 360229
TUCSON AZ 85740                         6420 N BROADWAY EXT                       PITTSBURGH PA 15251
                                        OKLAHOMA CITY OK 73116




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METROPOLITAN ST LOUIS SWR DIST                METROPOLITAN ST LOUIS SWR DIST           METROPOLITAN TRUSTEE
PO BOX 437                                    2350 MARKET ST                           PERSONAL PROPERTY TAX DEPT
ST LOUIS MO 63166                             ST LOUIS MO 63103                        PO BOX 305012
                                                                                       NASHVILLE TN 37230-5012




MG AVC LLC                                    MG CONCEPTS LLC                          MGAVC LLC AND MGLBC LLC
DDD FAMILY LLC SOLE MEMBER                    18 SALINA AVE #29                        RONALD DE MILT
1330 SW 61ST PL RD                            DELRAY BEACH FL 33483                    MANAGING MEMBER
OCALA FL 34481                                                                         4468 BRYNWOOD DR
                                                                                       NAPLES FL 34119




MI DEPT OF LICENSING AND REGULATORY AFFAIRS   MI DEPT OF LIQUOR CONTROL COMMISSION     MI DEPT OF LIQUOR CONTROL COMMISSION
CORPORATIONS SECURITIES AND                   LIQUOR CHECK                             MICHIGAN LIQUOR CONTROL COMMISSION (MLCC)
COMMERCIAL LICENSING BUREAU                   17550 ALLEN RD                           525 W ALLEGAN ST
LANSING MI 48909                              BROWNSTOWN MI 48193                      PO BOX 30005
                                                                                       LANSING MI 48909




MI DEPT OF TREASURY                           MIAMI CRA LOCKSMITH                      MIAMI DADE COUNTY
UNCLAIMED PROPERTY DIVISION                   4769 SW 8TH ST                           BUILDING DEPT
PO BOX 30756                                  MIAMI FL 33134                           11805 SW 26TH ST RM 149
LANSING MI 48909                                                                       MIAMI FL 33175




MIAMI DADE COUNTY                             MIAMI DADE FIRE DEPT                     MIAMI DADE POLICE DEPT
MIAMI DADE DERM-PERMIT RENEWAL                9300 NW 41ST ST                          FALSE ALARM ENFORCEMENT UNIT
PO BOX 863532                                 MIAMI FL 33178                           9105 NW 25TH ST RM 1119
ORLANDO FL 32886-3532                                                                  MIAMI FL 33172




MIAMI DADE WATER SEWER DEPT                   MIAMI-DADE COUNTY TAX COLLECTOR          MIAMI-DADE COUNTY TAX COLLECTOR
PO BOX 026055                                 COLLECTORS OFFICE                        CONVENTION AND TOURIST TAX COLLECTOR
MIAMI FL 33102                                200 NW 2ND AVE                           PO BOX 10099
                                              MIAMI FL 33128                           MIAMI FL 33101




MICHAEL AND SON SVC INC                       MICHAEL R DOWNEY SELECTIONS INC          MICHIGAN ATTORNEY GENERAL
4001 ATLANTIC AVE                             2219B NORTH COLUMBUS ST STE 203          BILL SCHUETTE
RALEIGH NC 27604                              ARLINGTON VA 22207                       PO BOX 30212
                                                                                       525 W OTTAWA ST
                                                                                       LANSING MI 48909-0212




MICHIGAN DEPT OF ENERGY LABOR AND             MICHIGAN DEPT OF ENVIRONMENTAL QUALITY   MICHIGAN DEPT OF LICENSING AND
ECONOMIC GROWTH                               525 WEST ALLEGAN ST                      REGULATORY AFFAIRS CORPORATIONS
611 WEST OTTAWA                               PO BOX 30473                             SECURITIES
PO BOX 30004                                  LANSING MI 48909-7973                    AND COMMERCIAL LICENSING BUREAU
LANSING MI 48909                                                                       POBOX 30054
                                                                                       LANSING MI 48909


MICHIGAN DEPT OF TREASURY                     MICHIGAN DEPT OF TREASURY                MICHIGAN LIQUOR CONTROL COMM
UNCLAIMED PROPERTY DIVISION                   TREASURY BUILDING                        LIQUOR CHECK - MANUAL CK
PO BOX 30756                                  LANSING MI 48922                         17550 ALLEN RD
LANSING MI 48909                                                                       BROWNSTOWN MI 48193




MICHIGAN LIQUOR CONTROL COMMISSION (MLCC)     MICHIGAN LOGOS INC                       MICHIGAN TREE AND LANDSCAPING INC
525 WEST ALLEGAN ST                           5030 NORHTWIND DR STE 103                30528 GARFIELD ST
PO BOX 30005                                  EAST LANSING MI 48823                    ROSEVILLE MI 48066
LANSING MI 48909




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MICRO-OVENS LLC                        MICROSOFT CORP                              MICROWAVE AND APPLIANCE REPAIR CO
1400 S SAUNDERS ST                     PO BOX 842103                               5741 AUBURN BLVD
RALEIGH NC 27603                       DALLAS TX 75284                             SACRAMENTO CA 95841




MICROWAVE ATLANTA INC                  MICROWAVE SPECIALTIES INC                   MID CAROLINA ELECTRIC COOP
PO BOX 87                              8671 CHERRY LN                              PO BOX 669
MABLETON GA 30126                      LAUREL MD 20707                             LEXINGTON SC 29071




MID SOUTH MAINTENANCE OF TN INC        MID STATES ENERGY                           MIDAMERICAN ENERGY CO
1055 RIDGECREST DR                     PO BOX 203874                               EDI INVOICES ONLY
GOODLETTSVILLE TN 37072                DALLAS TX 75320                             PO BOX 8020
                                                                                   DAVENPORT IA 52808




MIDDLE TENNESSEE ELECTRIC              MIDDLEBROOK ELECTRIC SVC INC                MIDDLEBROOKS ELECTRIC SVC INC
PO BOX 681709                          718 S EAST ST                               718 S EAST ST
FRANKLIN TN 37068                      BENTON AR 72015                             BENTON AR 72015




MIDDLESEX WATER CO                     MIDDLESEX WATER CO                          MIDNIGHT CONTROL SVC INC
PO BOX 96251                           PO BOX 826538                               420 E LEMON ST
WASHINGTON DC 20090                    PHILADELPHIA PA 19182                       TAPPON SPRINGS FL 34689




MIDTOWN ELECTRIC                       MIDWEST MAINTENANCE                         MIKE AND MARTHA WITT
821 VANCE AVE                          37486 LADYWOOD                              MARTHA WITT/OWNER
MEMPHIS TN 38126                       LIVONIA MI 48154                            3300 E LAKE CREEK RD
                                                                                   HEBER UT 84032




MIKE'S PROFESSIONAL PAINTING LLC       MIKKELSEN UPHOLSTERY INC                    MILE HIGH HOME WORX
2304 AQUA FRIA DR NE                   2519 FAIRWAY DR                             2055 ALLISON ST
RIO RANCHO NM 87144                    MOBILE AL 36606                             LAKEWOOD CO 80214




MILEX CONSTRUCTION LLC                 MILLER AND MARTIN PLLC                      MILLER CLARK LANDSCAPE AND NURSERY CO INC
2310 BIG OAK RD                        1200 VOLUNTEER BLDG                         PO BOX 4027
CANGHORNE PA 19047                     832 GEORGIA AVE                             FRESNO CA 93744
                                       CHATTANOOGA TN 37402




MILLER DIST OF FORT WORTH              MILOS SEATING CO LLC                        MIMMS ENTERPRISES
1701 PHAR ST                           13204 WEST STAR DR                          CINDY RAY
FORT WORTH TX 76102                    SHELBY TOWNSHIP MI 48315                    780 OLD ROSWELL PL STE 100
                                                                                   ROSWELL GA 30076




MIMS DISTRIBUTING                      MINER SOUTHWEST LLC                         MINNESOTA ATTORNEY GENERAL
2100 HARROD ST                         11827 TECH COM STE 115                      LORI SWANSON
RALEIGH NC 27604                       SAN ANTONIO TX 78233                        1400 BREMER TOWER
                                                                                   445 MINNESOTA ST
                                                                                   ST. PAUL MN 55101-2131




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MINNESOTA DEPT OF COMMERCE              MINNESOTA DEPT OF LABOR AND INDUSTRY        MINNESOTA DEPT OF NATURAL RESOURCES
UNCLAIMED PROPERTY DIVISION             COMMISSIONER                                500 LAFAYETTE RD
85 7TH PL EAST                          443 LAFAYETTE RD N                          ST. PAUL MN 55155-4040
SUITE500                                ST. PAUL MN 55155
ST. PAUL MN 55101




MINNESOTA DEPT OF REVENUE               MINNESOTA DEPT OF REVENUE                   MINNESOTA DEPT OF REVENUE
MAIL STATION 1760                       MAIL STATION 1765                           600 NORTH ROBERT ST
ST. PAUL MN 55145                       ST. PAUL MN 55145-1765                      ST. PAUL MN 55101




MINNESOTA POLLUTION CONTROL AGENCY      MINUTEMAN PLUMBLING AND DRAIN SVC           MISSION RESTAURANT SUPPLY
520 LAFAYETTE RD                        PO BOX 4983                                 PO BOX 10310
ST. PAUL MN 55155-4194                  GARDEN GROVE CA 92842                       SAN ANTONIO TX 78210




MISSISSIPPI ATTORNEY GENERAL            MISSISSIPPI DEPT OF ENVIRONMENTAL QUALITY   MISSISSIPPI EMPLOYMENT SECURITY COMMISSION
JIM HOOD                                LEGAL DEPT                                  EXECUTIVE DIRECTOR
DEPARTMENT OF JUSTICE                   PO BOX 2261                                 1235 ECHLON PKWY
PO BOX 220                              JACKSON MS 39225                            PO BOX 1699
JACKSON MS 39205-0220                                                               JACKSON MS 39215-1699




MISSISSIPPI STATE TREASURER             MISSISSIPPI TAX COMMISSION                  MISSOURI AMERICAN WATER
UNCLAIMED PROPERTY DIVISION             PO BOX 22808                                PO BOX 94551
PO BOX 138                              JACKSON MS 39225-2808                       PALATINE IL 60094
JACKSON MS 39205




MISSOURI ATTORNEY GENERAL               MISSOURI ATTORNEY GENERAL'S OFFICE          MISSOURI DEPT OF CONSERVATION
JOSHUA D HAWLEY                         CONSUMER PROTECTION DIVISION                2901 W TRUMAN BLVD
SUPREME COURT BLDG                      OLD POST OFFICE BUILDING                    JEFFERSON CITY MO 65109
207 W HIGH ST                           815 OLIVE ST SUITE200
JEFFERSON CITY MO 65101                 ST. LOUIS MO 63101




MISSOURI DEPT OF NATURAL RESOURCES      MISSOURI DEPT OF REVENUE                    MISSOURI LABOR AND INDUSTRIAL
PO BOX 176                              HARRY S TRUMAN STATE OFFICE BUILDING        RELATIONS COMMISSION
1101 RIVERSIDE DR                       301 WEST HIGH ST                            CHAIRMAN
JEFFERSON CITY MO 65102                 JEFFERSON CITY MO 65101                     3315 WEST TRUMAN BLVD RM 214
                                                                                    PO BOX 599
                                                                                    JEFFERSON CITY MO 65102-0599


MISSOURI STATE TREASURER                MITCHEL S DAWSON DBA YARD WERX              MIZAUCTIONS LLC DBA PCI AUCTIONS EAST COAST
UNCLAIMED PROPERTY DIVISION             5563 GRAY ST                                141 WEST END DR
PO BOX 1004                             ARVADA CO 80002                             MANHEIM PA 17545
JEFFERSON CITY MO 65102




MJDEL LLC                               MJDEL LLC                                   MJDEL LLC
61 SOLOMON PIERCE RD                    NICHOLAS DELEGAS                            DUNBAR GOLOBOY, LLP
LEXINGTON MA 02420                      MANAGER                                     RONALD W. DUNBAR, JR.
                                        61 SOLOMON PIERCE RD                        197 PORTLAND STREET
                                        LEXINGTON MA 02420                          5TH FLOOR
                                                                                    BOSTON MA 02114


MLC LANDSCAPING CO INC                  MOBILE AREA WATER AND SWR SYSTEM            MOBILE COUNTY
14618 JONES MALTSBERGER RD              PO BOX 830130                               DEPT 1524
SAN ANTONIO TX 78247                    BIRMINGHAM AL 35283                         PO BOX 11407
                                                                                    BIRMINGHAM AL 35246




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MOBILE COUNTY LICENSE COMMISSIONER         MOBILE ELECTRONIC SVC LLC                 MOBILE GAS
PO DRAWER 161009                           9 SAINT FRANCIS DR                        PO BOX 105001
MOBILE AL 36616                            VALLEJO CA 94590                          ATLANTA GA 30348




MOBILE POLICE DEPT                         MOBILE VINYL REPAIR AND RECOVERING LLC    MODEL LINEN INC
2460 GOVERNMENT ST                         PO BOX 12251                              PO BOX 1669
MOBILE AL 36606                            RENO NV 89510                             OGDEN UT 84402




MOJAVE ELECTRIC INC                        MOMENTFEED INC                            MONROE COUNTY HEALTH DEPT
3755 W HACIENDA AVE                        1540 2ND ST 3RD FL                        111 WESTFALL RD STE 1020
LAS VEGAS NV 89118                         SANTA MONICA CA 90401                     ROCHESTER NY 14692




MONROE COUNTY WATER AUTHORITY              MONROE MOXNESS BERG PA                    MONTE VISTA WATER DISTRICT
PO BOX 5158                                7760 FRANCE AVE S STE 700                 10575 CENTRAL DR
BUFFALO NY 14240                           MINNEAPOLIS MN 55435                      P O BOX 71
                                                                                     MONTCLAIR CA 91763




MONTGOMERY CO HELATH DEPT                  MONTGOMERY COUNTY TAX ASSESSOR            MONTGOMERY TWP MUNI SEWER AUTH
501 N THOMPSON STE 100                     COLLECTOR                                 1001 STUMP RD
CONROE TX 77301                            TAMMY J MCRAE                             MONTGOMERYVIL PA 18936
                                           400 N SAN JACINTO
                                           CONROE TX 77301-2823




MONTOGOMERY COUNTY ALARM DETAIL            MOON DISTRIBUTORS INC                     MORIAH INVESTMENTS LLC
PO BOX 2178                                2800 VANCE ST                             11409 BUSINESS PK CIR STE 300
CONROE TX 77305                            LITTLE ROCK AR 72206                      FIRESTONE CO 80504




MORIAH INVESTMENTS LLC                     MORREY DISTRIBUTING CO                    MORRIS JAMES LLP
BRIAN ARTZER                               1850 E LINCOLN WAY                        500 DELAWARE AVE
11409 BUSINESS PK CIR STE 300              SPARKS NV 89434                           SUITE 1500
FIRESTONE CO 80504                                                                   WILMINGTON DE 19801




MOSS DEVELOPMENT DBA ONE MAN AND A         MOTHER OF PRESCHOOLERS                    MOTTA THE HANDY MAN
TOOLBOX                                    4711 LOOPP NW                             15241 CANTARA ST
201 BEACON PKWY WEST                       SAN ANTONIO TX 78229                      VAN NUYS CA 91402
STE 102
BIRMINGHAM AL 35209




MOULTON NIGUEL WATER                       MOULTON NIGUEL WATER DISTRICT             MOUNT LAUREL TWP MUA
PO BOX 30204                               27500 LA PAZ RD                           1201 S CHURCH ST
LAGUNA NIGUEL CA 92607                     LAGUNA NIGUEL CA 92677                    MT LAUREL NJ 08054




MOUNT OLIVE TOWNSHIP                       MOUNTAIN SALES AND SVC INC                MOUNTAIN VIEW FIREWOOD LLC
PO BOX 450                                 6759 E 50TH AVE                           201 CYLDE GLEAVES RD
BUDD LAKE NJ 07828                         COMMERCE CITY CO 80022                    WARTRACE TN 37183




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MOWRY ELECTRIC INC                    MR HANDYMAN OF BLOOMFIELD MICHIGAN        MR HANDYMAN OF SUSSEX COUNTY
9347 KENT AVE                         10757 CLIFFVIEW DR                        328 P SPARTA AVE
HUNTERSVILLE NC 28078                 SOUTH LYON MI 48178                       SPARTA NJ 07871




MR ROOTER PLUMBING                    MR ROOTER PLUMBING INC                    MR ROOTER PLUMBING PITT COUNTY
1300 GRAVES AVE                       1341 RUTHERFORD RD                        4735 J REEDY BRANCH RD
OXNARD CA 93030                       GREENVILLE SC 29609                       WINTERVILLE NC 28590




MRB MANAGEMENT INC                    MS INLAND FUND LLC                        MS INLAND FUND LLC
DBA INLINE ELECTRICAL RESOURCES       MS INLAND US                              RPAI SOUTHWEST MANAGEMENT LLC
2127 S PRIEST DR STE 405              1421 PAYSPHERE CIR                        PRESIDENT OF PROPERTY MANAGEMENT
TAMPE AZ 85282                        CHICAGO IL 60674                          NIALL BYRNE
                                                                                2021 SPRING RD STE 200
                                                                                OAK BROOK IL 60523


MS INLAND FUND LLC                    MS INLAND FUND LLC                        MS WALKER INC
RPAI HOLDCO MANAGEMENT LLC            RETAIL PROPERTIES OF AMERICA INC          20 THIRD AVE
VICE PRESIDENT OF COLLECTIONS         VP AND DIRECTOR OF LEASING                SOMERVILLE MA 02143
BRIAN GRADY VP AND CONTROLLER         MARIA TOLIOPOULOS
2021 SPRING RD STE 200                2021 SPRING RD STE 200
OAK BROOK IL 60523                    OAK BROOK IL 60523


MTMSA                                 MULLER INC                                MUNICIPAL UTILITY DISTRICT 47
PO BOX 618                            LIQUOR CK                                 PO BOX 7580
SOUDERTON PA 18964                    2800 GRANT AVE                            SPRING TX 77387
                                      PHILADELPHIA PA 19114




MURFREESBORO ELECTRIC DEPT            MURFREESBORO POLICE ANNEX                 MURRAY CITY CORP
PO BOX 9                              324 S CHURCH ST                           UTILITY BILLING
MURFREESBORO TN 37133                 MURFREESBORO TN 37130                     5025 S STATE ST
                                                                                PO BOX 57919
                                                                                MURRAY UT 84157




MUSGRAVE LANDSCAPING                  MUTUAL DISTRIBUTING CO                    MVP INVESTMENTS LLC
369 ALAMEDA PKWY                      2233 CAPITAL BLVD                         14613 N KELLY AVE
ARNOLD MD 21012                       RALEIGH NC 27604                          EDMOND OK 73013




MVP INVESTMENTS LLC                   MVP INVESTMENTS LLC                       MWBS LLC
DARRYL ROWLEY                         MCAFEE & TAFT PC                          DBA BACKFLOW TECHNOLOGIES
JAN K VODA                            MICHAEL K AVERY, ESQ.                     835 W WARNER RD STE 101-421
14613 N KELLY AVE                     TWO LEADERSHIP SQUARE, 10TH FLOOR         GILBERT AZ 85223
EDMOND OK 73013                       211 NORTH ROBINSON
                                      OKLAHOMA CITY OK 73102-7101


MZ ASSOCIATES LLC                     KUSUM NAGARSHETH                          CINDY MARIA NAGY
7373 BROADWAY STE 403                 GUEST REFUND                              1508 PULLMAN DR
SAN ANTONIO TX 78209                  14727 CALUSA PALMS DR UNIT 102            SEVERN MD 21144
                                      FORT MYERS FL 33919




NAPOLEON PENA DBA                     NAPPI DISTRIBUTORS                        NARAGON COMPANIES INC
NAPOLEON'S GARDENING SVC              ACCOUNTS RECEIVABLE                       2197 WADSWORTH RD
1722 BUENA VISTA                      193 PRESUMPSCOT ST                        NORTON OH 44203
ALAMEDA CA 94501                      PORTLAND ME 04103




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NASH DISTRIBUTOR INC                   NATIONAL DISTRIBUTING CO ATLANTA         NATIONAL DISTRIBUTING CO NEW MEXICO
PO BOX 384                             PO BOX 44127                             5920 OFFICE BLVD NE
WOODBRIDGE NJ 07075                    ATLANTA GA 30336                         ALBUQUERQUE NM 87109




NATIONAL DISTRIBUTING CO SAVANNAH      NATIONAL DISTRIBUTORS - ME               NATIONAL GEOGRAPHIC PARNTERS LLC
1414 MILLS B LN RD                     116 WALLACE AVE                          PO BOX 900
SAVANNAH GA 31405                      SOUTH PORTLAND ME 04106                  BEVERLY HILLS CA 90213




NATIONAL GRID                          NATIONAL GRID                            NATIONAL RESTAURANT SUPPLY CO
PO BOX 11735                           PO BOX 11742                             2513 COMANCHE RD NE
NEWARK NJ 07101                        NEWARK NJ 07101                          ALBUQUERQUE NM 87107




NATIONAL RETAIL CONCEPT PARTNERS LLC   NATIONAL SVC CENTER                      NATIONAL WHOLESALE SUPPLY INC
PO BOX #682544                         39360 TREASURY CTR                       PO BOX 54007
FRANKLIN TN 37068-2544                 CHICAGO IL 60694                         DALLAS TX 75354




NAVEX GLOBAL INC                       NAVEX GLOBAL INC                         NBC UNIVERSAL LLC
PO BOX 60941                           5500 MEADOWS ROAD                        30 ROCKEFELLER PLZ
CHARLOTTE NC 28260                     SUITE 500                                NEW YORK NY 10020
                                       LAKE OSWEGO OR 97035




NC DEPT OF HEALTH AND HUMAN SRV        NC GREEN HEAT                            NC SIGN AND LIGHTEING SVC LLC
INSPECTIONS STAT AND FEES              DBA NC GREEN HEAT                        YESCO TRIAD
1632 MAIL SERVICE CTR                  9932 ADLIE DR                            2606 PHOENIX DR UNIT 404
RALEIGH NC 27699                       WAKE FOREST NC 27587                     GREENSBORO NC 27406




NCR CORP                               NEBRASKA DEPT OF ENVIRONMENTAL QUALITY   NEBRASKA DEPT OF LABOR
PO BOX 198755                          1200 N ST STE 400                        COMMISSIONER
ATLANTA GA 30384                       PO BOX 98922                             550 SOUTH 16TH ST
                                       LINCOLN NE 68509-8922                    ADMINISTRATIVE OFFICE
                                                                                LINCOLN NE 68509




NEBRASKA DEPT OF REVENUE               NEBRASKA STATE TREASURER                 NEGOTIUM TECHNOLOGIES CORP
301 CENTENNIAL MALL SOUTH              UNCLAIMED PROPERTY DIVISION              980 NINTH ST 16TH FL
2ND FLOOR                              809 P ST                                 PMB 1626
LINCOLN NE 68509-4818                  LINCOLN NE 68508-1390                    SACRAMENTO CA 95814




NESPA ELECTRIC INC                     NEU-LAWN INC                             DAWN NEUNER
333 CAVALIER RD                        54710 RABON RD                           247 HOLLY DR
PALMS SPRINGS FL 33461                 BAY MINETTE AL 36507                     LEVITTOWN PA 19055




NEVADA ATTORNEY GENERAL                NEVADA ATTORNEY GENERAL                  NEVADA BEVERAGE CO
ADAM PAUL LAXALT                       BUREAU OF CONSUMER PROTECTION            FILE 50950
OLD SUPREME COURT BLDG                 100 NORTH CARSON ST                      LOS ANGELES CA 90074-0950
100 N CARSON ST                        CARSON CITY NV 89701-4717
CARSON CITY NV 89701




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NEVADA DEPT OF                              NEVADA DEPT OF TAXATION                  NEVADA DEPT OF TAXATION
CONSERVATION AND NATURAL RESOURCES          COMMERCE TAX REMITTANCE                  1550 E COLLEGE PKWY
901 S STEWART                               PO BOX 51180                             CARSON CITY NV 89706
STE 1003                                    LOS ANGELES CA 90051-5480
CARSON CITY NV 89701




NEVADA DIVISION OF ENVIRONMENT PROTECTION   NEVADA DIVISION OF FORESTRY              NEVADA EMPLOYMENT SECURITY DIVISION
901 S STEWART                               2478 FAIRVIEW DR                         CONTRIBUTIONS SECTION BOND UNIT
STE 1003                                    CARSON CITY NV 89701                     500 E THIRD ST
CARSON CITY NV 89701-5249                                                            CARSON CITY NV 89713-0030




NEVADA OFFICE OF THE LABOR COMMISSIONER     NEVADA STATE TREASURER                   NEW BELGIUM BREWING CO INC
COMMISSIONER                                UNCLAIMED PROPERTY DIVISION              500 LINDEN ST
555 E WASHINGTON AVE STE 4100               GRANT SAWYER BLDG                        FT COLLINS CO 80524
LAS VEGAS NV 89101                          555 E WASHINGTON AVE STE 4200
                                            LAS VEGAS NV 89101




NEW CASTLE COUNTY                           NEW CASTLE COUNTY                        NEW JERSEY AMERICAN WATER
PO BOX 430                                  PO BOX 470                               BOX 371331
CLAYMONT DE 19703-0430                      CLAYMONT DE 19703                        PITTSBURGH PA 15250




NEW JERSEY AMERICAN WATER                   NEW JERSEY ATTORNEY GENERAL              NEW JERSEY DEPT OF ENVIRONMENTAL
BOX 371476                                  CHRISTOPHER S PORRINO                    PROTECTION
PITTSBURGH PA 15250                         RICHARD J HUGHES JUSTICE COMPLEX         MARK N MAURIELLO
                                            25 MARKET ST 8TH FL WEST WING            401 E STATE ST
                                            TRENTON NJ 08625                         7TH FLOOR EAST WING
                                                                                     TRENTON NJ 08625-0402


NEW JERSEY DEPT OF LABOR                    NEW JERSEY DIVISION OF TAXATION          NEW JERSEY UNCLAIMED PROPERTY DIVISION
COMMISSIONER                                BANKRUPTCY SECTION                       PO BOX 214
1 JOHN FITCH PLZ                            PO BOX 245                               TRENTON NJ 08695-0214
PO BOX 110                                  TRENTON NJ 08695-0245
TRENTON NJ 08625-0110




NEW MEXICO ALCOHOL/GAMING DIVISION          NEW MEXICO ATTORNEY GENERAL              NEW MEXICO DEPT OF LABOR
REGULATION AND LICENSING DEPT               HECTOR BALDERAS                          SECRETARY
PO BOX 25101                                PO DRAWER 1508                           401 BROADWAY NE
SANTA FE NM 87504-5101                      SANTA FE NM 87504-1508                   PO BOX 1928
                                                                                     ALBUQUERQUE NM 87102




NEW MEXICO DEPT OF REVENUE                  NEW MEXICO ENVIRONMENT DEPT              NEW MEXICO SECRETARY OF STATE
UNCLAIMED PROPERTY DIVISION                 1190 ST FRANCIS DR STE N4050             325 DON GASPAR
P O BOX 8485                                PO BOX 5469                              STE 300
ALBUQUERQUE NM 87198-8485                   SANTA FE NM 87505                        SANTE FE NM 87501




NEW MEXICO TAXN AND REVENUE DEPT            NEW MILLENIUM UPHOLSTERY INC             NEW WEST DISTRIBUTING
1100 SOUTH ST FRANCIS DR                    10568 MAGNOLIA AVE #121                  325 E NUGGET AVE STE 101
LEGAL SERVICES BUREAU                       ANAHEIM CA 92804                         SPARKS NV 89431
SANTA FE NM 87504-0630




NEW WORLD TECH AND SUPPLY                   NEW YORK ATTORNEY GENERAL                NEW YORK CITY DEPT OF FINANCE
9668 WESTHEIMER RD                          ERIC T SCHNEIDERMAN                      1 CENTRE ST MUNICIPAL BLDG 500
STE 200-137                                 DEPT OF LAW                              NEW YORK NY 10007
HOUSTON TX 77063                            THE CAPITOL 2ND FLOOR
                                            ALBANY NY 12224-0341




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NEW YORK DEPT OF LABOR                      NEW YORK DEPT OF TAX'N AND FINANCE         NEW YORK STATE
COMMISSIONER                                BANKRUPTCY SECTION                         CONSUMER PROTECTION BOARD
STATE CAMPUS BUILDING 12 ROOM 500           PO BOX 5300                                5 EMPIRE STATE PLZ
ALBANY NY 12240                             ALBANY NY 12205-0300                       SUITE 2101
                                                                                       ALBANY NY 12223-1556




NEW YORK STATE COMPTROLLER                  NEW YORK STATE DEPT OF                     NFC LLC
OFFICE OF UNCLAIMED FUNDS                   ENVIRONMENTAL CONSERVATION                 2300 W SAHARA AVE
110 STATE ST                                625 BROADWAY                               BOX 1 STE 530
ALBANY NY 12236                             ALBANY NY 12233-0001                       LAS VEGAS NV 89102




NFC LLC                                     NICHOLAS AND CO INC                        NICOR GAS
THOMAS AND MACK DEVELOPMENT GROUP           PO BOX 45005                               PO BOX 5407
NICOLA B FRYATT LEASING MANAGER             SALT LAKE CITY UT 84145                    CAROL STREAM IL 60197
7181 AMIGO ST STE 100
LAS VEGAS NV 89119




NIETO TECHNOLOGY PARTNERS LLC               NIGEL FRANK INTERNATIONAL                  NJ NATURAL GAS CO
20714 SLEEP HOLLOW LN                       110 WILLIAM ST                             PO BOX 11743
SPRING TX 77388                             21ST FLOOR                                 NEWARK NJ 07101
                                            NEW YORK NY 10038




NKS DISTRIBUTORS INC                        NOBLE WINES LTD WA                         NOCO LEAFY FARMS - URBAN HERBS FARM
399 NEW CHURCHMANS RD                       9860 40TH AVE S                            PO BOX 394
NEW CASTLE DE 19720                         SEATTLE WA 98118                           TIMMATH CO 80547




TIMOTHY NORRIS                              NORTH AMERICAN LAWN AND LANDSCAPE LLC      NORTH CAROLINA ATTORNEY GENERAL
631 SUSSEX RD                               4200 PERFORMANCE RD                        JOSH STEIN
TOWSON MD 21286                             CHARLOTTE NC 28214                         DEPT OF JUSTICE
                                                                                       PO BOX 629
                                                                                       RALEIGH NC 27602-0629




NORTH CAROLINA DEPT OF ENVIRONMENTAL        NORTH CAROLINA DEPT OF LABOR               NORTH CAROLINA DEPT OF LABOR
AND NATURAL RESOURCES                       BUDGET AND MANAGEMENT DIVISION             COMMISSIONER
3800 BARRETT DR                             1101 MAIL SERICE CTR                       1101 MAIL SERVICE CTR
RALEIGH NC 27609                            RALEIGH NC 27699                           RALEIGH NC 27699-1101




NORTH CAROLINA DEPT OF LABOR BUDGET         NORTH CAROLINA DEPT OF REVENUE             NORTH CAROLINA DEPT OF REVENUE
AND MANAGEMENT DIVISION                     PO BOX 25000                               501 N WILMINGTON ST
1101 MAIL SERVICE CTR                       RALEIGH NC 27640                           RALEIGH NC 27604
RALEIGH NC 27699




NORTH CAROLINA DIVISION OF MOTOR VEHICLES   NORTH CAROLINA ENVIRONMENT AND             NORTH CAROLINA STATE TREASURER
PO BOX 29620                                NATURAL RESOURCES                          UNCLAIMED PROPERTY DIVISION
RALEIGH NC 27626                            3800 BARRETT DR                            325 N SALISBURY ST
                                            RALEIGH NC 27609                           RALEIGH NC 27603




NORTH COUNTY SD RECYCLING DBA JUNK KING     NORTH LANDING FIREWOOD AND HAULING INC     NORTH RAINBOW BOULEVARD HOLDINGS
2790 LOKER AVE WEST                         PO BOX 56286                               INTEGRIS REALTY SVC
STE #113                                    VIRGINIA BEACH VA 23456                    6440 SKY POINTE DR 140175
CARLSBAD CA 92010                                                                      LAS VEGAS NV 89131




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NORTH TAMPA CHAMBER OF COMMERCE             NORTH TEXAS ICE DESIGN CENTER             NORTH TEXAS TOLLWAY AUTHORITY
3802 ERLICH RD STE 308                      PO BOX 848459                             PO BOX 660244
TAMPA FL 33624                              DALLAS TX 75284                           DALLAS TX 75266




NORTHEAST SALES DIST - WINDER               NORTHERN EAGLE BEVERAGE CO                NORTHERN VIRGINIA ELEC COOP
PO BOX 1463                                 600 16TH ST                               PO BOX 34795
ATHENS GA 30603                             CARLSTADT NJ 07072                        ALEXANDRIA VA 22334




NORTHWEST ALCOHOL LAW                       NORTHWEST LOCK AND KEY SVC                NORTON CREATIVE LLC
123 NE THIRD AVE                            PO BOX 22152                              9434 OLD KATY RD STE 400
SUITE 310                                   OKLAHOMA CITY OK 73123                    HOUSTON TX 77055
PORTLAND OR 97232




NORTON ROSE FULBRIGHT US LLC                NOT YOUR AVERAGE JOES INC                 NOVA ASSOCIATES INC
PO BOX 844284                               JOE MCGUIRE                               DBA NOVA 401(K) ASSOCIATES
DALLAS TX 75284                             CFO                                       10777 NORTHWEST FWY
                                            TWO GRANITE AVENUE STE 300                HOUSTON TX 77092
                                            MILTON MA 02186




NUCO2 INC                                   NUECES COUNTY TAX ASSESOR-COLLECTOR       NULITE INC
PO BOX 9011                                 TAX ASSESOR-COLLECTOR                     PO BOX 1017
STUART FL 34995                             PO BOX 2810                               POWAY CA 92074
                                            CORPUS CHRISTI TX 78403




NV ENERGY                                   NV ENERGY                                 NWWA
PO BOX 30073                                PO BOX 30150                              PO BOX 1339
RENO NV 89520                               RENO NV 89520                             NORTH WALES PA 19454




NY STATE LIQUOR AUTHORITY                   NY STATE LIQUOR AUTHORITY                 NYS ASSESSMENT RECEIVABLES
PO BOX 8000 DEPT 930                         80 S SWAN ST                             PO BOX 4127
BUFFALO NY 14267                            9TH FL                                    BINGHAMTON NY 13902-4127
                                            ALBANY NY 12210-8002




O AND W INC                                 OAKLAND COUNTY HEALTH                     OAKLAND COUNTY TREASURER OFFICE
3974 JACKSON RD                             1200 N TELEGRAPH RD DEPT 432              1200 N TELEGRAPH RD
ANN ARBOR MI 48103                          PONTIAC MI 48341                          DEPT 479
                                                                                      PONTIAC MI 48341




OAKS MALL GAINESVILLE LIMITED PARTNERSHIP   OCEAN PAVERS                              OFFICE OF THE ATTORNEY GENERAL
GENERAL GROWTH PROPERTIES                   26895 ALISO CREED RD B-476                CONSUMER PROTECTION DIVISION
LAW/LEASE ADMINISTRATION                    ALISO VIEJO CA 92656                      501 WASHINGTON AVE
CRAIG H WESEMEYER VP LEASING SOUTHEAST                                                PO BOX 300152 MONTGOMERY AL 36130
110 N WACKER DR                                                                       MONTGOMERY AL 36104
CHICAGO IL 60606


OFFICE OF THE ATTORNEY GENERAL              OFFICE OF THE ATTORNEY GENERAL            OFFICE OF THE ATTORNEY GENERAL
CONSUMER PROTECTION DIVISION                CONSUMER PROTECTION DIVISION              CALIFORNIA DEPT OF JUSTICE
323 CENTER ST                               1275 WASHINGTON ST                        PUBLIC INQUIRY UNIT
SUITE 200                                   PHOENIX AZ 85007-2926                     PO BOX 944255
LITTLE ROCK AR 72201                                                                  SACRAMENTO CA 94244-2550




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OFFICE OF THE ATTORNEY GENERAL             OFFICE OF THE ATTORNEY GENERAL            OFFICE OF THE ATTORNEY GENERAL
CONSUMER PROTECTION DIVISION               CONSUMER PROTECTION DIVISION              CONSUMER PROTECTION DIVISION
THOMAS STEVENS DIRECTOR                    1305 EAST WALNUST ST 2ND FL               302 W WASHINGTON ST
CARVEL STATE OFFICE BUILDING               HOOVER BUILDING                           5TH FLOOR
820 NORTH FRENCH ST                        DES MOINES IA 50319                       INDIANAPOLIS IN 46204
WILMINGTON DE 19801


OFFICE OF THE ATTORNEY GENERAL             OFFICE OF THE ATTORNEY GENERAL            OFFICE OF THE ATTORNEY GENERAL
CONSUMER PROTECTION DIVISION               OFFICE OF CONSUMER PROTECTION             CONSUMER PROTECTION SECTION
120 SW 10TH                                1024 CAPITAL CTR DR                       PO BOX 94005
2ND FLOOR                                  SUITE 200                                 BATON ROUGE LA 70804-9005
TOPEKA KS 66612-1597                       FRANKFORT KY 40601




OFFICE OF THE ATTORNEY GENERAL             OFFICE OF THE ATTORNEY GENERAL            OFFICE OF THE ATTORNEY GENERAL
CONSUMER PROTECTION DIVISION               CONSUMER PROTECTION DIVISION              CONSUMER PROTECTION DIVISION
200 SAINT PAUL PL                          6 STATE HOUSE STATION                     9001 MAIL SERVICE CTR
16TH FLOOR                                 AUGUSTA ME 04333                          RALEIGH NC 27699-9001
BALTIMORE MD 21202-2021




OFFICE OF THE ATTORNEY GENERAL             OFFICE OF TOURISM                         OGASAWARA LANSCAPE MAINTENANCE
DEPT OF JUSTICE                            TOURISM ASSESSMENT PROGRAM                SCOT OGASAWARA
CONSUMER PROTECTION DIVISION               1809 S ST STE 101182                      377 N FAIR OAKS AVE
2115 STATE CAPITOL                         SACRAMENTO CA 95811                       SUNNYVALE CA 94085
PO BOX 98920
LINCOLN NE 68509


OGE                                        OGLETHORPE MALL LLC                       OGLETHORPE MALL LLC
PO BOX 24990                               SDS 12 1640 PO BOX 86                     GGP
OKLAHOMA CITY OK 73124                     MINNEAPOLIS MN 55486                      HOWARD SIGAL VP AND SR ASSOCIATE GC
                                                                                     110 N WACKER DR
                                                                                     CHICAGO IL 60606




OGLETREE DEAKINGS NASH SMOAK AND STEWART   OHIO AIR QUALITY DEVELOPMENT AUTHORITY    OHIO ATTORNEY GENERAL
PC                                         50 W BROAD ST                             MIKE DEWINE
PO BOX 89                                  SUITE 1718                                STATE OFFICE TOWER
COLUMBIA SC 29202                          COLUMBUS OH 43215                         30 E BROAD ST
                                                                                     COLUMBUS OH 43431




OHIO DEPT OF COMMERCE                      OHIO DEPT OF COMMERCE                     OHIO DEPT OF COMMERCE
DIRECTOR                                   DIVISION OF UNCLAIMED FUNDS               DIVISION OF INDUSTRIAL COMPLIANCE
77 SOUTH HIGH ST 23RD FL                   77 SOUTH HIGH ST                          FISCAL BO
COLUMBUS OH 43215-6123                     20TH FLOOR                                6606 TUSSING RD
                                           COLUMBUS OH 43215-6108                    REYNOLDSBURG OH 43068-9009




OHIO DEPT OF NATURAL RESOURCES             OHIO DEPT OF TAXATION                     OHIO DEPT OF TAXATION
2045 MORSE RD                              PO BOX 181140                             PO BOX 530
BUILDING D                                 COLUMBUS OH 43218-1140                    COLUMBUS OH 43216-0530
COLUMBUS OH 43229-6693




OHIO DIVISION OF LIQUOR CONTROL            OHIO EDISON                               OHIO ENVIRONMENTAL PROTECTION AGENCY
6606 TUSSING RD                            PO BOX 3637                               50 WEST TOWN ST STE 700
PO BOX 4005                                AKRON OH 44309                            PO BOX 1049
REYNOLDSBURG OH 43068                                                                COLUMBUS OH 43215




OHIO LOGOS INC                             OHIO VALLEY BEER AND WINE CO              OK CITY POLICE DEPT
4384 TULLER RD                             10975 MEDALLION DR                        PO BOX 268837
DUBLIN OH 43017                            EVENDALE OH 45241                         OKLAHOMA CITY OK 73126




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OKLAHOMA ABLE                             OKLAHOMA ATTORNEY GENERAL                  OKLAHOMA ATTORNEY GENERAL
3812 N SANTA FE STE 20                    MIKE HUNTER                                CONSUMER PROTECTION UNIT
OKLAHOMA CITY OK 73118                    313 NE 21ST ST                             313 NE 21ST ST
                                          OKLAHOMA CITY OK 73105                     OKLAHOMA CITY OK 73105




OKLAHOMA CONSERVATION COMMISSION          OKLAHOMA COUNTY COURT CLERK                OKLAHOMA COUNTY TREASURER
2800 N LINCOLN BLVD                       320 ROBERT S KERR #411                     PO BOX 268875
SUITE 160                                 OKLAHOMA CITY OK 73102                     OKLAHOMA CITY OK 73126-8875
OKLAHOMA CITY OK 73105




OKLAHOMA DEPT OF ENVIRONMENTAL QUALITY    OKLAHOMA DEPT OF LABOR                     OKLAHOMA NATURAL GAS
707 N ROBINSON                            COMMISSIONER                               PO BOX 219296
PO BOX 1677                               3017 N STILES                              KANSAS CITY MO 64121
OKLAHOMA CITY OK 73101-1677               SUITE 100
                                          OKLAHOMA CITY OK 73105




OKLAHOMA RESTAURANT SUPPLY CO             OKLAHOMA STATE DEPT OF HEALTH              OKLAHOMA TAX COMMISSION
2701 W CALIFORNIA                         ENVIRONMENTAL HEALTH SVC                   2501 LINCOLN BLVD
OKLAHOMA CITY OK 73107                    PO BOX 268815                              OKLAHOMA CITY OK 73194
                                          OKLAHOMA CITY OK 73126




OLO                                       RACHEL OLSON                               OMEGA SIGN AND LIGHTING INC
MOBO SYSTEMS INC DBA OLO                  10006 E 31ST AVE                           100 WEST FAY
26 BROADWAY FL 24                         DENVER CO 80238                            ADDISON IL 60101
NEW YORK NY 10004




OMILOS 1 LLC                              ONE LED SOURCE                             ONEOK ENERGY MARKETING CO
GEORGE NICHOLAKOS                         16236 SAN DIEGUITO RD 116                  PO BOX 502890
5242 YORKTOWN BLVD                        PO BOX 3103                                ST LOUIS MO 63150
ARLINGTON VA 22207                        RANCHO SANTA FE CA 92067




ONTIME SVC - ADKINS ELECTRICAL SERIVCES   OPICI CO - FL                              OPICI FAMILY DISTRIBUTING
2668 OLD ROCKY RIDGE RD                   25 DEBOER DR                               AMERICAN BD COMPANY
HOOVER AL 35216                           GLEN ROCK NJ 07452                         25 DEBOER DR
                                                                                     GLEN ROCK NJ 07452




OPRY MILLS MALL LIMITED PARTNERSHIP       OPRY MILLS MALL LIMITED PARTNERSHIP        OPTIMUM 07870 453342 02
PO BOX 402242                             C O MS MANAGEMENT ASSOCIATES INC           PO BOX 371378
ATLANTA GA 30384                          MIKE FREESE ASST GENERAL COUNSEL           PITTSBURG PA 15250
                                          225 WEST WASHINGTON ST
                                          INDIANAPOLIS IN 46204




OPTIMUM 07876 519126 02                   OPTIMUM 07870 455105 02                    OPTIMUM CARD SOLUTIONS LLC
PO BOX 371378                             PO BOX 371378                              855 S FIENE DR
PITTSBURG PA 15250                        PITTSBURGH PA 15250                        ADDISON IL 60101




ORANGE COUNTY FIRE AUTHORITY              ORANGE COUNTY HEALTH CARE AGENCY           ORANGE COUNTY TAX COLLECTOR
PO BOX 51985                              1241 E DYER RD STE 120                     TAX COLLECTOR
IRVINE CA 92619                           SANTA ANA CA 92705                         PO BOX 545100
                                                                                     ORLANDO FL 32854




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ORANGE COUNTY UTILITIES                  ORDONEZ BROTHERS FIREWOOD                 ORIGLIO BEVERAGE
PO BOX 628068                            14638 LUFTHANSA CIR                       LIQUOR CK
ORLANDO FL 32862                         CHANTILLY VA 22151                        3000 MEETING HOUSE RD
                                                                                   PHILADELPHIA PA 19154




ORTIZ'S SVC                              MANNY ORTIZ                               OSCAR L SALVAIL
14353 CAMINATA TAUGUS                    BERNALILLO COUNTY TREASURER               DBA MR APPLIANCE OF WINCHESTER
SAN DIEGO CA 92129                       PO BOX 289                                PO BOX 429
                                         ALBUQUERQUE NM 87103-0269                 WINCHESTER CA 92596




OSKADA UPHOLSTERY AND SEW                OSTERWISCH CO                             OTAY WATER DISTRICT
KAREN MARTINEZ GUENDULAN                 6755 HIGHLAND AVE                         PO BOX 51375
11300 COLOMA RD STE B8                   CINCINNATI OH 45236                       LOS ANGELES CA 90051
GOLD RIVER CA 95670




OTR                                      OTR ANAHEIM HILLS FESTIVAL                OWN LLC
REAL ESTATE MANAGER                      PO BOX 633276                             ONE DISCOVERY PL
KIM WAIPA                                CINCINNATI OH 45263                       SILVER SPRING MD 20910
275 EAST BROAD ST
COLUMBUS OH 43215




OXFORD VALLEY RD ASSOCIATES LP           OXFORD VALLEY ROAD ASSOCIATES LP          P E MASON ENTERPRISES INC
350 SENTRY PKWY                          GOLDENBERG MANAGEMENT INC                 7474 HAVENS CORNERS RD
BLDG 630 STE 300                         MYRA O GOLDMAN SR PROPERTY MANAGER        BLACKLICK OH 43004
BLUE BELL PA 19422                       630 SENTRY PKWY STE 300
                                         BLUE BELL PA 19422




PA DEPT OF REVENUE                       PA DEPT OF REVENUE NO PAYMENT NO REFUND   PA DEPT OF REVNUE
BUREAU OF INDIVIDUAL TAXES               PO BOX 280708                             BUREAU OF INDIVIDUAL TAXES
PO BOX 280504                            HARRISBURG PA 17128-0708                  PO BOX 280502
HARRISBURG PA 17128-0504                                                           HARRISBURG PA 17128




PAC - ACH (SUPPLY)                       PACE ELECTRICAL CONTRACTORS INC           PACER SVC CENTER
FILE 916241 PO BOX 961094                131 SOUTHERN BLVD                         PO BOX 71364
FORT WORTH TX 76161                      SAVANNAH GA 31405                         PHILADELPHIA PA 19176




PACIFIC BEVERAGE CO                      PACIFIC DRAIN AND PLUMBING                PACIFIC GAS AND ELECTRIC
5305 EKWILL ST                           1330 PARK CTR DR                          CORRESPONDENCE MANAGEMENT CTR
SANTA BARBARA CA 93111                   STE 101                                   P O BOX 997310
                                         VISTA CA 92081                            SACRAMENTO CA 95899




PACIFIC GAS AND ELECTRIC CO              PACIFIC PARK TOWN CNTR ASSOC 00179-6423   PACIFIC REFRIGERATION UNLIMITED
77 BEALE ST                              PO BOX 51412                              PO BOX 1557
SAN FRANCISCO CA 94106                   LOS ANGELES CA 90051                      TACOMA WA 98401-1557




PACIFIC RIM WINEMAKERS INC               PADRE GRILL LLC                           DANIEL J PAGE
308 SW 1ST AVE STE 161                   JOHN CANNIZZARO                           DBA PRECISION ELECTRICAL SVC
PORTLAND OR 97204                        450 BEACH ST                              39967 CHIPPWA CIR
                                         SAN FRANCISCO CA 94133                    MURRIETA CA 92562




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PAL LOCKSMITH                              PALM BEACH CO SHERIFFS OFFICE                 PANHANDLE RESTAURANT SVC INC
522 A 3RD AVE SOUTH                        PO BOX 24681                                  1785 WEST OAK PKWY STE 6
NASHVILLE TN 37210                         WEST PALM BEACH FL 33416                      MARIETTA GA 30062




PAPPAS LAGUNA NO 2 LP                      PAPPAS LAGUNA NO 2 LP                         PARISH OF EAST BATON ROUGE
2020 L ST STE 500                          JOHN PAPPAS LOUIS J PAPPAS                    SID J GAUTREAUX III
SACRAMENTO CA 95825                        2020 L ST 5TH FL                              SHERIFF AND TAX COLLECTOR
                                           SACRAMENTO CA 95811                           PO BOX 70
                                                                                         BATON ROUGE LA 70821




PARKING LOT PRO FLORIDA LLC                PARKS MAINTENANCE                             PARNALL LAW FIRM LLC
117-B BROADWAY AVE                         25137 PLYMOUTH                                PO BOX 8009
KISSIMMEE FL 34741                         REDFORD MI 48239                              ALBUQUERQUE NM 87198




MATTHEW PARSONS                            PARTICIA WAHL LAPAN AS TRUSTEE OF THE         PASTA TECHNOLOGY
157 WOODMAN AVE                            PATRCIA                                       186 FOREST RD
SACO ME 04072                              LAPAN LIVING TRUST PURSUANT TO THE            ALLENDALE NJ 07401
                                           DECLATRATI
                                           OF TRUST DTD 04/15/94 WHICH TRUST WAS REST
                                           ON
                                           ABOUT 03/16/05 AN AZ TR PATRICIA WAHL LAPAN
                                           6363 CHRISTIE AVE 2925
PAUL BENJIMAN JOSEPH BROWN III DBA PJB'S   PAUL H VON PETRZELKA                          PAUSTIS WINE
1613 FAIRWAY VISTA DR                      7950 QUAIL BREEZE                             17300 MEDINA RD STE 100
CORINTH TX 76210                           SAN ANTONIO TX 78250                          MINNEAPOLIS MN 55447




PAYTRONIX SYSTEMS INC                      DOUG PAZIN                                    PEAK GROUNDS MANAGEMENT LLC
80 BRIDGE STREET ST                        8324 GREYSTONE DR                             25333 SPRAGUE RD
NEWTON MA 02458                            LAKELAND FL 33810                             COLUMBIA STATION OH 44028




PEARLMAN ENTERPRISES INC                   PECO ENERGY                                   PEERLESS BEVERAGE CO
CRAIG S PEARLMAN                           PAYMENT PROCESSING                            1000 FLORAL AVE
3900 NEPTUNE DR                            PO BOX 37629                                  UNION NJ 07083
ORLANDO FL 32804                           PHILADELPHIA PA 19101




PELICAN ASSET MANAGEMENT GROUP LLC         PEMBROKE SQUARE ASSOCIATES                    PEMBROKE SQUARE ASSOCIATES
3184-H AIRWAY AVE                          PEMBROKE COMMERCIAL REALTY                    DEBRA GUERRERO DIR PROP MNGMN
COSTA MESA CA 92626                        4460 CORPORATION LN STE 300                   4460 CORPORATION LN STE 300
                                           VIRGINIA BEACH VA 23462                       VIRGINIA BEACH VA 23462




PENNEY ELECTRICL CORP                      PENNSYLVANIA ATTORNEY GENERAL                 PENNSYLVANIA ATTORNEY GENERAL
3 DANIEL DR                                JOSH SHAPIRO                                  BUREAU OF CONSUMER PROTECTION
STONEHAM MA 02180                          1600 STRAWBERRY SQUARE                        16 FLOOR STRAWBERRY SQUARE
                                           16TH FLOOR                                    HARRISBURG PA 17120
                                           HARRISBURG PA 17120




PENNSYLVANIA DEPT OF                       PENNSYLVANIA DEPT OF CONSERVATION             PENNSYLVANIA DEPT OF LABOR AND INDUSTRY
ENVIRONMENTAL PROTECTION                   AND NATURAL RESOURCES                         SECRETARY
RACHEL CARSON STATE OFFICE BLDG            RACHEL CARSON STATE OFFICE BLDG               651 BOAS ST
400 MARKET ST                              6TH FLOOR                                     ROOM 1700
HARRISBURG PA 17101                        HARRISBURG PA 17105-8522                      HARRISBURG PA 17121




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PENNSYLVANIA DEPT OF REVENUE               PENNSYLVANIA LIQUOR CONTROL BOARD         PENNSYLVANIA LIQUOR CONTROL BOARD
11 STRAWBERRY SQUARE                       OFFICE OF CHIEF COUNSEL                   GRETZ BEVERAGE MONTCO INC
HARRISBURG PA 17128                        401 NORTHWEST OFFICE BLDG                 LIQUOR CHECK
                                           HARRISBURG PA 17124                       2801 E TOWNSHIP LN RD
                                                                                     HATFIELD PA 19440




PENNSYLVANIA LIQUOR CONTROL BOARD          PENNSYLVANIA STATE TREASURY               PENNSYLVANIA TOURISM SIGNING TRUST
MULLER INC                                 OFFICE OF UNCLAIMED PROPERTY              2300 VARTAN WAY STE 240
LIQUOR CK                                  PO BOX 1837                               HARRISBURG PA 17110
2800 GRANT AVE                             HARISBURG PA 17105-1383
PHILADELPHIA PA 19114




PEOPLE REPORT                              PEPCO                                     PEPIN DISTRIBUTING CO
17304 PRESTON RD STE 430                   PO BOX 4863                               4121 N 50TH ST
DALLAS TX 75252                            TRENTON NJ 08650                          TAMPA FL 33610




PERFECT PLUMBING SEWER AND DRAIN INC       PERFORMANCE AIR MECHANICAL INC            EDDY PERRY
40250 MOUND RD                             3720 PARK CENTRAL BLVD NORTH              PO BOX 7
STERLING HEIGHTS MI 48310                  POMPANO BEACH FL 33064                    BRUNSWICK TN 38014




PETITPREN INC                              PFG KENNIETH O LESTER CO INC              PFP TEMECULA RE HOLDINGS LLC
44500 N GROESBECK HWY                      PO BOX 688                                FILE #1870
CLINTON TWP MI 48036                       LEBANON TN 37088-0688                     PASADENA CA 91199




PFP TEMECULA REAL ESTATE HOLDINGS LLC      PG AND E                                  PGI - PREMIERE GLOBAL SVC
MEISSNER JACQUET COMMERCIAL REAL ESTATE    BOX 997300                                PO BOX 404351
SVC                                        SACRAMENTO CA 95899                       ATLANTA GA 30384
LYSLIE J BROOKS REAL ESTATE MANAGER
4995 MURPHY CANYON RD STE 100
SAN DIEGO CA 92122


PHILBROOK AVENUE ASSOC LLC                 PHILBROOK AVENUE ASSOCIATES LLC           PHILLIPS WINE AND SPIRITS ST PAUL
PO BOX 0853                                C O SR WEINER AND ASSOCIATES              1999 SHEPARD RD
BRATTLEBORO VT 05302-0853                  DAVID YORK                                ST PAUL MN 55116
                                           1330 BOYLSTON ST STE 212
                                           CHESTNUT HILL MA 02467




PHOENIX POLICE DEPART/CITY OF PHOENIX AZ   JOHN PIASECKI                             PICASSO PLUMBING INC
ALARMA PERMIT RENEWALS                     DBA SUPERIOR SVC CO                       3135 VERDUGO RD
PO BOX 29117                               37 FLOROL PK BLVD                         LOS ANGELES CA 90065
PHOENIX AZ 85038-9117                      PAWTUCKET RI 02861




PICKS SAFE AND LOCK CORP                   PIEDMONT NATURAL GAS                      PIMA COUNTY HEALTH DEPT
PO BOX 972917                              PO BOX 660920                             3950 S COUNTRY CLUB RD
MIAMI FL 33197                             DALLAS TX 75266                           STE 2301
                                                                                     TUCSON AZ 85714




PIMA COUNTY TREASURERS OFFICE              PINE STATE BEVERAGE CO                    PINE TREE FOOD EQUIPMENT
PO BOX 29011                               100 ENTERPRISE AVE                        175 LEWISTON RD
PHOENIX AZ 85038                           GARDINER ME 04345                         GRAY ME 04039




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PINELLAS COUNTY UTILITIES                PINNACLE LAND MAINTENANCE INC             PIONEER REAL ESTATE DEVEL INC
PO BOX 1780                              850 W BERESFORD RD                        DENNIS TATE
CLEARWATER FL 33757                      DELAND FL 32720                           742 PEACHOID RD
                                                                                   GAFFNEY SC 29341




PIONEER REAL ESTATE DEVELOPMENT          PIONEER WINE CO LP                        PIPE MASTER PLUMBING LLC
DENNIS TATE VICE-PRESIDENT               1801 ROYAL LN STE 1001                    PO BOX 55309
742 PEACHOID RD                          DALLAS TX 75229                           HOUSTON TX 77255
GAFFNEY SC 29341




PIPEMASTER PLUMBING AND IRRIGATION INC   PITNEY BOWES BANK 8000-9090-0916-1667     PJW MONTGOMERYVILLE LLC
1814 BRANCHWATER TRL                     PO BOX 371874                             RP DESIGN AND MANAGEMENT LC5
ORLANDO FL 32825                         PITTSBURG PA 15250                        ROBERT PLATZER PRESIDENT
                                                                                   520 HADDON AVE
                                                                                   HADDONFIELD NJ 08033




PK II EL CAMINO NORTH LP                 PK II EL CANINO NORTH LP                  PLACER COUNTY ENVIRONMENTAL HEALTH
PO BOX 82565                             KIMCO REALTY CORP                         3091 COUNTY CTR DR
DEPT CODE SCAO 1409                      MORTGAGE DEPT                             STE 180
GOLETA CA 93118                          333 NEW HYDE PK RD SUIT 100               AUBURN CA 95603
                                         NEW HYDE PARK NY 11042




PLACER COUNTY TAX COLLECTOR              PLAINFIELD FRUIT AND PRODUCE CO           PLAN B GROUP INC
29676 RICHARDSON DR                      82 EXECUTIVE AVE                          2208 COMMERCE ST
AUBURN CA 95603                          EDISON NJ 08817                           DALLAS TX 75201




PLANO FIRE DEPART                        PLANO POLICE DEPT                         PLAYERLYNC LLC
CITY OF PLANO ACCT DEPT                  FALSE ALARM REDUCTION UNIT                9085 E MINERAL CIR #160
PO BOX 860358                            PO BOX 860358                             ENGLEWOOD CO 80112
PLANO TX 75086                           PLANO TX 75086-0358




PLEASANT VIEW WTR AND SANIT DIST         PLUMBLING LOGICS                          PLUMBQUICK INC
955 MOSS                                 46310 BLACK SPRUCE LN                     PO BOX 5086
GOLDEN CO 80401                          PARKER CO 80138                           ROUND ROCK TX 78683




PNM                                      PORTER HEDGES (USE V# 11205)              PORTER HEDGES LLP
PO BOX 27900                             1000 MAIN ST 36TH FL                      PO BOX 4346
ALBUQUERQUE NM 87125                     HOUSTON TX 77002                          DEPT 510
                                                                                   HOUSTON TX 77210




POST POLAK GOODSELL AND STRAUCHLER PA    POTOMAC EDISON                            POUDRE FIRE AUTHORITY
425 EAGLE ROCK AVE STE 200               800 CABIN HILL DR                         102 REMINGTON
ROSELAND NJ 07068                        GREENSBURG PA 15606                       FORT COLLINS CO 80524




POWERS DISTRIBUTING CO                   POWERSTONE PROPERTY MANAGEMENT            PPF RTL ROSEDALE SHOPPING CENTER
3700 GIDDINGS                            MINA RIOS                                 ASSET MANAGER/ROSEDALE CENTER
ORION MI 48359                           ACCOUNTS RECEIVABLE                       SCOTT MICHAELIS GENERAL MANAGER
                                         9060 IRVINE CTR DR                        3424 PEACHTREE RD NE STE 300
                                         IRVINE CA 92618                           ATLANTA GA 30326




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PPL ELECTRIC UTILITIES                   PPL ELECTRIC UTILITIES CORP                PRECISION APPLIANCE OF FLA INC
PO BOX 25222                             2 N 9TH ST                                 2414 MERCHANT AVE
LEHIGH VALLEY PA 18002                   ALLENTOWN PA 18101                         ODESSA FL 33556




PRECISION REPAIR INC                     PREFERRED PLUMBING AND DRAIN               PREFERRED PROPERTY MAINTENANCE
PO BOX 296                               3437 MYRTLE AVE STE 440                    5 HOLLAND BLDG #123
ROWLETT TX 75030                         NORTH HIGHLANDS CA 95660                   IRVINE CA 92618




PREMIER BEVERAGE CO                      PREMIER DISTRIBUTING CO                    PREMIER FACILITIES REMODEL AND REPAIR
DBA BREAKTHRU BEVERAGE FLORIDA           4321 YALE NE                               28 ASTON CT
PO BOX 820410                            ALBUQUERQUE NM 87107                       OWINGS MILLS MD 21117
SOUTH FLORIDA FL 33082




PREMIER PATIO HTG SPECS LLC              PREMIER PROPERTY MAINTENANCE               PREMIUM DISTRIBUTORS OF MARYLAND LLC
DBA PREMIER CYLINDER EXCHANGE            PO BOX 531895                              530 MONOCACY BLVD
PO BOX 6470                              LIVONIA MI 48153                           FREDERICK MD 21701
OCEANSIDE CA 92052




PREMIUM DISTRIBUTORS OF VA               PREMIUM ELECTRIC AND MAINTENANCE LLC       PREMIUM MAINTENANCE LLC
15001 NORTHRIDGE DR                      17655 SW 182ND AVE                         17249 SW 192ND ST
CHANTILLY VA 20151                       MIAMI FL 33187                             MIAMI FL 33187




PRESSURE TECH PROPERTY SVC               PRESTIGE BEVERAGE GROUP                    PRESTO PEST CONTROL INC
811 WEST 19TH ST #980                    6611-A CABOT DR                            PO BOX 495
COSTA MESA CA 92627                      BALTIMORE MD 21226                         SELLERSVILLE PA 18960




PRICKETTS DIST INC                       PRIDE COMMERCIAL APPLIANCE SVC             PRINCIPAL
123 M ST                                 1465 JEFFERSON RD                          PO BOX 2000
FRESNO CA 93721                          ROCHESTER NY 14623                         MASON CITY IA 50402




PRISA LHC LLC                            PRO MECHANICAL SVC INC                     PRO REFRIGERATION INC
3625 DALLAS HIGHWAY STE 470              PO BOX 364                                 13089 PEYTON DR
MARIETTA GA 30064                        TRENTON MI 48183                           STE C152
                                                                                    CHINO HILLS CA 91709




PRO WASH DBA CHARLIE LEMLEY              PRO WINDOW CLEANING OF OH                  PRO-TECH BEVERAGE SVC CORP
1006 ALLBERT RD                          DBA JEFFREY MCDIVITT                       8253 INDY LN
ASHLAND CITY TN 37015                    PO BOX 22253                               INDIANAPOLIS IN 46214
                                         AKRON OH 44302




PROFESSIONAL BUILDING SVC                PROFESSIONAL COIL                          PROFRESSIONAL PLUMBING AND HEATING INC
7027 W BROWARD BLVD #303                 PO BOX 304                                 1900 BELL PL
PLANTATION FL 33317                      LEWIS CENTER OH 43035                      S PLAINFIELD NJ 07080




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PROGRESSIVE WASTE SOLUIONS              PROGRESSIVE WASTE SOLUTN OF TX              PROJECTS OF EXCELLENCE LLC
DBA WASTE CONNECTION                    NORTH TEXAS DISTRICT                        12161 KEN ADAMS WAY
PO BOX 650592                           2138 COUNTRY LN                             STE 171
DALLAS TX 75265-0592                    MCKINNEY TX 75069                           WELLINGTON FL 33414




PROLAWN SVC                             PROLECTRIC ELECTRICAL CONTRACTORS INC       PROMENADE SHOPPING CENTER LLC
PO BOX 3604                             6606 ABERCORN ST                            PO BOX 60960
GREENVILLE SC 29608                     STE 120                                     CHARLOTTE NC 28260
                                        SAVANNAH GA 31405




PROMENADE SHOPPING CENTER LLC           PROSCAPE PROPERTIES LLC                     PROSERVE FIRE SYSTEMS INC
CHILDRESS KLEIN PROPERTIES              2607 WOODRUFF RD STE E522                   221 TECHNOLOGY PK LN
PAUL R GRASSER PRESIDENT                SIMPSONVILLE SC 29681                       FUQUAY VARINA NC 27526
301 S COLLEGE ST STE 2800
CHARLOTTE NC 28202




PROTECH AUTOMATIC LAWN SPRINKLERS       PROTECTACOTE INC                            PROVIDENCE RISK AND INS SVC
59 EXCHANGE ST                          5801 HARVARD AVE                            PO BOX 700370
ALBANY NY 12205                         CLEVELAND OH 44105                          SAN ANTONIO TX 78270




PROVO CITY UTILITIES                    PRUDENTIAL INSURANCE CO OF AMERICA          PRUDENTIAL INSURANCE CO OF AMERICA
351 W CTR ST                            CARLY MILLER                                LAW DEPT
PROVO UT 84601                          7 GIRALDA FARMS                             7 GIRALDA FARMS
                                        MADISON NJ 07940                            MADISON NJ 07940




PS LANDSCAPE INC                        PSE AND G CO                                PSE AND G CO
PO BOX 81702                            PO BOX 14101                                PO BOX 14444
AUSTIN TX 78708                         NEW BRUNSWICK NJ 08906                      NEW BRUNSWICK NJ 08906




PSNC ENERGY                             PTW STASSNEY LLC                            PUGET SOUND ENERGY
PO BOX 100256                           2208 CASEY KEY RD                           PO BOX 91269
COLUMBIA SC 29202                       NOKOMIS FL 34275                            BELLEVUE WA 98009




PULASKI COUNTY TREASURER                PURE FLOW TESTING LLC                       PURE PROTECTIVE SVC MANAGERMENT INC
PO BOX 8101                             JASON FLANNERY                              1596 SW 189 AVE
LITTLE ROCK AR 72203                    15845 NE 98TH WAY UNIT A845                 PEMBROKE PINES FL 33029
                                        REDMOND WA 98052




PURVEYOR OF FINE WINES LTD              PWCSA                                       PWL GROUP INC
1040 MAGAZINE ST                        PO BOX 71062                                PO BOX 846
NEW ORLEANS LA 70130                    CHARLOTTE NC 28272                          SIMI VALLEY CA 93062




PYEBARKER FIRE AND SAFETY LLC           QUALITY FRUIT AND VEG CO                    QUALITY JANITORIAL SVC
200 MACY DR                             10 ZANE GREY ST                             5913 DEREK DR
ROSWELL GA 30076                        EL PASO TX 79906                            WATAUGA TX 76148




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QUALITY SAFE AND LOCK INC              QUALITY STAINLESS LLC                      QUALITY WINE AND SPIRITS - GA
2001 WINCHESTER RD                     812 SE 82ND ST                             2279 DEFOOR HILLS RD
MEMPHIS TN 38116                       OKLAHOMA CITY OK 73149                     ATLANTA GA 30318




QUALYS INC                             QUATE INDUSTRIAL FABRICATIONS INC          QUESTAR GAS CO
PO BOX 205858                          PO BOX 13527                               PO BOX 45841
DALLAS TX 75320                        RESEARCH TRIANGLE PARK NC 27709            SALT LAKE CTY UT 84139




QUICK RESPONSE FIRE PROTECTION         QUIKWIRE COMMNICATIONS LLC                 R AND B CONCRETE CLEANERS
20545 INDEPENDENCE BLVD UNIT G         4264 GLENLEA COMMONS DR                    PO BOX 6035
GROVELAND FL 34736                     CHARLOTTE NC 28216                         FORT WORTH TX 76115




R AND B CONCRETE CLEANING              R AND R MARKETING LLC                      RA JEFFREYS DIST CO RALEIGH
PO BOX 6035                            DBA BREAKTHRU BEVERAGE NJ                  420 CIVIC BLVD
FORT WORTH TX 76115                    PO BOX 8128                                RALEIGH NC 28360
                                       TRENTON NJ 08650




RANDY RADFORD                          RADICO INC                                 RAIDER ROOTER INC
PO BOX 3506                            1501 CLARA AVE                             PO BOX 304
BRENTWOOD TN 37024                     COLUMBUS OH 43211                          DEERFIELD FL 33443




MONTGOMERY A RAINES                    RAINEY KIZER REVIERE AND BELL PLC          RAMOS MARBLE AND GRANITE INC
9530 HAGEMAN RD STE B140               PO BOX 1147                                2714 N ARMENIA AVE
BAKERSFIELD CA 93312                   JACKSON TN 38302                           TAMPA FL 33607




RAMSEY BOARD OF PUBLIC WORKS           RANCH TOWN CENTER LLC                      RANCH TOWN CENTER LLC
WATER AND SEWER DEPT                   101 N WESTLAKE BLVD STE 201                C O DSB PROPERTIES INC
33 N CENTRAL AVE                       WESTLAKE VILLAGE CA 91362                  KATHLEEN YOUNG
RAMSEY NJ 07446                                                                   101 N WESTLAKE BLDG 201
                                                                                  WESTLAKE VILLAGE CA 91362




RANDALLSTOWN LOCK AND KEY INC          RAPID AIR                                  RAPID SOLUTIONS DBA JOHN GUST
T/A RLK SECURITY                       2101 LEONARD ST                            PO BOX 4102
227 MAIN ST                            CORPUS CHRISTI TX 78408                    OVERLAND PARK KS 66204
REISTERSTOWN MD 21136




RAUL RANGEL I DBA PARAMOUNT REPAIR     RAVE ASSOCIATES INC                        RAWSON PLUMBING LLC
PO BOX 1006                            260 METTY DR STE H                         11795 CALLE CORVO
WASCO CA 93280                         ANN ARBOR MI 48103                         COLORADO SPRINGS CO 80926




RAY REFRIGERATION AND RESTAURANT       RAY'S BEVERAGE CO                          RAYMARK AIR CONDITIONING AND HEATING INC
11849 IMPERIAL GEM AVE                 PO BOX 8700                                DBA MARK'S SVC
EL PASO TX 79936                       STOCKTON CA 95208                          PO BOX 168
                                                                                  PORTER TX 77365




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RB 3 ASSOCIATES                       RB3 ASSOCIATES                               RCJG VENTURES
C O BENDERSON DEVELOPMENT CO          LEASE ADMINISTRATION                         DBA INTEGRATED LANDSCAPE MANAGEMENT NV
MIKE WALKER                           PO BOX 823201                                LLC
7978 COOPER CREEK BLVD STE 100        PHILADELPHIA PA 19182                        1150 E GILBERT DR
UNIVERSITY PARK FL 34201                                                           TEMPE AZ 85281




RCWD                                  RDT LIMITED PARTNERSHIP                      RDT LIMITED PARTNERSHIP
PO BOX 512687                         RICHARD THURMAN                              RICHARD D THURMAN
LOS ANGELES CA 90051                  10000 SHELBYVILLE RD STE 210                 DIANE CONLEE EXEC ASSISTANT
                                      LOUISVILLE KY 40223                          10000 SHELBYVILLE RD STE 210
                                                                                   LOUISVILLE KY 40223




REA ENTERPRISES                       READING MUNICIPAL LIGHT DEPT                 READYREFRESH BY NESTLE'
DBA 1DERFUL ROOFING AND RESTORATION   PO BOX 30                                    PO BOX 856680
9858 W GIRTON DR                      READING MA 01867                             LOUISVILLE KY 40285-6680
LAKEWOOD CO 80227




REALTY MAINTENANCE AND RENOVATIONS    RECEIVER OF TAXES HENRIETTA                  RED BOOK CONNECT LLC
JUSTIN HUTSON JR                      PO BOX 579                                   11800 AMBERPARK DR STE 200
5859 LINDSAY COVE                     HENRIETTA NY 14467                           ALPHARETTA GA 30009
SOUTHAVEN MS 38671




RED BOOK SOLUTIONS                    RED OAK BREW / FRANKLIN'S OFF FRIENDLY       RED OAK FIREWOOD
33270 COLLECTION CTR DR               6901 KONICA DR                               1066 LITTLE VINE CHURCH RD
CHICAGO IL 60693-0332                 WHITSETT NC 27377                            VILLA RICA GA 30180




RED ROCK HOLDING LLC                  RED SHOVEL LLC                               REDCUP BEVERAGE SVC
PO BOX 25040                          PO BOX 91598                                 1328 S BEACH CT
SCOTTSDALE AZ 85255                   ALBUQUERQUE NM 87199                         DENVER CO 80219




REDDS TREE SVC                        REDLANDS JOINT VENTURE LLC                   REDLANDS JOINT VENTURE LLC
3511 JACK MANN RD                     13191 CROSSROADS PKWY N                      C O MAJECTIC REALTY CO
LITTLE ROCK AR 72210                  6TH FL                                       SARA BOMBARDIER PROPERTY MANAGER
                                      CITY OF INDUSTRY CA 91746                    13191 CROSSROADS PKWY NORTH 6TH FL
                                                                                   CITY OF INDUSTRY CA 91746




REECE DEVELOPMENT GROUP LLC           REFRIGERATED SPECIALISTS INC                 REFRIGERATION PLUS LLC
5140 BANDERA ST #10                   3040 E MEADOWS BLVD                          2345 ACADEMY PL #109
MONTCLAIR CA 91763                    MESQUITE TX 75150                            COLORADO SPRINGS CO 80909




REGAL WINE CO                         REGUS MANAGEMENT GROUP LLC 7805158           REID AND REID INC
1190 KITTYHAWK BLVD                   PO BOX 842456                                DBA REID ELECTRIC
SANTA ROSA CA 95403                   DALLAS TX 75284-2456                         608 PHILLIPS RD
                                                                                   GREER SC 29650




BETTY H REID                          RELAY FOR LIFE FIGHTING THE FIGHT FOR LIFE   RELIABLE CHURCHILL DBA BREAKTHRU BEVERAGE
5725 TOBERY RD                        2133 LOUISE AVE                              MD
FREDERICK MD 21704                    CAHOKIA IL 62206                             7621 ENERGY PKWY
                                                                                   BALTIMORE MD 21226




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RELIABLE COMPACTOR SERIVCE INC           RELIABLE FIRE PROTECTION LLC              RELIANT ELECTRICAL SVC INC
PO BOX 182314                            5510 LANDERS RD STE B                     650 N ROSE DR #405
SHELBY TWP. MI 48318                     NORTH LITTLE ROCK AR 72117                PLACENTIA CA 92870




RENAISSANCE DENVER DOWNTOWN CITY CENTE   RENAUD COOK DRURY MESAROS PA              RENO FORKLIFT INC
918 17TH ST                              1 NORTH CENTRAL AVE STE 900               PO BOX 50009
DENVER CO 80202                          PHOENIX AZ 85004                          SPARKS NV 89435




RENODIS INC                              REPAIR NOW                                REPUBLIC BEVERAGE - KENTUCKY
476 ROBERT ST N                          5202 GULFPORT DR                          PO BOX 37100
ST PAUL MN 55101                         GARLAND TX 75043                          LOUISVILLE KY 40233




REPUBLIC NATIONAL DIST DEERFIELD BCH     REPUBLIC NATIONAL DIST - ASHLAND          REPUBLIC NATIONAL DIST - CO
441 SW 12TH AVE                          5401 EUBANK RD                            8000 SOUTHPARK TERR
DEERFIELD BEACH FL 33442                 SANDSTON VA 23150                         LITTLETON CO 80120




REPUBLIC NATIONAL DIST - COLUMBIA        REPUBLIC NATIONAL DIST - CORPUS CHRISTI   REPUBLIC NATIONAL DIST - EL PASO
3150 CHARLESTON HWY                      434 45TH ST                               6906 COMMERCE
W COLUMBIA SC 29171                      CORPUS CHRISTI TX 78405                   EL PASO TX 79915




REPUBLIC NATIONAL DIST - GRAND PRAIRIE   REPUBLIC NATIONAL DIST - HOUSTON          REPUBLIC NATIONAL DIST - JESSUP
1010 ISUZU PKWY                          8045 NORTHCOURT RD                        PO BOX 687
GRAND PRAIRIE TX 75053                   HOUSTON TX 77040                          ANNAPOLIS JUNCTION MD 20701




REPUBLIC NATIONAL DIST - NEW ORLEANS     REPUBLIC NATIONAL DIST - PENSACOLA        REPUBLIC NATIONAL DIST - SAN ANTONIO
809 JEFFERSON HWY                        6256 N WEST ST                            6511 TRI COUNTY PKWY
JEFFERSON LA 70121                       PENSACOLA FL 32505                        SCHERTZ TX 78154




REPUBLIC NATIONAL DIST - TAMPA           REPUBLIC NATIONAL DIST COMP               REPUBLIC SVC #620
4901 SAVARESE CIR                        809 JEFFERSON HWY                         PO BOX 78829
TAMPA FL 33634                           JEFFERSON LA 70121                        PHOENIX AZ 85062




RESTAURANT DYNAMICS                      RESTAURANT EQUIPMENT SRV INC              RESTAURANT SVC INC
PO BOX 1133                              1431 PANDO AVE                            2629 REDWING RD STE 370
AUBURN GA 30011                          COLORADO SPRINGS CO 80905                 FORT COLLINS CO 80526




RESTAURANT TECHNICAL SVC                 RESTON SPECTRUM LLLP LERNER CORP          RETAIL PROP OF AMERICA INC
PO BOX 1206                              LEGAL DEPT                                13068 COLLECTIONS CTR DR
CAMPBELL CA 95009                        EMILY GAGLIARDI SR LEASING MANAGER        CHICAGO IL 60693-0130
                                         2000 TOWER OAKS BLVD 8TH FL
                                         ROCKVILLE MD 20852




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REVENUE MANAGEMENT SOLUTIONS LLC            REX MOORE GROUP INC                           RG AND E
OLIVIER ROUGIE                              6001 OUTFALL CIR                              PO BOX 847813
PRESIDENT/CFO                               SACRAMENTO CA 95828                           BOSTON MA 02284
777 S HARBOUR ISLAND BLVD #890
TAMPA FL 33602




RH BARRINGER DISTRIBUTING CO                RHYNO CONSTRUCTION INC                        RICHARD LOWE REFRIGERATION SERV INC
1620 FAIRFAX RD                             MARTIN BOJORQUEZ                              PO BOX 9407
GREENSBORO NC 27407                         5316 DON MIGUEL PL SW                         AUSTIN TX 78766
                                            ALBUQUERQUE MN 87105




RICHARD OVERHOLSER                          RICHARD P WALTZ PLUMBING AND HEATING CO INC   LAURA C RICHARD
DBA A-1 BACKFLOW TESTING LLC                179 PRESUMPSCOT ST                            3412 RED OAK ST
410 ARRAWANNA ST                            PORTLAND ME 04103                             SACHSE TX 75048
COLORADO SPRINGS CO 80909




RICHMOND COUNTY TAX COMMISSIONER            RICKS RECOVERY SALVAGE AND CONSTRUCTION       RIDMED INC
535 TELFAIR ST RM 100                       149 CROSS RD                                  531 COUNTRY LN
AUGUSTA GA 30901                            BLOOMSBURG PA 17815                           BUDA TX 78610




RIESEN FUNDING LLC                          DEAN RIESEN                                   RITTENHOUSE RESTORATIONS INC
PO BOX 25040                                RIMROCK PARTNERS                              2257 SETTER RUN LN
SCOTTSDALE AZ 85255                         2415 E CAMELBACK RD STE 700                   STATE COLLEGE PA 16801
                                            PHOENIX AZ 85016




RIVER CITY DISTRIBUTING INC KY              RIVER PARK PROPERTIES II                      RIVER PARK PROPERTIES II
PO BOX 58369                                DBA THE SHOPS AT RIVER PARK                   265 E RIVER PK CIR STE 150
LOUISVILLE KY 40268                         265 E RIVER PK CIR #150                       FRESNO CA 93720
                                            FRESNO CA 93720




RL LIPTON DIST CO CLEVELAND                 RMC DISTRIBUTORS LLC                          RN ACQUISITION LLC
5900 PENNSLYVANIA AVE                       1525 N NEWPORT RD                             DBA LAKESHORE BEVERAGE_33524
MAPLE HTS OH 44137                          COLORADO SPRGS CO 80916                       1401 E ALGONQUIN
                                                                                          ARLINGTON HTS IL 60005




RNDC NATIONAL WINE AND SPIRITS LLC MI       ROANOKE VALLEY WINE CO                        ROBERT HALF INTERNATIONAL
17550 ALLEN RD                              1250 INTERVALE DR                             DBA RH MANAGEMENT RESOURCES
BROWNSTOWN MI 48193                         SALEM VA 24153                                PO BOX 743295
                                                                                          LOS ANGELES CA 90074




ROBERT P DUCKWORTH CLERK OF CIRCUIT COURT   ROBERT TRAVIS COLLINGSWORTH DBA               ROBERTS ELECTRICAL CONTRACTORS INC
8 CHURCH CIR RM                             WORTH LANDSCAPING                             7420 HITT RD STE D
H-101                                       PO BOX 6923                                   MOBILE AL 36695
ANNAPOLIS MD 21404                          CORPUS CHRISTI TX 78466




ROBERTS OXYGEN CO INC                       ROCKLAND ELECTRIC CO                          ROCKY MOUNTAIN POWER
PO BOX 5507                                 PO BOX 1009                                   1033 NE 6TH AVE
ROCKVILLE MD 20855                          SPRING VALLEY NY 10977                        PORTLAND OR 97256




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ROCKY RIDGE STATION LLC                  ROCKY RIDGE STATION LLC                     ROCKY RIDGE VENTURE LLC
PHILLIPS EDISON AND COMPANY              ROBERT F MYERS COO LEASE ADMINISTRATION     FULCRUM MGMT GROUP
PO BOX 645622                            DEPT                                        1530 J ST STE 200
PITTSBURGH PA 15264-5254                 11501 NORTHLAKE DR                          SACRAMENTO CA 95814
                                         CINCINNATI OH 45249




RODERICK ENTERPRISES                     RODERICK ENTERPRISES                        GERALD E RODTS JR
PO BOX 186                               RENEE SCHMID ASSET/PROPERTY MNGR            1317 PEACHTREE BATTLE AVE NW
MIDVALE UT 84047                         1214 EAST VINE ST                           ATLANTA GA 30327
                                         SALT LAKE CITY UT 84121




ROGER TUTTEROW PHD                       ROLLAND SAFE AND LOCK CO LLC                ROLLING HILLS PLAZALLC
502 VININGS CREST                        PO BOX 671334                               C O LA CAZE DEVELOPMENT CO
SMYRNA GA 30080                          DALLAS TX 75267                             JOHN MASTANDREA PROPERTY MANAGER
                                                                                     2601 AIRPORT DR STE 300
                                                                                     TORRANCE CA 90505




ROLLINS' LANDSCAPING AND MAINT INC       ROMANO'S MACARONI GRILL                     ROMY CONTRACTING DBA ROBERT JOHN
PO BOX 864                               FAMILY FUND                                 VERSTRATEN
FT COLLINS CO 80522                      1855 BLAKE ST                               106 HILLARY DR
                                         DENVER CO 80202                             ROCHESTER NY 14624




RONALD A SAGONA                          RONALD WAYNE DUFF DBA CUSTOM CERAMIC TILE   ROOF MASTER MAINTENANCE AND ROOFING INC
SAGONAS ALL CITY BACKFLOW INC            4145 EQUESTRIAN LN                          4763 VICKSBURG ST
3125 INCLINADO                           NORCO CA 92860                              DALLAS TX 75207
SAN CLEMENTE CA 92673




ROOTER HERO PLUMBING INC                 ROOTER SVC INC ROOTER 2000                  ROOTER TOOTER PLUMBING LLC
PO BOX 398                               PO BOX 40111                                PO BOX 811
SUN VALLEY CA 91352                      MESA AZ 85274                               SEAGOVILLE TX 75159




ROOTERMAN PLUMBERS                       RICHARD J ROSENTHAL                         ROSEVILLE FIRE DEPT
PO BOX 549                               PO BOX 837                                  316 VERNON ST #480
GUYTON GA 31312                          VENICE CA 90294                             ROSEVILLE CA 95678




ROSEVILLE ROCKLIN ELECTRIC               CHARLES ADAM ROSINSKI                       DAVID ROTH
7325 TIMBERROSE WAY                      11323 ROCKY RIDGE RD                        1307 PARRY SOUND
ROSEVILLE CA 95747                       KEYMAR MD 21757                             PASADENA TX 77504




ROTO ROOTER                              ROTO ROOTER SVC CO                          ROTO ROOTER SVC CO INC
PO BOX 51370                             250 CHEMED CTR                              5672 COLLECTIONS CTR DR
LIVONIA MI 48151                         CINCINNATI OH 45202                         CHICAGO IL 60693-0056




ROTO-ROOTER                              ROTO-ROOTER PLUMBERS                        ROTO-ROOTER PLUMBLING AND DRAIN SVC
4228 NEWTON RD #A                        136 TANNER RD                               PO BOX 7226
STOCKTON CA 95205                        GREENVILLE SC 29607                         SHERWOOD AR 72124




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ROUBIN ASSOCIATES LLC                   ROWLAND WATER DISTRICT                     ROYAL CUP INC
JULIA BLACKWELL                         PO BOX 513225                              PO BOX 206011
8550 LEE HIGHWAY STE 700                LOS ANGELES CA 90051                       DALLAS TX 75320
FAIRFAX VA 22031




ROYAL REFRIGERATION INC                 ROYSTON MUELLER MCLEAN AND REID LLP        RPAI US MANAGEMENT LLC
5150 ARVILLE ST                         102 W PENNSYLVANIA AVE #600                R DANIEL DAN GUINSLER ASST VP PROPERTY
LAS VEGAS NV 89118                      TOWSON MD 21204                            MNGMT
                                                                                   1101 N LAKE DESTINY RD STE 265
                                                                                   MAITLAND FL 32751




RSI-MECHANICAL SVC                      RSI-RESTAURANT SVC INC                     RUBEN FRANCISCO DBA SAFE FIRE INSPECTIONS
PO BOX 190205                           PO BOX 190205                              3129 HACIENDA BLVD #646
MOBILE AL 36619                         MOBILE AL 36619                            HACIENDA HEIGHTS CA 91745




RUBEN VIVEROS DBA VINYL-PRO             RUBY WINES INC                             RUCKER MECHANICAL INC
MOBILE COMMERCIAL UPHOLSTERY            PO BOX 7                                   5217 N COUNCIL
785 TUCKER RD #G315                     AVON MA 02322                              OKLAHOMA CITY OK 73132
TEHACHAPI CA 93561




RUSTY BUFFALO CO                        RUTHERFORD COUNTY TRUSTEE                  RYAN EXCAVATING LLC
10414 ROBINDALE DR                      PO BOX 1316                                721 OTTAWA ST
DALLAS TX 75238                         MURFREESBORO TN 37133                      LOWELL MI 49331




RYDER TRANSPORTATION SVC                RYDER TRUCK RENTAL INC                     SA DEVELOPMENT CO LP
PO BOX 96723                            PO BOX 402366                              1 EEXCUTIVE BLVD
CHICAGO IL 60693                        ATLANTA GA 30384                           YONKERS NY 10701




SABIN ELECTRIC LLC                      SACCANI DISTRIBUTING CO                    SACRAMENTO COUNTY
265 N MAIN STE 103                      2600 5TH ST                                TAX COLLECTOR'S OFFICE
SPANISH FORK UT 84660                   SACRAMENTO CA 95818                        PO BOX 508
                                                                                   SACRAMENTO CA 95812-0508




SACRAMENTO COUNTY UTILTIES              SACRAMENTO RENDERING CO INC                SAGE SOFTWARE INC
P O BOX 1804                            11350 KEIFER BLVD                          14855 COLLECTIONS CTR DR
SACRAMENTO CA 95812                     SACRAMENTO CA 95830                        CHICAGO IL 60693




SALT LAKE COUNTY HEALTH DEPT            SALT LAKE COUNTY TREASURER                 SAMCO FACILITIES MAINTENANCE
PO BOX 144575                           PO BOX 410418                              11878 BROOKFIELD
SALT LAKE CITY UT 84114                 SALT LAKE CITY UT 84141-0418               LIVONIA MI 48150




SAN ANTONIO WATER SYSTEM                SAN DIEGO COUNTY TREASUER                  SAN DIEGO GAS AND ELECTRIC
PO BOX 2990                             WILLIAM JERNIGAN                           PO BOX 25111
SAN ANTONIO TX 78299                    1600 PACIFIC HWY #62                       SANTA ANA CA 92799
                                        SAN DIEGO CA 92101




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SANCHEZ ET AL V MAC ACQUISITION LLC     SANFORD SEMCHAK AND SPEIGHTS INC         SANTOS AND SONS STRIPING CO
RE: MERCEDES SANCHEZ ROLANDO SANCHEZ    1125 W COLUMBUS ST                       2700 YALE ST
THE TINSTMAN LAW FIRM ERIC TINSTMAN     BAKERSFIELD CA 93301                     IRVING TX 75061
GRAND BAY PLAZA SUITE 601
2665 SOUTH BAYSHORE DRIVE
COCONUT GROVE FL 33113


SANTY INTEGRATED INC                    SARATOGA EAGLE SALES AND SVC             NAOMI SARNA
8370 E VIA DE VENTURA                   45 DUPLAINVILLE RD                       DBA CH/MG RAMSEY OWNER LLC
STE K-100                               SARATOGA SPRINGS NY 12866                220 E 42ND ST 29TH FL
SCOTTSDALE AZ 85258                                                              NEW YORK NY 10017




SAUCEDO CHAVEZ PC                       SAUL MOMOTIC LANDSCAPING                 SAVANNAH DISTRIBUTING - ATLANTA
6565 AMERICAS PKWY NE                   5983 SEMINOLE DR                         PO BOX 1388
STE 920                                 LAKE WORTH FL 33449                      SAVANNAH GA 31402
ALBUQUERQUE NM 87110




SBC TAX COLLECTOR                       SC BASS INC                              SC DEPT OF REVENUE
268 W HOSPITALITY LN FIRST FLOOT        DBA BASS PLUMBING AND HEATING            PO BOX 125
SAN BERNARDINO CA 92415-0360            486 CENTRAL AVE                          COLUMBIA SC 29214
                                        ALBANY NY 12206




SC DEPT OF REVENUE                      SC DEPT OF REVENUE ABLE SECTION          SC DHEC
TAXABLE PARTNERSHIP                     300A OUTLET POINTE BLVD                  2600 BULL ST
COLUMBIA SC 29214-0036                  COLUMBIA SC 29210                        COLUMBIA SC 29201




SCC TAX COLLECTOR                       SCHAMBERGER BROS INC                     LINDA SCHMIDT
EAST WING 6TH FLOOR                     101 E HILL ST                            GUEST REFUND
70 WEST HEDDING ST                      PO BOX 7440                              12176 HARPERS CT NE
SAN JOSE CA 95110-1767                  VILLA PARK IL 60181                      BLAINE MN 55449




SCHNEIDER ELECTRIC                      SCHOENMANN PRODUCE CO INC                SCOTT C MCDERMAND AS TRUSTEE
25716 NETWORK PL                        PO BOX 51705                             PO BOX 691
CHICAGO IL 60673-1257                   LAFAYETTE LA 77061                       JAMUL CA 91935




SCOTT MICHAEL KRUPPNER DBA TRUESKAPES   SPENCER SCOTT                            SCOTTS EQUIPMENT REPAIR
3706 EAST NORTH ST APRT Q2              THREE FOREST PLAZA                       RANDALL SCOTT
GREENVILLE SC 29615                     12221 MERIT DR                           122 CHILDERS CIR
                                        DALLAS TX 75251                          PIEDMONT SC 29673




SCRANTON REALTY LLC                     SEAL TEX INC                             SEARS HOLDINGS CORP
DONN WEINBERG                           8435 DIRECTORS ROW                       12670 COLLECTIONS DR
JOEL WINEGARDEN                         DALLAS TX 75247                          CHICAGO IL 60693
7 PARK CTR CT
OWINGS MILLS MD 21117




SECOND FLORIDA BS INVESTMENTS LLC       SECOND FLORIDA BS INVESTMENTS LLC        SECOND FLORIDA BS INVESTMENTS LLC
80 NASHUA RD STE 24                     RAJA KHANNA                              77 S BIRCH ROAD #11D
LONDONBERRY NH 03053                    80 NASHUA RD                             FT LAUDERDALE FL 33316
                                        LONDONDERRY NH 03053




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SECOND FLORIDA BS INVESTMENTS LLC        SECURITY FIRE PROTECTION CO INC             SECURITY UNLIMITED LOCKSMITH
GILPIN GIVHAN PC                         4495 S MENDENHAIL RD                        15339 PARTHENIA ST
LESLIE H PITMAN, ESQ.                    MEMPHIS TN 38141                            NORTH HILLS CA 91343
P.O. DRAWER 4540
MONTGOMERY AL 36103




SEDILLO LANDSCAPING INC                  SELECT WINES INC VA                         SELECTRICITY LLC
PO BOX 570097                            14000 WILLARD RD STE 3                      1811 BLACKBIRD LN
LAS VEGAS NV 89157                       CHANTILLY VA 20151                          PENSACOLA FL 32534




SELMA POLICE DEPT                        SEMINOLE COUNTY                             SEMINOLE COUNTY TAX COLLECTOR
9375 CORPORATE DR                        WATER AND SEWER UTILITY                     PO BOX 630
SELMA TX 78154                           PO BOX 958443                               SANFORD FL 32772
                                         LAKE MARY FL 32795




SEMPRA ENERGY SOLUTIONS                  SENTINEL CLOUD BROKERS LLC                  SENTRY FIRE AND SAFETY INC
PO BOX 730964                            3333 LEE PKWY STE 600                       1294 S INCA ST
DALLAS TX 75373                          DALLAS TX 75219                             DENVER CO 80223




SERGIOS 4 PINES BLVD LLC                 SERITAGE GROWTH PROPERTIES LP               SERITAGE GROWTH PROPERTIES LP
RENE PRATS                               PO BOX 776148                               MATTHEW FERNAND
12380 SW 130 ST                          CHICAGO IL 60677                            OWNER
MIAMI FL 33186                                                                       54 W 40TH ST STE 10N
                                                                                     NEW YORK NY 10018




SERITAGE GROWTH PROPERTIES LP            SERVCO LLC                                  SEVEN CLEANING SVC CORP
MARY ROTTLER                             701 BAGLEY DR                               607 N MONTELLO ST
EXECUTIVE VP OPERATIONS AND LEASING      TRUSSVILLE AL 35173                         BROCKTON MA 02301
54 W 40TH ST STE 10N
NEW YORK NY 10018




SEW COMPLETE UPHOLSTERY LLC              SHAMROCK CONSTRUCTION SVC INC               SHANKAR NEVADA LLC
6329 INGALLS ST                          20252 VIEWCREST CT                          DEPT 34683
ARVADA CO 80003                          SAN JOSE CA 95120                           PO BOX 39000
                                                                                     SAN FRANCISCO CA 94139




SHANKAR NEVADA LLC                       SHARE OUR STRENGTH                          SHARI L HUMPHREY DBA CLICKER GUY
EUGENE BURGER MANAGEMENT CORPORATION     NO KID HUNGRY                               PO BOX 1613
KEVIN MOLONEY DISTRICT MANAGER           PO BOX 75475                                DRAPER UT 84020
5011 MEADOWOOD MALL WAY STE 200          BALTIMORE MD 21275-5475
RENO NV 89502




SHARP FORCE PAINTING INC                 SHATIN COMMERCIAL INTERIORS LLC             SHEARER LOCKSMITH INC
PO BOX 391393                            10701 WHITE HALL RD                         SHEARER SECURITY DEVICES
SNELLVILLE GA 30039                      HAGERSTOWN MD 21740                         5450 DERRY ST
                                                                                     HARRISBURG PA 17111




SHEER ENTERPRISES INC                    SHELBY COUNTY HEALTH DEPT                   SHELBY TOWN CENTER I LLC
6250 N MILITARY TRL STE204               ENVIRONMENTAL HEALTH AND FOOD SAFETY        34120 WOODWARD
W PALM BEACH FL 33407                    814 JEFFERSON AVE 5TH FL                    BIRMINGHAM MI 48009
                                         MEMPHIS TN 38105




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SHELBY TOWNSHIP                             SHELIA MANSFIELD DBA LOCKOUT SVC          SHENKER RUSSO AND CLARK LLP
DEPT OF PUBLIC WORKS                        24629 N 46TH AVE                          121 STATE ST
6333 23 MILE RD                             GLENDALE AZ 85310                         ALBANY NY 12207
SHELBY TWP MI 48316




SHEPHERDS RESTAURANT SVC INC                SHERIFF LLC                               SHERIFF LLC
PO BOX 1711                                 PO BOX 172285                             HENRY N CANNON
WAKE FOREST NC 27588                        MEMPHIS TN 38187                          6685 POPLAR AVE STE 200
                                                                                      GERMANTOWN TN 38138




DAVE SHERRILL                               SHERWOOD MALL LLC                         SHERWOOD MALL MALL MANAGEMENT OFFICE
9311 BREAKERS ROW                           5250 CLAREMONT AVE                        GENERAL MANAGER
FORT PIERCE FL 34945                        STOCKTON CA 95207                         5308 PACIFIC AVE
                                                                                      STOCKTON CA 95207




SHOES FOR CREWS LLC                         SHOPCORE PROPERTIES RS MANAGEMENT LLC     SHOPPING CENTER ASSOC
FILE LOCKBOX 51151                          LINDA MADWAY                              SIMON PROPERTY GROUP
LOS ANGELES CA 90074                        307 FELLOWSHIP RD STE 116                 LEGAL LEASING DEPT
                                            MOUNT LAUREL NJ 08054                     SUNDESH SHAH VP DEVELOPMENT
                                                                                      225 W WASHINGTON ST
                                                                                      INDIANAPOLIS IN 46204


SHOPPING CENTER ASSOC                       SHOPPING CENTER ASSOCIATES                SHORE POINT DISTRIBUTING CO
FISHMAN, MCINTYRE, BERKELEY, LEVINE,        DBA MENLO PARK MALL                       PO BOX 275
SAMANSKY, P.C. LAWRENCE M. BERKELEY, ESQ.   9136 PAYSPHERE CR                         ADELPHIA NJ 07710
120 EAGLE ROCK AVENUE                       CHICAGO IL 60674
EAST HANOVER NJ 07936




SHRED-IT USA                                DAN SHUSTA                                SHUTTS AND BOWEN
PO BOX 101007                               401 FERRIS NW                             SUNTRUST BANK NA
PASADENA CA 91189-1007                      WALKER MI 49504                           25 PARK PL
                                                                                      ATLANTA GA 30308




SARAH SIBLEY                                SIGMA NATIONAL INC                        SIGNATURE LANDSCAPES
5778 HOMESTEAD LN                           TRED SPRATLEY                             3705 BARRON WAY
ANACORTES WA 98221                          SIGMA NATIONAL INCL                       RENO NV 89511
                                            1213 MALL DRIVE
                                            RICHMOND VA 23235




SILLS CUMMINS AND GROSS PC                  SILVER EAGLE-TX                           SILVER STATE PLUMBING LLC
ONE RIVERFRONT PLZ                          8660 N ELDRIGE PKWY                       4535 COOPER SAGA ST
NEWARK NJ 07102                             CYPRESS TX 77041                          LAS VEGAS NV 89115




SILVER SVC REFRESHMENT SYSTEMS              SILVERSTATE REFRIGERATION AND HVAC LLC    SIMON PROPERTY GROUP LP
7340 SMOKE RANCH RD                         4535 COPPER SAGE ST                       867670 RELIABLE PKWY
STE D                                       LAS VEGAS NV 89115                        CHICAGO IL 60686
LAS VEGAS NV 89128




SIMON PROPERTY GROUP LP                     SIMON PROPERTY GROUP LP                   SIMON ROOFING AND SHEET METAL CORP
SIMON PROPERTY GROUP                        MCKENNA, MCCAUSLAND & MURPHY PA           PO BOX 951109
LEAGAL LEASING                              CHRISTINE J. MCKENNA, ESQ.                CLEVELAND OH 44193
MIKE FREESE ASST GENERAL COUNSEL            3020 NE 32ND AVE, SUITE 304
225 WEST WASHINGTON ST                      FORT LAUDERDALE FL 33308
INDIANAPOLIS IN 46204




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ROBERT A SINCLAIR                        SINGLE DIGITS INC                         SIR G ALL CORP
DBA GRASSBUSTERS LAWNCARE                4 BEDFORD FARMS DR STE 210                SIR G ALL CONSTRUCTION AND MAINTENANCE
14696 COPELAND CHAPEL                    BEDFORD NH 03110                          18660 ALTARIO ST
MONTGOMERY TX 77316                                                                LA PUENTE CA 91744




SIRNA AND SONS MAINLINE PRODUCE          SITO MOBILE SOLUTIONS INC                 EMILE F SKAFF
7176 STATE RTE 88                        100 TOWN SQUARE PL                        4540 CHARMION LN
RAVENNA OH 44266                         STE 204                                   ENCINO CA 91316
                                         JERSEY CITY NJ 07310




SLM WASTE AND RECYCLING SVC INC          SMITH GROUNDS MANANGEMENT LLC             SMITH PHOTOGRAPHY
PO BOX 782678                            PO BOX 2134                               5226 ELM ST
PHILADELPHIA PA 19178-2678               MATTHEWS NC 28106                         HOUSTON TX 77081




ALLEN SMITH                              SMUD                                      SNAPFINGER INC - TILLSTER
1241 FM 1696 W                           PO BOX 15555                              3025 WINDWARD PLZ STE 550
HUNTSVILLE TX 77340                      SACRAMENTO CA 95852                       ALPHARETTA GA 30005




SNELLER SNOW SYSTEMS                     SNOHOMISH COUNTY TREASURER                SNYDER NEON DISPLAYS INC
675 CLYDE CT SW                          PO BOX 34171                              5 HIGHLAND AVE
BYRON CENTER MI 49315-8446               SEATTLE WA 98124-1171                     ALBANY NY 12205




SOLAR ELECTRIC INC                       SOMERSET TIRE SVC INC                     SOMETHING EXTRA PBL INC DBA LAGNIAPPE
13327 SW 135TH AVE                       358 SAW MILL RIVER RD                     PO BOX 3003
MIAMI FL 33186                           MILLWOOD NY 10546                         MOBILE AL 36652




SONAR BONAR LLC DBA GARY BONAR           SOS OF ALABAMA                            SOS OF ARIZONA
4711 W LEILA AVE                         JOHN H MERRILL                            MICHELLE REAGAN
TAMPA FL 33616                           PO BOX 5616                               OFFICE OF THE SECRETARY OF STATE
                                         MONTGOMERY AL 36103-5616                  1700 W WASHINGTON ST
                                                                                   F17
                                                                                   PHOENIX AZ 85007-2888


SOS OF ARKANSAS                          SOS OF CALIFORNIA                         SOS OF COLORADO
MARK MARTIN                              ALEX PADILLA                              WAYNE W WILLIAMS
STATE CAPITOL                            1500 11TH ST                              COLORADO DEPT OF STATE
500 WOODLANE AVE                         SACRAMENTO CA 95814                       1700 BROADWAY
SUITE 256                                                                          SUITE 200
LITTLE ROCK AR 72201                                                               DENVER CO 80290


SOS OF DELAWARE                          SOS OF FLORIDA                            SOS OF GEORGIA
JEFFREY W BULLOCK                        KEN DETZNER                               BRIAN P KEMP
401 FEDERAL ST                           RA GRAY BUILDING                          214 STATE CAPITOL
SUITE 3                                  500 SOUTH BRONOUGH ST                     ATLANTA GA 30334
DOVER DE 19901                           TALLAHASSEE FL 32399-0250




SOS OF ILLINOIS                          SOS OF INDIANA                            SOS OF IOWA
JESSE WHITE                              CONNIE LAWSON                             PAUL D PATE
213 STATE CAPITOL                        200 W WASHINGTON ST                       FIRST FLOOR LUCAS BUILDING
SPRINGFIELD IL 62756                     ROOM 201                                  321 E 12TH ST
                                         INDIANAPOLIS IN 46204                     DES MOINES IA 50319




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SOS OF KANSAS                             SOS OF KENTUCKY                             SOS OF LOUISIANA
KRIS W KOBACH                             ALISON LUNDERGAN GRIMES                     TOM SCHEDLER
MEMORIAL HALL 1ST FLOOR                   OFFICE OF THE KENTUCY SECRETARY OF STATE    8585 ARCHIVES AVE
120 SW 10TH AVE                           700 CAPITAL AVE STE 152                     PO BOX 94125
TOPEKA KS 66612-1594                      FRANKFORT KY 40601                          BATON ROUGE LA 70804-9125




SOS OF MAINE                              SOS OF MARYLAND                             SOS OF MASSACHUSETTS
MATTHEW DUNLAP                            JOHN C WOBENSMITH                           WILLIAM FRANCIS GALVIN
148 STATE HOUSE STATION                   FRED L WINELAND BUILDING                    ONE ASHBURTON PLACE
AUGUSTA ME 00433-0148                     16 FRANCIS ST                               ROOM 1611
                                          ANNAPOLIS MD 21401                          BOSTON MA 02108-1512




SOS OF MICHIGAN                           SOS OF MINNESOTA                            SOS OF MISSISSIPPI
RUTH JOHNSON                              STEVE SIMON                                 DELBERT HORSEMANN
MICHIGAN DEPARTMENT OF STATE              OFFICE OF THE SECRETARY OF STATE            401 MISSISSIPPI ST
LANSING MI 48919                          RETIREMENT SYSTEMS OF MINNESOTA BLDG        JACKSON MS 39201
                                          60 EMPIRE DR STE 100
                                          ST. PAUL MN 55103


SOS OF MISSOURI                           SOS OF NEBRASKA                             SOS OF NEVADA
JOHN R ASHCROFT                           JOHN A GALE                                 BARBARA K CEGAVSKE
600 WEST MAIN ST                          PO BOX 94608                                NEVADA STATE CAPITOL BLDG
JEFFERSON CITY MO 65101                   LINCOLN NE 68509-4608                       101 N CARSON ST STE 3
                                                                                      CARSON CITY NV 89701




SOS OF NEW JERSEY                         SOS OF NEW MEXICO                           SOS OF NEW YORK
KIM GUADAGNO                              MAGGIE TOULOUSE OLIVER                      ROSSANA ROSADO
225 W STATE ST                            NEW MEXICO STATE CAPITOL ANNEX NORTH        ONE COMMERCE PLAZA
PO BOX 001                                325 DON GASPAR STE 300                      99 WASHINGTON AVE
TRENTON NJ 08625-0300                     SANTA FE NM 87501                           ALBANY NY 12231-0001




SOS OF NORTH CAROLINA                     SOS OF OHIO                                 SOS OF OKLAHOMA
ELAINE F MARSHALL                         JON HUSTED                                  CHRIS BENGE
2 SOUTH SALISBURY ST                      180 EAST BROAD ST                           2300 N LINCOLN BLVD
PO BOX 29622                              16TH FLOOR                                  STE 101
RALEIGH NC 27626-0622                     COLUMBUS OH 43215                           OKLAHOMA CITY OK 73105-4897




SOS OF PENNSYLVANIA                       SOS OF SOUTH CAROLINA                       SOS OF TENNESSEE
PEDRO A CORTES                            MARK HAMMOND                                TRE HARGETT
302 NORTH OFFICE BLDG                     EDGAR BROWN BLDG                            312 ROSA L PARKS AVE
HARRISBURG PA 17120                       1205 PENDELTON ST STE 525                   8TH FLOOR SNODGRASS TOWER
                                          COLUMBIA SC 29201                           NASHVILLE TN 37243-1102




SOS OF TEXAS                              SOS OF UTAH                                 SOS OF VIRGINIA
ROLANDO B PABLOS                          160 E 300 S                                 KELLY THOMASSON
JAMES E RUDDER BUUILDING                  2ND FLOOR                                   PO BOX 1475
1019 BRAZOS                               SALT LAKE CITY UT 84111                     RICHMOND VA 23218
AUSTIN TX 78701




SOS OF WASHINGTON                         TAMIM SOUFAN                                SOUTH CAROLINA ATTORNEY GENERAL
KIM WYMAN                                 4940 CORINTHIAN BAY DR                      ALAN WILSON
LEGISLATEIVE BUILDING                     FRISCO TX 75034                             REMBERT C DENNIS OFFICE BLDG
PO BOX 40220                                                                          1000 ASSEMBLY ST RM 519
OLYMPIA WA 98504-0220                                                                 COLUMBIA SC 29211-1549




SOUTH CAROLINA DEPT OF CONSUMER AFFAIRS   SOUTH CAROLINA DEPT OF HEALTH               SOUTH CAROLINA DEPT OF LABOR LICENSING
3600 FOREST DR STE 300                    AND ENVIRONMENTAL CONTROL                   AND REGULATIONS
PO BOX 5757                               2600 BULL ST                                DIRECTOR
COLUMBIA SC 29250-5757                    COLUMBIA SC 29201                           SYNERGY BUSINESS PARK KINGSTREE BLDG
                                                                                      110 CENTERVIEW DR
                                                                                      COLUMBIA SC 29210




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SOUTH CAROLINA DEPT OF NATURAL RESOURCES   SOUTH CAROLINA DEPT OF REVENUE              SOUTH CAROLINA STATE TREASURER
RAMBERT C DENNIS BUILDING                  301 GERVAIS ST                              UNCLAIMED PROPERTY DIVISION
1000 ASSEMBLY ST                           PO BOX 125                                  PO BOX 11778
COLUMBIA SC 29201                          COLUMBIA SC 29201                           COLUMBIA SC 29211




SOUTH CAROLINA UNEMPLOYMENT                SOUTH COAST AIR QUALITY                     SOUTH COAST ELECTRICAL INC
PO BOX 7103                                PO BOX 4943                                 2283 E VIA BURTON ST
COLUMBIA SC 29202                          DIAMOND BAR CA 91765                        ANAHEIM CA 92806




SOUTH COAST MARKETING LLC                  SOUTH COUNTY SHOPPINGTOWN LLC               SOUTH DAKOTA ATTORNEY GENERAL
6537 S STAPLES ST                          CBL#0806 PO BOX 955607                      MARTY J JACKLEY
STE 125305                                 ST. LOUIS MO 63195-5607                     1302 EAST HIGHWAY 14
CORPUS CHRISTI TX 78413                                                                SUITE 1
                                                                                       PIERRE SD 57501-8501




SOUTH PENN LOCK AND SAFE CO                SOUTH PORTLAND WINE CO                      SOUTH STREET CENTER LLC
936 N PROVIDENCE RD                        366 OCEAN ST                                EL PASEO SIMI
MEDIA PA 19063                             SOUTH PORTLAND ME 04106                     101 N WESTLAKE BLVD #201
                                                                                       WESTLAKE VILLAGE CA 91362




SOUTH STREET CENTER LLC                    SOUTH STREET CENTER LLC                     SOUTH TEXAS RESTAURANT EQUIPMENT INC
C O DSB PROPERTIES INC                     ROYAL OAK PROPERTY SVC                      433 MCCAMPBELL RD
CAROLINE SACHS PROPERTY ADMINISTRATOR      STEVE WELCH PROPERTY MANAGER                CORPUS CHRISTI TX 78408
101 N WESTLAKE BLVD STE 201                7750 BURNET AVE
WESTLAKE VILLAGE CA 91362                  VAN NUYS CA 91405




SOUTHEAST GASKETS LLC                      SOUTHERN CALIFORNIA EDISON                  SOUTHERN CALIFORNIA EDISON
PO BOX 617530                              PO BOX 600                                  PO BOX 300
ORLANDO FL 32861                           ROSEMEAD CA 91771                           ROSEMEAD CA 91772




SOUTHERN CALIFORNIA GAS CO                 SOUTHERN EAGLE DISTRIBUTING LLC - GA        SOUTHERN GLAZER'S OF DE
PO BOX C                                   1320 HWY 80 WEST                            615 LAMBSON LN
MONTEREY PARK CA 91756                     GARDEN CITY GA 31408                        NEW CASTLE DE 19720




SOUTHERN GLAZER'S WINE AND SPIRITS OF      SOUTHERN GLAZER'S WINE AND SPIRITS OF AZ    SOUTHERN GLAZER'S WINE AND SPIRITS OF CO
UPSTATE NY                                 2404 S WILSON ST STE 102                    5270 FOX ST
3063 COURT ST                              TEMPE AZ 85282                              DENVER CO 80217
SYRACUSE NY 13208




SOUTHERN GLAZER'S WINE AND SPIRITS OF FL   SOUTHERN GLAZER'S WINE AND SPIRITS OF IL    SOUTHERN GLAZER'S WINE AND SPIRITS OF KY
2400 SW 145TH AVE STE 300                  ANNE VANONI                                 PO BOX 991399
MIRAMAR FL 33027                           300 E CROSSROADS                            LOUISVILLE KY 40269
                                           BOLLINGBROOK IL 60440




SOUTHERN GLAZER'S WINE AND SPIRITS OF LA   SOUTHERN GLAZER'S WINE AND SPIRITS OF MD    SOUTHERN GLAZER'S WINE AND SPIRITS OF MN
4377 NW 112TH ST                           7001 QUAD AVE                               701 INDUSTRIAL BLVD NE STE B
URBANDALE IA 50322                         BALTIMORE MD 21237                          MINNEAPOLIS MN 55413




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SOUTHERN GLAZER'S WINE AND SPIRITS OF NM   SOUTHERN GLAZER'S WINE AND SPIRITS OF NV     SOUTHERN GLAZER'S WINE AND SPIRITS OF SC
1601 COMMERCIAL ST NE                      PO BOX 19299                                 PO BOX 996
ALBUQUERQUE NM 87102                       LAS VEGAS NV 89132                           COLUMBIA SC 29202




SOUTHERN GLAZER'S WINE AND SPIRITS OF TN   SOUTHERN GLAZER'S WINE AND SPIRITS OF TX     SOUTHERN GLAZER'S WINE AND SPIRITS OF WA
6290 SHELBY VIEW DR                        14911 QUORUM DR STE 400                      PNW
MEMPHIS TN 38134                           DALLAS TX 75254                              1025 VALLEY AVE NW
                                                                                        PUYALLUP WA 98371




SOUTHERN GLAZERS WINE AND SPIRITS OF NCA   SOUTHERN GLAZERS WINE AND SPIRITS OF S CA    SOUTHERN NEVADA HEALTH DISTRICT
33321 DOWE AVE                             17101 VALLEY VIEW AVE                        625 SHADOW LN
UNION CITY CA 94587                        CERRITOS CA 90703                            LAS VEGAS NV 89106




SOUTHERN NEVADA HEALTH DISTRICT            SOUTHERN SHELBY SVC LLC                      SOUTHPARK MALL LLC
ENVIRO HEALTH #50523                       PO BOX 324                                   SRP PROPERTY MANAGEMENT LLC
PO BOX 845688                              SHELBY AL 35143                              LEASE COORDINATION GINA LOEHR
LOS ANGELES CA 90084-5688                                                               1 E WACKER DR STE 3700
                                                                                        CHICAGO IL 60601




SOUTHPARK MALL LLC                         SOUTHWASTE DISPOSAL LLC                      SOUTHWEST GAS CORP
GENERAL MANAGER                            PO BOX 53988                                 PO BOX 98890
KURT REDDICK GENERAL MANAGER               LAFAYETTE LA 70505                           LAS VEGAS NV 89193
500 SOUTHPARK CTR
STRONGSVILLE OH 44136




SOUTHWEST PRECISION PRINTERS               SPARK ENERGY GAS LLC                         SPEC'S FAMILY PARNERS
AND ASSOCIATES LP                          PO BOX 4328                                  2410 SMITH ST
1055 CONRAD SAUER                          MSC 350                                      HOUSTON TX 77006
HOUSTON TX 77043                           HOUSTON TX 77210




SPEC'S FAMILY PARTNERS                     SPECIAL 'T' WATER SYSTEMS INC                SPRAGUE OPERATING RESOURCES
FINER FOODS                                PO BOX 165                                   PO BOX 347514
2410 SMITH ST                              WHITTIER CA 90608                            PITTSBURGH PA 15251
HOUSTON TX 77006




SPRINGDALE LAWN CARE INC                   SPROUT SOCIAL INC                            SRP
288 W KEMPER RD                            131 S DEARBORN ST STE 700                    PO BOX 80062
SPRINGDALE OH 45246                        CHICAGO IL 60603                             PRESCOTT AZ 86304




SS KEMP AND CO LLC DBA TRIMARK SS KEMP     ST CHARLES COUNTY COLLECTOR                  ST PETERSBURG POLICE DEPT
PO BOX 536326                              201 N SECOND ST STE 134                      ALARM ENFORCEMENT
PITTSBURGH PA 15253                        SAINT CHARLES MO 63301                       PO BOX 2842
                                                                                        ST. PETERSBURG FL 33731




STAINLESS STEEL SPECIALISTS LLC            STANDARD DISTRIBUTING CO INC                 STANDARD RESTAURANT EQUIPMENT
6951 SOUTH 300 WEST STE B                  100 S MEWS DR                                PO BOX 65189
MIDVALE UT 84047                           NEW CASSTLE DE 19720                         SALT LAKE CITY UT 84165




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STANDARD SALES                              STANDARD SECURITY LIFE INS CO OF NY         STANGER INDUSTRIES INC
4330 MARK DABLING BLVD                      PO BOX 6240                                 4911 ELMWOOD AVE
COLORADO SPRINGS CO 80907                   CHURCH STREET STATION                       KANSAS CITY MO 64130
                                            NEW YORK NY 10249-6240




STANLEY CONVERGENT SECURITY SOLUTIONS INC   STANLEY SECURITY SOLUTIONS INC              STANZIONE FURNITURE REPAIR INC
DEPT CH 10651                               DEPT CH 14202                               14748 34 MILE RD
PALASTINE IL 60055                          PALATINE IL 60055                           ROMEO MI 48065




STAPLES BUSINESS ADVANTAGE (SUPPLY)         STAR WEST JV LLC                            STARK CO METROPOLTN SEWER DIST
PO BOX 83689                                DBA SOUTHPARK MALL LLC                      PO BOX 9972
CHICAGO IL 60696                            PO BOX 780135                               CANTON OH 44711
                                            PHILADELPHIA PA 19178




STARTZEL V MAC ACQUISITION LLC              STARTZEL V MAC ACQUISITION LLC              STATE OF DELAWARE
JILLIAN STARTZEL                            C/O DURKIN & HOOD, LLP                      DIVISION OF PUBLIC HEALTH
PO BOX 10621                                ATTN: MARQUI HOOD & MOLLY DURKIN            417 FEDERAL ST
BURBANK CA 91510                            8840 WILSHIRE BLVD SUITE 207                DOVER DE 19901
                                            BEVERLY HILLS CA 90211




STATE OF DELAWARE                           STATE OF DELAWARE DIVISION OF REVENUE       STATE OF FLORIDA ATTORNEY GENERAL
DIVISION OF REVENUE                         CARVEL STATE OFFICE BUILDING                CONSUMER PROTECTION DIVISION
DE STATE BLDG 820 N FRENCH ST               820 N FRENCH ST                             THE CAPITOL PL-01
WILMINGTON DE 19801                         WILMINGTON DE 19801                         TALLAHASSEE FL 32399-1040




STATE OF FLORIDA DBPR                       STATE OF FLORIDA DEPT OF REVENUE            STATE OF GEORGIA GOVERNOR'S OFFICE
DIVISION OF HOTELS AND RESTAURANT           5050 WEST TENNESSEE ST                      CONSUMER PROTECTION DIVISION
PO BOX 6300                                 TALLAHASSE FL 32399-0100                    2 MARTIN LUTHER KING DR
TALLAHASSEE FL 32314                                                                    SUITE 356
                                                                                        ATLANTA GA 30334-9077




STATE OF MAINE                              STATE OF MARYLAND                           STATE OF MICHIGAN ATTORNEY GENERAL
OFFICE OF THE STATE TREASURER               DEPT OF ASSESSMENTS AND TAXATION            CONSUMER PROTECTION DIVISION
UNCLAIMED PROPERTY                          PERSONAL PROPERTY DIVISION                  PO BOX 30213
39 STATE HOUSE STATION                      301 WEST PRESTON ST                         LANSING MI 48909-7713
AUGUSTA ME 04333-0039                       BALTIMORE MD 21201




STATE OF MICHIGAN DEPT OF LABOR             STATE OF NEW JERSEY                         STATE OF NEW MEXICO
BUREAU OF CONTRUCTION CODES BOILER DIV      DCA BFCE-DORES                              TAXATION AND REVENUE DEPT
PO BOX 30255                                PO BOX 663                                  PO BOX 2527
LANSING MI 48909                            TRENTON NJ 08646                            SANTA FE NM 87504




STATE OF TENNESSEE                          STEAM PRO                                   STEFANELLI DISTRIBUTING
DEPT OF HEALTH                              2713 SONIC DR                               1945 W YALE AVE
PO BOX 198990                               VIRGINIA BEACH VA 23453                     FRESNO CA 93705
NASHVILLE TN 37219




STEIN V MAC ACQUISITION LLC                 STEIN V MAC ACQUISITION LLC                 STEPHEN COHEN
NANCY STEIN                                 C/O GALERMAN, TABAKIN & WOLFE               315 PARKVIEW TER
5645 COTTAGEVILLE LN                        ATTN: 'RICHARD A. WOLFE                     GOLDEN VALLEY MN 55416
DOYLESTOWN PA 18902                         261 OLD YORK RD
                                            PO BOX 645
                                            JENKINTOWN PA 19046




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STEPHENS DISTRIBUTING CO                 STERLING STRIPING CO INC                     STERN PRODUCE CO INC
185 RAVENSWOOD RD                        210 SUSAN LN                                 3200 S 7TH ST
FORT LAUDERDALE FL 33312                 CONROE TX 77385                              PHOENIX AZ 85040




STEVO INC                                LUTHER ALLEN STEWART                         STIRLING PROPERTIES LLC
DBA CKS LOCKSHOP AND SECURITY CENTER     DBA STEWART FLOORING                         ASHEE WHITE PROPERTY ASSISTANT
301 SE 4 ST                              6883 MCCRARY RD EAST                         109 NORTHPARK BLVD STE 300
BOYNTON BEACH FL 33435                   SEMMES AL 36575                              COVINGTON LA 70433




STOCKTON POLICE DEPT                     STOCKTON UPHOLSTERY AND WINDOW CVRG          STONE BREWING CO
22 E WEBER AVE RM 350                    PO BOX 43348                                 2865 EXECUTIVE PL
STOCKTON CA 95202                        BIRMINGHAM AL 35243                          ESCONDIDO CA 92029




STONE CONROY LLC                         JONATHAN STOUT                               STRATUS BUILDING SOLUTIONS
25A HANOVER ROAD                         1316 N 52ND W AVE                            11260 CORNELL PK DR STE 708
STE 301                                  SKIATOOK OK 74070                            CINCINNATI OH 45242
FLORHAM PARK NJ 07932




STRAUB DISTRIBUTING CO LTD               STREAMLINE                                   STURGEON ELECTRIC CO INC
4633 E LA PALMA AVE                      6800 WEISKOPF AVE                            22389 NETWORK PL
ANAHEIM CA 92807                         STE 150                                      CHICAGO IL 60673-1223
                                         MCKINNEY TX 75070




SUEMANDY PROPERTIES LLC                  SUEMANDY PROPERTIES LLC                      SUEZ WATER DELAWARE
4898 SOLUTIONS CTR                       STAR POINT COMMERCIAL MANAGEMENT LLC         PAYMENT CENTER
CHICAGO IL 60677                         MECA CEPHAS PROPERTY MANAGER                 PO BOX 371804
                                         450 N ROXBURY DR STE 1050                    PITTSBURGH PA 15250
                                         BEVERLY HILLS CA 90210




SUMMIT COUNTY HEALTH DISTRICT            SUMMIT ENERGY SVC INC                        SUMMIT ENVIRONMENTAL TECHNOLOGIES INC
1867 W MARKET ST                         25716 NETWORK PL                             3310 WIN ST
AKRON OH 44313                           CHICAGO IL 60673                             CUYAHOGA FALLS OH 44223




SUMMIT GROUP SOFTWARE                    SUN LIGHTING INC                             SUNCOAST BEVERAGE CO
1405 PRAIRIE PKWY                        4545 E BROADWAY BLVD                         2996 HANSON ST
STE A                                    TUCSON AZ 85711                              FORT MYERS FL 33916
WEST FARGO ND 58078




SUNDERLAND STOCK FARM LLC                SUNRISE MEDICAL GROUP                        SUPER LLC
1720 OLD LAIR RD                         5475 E LA PALMA AVE                          DBA BPR SHOPPING CENTER
CYNTHIANA KY 41031                       SUITE 100                                    PO BOX 645346
                                         ANAHEIM CA 92807                             CINCINNATI OH 75264




SUPER STITCH LLC                         SUPERIOR BEVERAGE CO INC                     SUPERIOR BEVERAGE GROUP - AUSTINTOWN
1220 W ALAMEDA DR STE 119                1070 ORCHARD RD                              425 VICTORLO RD
TEMPE AZ 85282                           MONTGOMERY IL 60538                          AUSTINTOWN OH 44515




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SUPERIOR BEVERAGE GROUP - COLUMBUS    SUPERIOR DRAINAGE CONTRS INC             SUPERIOR ELECTRIC SVC CO
871 MICHIGAN AVE                      1050 KILLIAN RD                          36 GERMAY DR
COLUMBUS OH 43215                     AKRON OH 44312                           WILMINGTON DE 19804




SUPERIOR TECH HVAC AND R INC          SUPPLY CHAIN STRATEGIES LLC              SUPREME BEVERAGE CO BIRMINGHAM
366 MECHANIC ST                       17837 HARALSON DR                        3217 AIRPORT HIGHWAY
ORANGE NJ 07050                       EDEN PRARIE MN 55347                     BIRMINGHAM AL 35222




SUPREME BEVERAGE CO HUNTSVILLE        SURGE ELECTRIC CORP                      SURVOYS SUPERIOR SVC INC
2100A JACKSON AVE                     10705 CAHILL RD                          5180 W 164TH ST
HUNTSVILLE AL 35804                   RALEIGH NC 27614                         BROOKPARK OH 44142




SUSQUEHANNA TOWNSHIP                  SUSQUEHANNA TOWNSHIP HEALTH DEPT         SUTTON PLUMBING INC
BOARD OF COMMISSIONERS                190 LINGLETOWN RD                        PO BOX 270564
1900 LINGLESTOWN RD                   HARRISBURG PA 17110                      CORPUS CHRISTI TX 78427
HARRISBURG PA 17110




SVC ASSOCIATES                        SVC DISTRIBUTING INC                     SVC PROFESSOR INC
5017 S 36TH ST                        8397 PARIS ST                            4770 50TH ST SE
PHOENIX AZ 85040                      LORTON VA 22079                          GRAND RAPIDS MI 49512




JOHN J SWEENY                         SWISHER HYGIENE FRANCHISEE TRT           SYNERGYSUITE INC
20 JOAN ST                            PO BOX 473526                            68 WILLOW RD
KENDALL PARK NJ 08824                 CHARLOTTE NC 28247-3526                  MENLO PARK CA 94040




SYNQ3 RESTAURANT SOLUTIONS LLC        SYSCO ARIZONA                            SYSCO ARKANSAS
5825 MARK DABLING BLVD STE 100        611 SOUTH 80TH AVE                       5800 FROZEN RD
COLORADO SPRINGS CO 80919             TOLLESON AZ 85353                        PO BOX 194060
                                                                               LITTLE ROCK AR 72209




SYSCO ATLANTA                         SYSCO BALTIMORE                          SYSCO CENTRAL FLORIDA
2225 RIVERDALE RD                     8000 DORSEY RUN RD                       200 WEST STORY RD
COLLEGE PARK GA 30349                 JESSUP MD 20794                          OCOEE FL 34761




SYSCO CENTRAL TEXAS                   SYSCO CHARLOTTE                          SYSCO CHICAGO
1260 SCHWAB RD                        4500 CORPORATE DR NW                     250 WIEBOLDT DR
NEW BRAUNFELS TX 78132                CONCORD NC 28027                         DES PLAINES IL 60016




SYSCO CLEVELAND                       SYSCO CORP                               SYSCO CORP
4747 GRAYTON RD                       VICE PRESIDENT                           1390 ENCLAVE PKWY
PO BOX 94570                          1390 ENCLAVE PKWY                        DEPT A305
CLEVELAND OH 44135                    HOUSTON TX 77077                         HOUSTON TX 77077




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SYSCO DALLAS                          SYSCO DENVER                               SYSCO DETROIT
800 TRINITY DR                        50000 BEELER ST                            41600 VAN BORN RD
PO BOX 561000                         DENVER CO 80238                            CANTON MI 48188
LEWISVILLE TX 75056




SYSCO GULF COAST                      SYSCO HAMPTON ROADS                        SYSCO HOUSTON
2001 WEST MAGNOLIA AVE                7000 HARBOUR VIEW BLVD                     10710 GREENS CROSSING BLVD
GENEVA AL 36340                       SUFFOLK VA 23435                           HOUSTON TX 77038




SYSCO INTERMOUNTAIN                   SYSCO KANSAS CITY                          SYSCO LOUISVILLE
9494 SOUTH PROSPERITY                 1915 KANSAS CITY RD                        7705 NATIONAL TPKE
WEST JORDAN UT 84081                  OLATHE KS 66051                            PO BOX 32470
                                                                                 LOUISVILLE KY 40214




SYSCO METRO NEW YORK                  SYSCO NASHVILLE                            SYSCO NEW MEXICO
20 THEODORE CONRAD DR                 ONE HERMITAGE PLZ                          602 CARMONY NE
JERSEY CITY NJ 07305                  NASHVILLE TN 37209                         ALBUQUERQUE NM 87107




SYSCO NORTHERN NEW ENGLAND            SYSCO PHILADELPHIA                         SYSCO RIVERSIDE
55 THOMAS DR                          600 PACKER AVE                             15750 MERIDIAN PKWY
PO BOX 4657                           PHILADELPHIA PA 19148                      RIVERSIDE CA 92518
WESTBROOK ME 40920




SYSCO SACRAMENTO                      SYSCO SEATTLE                              SYSCO SOUTH FLORIDA
7062 PACIFIC AVE                      22820 54TH AVE SOUTH                       12500 SYSCO WAY
PLEASANT GROVE CA 95668               KENT WA 98032                              MEDLEY FL 33178




SYSCO SYRACUSE                        SYSCO WEST COAST FLORIDA                   T AND G SLICER EQ REPAIR INC
ROUTE 173 NORTH WARNER RD             3000 69TH ST EAST                          4880B DISTRIBUTION CT UNIT 8
WARNERS NY 13164                      PALMETTO FL 34221                          ORLANDO FL 32822




T GOEBEL LLC                          TAGEX SALES                                MICHAEL L TAGUE
PO BOX 31088                          121 SULLY'S TRL STE 8                      DBA RELIABEL UPHOLSTERY
INDEPENDENCE OH 44131                 PITTSFORD NY 14534                         1600 S NOLAND RD STE 216
                                                                                 INDEPENDENCE MO 64055




TALLY'S LAWN AND LANDSCAPING          TALX CORP                                  TALX CORP EQUIFAX WORKFORCE SOLUTIONS
PO BOX 1161                           4076 PAYSPHERE CIR                         4076 PAYSPHERE CIR
GEORGETOWN TX 78627                   CHICAGO IL 60674                           CHICAGO IL 60674




TAMPA ELECTRIC                        TANGI EAST LLC NO 1                        TANGI EAST LLC NO 1
PO BOX 31318                          70325 HWY 1077 STE 2A                      BRUNO AND BRUNO
TAMPA FL 33631                        COVINGTON LA 70433                         JAMIE BUTTS
                                                                                 70325 HIGHWAY 1077 STE 2A
                                                                                 COVINGTON LA 70433




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TANN ELECTRIC INC                           STEVEN L TANNER                              TAPMAN IVO DBA IGOR V OSAULA
13216 W 99TH ST                             DBA COVINA LOCK AND KEY CO                   PO BOX 77402
LENEXA KS 66215                             716 E EDNA PL E                              SEATTLE WA 98177
                                            COVINA CA 91723




TARANTINO FOODS LLC                         TARGET CORP                                  TARRANT COUNTY TAX ASSESSOR-COLLECTOR
530 BAILEY AVE                              PMA-TPN 915 SDS-10-10075                     PO BOX 961018
BUFFALO NY 14206                            PO BOX 86                                    FORT WORTH TX 76161-0018
                                            MINNEAPOLIS MN 55486




TAX COLLECTOR - FL                          TAX COLLECTORPARISH OF ST TAMMANY            TAX COLLECTORST TAMMANY PARISH
PO BOX 3353                                 PO BOX 61041                                 PO BOX 61080
PALM BEACH COUNTY                           NEW ORLEANS LA 70161                         NEW ORLEANS LA 70161-1080
WEST PALM BEACH FL 33402




TAX TRUST ACCOUNT                           TAYLOR ENGLISH DUMA LLP                      TAYLOR UPHOLSTERING CO INC
CITY OF FOLSOM                              1600 PARKWOOD CIR STE 400                    12 TELEVISION CIR
438 E SHAW AVE BOX 367                      ATLANTA GA 30339                             SAVANNAH GA 31406
FRESNO CA 93710




TBS PRODUCTIONS INC                         TCI ACQUISITION CORP                         LEANNE TEAGUE
ONE CNN CENTER 14 SW                        DBA TAX COMPLIANCE INC                       1337 VILLAGE RD
ATLANTA GA 30302-2762                       10089 WILLOW CREEK RD STE 300                WHITSETT NC 27377
                                            SAN DIEGO CA 92131




TECH 24-COMMERICAL FOODSERVICE REPAIR INC   TECHNICAL MEDICAL TRAINING                   TECHNICAL SVC INC
PO BOX 638959                               3 MARK ST                                    1509 TECHNOLOGY DR STE 101
CINCINNATI OH 45263                         BURLINGTON MA 01803                          CHESAPEAKE VA 23320




TECHNICAL SVCS OF ORLANDO INC               TECO PEOPLES GAS                             TELADOC INC
PO BOX 771960                               PO BOX 31017                                 DEPT 3417
ORLANDO FL 32837                            TAMPA FL 33631                               PO BOX 123417
                                                                                         DALLAS TX 75312




TEMECULA DRAIN SVC AND PLUMBING             TEMECULA VALLEY SECURITY CTR                 TEMPERATURE ENGINEERING INC
PO BOX 1535                                 DBA SAFE AND SECURE LOCKSMITH                7475 SOUTH MADISON
TEMECULA CA 92592                           26019 JEFFERSON AVE STE F                    WILLOWBROOK IL 60527
                                            MURRIETA CA 92562




TENNESSE DEPT OF REVENUE                    TENNESSEE ALCOHOLIC BEVERAGE COMMISSION      TENNESSEE ALCOHOLIC BEVERAGE COMMISSION
TAX ENFORCEMENT DIVISION                    4420 WHITTLE SPRINGS RD                      226 CAPITOL BLVD
PO BOX 1071                                 KNOXVILLE TN 37917                           NASHVILLE TN 37243
CHATTANOOGA TN 37401




TENNESSEE ALCOHOLIC BEVERAGE COMMISSION     TENNESSEE AMERICAN WATER                     TENNESSEE ATTORNEY GENERAL
226 CAPITOL BLVD STE 300                    PO BOX 371880                                HERBERT H SLATERY III
NASHVILLE TN 37243                          PITTSBURGH PA 15250                          PO BOX 20207
                                                                                         NASHVILLE TN 37202-0207




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TENNESSEE ATTORNEY GENERAL                  TENNESSEE B AND E DIVISION                    TENNESSEE CROWN - CHATTANOOGA
CONSUMER PROTECTION                         TN DEPT OF LABOR AND WORKFORCE                PO BOX 5068
500 JAMES ROBERTSON PKWY                    220 FRENCH LANDING DR 2ND FL                  CHATTANOOGA TN 37406
5TH FLOOR                                   NASHVILLE TN 37243
NASHVILLE TN 37243-0600




TENNESSEE DEPT OF ENVIRONMENT               TENNESSEE DEPT OF HEALTH                      TENNESSEE DEPT OF LABOR
AND CONSERVATION                            EH FOOD PROTECTION                            COMMISSIONER
BOB MARTINEAU                               2500 CHARLOTTE AVE                            220 FRENCH LANDING DR
312 ROSA L PARKS AVE                        NASHVILLE TN 37243                            NASHVILLE TN 37243
NASHVILLE TN 37243




TENNESSEE DEPT OF REVENUE                   TENNESSEE DEPT OF REVENUE                     TENNESSEE DEPT OF TREASURY
ANDREW JACKSON STATE OFFICE BLDING          ANDREW JACKSON BUILDING                       UNCLAIMED PROPERTY DIVISION
500 DEADERICK ST                            500 DEADRICK ST                               502 DEADERICK ST
NASHVILLE TN 37242                          NASHVILLE TN 37242                            NASHVILLE TN 37243-0203




TERMINIX INTERNATIONAL CO LIMITED           TESTILER V MAC ACQUISITION OF DELAWARE LLC    TESTILER V MAC ACQUISITION OF DELAWARE LLC
PARTNERSHIP                                 DBA ROMANO'S MACARONI GRILL                   DBA ROMANO'S MACARONI GRILL
12015 SW 144 ST                             JUDITH TESTILE                                C/O MANEY & GORDON PA
MIAMI FL 33186                              15135 ARBOR HOLLOW DR                         ATTN: 'BRETT BERGER, ESQ.
                                            ODESSA FL 33556                               101 E. Kennedy Blvd, Suite 3170
                                                                                          TAMPA FL 33602


TEXAS ALCOHOLIC BEVERAGE COMMISSION         TEXAS ALCOHOLIC BEVERAGE COMMISSION           TEXAS ALCOHOLIC BEVERAGE COMMISSION
5806 MESA DR                                ONE STOP SHOP                                 CITY OF FORTWORTH
AUSTIN TX 78731                             ALCOHOL LICENSE                               ZONING SECTION LIQUOR LICENSE
                                            811 TEXAS AVE                                 1000 THROCKMORTON ST
                                            EL PASO TX 79901                              LOWER LEVEL NORTHEAST CORNER
                                                                                          FORT WORTH TX 76102


TEXAS ALCOHOLIC BEVERAGE COMMISSION         TEXAS ATTORNEY GENERAL                        TEXAS ATTORNEY GENERAL
LOCAL TABC OFFICE                           KEN PAXTON                                    CONSUMER PROTECTION
2225 EAST RANDOLMILL RD                     300 W 15TH ST                                 300 W 15TH ST
STE 20                                      AUSTIN TX 78701                               9TH FLOOR
ARLINGTON TX 76011                                                                        AUSTIN TX 78711-2548




TEXAS COMMISSION OF ENVIRONMENTAL QUALITY   TEXAS COMPTROLLER OF PUBLIC ACCOUNTS          TEXAS COMPTROLLER OF PUBLIC ACCOUNTS
PO BOX 13087                                PO BOX 13127                                  UNCLAIMED PROPERTY CLAIMS SECTION
MAIL CODE - TCEQ                            AUSTIN TX 78711                               PO BOX 12046
AUSTIN TX 78711-3087                                                                      AUSTIN TX 78711-2046




TEXAS COMPTROLLER OF PUBLIC ACCOUNTS        TEXAS DEPT OF LICENSING AND REGULATION        TEXAS FILTER SVC LLC
PO BOX 13528 CAPITOL STATION                PO BOX 12157                                  10276 ROBINSON DR
AUSTIN TX 78711-3528                        AUSTIN TX 78711                               TYLER TX 75703




TEXAS GAS SVC                               TEXAS RESTAURANT EQUIPMENT SVC                TEXAS SECRETARY OF STATE
PO BOX 219913                               6411 BIG SPRINGS DR                           PO BOX 13697
KANSAS CITY MO 64121                        ARLINGTON TX 76001                            AUSTIN TX 78711




TEXAS WORKFORCE COMMISSION                  TFO PHOENIX INC                               TGS SVC LLC
EXECUTIVE DIRECTOR                          ACCOUNTS RECEIVABLE                           7107 AVALON BEND CIR
101 EAST 15TH ST                            5060 NORTH 40TH ST                            SPRING TX 77379
ROOM 651                                    PHOENIX AZ 85018
AUSTIN TX 78778-0001




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THE ALABAMA LAWNMASTER INC            THE ANN DREVER COTTRELL TRUST            THE AVENUE WEBB GIN LLC
PO BOX 1648                           SCOTT C MCDERMAND TRUSTEE                PO BOX 198349
HUNTSVILLE AL 35807                   PO BOX 691                               ATLANTA GA 30384
                                      JAMUL CA 91935




THE AVENUE WEST COBB                  THE BARS PROGRAM                         THE CHAIR DOCTOR
HAZEL PAYNE                           7112 W JEFFERSON AVE STE 312             1101 GREEN ST
GENERAL MANAGER                       LAKEWOOD CO 80235                        FORT COLLINS CO 80524
3625 DALLAW HIGHWAY STE 470
MARIETTA GA 30064




THE CHAMBER                           THE CHAMBER JEFFERSONTOWN                THE CITY OF COLUMBUS
1730 SCHERTZ PKWY                     10434 WATTERSON TRL                      750 PIEDMONT RD S ENTRANCE
SCHERTZ TX 78154                      JEFFERSONTOWN KY 40299                   COLUMBUS OH 43224




THE CLEAN TEAM OF DAYTON REGION LLC   THE COBLE CO INC                         THE COUNTRY VINTNER INC
BRANDIE REAGAN                        1701 BROADWOAY                           PO BOX 1540
1111 LINDEN AVE                       BOISE ID 83706                           ASHLAND VA 23005
DAYTON OH 45410




THE ELECTRIC CONNECTION INC           THE ESV GROUP INC                        THE FACTS MEDIA
5441 WESTERVILLE RD                   397 N CENTRAL AVE                        542 BUSSE HWY STE 1
WESTERVILLE OH 43081                  UPLAND CA 91786                          PARK RIDGE IL 60068




THE GAS CO                            THE GROVE HUNTSVILLE LLC                 THE GROWING CO INC
PO BOX C                              1801 W OLYMPIC BLVD                      4 WAYNE CT BLDG #3
MONTEREY PARK CA 91756                PASADENA CA 91199                        SACRAMENTO CA 95829




THE HAPPY CHEF INC                    THE HARTFORD GROUP BENEFITS DIVISION     THE HIGGINS AND BARRINGTON
22 PARK PL                            PO BOX 783690                            COMMERCIAL DISTRICT ASSOC
BUTLER NJ 07405                       PHILADELPHIA PA 19178                    2500 W HIGGINS RD STE 400
                                                                               HOFFMAN ESTATES IL 60169




THE HIGGINS AND BARRINGTON            THE HIRAOKA FAMILY TRUST                 THE HIRAOKA FAMILY TRUST
OWNERS ASSOCIATION                    475 OREGON AVE                           KUEVER & PLATT, LLC
2500 W HIGGINS RD STE 400             PALO ALTO CA 94301                       ANDREW L PLATT, ESQ.
HOFFMAN ESTATES IL 60169                                                       65 E WACKER PLACE
                                                                               STE 2300
                                                                               CHICAGO IL 60601


THE HOME DEPOT RECEIVABLES            THE ILLUMINATING CO                      THE IRVINE CO LLC
PO BOX 7247-7491                      PO BOX 3638                              PO BOX 842568
PHILADELPHIA PA 19170                 AKRON OH 44309                           LOS ANGELES CA 90084




THE IRVINE CO LLC                     THE LIONS CLEANING SVC LLC               THE LUCILA G ORTEGA 1995 TRUST
GENERAL COUNSEL                       1135 LORETTA ST                          300 ARVIDA PKWY
KAROL H REDDY PROPERTY ASSISTANT      LOUISVILLE KY 40213                      CORAL GABLES FL 33156
550 NEWPORT CTR DR
NEWPORT BEACH CA 92660




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THE MCS GROUP INC                       THE NERDERY LLC                                THE OLDE MECKLENBURG BREWERY
1601 MARKET ST STE 800                  9555 JAMES AVE S STE 245                       BREWERY LLC
PHILADELPHIA PA 19103                   BLOOMINGTON MN 55431                           215 SOUTHSIDE DR
                                                                                       CHARLOTTE NC 28217




THE P AND L TRUST DATED 9/22/1999       THE PELICAN BATON ROUGE LLC                    THE PLUMBER MAN LLC
2000 NW 92 AVE                          FENET TREADWAY GAUDIN                          5239 OLD HANOVER RD
DORAL FL 33172                          JENNIFER TREADWAY COUNSEL                      WESTMINISTER MD 21158
                                        4021 WE HECK CT
                                        BATON ROUGE LA 70816




THE PLUMBING JOINT INC                  THE PLUMBING SOURCE INC                        THE PLUMBOLOGIST INC
351 UNION AVE NE                        5042 CORBIN DR                                 24887 RAILROAD AVE
RENTON WA 98059                         CLEVELAND OH 44128                             STE D
                                                                                       NEWHALL CA 91321




THE POINTE AT ROBINHOOD VILLAGE         THE REAL LANDSCAPING YARDS AND SVC             THE RETAIL CONNECTION
5749 COLIN VLG WAY                      DBA WENCESLAO HURTADO                          CARLA NEEL
WINSTON SALEM NC 27106                  706 PARK AVE                                   221 W 6TH ST STE 1030
                                        LAUREL MD 20707                                AUSTIN TX 78701




THE RETAIL PROPERTY TRUST               THE SEALS DBA GASKETS ROCK MID-ATLANTIC LLC    THE SEAT DOCTOR
DBA MALL OF GEORGIA-SIXPACK             1914 JN PEASE PL                               DBA AUTO BODY TECHNOLGOIES
P O BOX 772805                          CHARLOTTE NC 28262                             2648 LOVE SPRINGS RD
CHICAGO IL 60677                                                                       GAFFNEY SC 29341




THE SKAFF FAMILY TRUST DATED 3/8/1991   THE TRAVEL CHANNEL                             THE WALDINGER CORP
EMILE SKAFF                             PO BOX 603132                                  PO BOX 1612
4540 CHARMION LN                        CHARLOTTE NC 28260-3132                        DES MOINES IA 50306
ENCINO CA 91316




THE WATER HEATER MAN LLC                THE WINDOW KING INC                            THE WINE CO
106 W AMITY ST STE C                    6510 STATE RD                                  425 W MINNEHAHA AVE
LOUISBURG KS 66053                      PARMA OH 44134                                 ST PAUL MN 55103




THE WOOD SOURCE                         THE WOODLANDS COMMERCIAL PROPERTIES LP         THE YARD BARBER INC
469 N 200 E                             PO BOX 4951 DEPT 25                            PO BOX 90
AMERICAN FORK UT 84003                  HOUSTON TX 77210                               WALKERSVILLE MD 21793




THOMAS TYLER PATRICIA TYLER AND         BILL THOMAS                                    THOMPSON PINNACLE HOLDINGS
WILLIAM SEIDER                          3210 SUNSET OAKS DR                            DBA PINNACLE IMPORTS
PATRICIA TYLER                          PLANT CITY FL 33563                            3075 MORGAN RD
2202 CASEY KEY RD                                                                      BESSEMER AL 35022
NOKOMIS FL 34275




THOMSON REUTERS WEST                    THREE SEASNS LAWN AND LANDSCAPE                THUNDER CLEAN
PAYMENT CENTER                          JASON OWENS                                    PO BOX 8237
PO BOX 6292                             29 TEMPLIN TRL                                 ALBUQUERQUE NM 87198
CAROL STREAM IL 60197                   LITTLE ROCK AR 72205




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TIDAL ELECTRICAL SVC INC                TIDMORE INC                                TIETZE PLUMBING INC
PO BOX 91767                            1068 HWY 231                               10545 FM 1560 N
RALEIGH NC 27675                        LACEYS SPRING AL 35754                     SAN ANTONIO TX 78254




TIGER INC                               TIGRISWOODS LLC                            TIGRISWOODS LLC
DEPT 2192                               4833 N EDGEWOOD DR                         THE SHOPS AT RIVERWOOD
TULSA OK 74182                          PROVO UT 84604                             LYNNE
                                                                                   4801 NORTH UNIVERSITY AVE 480
                                                                                   PROVO UT 84604




TIM KAUFFMAN TREASURER                  TIME WAREN CABLE MEDIA SALES               TIME WARNER 053826101
100 JEFFERSON COUNTY PKWY STE 2520      11 W 19TTH ST 8TH FL                       PO BOX 223085
GOLDEN CO 80419                         NEW YORK NY 10011                          PITTSBURGH PA 15251




TIME WARNER 058668801                   TIME WARNER 060679601                      TIME WARNER 202-660121801-001
PO BOX 223085                           BOX 223085                                 PO BOX 70872
PITTSBURG PA 15251                      PITTSBURG PA 15251                         CHARLOTTE NC 28272




TIME WARNER 8260 14014 0062888          TITUS ELECTRICAL CONTRACTING LP            TKG BISCAYNE LLC
PO BOX 60074                            1821 CENTRAL COMMERCE CT                   COREY WIEMANN COUNSEL
CITY OF INDUSTRY CA 91716               ROUND ROCK TX 78664                        211 NORTH STADIUM BLVD STE 201
                                                                                   COLUMBIA MO 65203




TN DEPT OF REVENUE                      TNC COUNTRY LLC - THE COUNTY NETWORK       TNT ORIGINALS INC
220 FRENCH LANDING DR                   6125 AIRPORT FWY                           ONE CNN CENTER 14 SW
NASHVILLE TN 37245                      HALTOM CITY TX 76117                       ATLANTA GA 30303-2762




TOHO WATER AUTHORITY                    TOM'S LAWN AND TREECARE                    TONYS LIQUOR STORE
PO BOX 30527                            THOMAS PROCTOR                             1618 AUGUSTA RD
TAMPA FL 33630                          5485 GALENA DR                             GREENVILLE SC 29605
                                        COLORADO SPRINGS CO 80918




TOP SIDE BUILDING SVC INC               TOPA ELECTRIC INC                          TOTAL PARTY PLANNER
2016 GRANTS VLY LN                      PO BOX 567                                 11126 AIR PK RD STE 201
IMPERIAL MO 63052                       WADSWORTH OH 44282                         ASHLAND VA 23005




TOTAL REFRIG GASKETS INC                TOTAL TEMPERATURE CONTROL INC              TOWN AND COUNTRY DISTRIBUTORS
2205 PLATINUM RD                        39 W WATER ST                              1050 ARDMORE AVE
APOPKA FL 32703                         WAKEFIELD MA 01880                         ITASCA IL 60143




TOWN CENTER INC                         TOWN OF ADDISON                            TOWN OF ADDISON
PO BOX 2273                             PO BOX 9010                                PO BOX 650399
BRIGHTON MI 48116                       ADDISON TX 75001                           DALLAS TX 75265




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TOWN OF BURLINGTON                           TOWN OF BURLINGTON                        TOWN OF BURLINGTON
PO BOX 376                                   25 CENTER ST                              TOWN HALL
BURLINGTON MA 01803                          BURLINGTON MA 01803                       29 CENTER ST
                                                                                       BURLINGTON MA 01803




TOWN OF BURLINGTON                           TOWN OF BURLINGTON                        TOWN OF BURLINGTON
BACKFLOW PROGRAM                             DEPT OF PUBLIC WORKS                      P O BOX 96
29 CENTER ST                                 25 CENTER ST                              BURLINGTON MA 01803
BURLINGTON MA 01803                          BURLINGTON MA 01803




TOWN OF CARY                                 TOWN OF CARY                              TOWN OF HENRIETTA
COLLECTIONS DIVISION                         PO BOX 71090                              OFFICE OF FIRE MARSHALL
PO BOX 8049                                  CHARLOTTE NC 28272                        475 CALKINS RD
CARY NC 27512-8049                                                                     HENRIETTA NY 14467




TOWN OF HENRIETTA                            TOWN OF READING                           TOWN OF READING
TOWN CLERK                                   16 LOWELL ST                              COLLECTORS OFFICE
475 CALKINS RD                               READING MA 01867                          PO BOX 1006
PO BOX 999                                                                             READING MA 01867
HENRIETTA NY 14467




TOWN OF READING                              TOWNSHIP OF EAST HANOVER                  TOWNSHIP OF EDISON NEW JERSEY
DEPT OF PUBLIC WORKS                         411 RIDGEDALE AVE                         100 MUNICIPAL BLVD
16 LOWELL ST                                 EAST HANOVER NJ 07936                     EDISON NJ 08817
READING MA 01867




TOWNSHIP OF FALLS                            TOWNSHIP OF FALLS AUTHORITY               TOWNSHIP OF MOUNT OLIVE
188 LINCOLN HWY STE 100                      557 LINCOLN HWY                           204 FLANDERS DRAKESTOWN RD
FAIRLESS HILLS PA 19030                      FAIRLESS HILL PA 19030                    BUDD LAKE NJ 07828




TOWNSHIP OF MT OLIVE SEWER UTL               TOWNSHIP OF WAYNE                         TRADECOR GILBERT AND VAUGHN LLC
PO BOX 450                                   475 VALLEY RD                             4455 E CAMELBACK RD STEE-180
BUDD LAKE NJ 07828                           WAYNE NJ 07470                            PHOENIX AZ 85028




TRADECOR GILBERT AND VAUGHN LLC              TRADECOR GILBERT AND VAUGHN LLC           TRAIAN LEAHU DBA SEATTLE GROUT AND TILE
PERRY MANN MANAGING MEMBER                   CLARK HILL PLC                            11000 16TH AVE SE
BRITT RAND SANCHEZ - MEMBER                  ANDREW B. TURK, ESQ.                      APT 806
4455 E CAMELBACK RD STE E180                 14850 NORTH SOCTTSDALE ROAD               EVERETT WA 98208
PHOENIX AZ 85018                             SUITE 500
                                             SCOTTSDALE AZ 85254


TRAIL LIGHTING AND ELECTRICAL PRODUCTS INC   TRAMONTE DISTRIBUTING CO                  TRANIK SRVS LLC
744 SW 8TH ST                                1267 S MAIN ST                            5350 1/2 PURDY LN
MIAMI FL 33130                               AKRON OH 44301                            WEST PALM BEACH FL 33415




TRANSACTION WIRELESS INC                     TRANSOURCE                                TRANSWORLD ADVERTISING INC
9444 WAPLES ST                               15955 LA CANTERA PKWY                     3684 N WICKHAM RD STE C
SITE 405                                     SAN ANTONIO TX 78256                      MELBOURNE FL 32935
SAN DIEGO CA 92121




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TRAP ZAP ENVIRON SYSTEMS INC            TRAVAD SIGNS INC                          TRAVELERS
255 BRAEN AVE                           58 SHIELDS RD                             BANK OF AMERICA
WYCKOFF NJ 07481                        HUNTSVILLE AL 35811                       91287 COLLECTIONS CTR DR
                                                                                  CHICAGO IL 60693-1287




TRAVIS A HULSEY DIRECTOR                TRAVIS COUNTY TAX ASSESSOR-COLLECTOR      TRAVIS COUNTY TAX OFFICE
PO BOX 12207                            PO BOX 149328                             PO BOX 149324
BIRMINGHAM AL 35202                     AUSTIN TX 78714-9328                      AUSTIN TX 78714




TRAVIS COUNTY WCID #10                  TREASURER CITY OF MEMPHIS                 TREASURER CITY OF VIRGINIA BEACH
PO BOX 4901                             PO BOX 185                                JOHN T ATKINSON TREASURER
HOUSTON TX 77210                        MEMPHIS TN 38101-0185                     2401 COURTHOUSE DR
                                                                                  VIRGINIA BEACH VA 23456




TREASURER OF FREDERICK COUNTY           TREASURER STATE OF MAINE                  TREASURER VIRGINIA BEACH
12 E CHURCH ST                          HEALTH INSPECTION PROGRAM                 2401 COURTHOUSE DR BLDG 1
FREDERICK MD 21701                      11 STATE HOUSE STATION                    VIRGINIA BEACH VA 23456
                                        AUGUSTA ME 04333-0011




TRES WOODLAND INVESTMENT LLC            TRES WOODLAND INVESTMENTS LLC             TRI CITY FIRE SPRINKLERS C-16 #998342
BRYAN LY                                3460 W WALNUT ST STE 120                  GEORGE ESTRADA
3460 W WALNUT ST STE 120                GARLAND TX 75042                          603 SEAGAZE DR PMG-271
GARLAND TX 75042                                                                  OCEANSIDE CA 92054




TRI CITY MECHANICAL INC                 TRI COUNTY BEVERAGE                       TRI COUNTY HEALTH DEPART
21 GRAND VIEW DR                        LIQUOR CHECK                              ENVIRONMENTAL HEALTH
POSTENKILL NY 12140                     350 NORTHLAND BLVD                        4201 E 72ND AVE STE D
                                        SPRINDALE OH 45246                        COMMERCE CITY CO 80022




TRI STAR SVC USA                        TRI SYSTEMS GROUP INC                     TRI-CITY FIRE SPRINKLERS
8619 VIA BELLA NOTTE                    7500 NW 25 STE 207                        FIRE INSPECTIONS CO
ORLANDO FL 32836                        MIAMI FL 33122                            603 SEAGAZE DR STE 271
                                                                                  OCEANSIDE CA 92054




TRI-COUNTY BEVERAGE - WARREN            TRIANGLE DISTIBUTING CO                   TRIANGLE REFRIGERATION SVC INC
2651 E TEN MILE RD                      12065 E PIKE ST                           739 PERSHING RD
WARREN MI 48091                         SANTA FE SPRINGS CA 90670                 RALEIGH NC 27608




TRIANGLE TOWN CENTER LLC                TRIAREA ELECTRICAL CONSTRUCTION INC       TRICITIES BEVERAGE CORP
PO BOX 74771                            DANIEL LEONE                              612 INDUSTRIAL PK DR
CLEVELAND OH 44194                      909 SE 47TH TER                           NEWPORT NEWS VA 23608
                                        CAPE CORAL FL 33904




TRINTECH INC                            TRITZ BEVERAGE SYSTEMS INC                TRUCKEE MEADOWS WATER AUTH
15851 DALLAS PKWY STE 900               888 E BELVIDERE RD #220                   PO BOX 70002
ADDISON TX 75320                        GRAYSLAKE IL 60030                        PRESCOTT AZ 86304




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TRUSTEE OF THE DEAN J OMALLEY            TRYON DISTRIBUTING CO                        TUCSON ELECTRIC POWER CO
TRUST DATED 1/26/2009                    4701 STOCKHOLM CT                            PO BOX 80077
925 E KEMPER RD                          CHARLOTTE NC 28273                           PRESCOTT AZ 86304
CINCINNATI OH 45246




TULSA COUNTY TREASURER                   TUNDRA RESTAURANT SUPPLY INC                 TURF OHIO
PO BOX 21017                             BIN 010198                                   PO BOX 3753
TULSA OK 74121-1017                      MILWAUKEE WI 53288-0198                      DUBLIN OH 43016




TURNER BEVERAGE CO                       ROBB TURPYN                                  TUTTLE CROSSING OWNERS ASSOC
PO BOX 512                               164 WESTSIDE DR                              BLDG ID: 20480
HUNTSVILLE AL 35804                      ROCHESTER NY 14624                           PO BOX 209239
                                                                                      AUSTIN TX 78720




TUX WINDOW CLEANING                      TWC SVC INC                                  TWIN LIQUORS LP
4406 TOWNER AVE NE STE 6                 PO BOX 1612                                  DBA REUBENS BOTTLE SHOPS
ALBUQUERQUE NM 87110                     DES MOINES IA 50306                          11637 RESEARCH BLVD
                                                                                      AUSTIN TX 78759




TX COMPTROLLER OF PUBLIC ACCOUNTS        TYCO FIRE AND SECURITY MGMT INC              PATRICIA TYLER
UNCLAIMED PROPERTY DIVISION              DBA TYCO INTEGRATED SECURITY                 2202 CASEY KEY RD
PO BOX 12019                             PO BOX 371967                                NOKOMIS FL 34275
AUSTIN TX 78774-0100                     PITTSBURGH PA 15250




UBS                                      UGI ENERGY SVC LLC                           UGI UTILITIES INC
PO BOX 8100                              PO BOX 827032                                PO BOX 15523
LITTLE ROCK AR 72203                     PHILADELPHIA PA 19182                        WILMINGTON DE 19886




UHAUL INTERNATIONAL INC                  ULMER AND BERNE LLP                          ULTIMATE SOFTWARE GROUP THE
PO BOX 52128                             PO BOX 711954                                PO BOX 930953
PHOENIX AZ 85072                         CINCINNATI OH 45271-1954                     ATLANTA GA 31193




UNDERGROUND VAULTS AND STORAGE           UNIFIRST CORP                                UNITED - JOHNSON BROTHERS ALABAMA
PO BOX 1723                              6920 COMMERCE AVE                            966 E I65 SERVICE RD N
HUTCHINSON KS 67504                      EL PASO TX 79915                             MOBILE AL 36607




UNITED DIRECTORIES INC DBA               UNITED DISTRIBUTORS - ATLANTA                UNITED DISTRIBUTORS - SAVANNAH
YELLOW PAGES UNITED                      770 KING GEORGE BLVD                         780 KING GEORGE BLVD
PO BOX 50038                             SAVANNAH GA 31419                            SAVANNAH GA 31419
JACKSONVILLE FL 32240




UNITED RESTAURANT SUPPLY CO INC          UNITED STATES TREASURY                       UNITED STATES TREASURY
725 CLARK PL                             INTERNAL REVENUE SERVICE                     INTERNAL REVENUE SERVICE
COLORADO SPRINGS CO 80915                OGDEN UT 84201-0074                          CINCINNATI OH 45999




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UNITED WATER DELAWARE                     UNITIL                                      UNITIL
PAYMENT CENTER                            PO BOX 981010                               PO BOX 981077
PO BOX 371804                             BOSTON MA 02298                             BOSTON MA 02298
PITTSBURGH PA 15250




UNIVERSITY CITY PARTNERS                  UPHOLSTERY PROFESSIONALS                    UPHOLSTERY PROFESSIONALS LLC
8335 IBM DR STE 110                       PO BOX 291923                               PO BOX 291973
CHARLOTTE NC 28262                        TAMPA FL 33686                              TAMPA FL 33687




US DEPT OF LABOR                          US DEPT OF LABOR OSHA                       US DEPT OF LABOR OSHA
200 CONSTITUTION AVE NW                   OSHA REGION 1                               OSHA REGION 2
WASHINGTON DC 20210                       JFK FEDERAL BUILDING ROOM E340              201 VARICK ST RM 670
                                          BOSTON MA 02203                             NEW YORK NY 10014




US DEPT OF LABOR OSHA                     US DEPT OF LABOR OSHA                       US DEPT OF LABOR OSHA
OSHA REGION 3                             OSHA REGION 4                               OSHA REGION 5
THE CURTIS CENTER-SUITE 740 WEST          61 FORSYTH ST SW RM 6T50                    230 SOUTH DEARBORN ST RM 3244
170 S INDEPENDENCE MALL WEST              ATLANTA GA 30303                            CHICAGO IL 60604
PHILADELPHIA PA 19106




US DEPT OF LABOR OSHA                     US DEPT OF LABOR OSHA                       US DEPT OF LABOR OSHA
OSHA REGION 8                             OSHA REGION 10                              OSHA REGION 6
1999 BROADWAY STE 1690                    300 FIFTH AVE                               525 GRIFFIN ST STE 602
DENVER CO 80202                           SUITE 1280                                  DALLAS TX 75202
                                          SEATTLE WA 98104-2397




US DEPT OF LABOR OSHA                     US DEPT OF LABOR OSHA                       US MEAT EXPORT FEDERATION
OSHA REGION 7                             OSHA REGION 9                               1660 LINCOLN ST STE 2800
TWO PERSHING SQUARE BUILDING              90 7TH ST STE 18100                         DENVER CO 80264
2300 MAIN ST STE 1010                     SAN FRANCISCO CA 94103
KANSAS CITY MO 64108




US SIGN AND LIGHTING SVC LLC              USS LEXINGTON                               UTAH ATTORNEY GENERAL
105 DORSA AVE                             1900 N CHAPARRAL                            SEAN D REYES
WAYNE NJ 07470                            CORPUS CHRISTI TX 78401                     PO BOX 142320
                                                                                      SALT LAKE CITY UT 84114-2320




UTAH COUNTY BUREAU OF ENVIRONMENTAL       UTAH COUNTY TREASURER                       UTAH DABC
HEALTH SVC                                100 E CTR ST 1200                           1625 S 900 W
151 S UNIVERSITY AVE STE 2600             PROVO UT 84606                              SALT LAKE CITY UT 84104
PROVO UT 84601




UTAH DEPART OF ALCOHOLIC                  UTAH DEPT OF ALCOHOLIC BEVERAGE CONTROL     UTAH DEPT OF ALCOHOLIC BEVERAGE CONTROL
1625 S 900 W                              LIQUOR CK                                   PROVO UT 84601
SALT LAKE CITY UT 84104                   PROVO UT 84601




UTAH DEPT OF ALCOHOLIC BEVERAGE CONTROL   UTAH DEPT OF ENVIRONMENTAL QUALITY          UTAH LABOR COMMISSION
1625 S 900 W                              PO BOX 144810                               COMMISSIONER
SALT LAKE CITY UT 84104                   SALT LAKE CITY UT 84114-4810                160 E 300 S
                                                                                      STE 300
                                                                                      SALT LAKE CITY UT 84114




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UTAH STATE TAX COMMISSION                 UTAH TREASURER'S OFFICE                      UTILITY BILLING SVC
210 NORTH 1950 WEST                       UNCLAIMED PROPERTY DIVISION                  PO BOX 8100
SALT LAKE CITY UT 84134                   168 N 1950 W                                 LITTLE ROCK AR 72203
                                          SUITE 102
                                          SALT LAKE CITY UT 84116




UTILITY BILLING SVC                       JOSH VAAS                                    VALASSIS DIRECT MAIL INC
PO BOX 31569                              PO BOX 224                                   FILE 70179
CLARKSVILLE TN 37040                      ROCKFORD MI 49341                            LOS ANGELES CA 90074




VALENCIA MARKETPLACE II LLC               VALENCIA MARKETPLACE II LLC                  VALENCIA WATER CO
JP MGMT CO INC                            C O JG MANAGEMENT CO INC                     PO BOX 515106
5743 CORSA AVE STE 200                    PAULEEN SINGH PROPERTY MANAGER               LOS ANGELES CA 90051
WESTLAKE VILLAGE CA 91362                 5743 CORSA VENUE STE 200
                                          WESLAKE VILLAGE CA 91362




VALLEY BACKFLOW INC                       VALLEY CREST BRIGHTVIEW LANDSCAPE SVC INC    VALLEY MECHANICAL SVC LLC
263 W OLIVE AVE STE 352                   PO BOX 404083                                1000 MORRISON RD STE F
BURBANK CA 91502                          ATLANTA GA 30384-4083                        GAHANNA OH 43230




VALLEY WIDE BEVERAGE CO                   VAN HOOK SVC CO INC                          VANGUARD WINES
4010 E HARDY AVE                          76 SENECA AVE                                1020 WEST 5TH AVE
FRESNO CA 93725                           ROCHESTER NY 14621                           COLUMBUS OH 43212




VANI SOOD                                 VARNUM RIDDERING SCHMIDT AND HOWLETT LLP     VECTOR INTELLIGENT SOLUTIONS LLC
424 CHAPMAN CT                            G MARK MCALEENAN ESQ                         PO BOX 645096
HACKETTSTOWN NJ 07840                     COUNSEL                                      PITTSBURG PA 15264-5096
                                          PO BOX 35 2333 BRIDGE ST NW
                                          GRAND RAPIDS MI 49501




VECTREN ENERGY DELIVERY                   VEHRS DISTRIBUTING INC                       VENTURA COUNTY
PO BOX 6248                               3808 N SULLIVAN RAOD E29-C                   800 SOUTH VICTORIA AVE
INDIANAPOLIS IN 46206                     SPOKANE WA 99216                             VENTURA CA 93009-1290




VENTURA GATEWAY LLC                       VENTURA GATEWAY LLC                          VERITAS DISTRIBUTORS INC
RPG VENTURA GATEWAY                       ROBERTSON PROPERTIES GROUP LEGAL DEPT        32185 HOLLINGSWORTH AVE
DEPT 843154                               BARBARA BERGER ASSISTANT PROP MAN            WARREN MI 48092
LOS ANGELES CA 90084                      120 N ROBERTSON BLVD
                                          LOS ANGELES CA 90048




VERITEXT CORP DBA                         VERIZON WIRELESS 742078376-00001             VESTAR DRM-OPCO LLC
SARNOFF COURT REPORTERS                   PO BOX 660108                                DEPT #880116
PO BOX 71303                              DALLAS TX 75266                              2425 E CAMELBACK RD #750
CHICAGO IL 60694                                                                       PHOENIX AZ 85016




VESTAR DRMOP LLC                          VIACOM INTERNATIONAL INC                     VICKI CROW CPA
PRESIDENT                                 1515 BROADWAY                                2281 TULARE ST HALL OF RECORDS RM105
PAT MCGINLEY PROPERTY MANAGEMENT          NEW YORK NY 10036                            PO BOX 1192
VESTAR DEVELOPMENT                                                                     FRESNO CA 93715-1192
2425 E CAMELBACK ROAD STE 750
PHOENIX AZ 85016




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VICTORY CONCRETE LLC DBA DONNA MALSKI    VILLAGE OF HOFFMAN ESTATES                 VILLAGE OF HOFFMAN ESTATES
1605 FERNDALE PL                         1900 HASSELL RD                            1900 HASSELL RD
ANN ARBOR MI 48104                       HOFFMAN ESTATES IL 60169                   HOFFMAN ESTAT IL 60169




VINMOTION WINES                          VINTAGE IMPORTS INC                        VINTAGE WINE CO - MI
DBA PACIFIC RIM WINEMAKERS INC           200 RITTENHOUSE CIR W #5                   15420 E 12 MILE RD
308 SW 1ST AVE STE 161                   BRISTOL PA 19007                           ROSEVILLE MI 48066
PORTLAND OR 97204




VINTAGE WINE DIST OH                     VINTNER SELECT INC OH                      VINYL DOCTOR SYSTEMS INC
6555 DAVIS INDUSTRIAL PKWY               6215 HI-TEK CT                             PO BOX 32086
SOLON OH 44139                           MASON OH 45040                             PALM BEACH GARDENS FL 33420




VIRGINIA ATTORNEY GENERAL                VIRGINIA BEACH DEPT OF PUBLIC HEALTH       VIRGINIA DEPART OF ALCOHOLIC BEVERAGE
MARK R HERRING                           4452 CORPORATION LN                        CONTORL
900 E MAIN ST                            VIRGINIA BEACH VA 23462                    PO BOX 27491
RICHMOND VA 23219                                                                   RICHMOND VA 23261




VIRGINIA DEPT OF AGRICULTURE             VIRGINIA DEPT OF ALCOHOLIC BEVERAGE        VIRGINIA DEPT OF ENVIRONMENTAL QUALITY
AND CONSUMER SVC                         CONTROL                                    629 EAST MAIN ST
DIVISION OF CONSUMER PROTECTION          2901 HERMITAGE RD                          PO BOX 1105
102 GOVERNOR ST                          RICHMOND VA 23281                          RICHMOND VA 23218
RICHMOND VA 23219




VIRGINIA DEPT OF LABOR AND INDUSTRY      VIRGINIA DEPT OF TAXATION                  VIRGINIA DEPT OF TAXATION
COMMISSIONER                             PO BOX 1777                                PO BOX 405
13 SOUTH THIRTEENTH ST                   RICHMOND VA 23218                          RICHMOND VA 23218
RICHMOND VA 23219




VIRGINIA DEPT OF TAXATION                VIRGINIA DEPT OF TREASURY                  VIRGINIA EAGLE DIST CO
OFFICE OF CUSTOMER SERVICE               UNCLAIMED PROPERTY DIVISION                PO BOX 496
PO BOX 1115                              101 NORTH 14TH ST                          VERONA VA 24482
RICHMOND VA 23218-1115                   RICHMOND VA 23219




VIRGINIA HARMON GUEST REFUND             VIRGINIA IMPORTS                           VIRGINIA NATURAL GAS
1606 JESSAMINE RD                        7550 ACCOTINK PK RD                        PO BOX 70840
LEXINGTON SC 29073                       SPRINGFIELD VA 22150                       CHARLOTTE NC 28272




VIRTEVA LLC                              VISION SVC PLAN INS CO                     VISTA LAWN AND LANDSCAPES
6110 GOLDEN HILLS DR                     PO BOX 742788                              CLIFF LAMMONS
MINNEAPOLIS MN 55416                     LOS ANGELES CA 90074                       4402 HUNTERS LODGE DR
                                                                                    ROUND ROCK TX 78681




VMC FACILITIES LLC                       VORTEX INDUSTRIES INC                      VOSS LIGHTING
3119 NORTHWEST PK DR                     FILE 1095                                  PO BOX 22159
KNOXVILLE TN 37921                       1801 W OLYMPIC BLVD                        LINCOLN NE 68542-2159
                                         PASADENA CA 91199




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VOX MEDIA INC                             VR PARTNERS I LP                         VR PARTNERS I LP
1201 CONNECTICUT AVE NW - 11TH FL         6831 PRESTONSHIRE LN                     BILL DEMUTH PRESIDENT
WASHINGTON DC 20036                       DALLAS TX 75225                          6831 PRESTONSHIRE LN
                                                                                   DALLAS TX 75225




KIM VU                                    VYNAWOOD DBA DARRELL BARTZ               W AND L SALES CO INC
13719 COLOGNE DR                          1695 KINGSTON RD                         LIQUOR CK
HOUSTON TX 77065                          LONGWOOD FL 32750                        4050 INDUSTRIAL RD
                                                                                   HARRISBURG PA 17110




WA THOMPSON INC                           WACHOVIA COM MG SEC INC                  WAGGLE DANCE MARKETING RESEARCH LLC
PO BOX 40310                              CASSIDY TURLEY                           14415 NORTH 73RD ST
BAKERSFIELD CA 93384                      4678 WORLD PKWY CIR                      STE 105
                                          ST. LOUIS MO 63134                       SCOTTSDALE AZ 85260




WAJHARDY OAK LLC                          WAKE COUNTY REVENUE DEPT                 WAKE COUNTY REVENUE DEPT
BARCLAY ANTHONY                           PO BOX 2331                              PO BOX 580084
SITE MANAGER                              RALIEGH NC 27602-2331                    CHARLOTTE NC 28258-0084
1011 E LOOP 1604 DR
SAN ANTONIO TX 78258




WAKE COUNTY REVENUE DEPT                  WAKE SEWER AND DRAIN CLEANING SVC        WALKERS BROOK CROSSING LLC
PREPARED FOOD AND BEV TAX COLLECTOR       PO BOX 30352                             MARK DICKINSON
PO BOX 2719                               RALEIGH NC 27622                         1266 FURNACE BROOK PKWY
RALEIGH NC 27602                                                                   QUINCY MA 02169




WALTHAM PEST CONTROL INC                  MARIE WALTHER                            WALTON EMC
97A CAMBRIDGE ST                          1701 LINDEN ST                           PO BOX 1347
BURLINGTON MA 01803                       WILMINGTON DE 19805                      MONROE GA 30655




WANTZ DISTRIBUTORS INC                    WARREN DISTRIBUTING CO FLANDERS          WASHINGTON ATTORNEY GENERAL
11743 HOPEWELL RD                         2 LAUREL DR                              BOB FERGUSON
HAGERSTOWN MD 21740                       FLANDERS NJ 07836                        1125 WASHINGTON ST SE
                                                                                   PO BOX 40100
                                                                                   OLYMPIA WA 98504-0100




WASHINGTON DEPT OF LABOR AND INDUSTRIES   WASHINGTON DEPT OF REVENUE               WASHINGTON GAS
DIRECTOR                                  UNCLAIMED PROPERTY SECTION               PO BOX 37747
PO BOX 44000                              PO BOX 34053                             PHILADELPHIA PA 19101
OLYMPIA WA 98504-4000                     SEATTLE WA 98124-1053




WASHINGTON GAS ENERGY SVC                 WASHINGTON GAS FREDERICK DIV             WASHINGTON STATE ATTORNEY GENERAL
PO BOX 37747                              PO BOX 37747                             CONSUMER PROTECTION DIVISION
PHILADELPHIA PA 19101                     PHILADELPHIA PA 19101                    1125 WASHINGTON ST SE
                                                                                   OLYMPIA WA 98501-0100




WASHINGTON STATE DEPT OF ECOLOGY          WASHINGTON STATE DEPT OF NATURAL         WASHINGTON STATE DEPT OF REVENUE
PO BOX 47600                              RESOURCES                                PO BOX 47464
OLYMPIA WA 98504-7600                     PO BOX 47000                             OLYMPIA WA 98504-7476
                                          1111 WASHINGTON ST SE
                                          OLYMPIA WA 98504-7000




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WASHINGTON STATE DEPT OF TRANSPORTATION    WASHINGTON SUBURBAN SANITARY C           WASHOE COUNTY BUSINESS LICENSE
TRANSPORTATION BUILDING                    14501 SWEITZER LN                        PO BOX 11130
310 MAPLE PK AVE SE                        LAUREL MD 20707                          RENO NV 89520-0027
PO BOX 47300
OLYMPIA WA 98504-7300




WASHOE COUNTY BUSINESS LICENSE             WASHOE COUNTY HEALTH DEPT                WASHOE COUNTY TREASURER
NEVADA ALCOHOLIC BEVERAGE CONTROL          PO BOX 11130                             PO BOX 30039
PO BOX 27557                               RENO NV 89520                            RENO NV 89520
LAS VEGAS NV 89126-1557




WASHTENAW CO HEALTH DEPT                   WASTEBUILT SOUTHWEST LLC                 WATER LEAK DETECTORS INC
705 N ZEEB RD                              4020 S 15TH AVE                          8530 SW 42ND ST
ANN ARBOR MI 48107                         PHOENIX AZ 85041                         MIAMI FL 33155




WATER WISE PRESSURE CLEANING INC           WATERONE                                 WAYMAN FIRE PROTECTION INC
3011 NW 78TH TERR                          WATER DIST NO 1 OF JOHNSON CTY           403 MECO DR
DAVIE FL 33024                             PO BOX 808007                            WILMINGTON DE 19804
                                           KANSAS CITY MO 64180




WAYNE CO HEALTH DEPT                       WAYNE DENSCH - SANFORD                   WC ASSOCIATION
33030 VAN BORN                             2900 W FIRST ST                          5210 EAST WILLIAMS CIR STE 740
WAYNE MI 48184                             SANFORD FL 32771                         TUCSON AZ 85711




WC FIRE SAFETY INC                         WCH ENTERPRISES LTD                      WDRE MG LLC
PO BOX 560159                              DBA HILL ELECTRIC                        CINDI ANDERSON PRESIDENT
MONTVERDE FL 34756                         9999 PERRIN BEITEL                       10172 INDIAN RIDGE
                                           SAN ANTONIO TX 78217                     RENO NV 89511




WEBB ELECTRICAL SVC INC                    WEBB GIN PROPERTY SUB LLC                WEINGARTEN MILLER AURORA II LLC AND
5801 LITTLE OAK CT                         PO BOX 304                               GDC AURORA LLC TENANTS IN COMMON
FORESTHILL CA 95631                        DEPT 5000                                WEINGARTEN REALTY MANAG CO
                                           EMERSON NJ 07630                         TIFFANY TRAN LEGAL ADMINISTRATOR
                                                                                    2600 CITADEL PLZ DR STE 125
                                                                                    HOUSTON TX 77008


WEINGARTEN MILLER AURORA LLC               WEINGARTEN REALTY INVESTORS              WEINGARTEN REALTY INVESTORS
TENANT 124626 / CO 49510                   PO BOX 301074                            KAT BLAIS
PO BOX 924133                              TENANT 124626 CO 21170                   KAT BLAIS SR ADMIN ASST
HOUSTON TX 77292                           DALLAS TX 75303-1074                     PO BOX 924133
                                                                                    HOUSTON TX 77292




WEISS SEROTA HELFMAN COLE AND BIERMAN PL   WELLINGTON CARPET CLEANING               WELLINGTON UTILITIES
2525 PONCE DE LEON BLVD #700               ERNEST BRANDON DUFF                      PO BOX 31632
CORAL GABLES FL 33134                      11838 DONLIN DR                          TAMPA FL 33631
                                           WELLINGTON FL 33414




WELLS FARGO RESTAURANT FINANCE             WELLS FARGO RESTAURANT FINANCE           WELLS LAEK BUENA VISTA LLC
LORENZA TUPAZ VP RELATIONSHIP MANAGER      WELLS FARGO BANK, N.A. (182)             PO BOX 2890
1808 ASTON AVE SUITE 250                   PO BOX 63020                             HENDERSONVILLE NC 28793
MAC E2427021                               SAN FRANCISCO CA 94163
CARLSBAD CA 92008




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WELLS LAKE BUENA VISTA LLC                   WELLS PLANO LLC                             WEST COAST PREMIER WINDOW CLEANING INC
BILL HALE                                    PO BOX 2890                                 2720 5TH CT
40 FRANCIS RD                                HENDERSONVILLE NC 28793                     PALM HARBOR FL 34684
HENDERSONVILLE NC 28792




WEST DES MOINES WATER WORKS                  WEST SIDE BEER DISTRIBUTING                 WEST TENNESSEE CROWN DISTRIBUTING CO
PO BOX 402002                                28100 GORSUCH AVE                           7625 APPLING CTR DR
DES MOINES IA 50940                          ROMULUS MI 48174                            MEMPHIS TN 38133




WEST WINDSOR TOWNSHIP                        WESTBROOK V MAC PARENT LLC ET AL            WESTBROOK V MAC PARENT LLC ET AL
COLLECTOR OF SEWER RENT                      TONI WESTBROOK                              C/O BEHR LAW FIRM
PO BOX 38                                    2 A DEERFIELD DR                            ATTN: BART BEHR
W WINDSOR NJ 08550                           WIMBERLEY TX 78676                          13501 RANCH RD 12, SUITE 108
                                                                                         WIMBERLEY TX 78676




WESTCOAST LOCK AND SAFE INC                  WESTERN LOCK AND SAFE                       WESTLAND PLUMBING CORP
DBA KENS LOCK AND KEY-ASAP LOCK              8993 W CTR AVE                              101 W 24 STRET
10557 MAGNOLIA AVE                           LAKEWOOD CO 80226                           HIALEAH FL 33010
RIVERSIDE CA 92505




WGL ENERGY SVC                               WHALEY FOODSERVICE LLC                      WHALEY FOODSERVICE REPAIRS INC
ACCOUNTING                                   DBA WHALEY PARTS AND SUPPLY                 BB AND T
13865 SUNRISE VLY DR                         PO BOX 615                                  PO BOX 890771
SUITE 200                                    LEXINGTON SC 29071                          CHARLOTTE NC 28289
HERNDON VA 20171




ERIC WHITE                                   WICHITA WATER CONDITIONING INC              JAMES W WIEDMAN
1110 KIRKLAND CT                             DBA CHUCK THE WATER MAN                     104 TEELIA DR
CONCORD NC 28025                             7205 GILPIN WAY # 130                       OLD HICKORY TN 37138
                                             DENVER CO 80229




WIENS BREWING CO                             WIGGLYDOG RE VENTURES LLC SERIES C          WILGRO CLEANING SVC LLC
35055 VIA DEL PONTE                          DBA WDRE MG LLC                             4655 SOUTHPORT CROSSING
TEMECULA CA 92592                            2885 SANFORD AVE SW # 27891                 NORCROSS GA 30092
                                             GRANDVILLE MI 49418




WILLIAM BURNS DBA BURNS CLEANING             WILLIAM POWELL DBA JIMMIE LOCK AND KEY      WILLIAMS RESTORATION INC
PO BOX 8523                                  555 HIGHWAY 287 UNIT F                      DBA EXPRESS SEATING
PORTLEND ME 04104                            BROOMFIELD CO 80020                         9001 MIDDLETON RD
                                                                                         DARIEN IL 60561




WILLIAMSON COUNTY AND CITY HEALTH DISTRICT   WILLIAMSON COUNTY TAX ASSESSOR-COLLECTOR    WILSBACH DISTRIBUTORS INC
211 COMMERCE BLVD STE 11                     904 S MAIN ST                               905 KATIE CT
ROUND ROCK TX 78664                          GEORGETOWN TX 78626                         HARRISBURG PA 17109




WILSON REFRIGERATION AND ELECTRIC INC        WILSON'S CLEANING                           WINDY CITY DISTRIBUTING LLC
PO BOX 13365                                 PO BOX 944                                  30W315 CALUMET AVE W
ANDERSON SC 29624                            LIBERTY NC 27298                            WARRENVILLE IL 60555




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WINE MERCHANTS ST PAUL                  WINE WAREHOUSE                             WINE WAREHOUSE
PO BOX 16328                            PO BOX 910900                              3463 COLLINS AVE
ST PAUL MN 55116                        LOS ANGELES CA 90091-0900                  RICHMOND CA 94806




WINEBOW INC                             WINEBOW INC                                WINEDOGGYBAGCOM LLC
31 WEST 27TH ST 7TH FL                  75 CHESTNUT RIDGE RD                       31103 RANCHO VIEJO RD #2138
NEW YORK NY 10001                       MONTVALE NJ 07645                          SAN JUAN CAPISTRANO CA 92675




WINROCK PARTNERS LLC                    WINROCK PARTNERS LLC                       WIRTZ BEVERAGE ILLINOIS
PO BOX 844416                           COLETTE WHARTON                            1925 BUSSE RD
LOS ANGELES CA 90084                    GOODMAN REALTY GROUP                       ELK GROVE VLG IL 60007
                                        100 SUN AVE NE STE 210
                                        ALBUQUERQUE NM 87109




MIKE WITT                               WOLF ROAD PARK II LLC                      WOODLAND LAWN INC
3300 E LAKE CREEK RD                    C O THE BELTRONE GROUP LLC                 PO BOX 19145
HEBER CITY UT 84032                     JOSEPH G CARANFA VICE PRESIDENT            LENEXA KS 66285
                                        14 HEMLOCK ST BOX 517
                                        LATHAM NY 12110




WOODLANDS METRO CENTER MUD              WOODRUFF ENERGY US LLC                     WORKFORCE SCIENCE ASSOCIATES LLC
PO BOX 7829                             73 WATER ST                                6001 YANKEE HILL RD
THE WOODLANDS TX 77387-7829             PO BOX 777                                 LINCOLN NE 68516
                                        BRIDGETON NJ 08302




WORLD BUSINESS SUPPLY LLC               WORLD LIQUOR AND WINES 992/GIANT EAGLE     WRIGHT BEVERAGE DISTRIBUTING
14993 CROFTON DR                        LIQUOR CHECK                               3165 BRIGHTON HENRIETTA TL RD
SHELBY TWP MI 48315                     26840 BROOKPARK RD EXTN                    ROCHESTER NY 14623
                                        NORTH OLMSTED OH 44070




JENNIFER WRIGHT                         WS CO REAL ESTATE HOLDINGS LLC             WZEW
DBA AMERICAN BACKFLOW AND PLUMBING      PAUL R GRASSER PRESIDENT                   1100 DAUPHIN ST STE E
1515 N TOWN EAST BLVD #138350           PO BOX 2159                                MOBILE AL 36604
MESQUITE TX 75150                       RIVERVIEW FL 33568




XCEL ENERGY                             XCEL ENERGY                                XEROX CORP 723115317
NORTHERN STATES POWER                   PUBLIC SVC CO OF COLORADO                  PO BOX 7405
PO BOX 9477                             PO BOX 9477                                PASADENA CA 91109-7405
MINNEAPOLIS MN 55484                    MINNEAPOLIS MN 55484




XPERT SANI SVC                          XTREME DEALS INC                           XTREME DRAINWORKS INC
PO BOX 100693                           12096 SW 140TH TER                         3135 CRELA ST
SAN ANTONIO TX 78201                    MIAMI FL 33186                             BONITA CA 91902




REBECCA YEAGLEY                         YELLOW MARKETING LTD                       YELLOW MARKETING LTD
11 OLDFIELD AVE                         DISTRICT KRASNO SELO                       5355 TOTLEBEN BLVD 1ST FL
JONESTOWN PA 17038                      5355 TOTLEBEN BLVD 1ST FL                  DISTRICT KRASNO SELO
                                        SOFIA                                      SOFIA
                                        BULGARIA                                   BULGARIA




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YESCO YOUNG ELECTRIC SIGN CO             YESCO ORLANDO NORTH                          YOU FLOOR ME LLC
PO BOX 11676                             1490 KASTNER PL STE 1050                     15439 N CAVE CREEK RD
TACOMA WA 98411                          SANFORD FL 32771                             PHOENIX AZ 85032




YOUNG ELECTRIC SIGN CO LLC               YOUNG'S MARKET                               YOUNG'S MARKET CO OF ARIZONA FINTECH
2401 FOOTHILL DR                         PO BOX 30145                                 PO BOX 513188
SALT LAKE CITY UT 84109                  LOS ANGELES CA 90030                         LOS ANGELES CA 90051




YOUNGS MARKET CO SOUTHWEST LLC           YOUNGS MARKET OF CA LLC                      YOUR MAINTENANCE DEPT INC
624 N 44TH AVE                           500 S CENTRAL AVE                            9656 VISTA LN
PHOENIX AZ 85043                         LOS ANGELES CA 90013                         COMMERCE TOWNSHIP MI 48382




YOUR YARD GUY LLC                        ZEBRA STRIPING INC                           DARLENE ZUZEK
10222 INDEPENDENCE LN                    101 PLEASANT HILL RD                         11197 CHASE WAY
LITTLE ROCK AR 72209                     SCARBOROUGH ME 04074                         WESTMINISTER CO 80020




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